Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 1 of 156




                 Exhibit M
   (PREVIOUSLY FILED UNDER SEAL)
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 2 of 156




                    United States v. Holmes, et al.

                        Case # 18-CR-00258




         Expert Report of Carl S. Saba, MBA, CVA, ASA, ABV

                            Confidential
      Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 3 of 156




                                                                    Table of Contents




I.         Qualifications........................................................................................................................................... 1

II.        Assignment.............................................................................................................................................. 2

III. Evidence Relied Upon............................................................................................................................. 5

IV. Summary of Opinions............................................................................................................................. 5

V.         Introduction............................................................................................................................................. 8

      A.           Standard and Premise of Value...................................................................................................... 8

      B.            Statement of Scope and Limitations........................................................................................... 10

      C.           Statement of Disinterest...............................................................................................................11

VI.         Theranos Background.......................................................................................................................... 11

VII.         Industry Analysis................................................................................................................................. 14

VIII.         Economic Conditions.......................................................................................................................... 15

IX.         Financial Review.................................................................................................................................. 16

      A.           Adjustments to Reported Financial Statements.........................................................................17

      B.           Balance Sheet Review................................................................................................................... 18

      C.           Income Statement Review............................................................................................................ 19

      D.           Financial Ratios Review................................................................................................................. 19

X.         Estimate of Value.................................................................................................................................. 20

XI.        Value of Theranos at February 7, 2014.............................................................................................. 29

      A.           Income Approach - Discounted Cash Flow Method.................................................................. 29

      B.           Asset Approach - Adjusted Net Asset Value..............................................................................39

      C.           Conclusion of 100% Equity Value................................................................................................. 42

      D.           Equity Allocation Models............................................................................................................ 42

XII.        Value of Theranos at December 31, 2014........................................................................................ 44

XIII.Value of Theranos at October 15, 2015.............................................................................................. 45

XIV.         Conclusion of Values..........................................................................................................................46

XV.         Appendix..............................................................................................................................................47

      A.       Investor Financings - Back-solve Methods..................................................................................... 47
   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 4 of 156




    B.          Investor Forecasts - DCF Models............................................................................................ 48
    C.          Assumptions and Limiting Conditions..................................................................................... 51
    D.          Certifications and Representation.......................................................................................... 53
XVI. Exhibits.................................................................................................................................................. 55
 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 5 of 156




     I.          Qualifications


1.        I am a Partner in the Financial and Forensic Consulting Group at Hemming Morse, LLP. I

received a Bachelor of Science degree in Business Administration and Finance from The Haas

School of Business at the University of California (Berkeley) in 1995. I received an M.B.A.

with an emphasis in Finance from the Marshall School of Business at the University of

Southern California, where I graduated with honors in 2003. I have been designated as a

Certified Valuation Analyst (CVA) by the National Association of Certified Valuators and

Analysts (NACVA). I am an Accredited Senior Appraiser ("ASA") by the American Society of

Appraisers and Accredited in Business Valuation ("ABV") by the American Institute of

Certified Public Accountants. Prior to Hemming Morse, I was the Partner in Charge of the

valuation and financial Consulting Practice at Burr Pilger Mayer, Inc., a regional certified

public accounting firm with approximately 400 employees.


2.        I have twenty-six years of experience in the valuation of businesses, analyzing the

financial condition of businesses, and consulting to businesses and business owners. The last

eighteen years of my experience have focused on business valuation, economic damages

analyses, transaction due diligence support, and fraud and forensic investigations. In that

period, I have been retained to prepare over eight hundred valuations of businesses,

intellectual property, debt instruments, and complex derivatives. These valuations have

been prepared for litigation, tax reporting, financial reporting, and transaction support

purposes, including bankruptcy. The majority of my valuations have focused on my expertise



                                                Page 1
 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 6 of 156




with technology, life sciences, and medical device companies, from very early stages of

development through late stage publicly traded companies.


3.         I am the Co-Founder and Chair of the Fair Value Forum, a San Francisco Bay Area based

business valuation expert group that meets periodically to discuss technical issues and best

practices in the profession. I was formerly on the Board of the Valuation Roundtable of San

Francisco for several years and served a term as President of that organization. I have

presented in a number of national conferences on the topic of business valuation and have

authored articles and publications on the same. Many of my presentations and publications

are focused on the valuation issues specific to technology, life sciences, and medical device

companies. As an example, in 2013 I co-authored the valuation section of The 409A

Administration Handbook, Compliance and Company Valuation, published by Thomson

Reuters. My current curriculum vitae is attached to this report as Appendix Exhibit H and

provides additional details.


4.         My employer Hemming Morse, LLP is being compensated at an hourly rate of $560 for

my time, and at hourly rates ranging from $280 to $400 for employees who assisted me on

this assignment.


     II.      Assignment


5.         I have been retained through my employer, Hemming Morse, LLP, Certified Public

Accountants and Financial and Forensic Consultants by the U.S. Attorney's Office, Northern

District of California ("USAO" or "Counsel") in the matter of United States v. Holmes, et al.,




                                               Page 2
 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 7 of 156




to estimate the fair market values of 100% of the equity in Theranos, Inc. (referred to as

"Theranos" or "Company"), on a controlling, marketable basis as of the following dates:


             •   February 7, 2014 (the "2/7/2014 Valuation Date");


             •   December 31, 2014 (the "12/31/2014 Valuation Date"); and


             •   October 15, 2015 (the "10/15/2015 Valuation Date"); (collectively, the

                 "Valuation Dates").


6.   My assignment included allocating the above equity values of Theranos to all of the

securities in the Company's capital structure. I have also been asked to calculate the loss to

Theranos Series C-l and Series C-2 Preferred Stock investors resulting from the difference

between my concluded values for their shares and their initial investment purchase price of

$15.00 and $17.00 per share, respectively.


7.   In carrying out my assignment, my objective was to define a minimum range of loss to

investors, and I have applied several assumptions that provide a favorable interpretation of

the equity value of Theranos on the Valuation Dates. These assumptions include adopting

optimistic management forecasts that assume Theranos' significant technology challenges

will be successfully resolved, that the Company will realize high revenue growth in the near

term, and that it will earn significantly above industry margins. I have further applied target

investor rates of return that are on the low end of the applicable range for these forecasts.


8.   Another favorable set of assumptions I have made is that Theranos' historical

expenditures were primarily directed towards research and development efforts, that such

expenditures were productively spent and created value, and the large majority of such


                                           Page 3
 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 8 of 156




expenditures do not relate to technology that is obsolete on the Valuation Dates. Wherever I

have faced limitations in information available to conduct this assignment, I have applied an

interpretation that is most favorable to the value of Theranos, and that leads to a minimum

range of investor loss. My significant valuation assumptions are more fully explained

throughout this report.


9.   This report summarizes my current opinions given the information available to me to

date; I may consider any additional materials that become available and amend or

supplement my opinions and this report, if appropriate.


10. In connection with my anticipated testimony, I may be asked to create, from various

documents produced in this litigation and obtained through independent research,

demonstrative schedules which refer or relate to the matters discussed in this report. I have

not yet created such demonstrative schedules.


11. In my work I have been assisted by others in my firm who have acted under my direction

and control. However, the opinions in this report are my own.


12. I understand that this report may be made available to other parties in this litigation, to

their counsel and experts, as well as to the Court in connection with sentencing. It has been

prepared for use in this action. In all other respects, this report is confidential. It should not

be used, reproduced or circulated for any other purpose, in whole or in part, without my

prior written consent. No other party is entitled to rely on this report for any purpose

whatsoever.




                                             Page 4
     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 9 of 156




      III.    Evidence Relied Upon


    13. My understanding of the relevant facts comes from the documents provided by

    Counsel, transcripts of interviews and trial testimony, and materials I gathered through my

    research1. I have been provided internal Company and investor communications, transcripts

    of trial testimony by employees, investors, prospective and actual business partners to

   Theranos, and significant documents with regards to the Company's assets and liabilities,

    historical and future performance, and business operations. I was not able to interview

   Theranos' management or employees directly. The documents I considered or relied upon

   are identified in Appendix Exhibit I.


      IV.    Summary of Opinions


    14. My opinions of value are based on consideration and application of the three categories

   of widely accepted valuation methods; the income, market, and asset / cost approaches. I

   applied the discounted cash flow method (income approach) in combination with the

   guideline public company method (market approach) to define the upper bound of

   Theranos' value on the three Valuation Dates. I also applied the adjusted net asset value

   method and the cost to recreate method2to define the lower bound of Theranos' value on

   the Valuation Dates, resulting in a range of value. Finally, I applied the back-solve method

   (market approach) to infer the value of Theranos based on the price paid by investors for

   their Series C-2 Preferred Stock. This back-solve method value is not my opinion of Theranos'

   fair market value, it was prepared to demonstrate the implied value placed on the Company



1 My research includes information available through a subscription to the S&P Capital IQ database.
2 Also referred to as "reproduction cost new" in business valuation guidance.

                                                      Page 5
     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 10 of 156




     by investors. A summary of my estimated fair market values is outlined below, and these

     include the Company's substantial cash balances:


                               Cash
                              Balance
 100% Company Equity Value              Series C-1 Per Share Series C-2 Per Share                  Valuation    Report
                            Included in
    Range (In Thousands)                    Value Range          Value Range                         Date       Exhibit
                           Equity Value
                           (Thousands)

 $    378,000   -   $   431,000   $   151,912   $   8.77   -   $   9.39   $   9.90   -   $ 10.59   02-07-14    Exhibit A.3

 $    827,000   -   $   951,000   $   465,933   $   9.61   -   $ 10.36    $ 10.80    -   $ 11.63    12-31-14   Exhibit A.4

 $ 1,051,000    -   $ 1,184,000   $   496,919   $ 10.14    -   $ 10.81    $ 11.37    -   $ 12.11    10-15-15   Exhibit A.5




     15. One method to calculate the loss to Theranos investors is to determine the difference

     between their initial investment price and their ultimate recovery in the dissolution of the

     Company3. The method I applied is based on my estimates of the above fair market values

     for Theranos' equity, which leads to a smaller loss figure. I have calculated the aggregate

     Series C-l and C-2 investor losses to range between $277,965 million and $315,884 million

     per Exhibit A.l to this report. This loss is measured as the difference between the price paid

     by investors and my estimated value above on the date closest to when the investment was

     made. I have been asked to prepare an alternate calculation of investor loss based on my

     estimated values as of only the 10/15/2015 Valuation Date, which results in a range of

     aggregate loss between $237,323 million and $273,646 million.


     16. The above equity values and investor loss calculation are based on the favorable

     premise that Theranos will continue to operate as a going concern, as explained in the next

     section of this report. If the Company were facing near term dissolution on the Valuation




31 understand that many investors did not recover any portion of their initial purchase price. The method
discussed here is not meant to reflect any specific legal guidance on loss calculations.


                                                      Page 6
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 11 of 156




    Dates, its recoverable equity value would be substantially lower. In such a scenario, the

    Company would be forced to sell its technology assets under distressed sale conditions. In

    addition, the Company's Edison device capabilities were still far behind that of conventional

    laboratory equipment4.


    17. One data point that is informative as to the value of Theranos' technology under such a

    scenario is a loan extended to the Company by Fortress Credit Corporation in December

    2017. The loan totaled $65 million in initial funds disbursed, with the remaining $35 million

    contingent on the Company achieving development milestones. The loan was secured with

    all assets of the Company including its patents and patent applications5. Fortress made this

    loan based on their consideration of the value of Theranos' intellectual property collateral in

    a potential default scenario.6


    18. Under a liquidation premise and if the maximum loan amount of $100 million were

   assumed to be the recoverable value of Theranos' technology in a dissolution, the

   Company's resulting equity values would be approximately $138 million, $416 million, and

   $448 million respectively on 2/7/14, 12/31/14, and 10/15/157. This would result in larger

   investor losses than my calculations above.


   19. Because I am using a going-concern premise, it is important to note that even if the

   value of the Company exceeds the liquidation preference of the Series C-l and C-2 shares,




4 Refer to Theranos Background section of this report for discussion on state of the Company's technology.
5 Exhibit 191 to Deposition of Erez Levy, Fortress Credit Corp Investment Memorandum, December 2, 2017.
6 Deposition of Erez Levy, Managing Director at Fortress, September 24, 2019, p.31:7-14, p. 68:16-25.
7 These values are based on my adjusted net asset value methods on Exhibits E.l, H.l, and K.l, with a substitution
of intangible asset value in those methods with $100 million.

                                                      Page 7
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 12 of 156




    that does not mean the Series C-l and C-2 investors have not incurred losses as of the

    Valuation Dates. This is because, as a going concern, there are a wide range of possible

    future outcomes for the Company. Some outcomes may be extremely favorable and some

    may result in no return for any of the investors. The standard way of valuing specific classes

    of stock is to use option pricing theory which is what I have done. This makes it is possible to

    consider the range of outcomes and derive a value for each class of stock. This is more fully

    described in the "Equity Allocation Models" section of this report.


      V.     Introduction


           A. Standard and Premise of Value


    20. As the standard of value for this report, I have employed a definition of fair market

   value used in appraisal practice,8 originally found in Section 20.2031-l(b) of the Estate Tax

    Regulations and Section 25.2512-1 of the Gift Tax Regulations and incorporated into Section

   2.02 of Revenue Ruling 59-60. That definition is:


           "The price at which the property would change hands between a willing buyer

           and a willing seller when the former is not under any compulsion to buy and

           the latter is not under any compulsion to sell, both parties having reasonable

           knowledge of relevant facts."




8 This definition, or one very similar, has been adopted by The Institute of Business Appraisers, The National
Association of Certified Valuation Analysts, The American Society of Appraisers, and The Appraisal Foundation.


                                                     Page 8
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 13 of 156




    21. Court decisions frequently state9 in addition that the hypothetical buyer and seller are

    assumed to be able, as well as willing, to trade and to be well informed about the property

    and concerning the market for such property. Fair market value is defined in the U.S. tax

    regulations, and it is a widely used standard of value for non-tax related matters. Although I

    assume a buyer of Theranos was accurately informed as to its financial condition, its state of

    development, and the capabilities of its technology, I ignore for purposes of my valuation

    the occurrence of misrepresentations made by Company management to investors and

    other third parties. Such misrepresentations can damage a company's brand image, its

    ability to raise capital and continue operating as a going concern, and may result in

    significant litigation related liabilities. These negative factors are excluded from my

    estimates of value10.


    22. I have appraised Theranos's stock under a going concern premise. This premise assumes

   that the Company is an ongoing business enterprise with management operating in a

    rational way with a goal of maximizing owner value11. This will be discussed more fully in the

   valuation section of this report. And, as mentioned above, using a liquidation premise as of

   the Valuation Dates would result in a substantially lower values for Theranos' equity and the

   Series C-l and C-2 shares.




9 In the Estate of Kaufman, TCM 1999-119, the court noted that "[t]he hypothetical willing buyer and the
hypothetical willing seller both aim to maximize their profit from the hypothetical sale of the property."
10 Excluding these factors results in a higher estimated value, and a lower investor loss calculation.
11A going concern premise assumes the business is not about to be dissolved or liquidated.

                                                       Page 9
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 14 of 156




          B.          Statement of Scope and Limitations


    23. This Summary Report was prepared, and my analyses, opinion and conclusions were

    developed, in conformity with the American Institute of Certified Public Accountants'

    Statement on Standards for Valuation Services No. 1 ("SSVS") and USPAP of the Appraisal

    Foundation.


    24. This report was prepared subject to certain Assumptions and Limiting Conditions

    included in the appendix to this report. My Certifications and Representations are also

    included in the appendix to this report.


    25. I obtained a variety of financial, operational, economic, and industry documents and

    information from Counsel as well as from outside sources. I have assumed all information is

   accurate and complete. I was unable to have direct communication with management and

   employees of Theranos in this assignment.


   26. This report reflects my understanding of facts and conditions existing at the Valuation

    Dates. Subsequent events have not been considered unless they were known or knowable

   on the Valuation Dates12, and I have no obligation to update my report for such events and

   conditions. However, I reserve the right to update my report for new information that is

   provided to me.




12 I have also considered subsequent events that provide evidence of facts and conditions existing as of the
valuation date.

                                                     Page 10
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 15 of 156




           C. Statement of Disinterest


    27. I have no present or contemplated future interest in the subject property of this

   Appraisal Report. I have no interest in or bias with respect to the subject property or the

   owners thereof.


     VI.       Theranos Background


   28. On the Valuation Dates, Theranos operated clinical laboratories in Newark, California,

   and Scottsdale, Arizona. In addition, Theranos was in continued development of its

   immunoassay blood testing device (the Edison), with the objective of providing faster, more

   accurate results at a lower price point to patients than traditional laboratories, while

   requiring patient samples with only a few drops of blood. Historically, Theranos had entered

   into contracts with pharmaceutical companies to provide testing services in support of

   clinical trials. On the Valuation Dates, these agreements and related revenues had

   terminated.


   29. Theranos' business model on the Valuation dates encompassed a vision for its Edison

   device to provide a wide variety of tests to patients in the retail market with the following

   advantages over reference labs such as Labcorp and Quest Diagnostics13:


           •   Faster Results - four hours for test results in a retail setting and one hour in a

               hospital setting




13 Trial testimony of Brian Grossman, November 16, 2021, 6379:8 - 6382:1, 6392:16 - 6395:10, 6404:19 -6406:24

                                                   Page 11
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 16 of 156




         •    Higher Accuracy - less variability in test results than conventional lab, due to higher

              automation of processes within the device and less exposure to human error.


         •             Lower Pricing - at 50% of Medicare reimbursement rates.


         •    Ability to run a large array of tests, and to match the broad menu of tests offered by

              Labcorp and Quest Diagnostics.


         •    Use of few drops of blood obtained through a finger prick rather than a traditional

             venipuncture procedure requiring larger blood draw from patients.


         •   A processing device that was much smaller than traditional lab equipment and that

             could eventually be placed in locations outside a laboratory14 such as retail

             pharmacies.


   30. As of the Valuation Dates, Theranos had not achieved the above capabilities for its

   technology, and significant development and operational risks faced the company. Ms.

   Holmes testified that only 12 assays were offered when the analysis was performed on the

   miniaturized Theranos device, in the CLIA laboratory,15 and that this was one of the central

   issues raised by the Wall Street Journal regarding the state of development of Theranos'

   technology.16 Ms. Holmes also testified that its newest device the Minilab, which was part of

   the 4 series, was never used for patient testing, was never put in use in the CLIA laboratory

   in California, and as of October 15, 2015, had been approved by the FDA in use for a single




14 Placing the Company's device outside of its laboratory would have required FDA approval, which Theranos had
not obtained on the Valuation Dates.
15 Trial Cross-examination of Elizabeth Holmes, November 30, 2021, 8003:7-15.
16 Cross-examination of Elizabeth Holmes, 8003:16-8004:21.

                                                   Page 12
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 17 of 156




    assay, the Herpes test assay.17 Ms. Holmes also testified that the only Theranos

    manufactured analyzer that was ever used in the CLIA laboratory in California was the Edison

   3.5, which was used for immunoassays only, rather than for general chemistry, cytometry or

    nucleic acid amplification.18


   31. Ms. Holmes further testified that it was the Edison 3.5, one of Theranos' earlier models,

   rather than the Minilab, that was used to perform 12 assays in the CLIA laboratory in

   California between September 2013 and June 2015, and that by the time of the CMS

   inspection in September 2015, Theranos was not using any of its manufactured analyzers in

   the CLIA laboratory.19 Similarly, Ms. Holmes testified that Theranos did not use its own

   technology, including the Minilab, to run tests at its Arizona Moderate Complexity

   Laboratory, but rather used commercially available equipment.20 Mrs. Holmes further

   explained that in order to perform the majority of the 200-some tests on its menu (beyond

   the 12 tests discussed above), Theranos was dependent on machines from third parties such

   as Siemens, Beckman Coulter or Becton Dickinson.21


   32. Testimony from Surekha Gangakhedkar and Erika Cheung was similar regarding the

   state of the Company's technology. Ms. Gangakhedkar testified that the Edison 3.0 and the

   Minilab 4.0 was not ready due to reliability issues that were unresolved22. Ms. Cheung

   testified that the Edison could only run one type of assay on one patient at a time while third




17Trial cross-examination of Elizabeth Holmes, November 30, 2021, 8014:24-8015:20 and 8018:6-8.
18 Cross-examination of Elizabeth Holmes, 8015:21-8016:11.
19 Cross-examination of Elizabeth Holmes, 8016:12-8017:25.
20 Cross-examination of Elizabeth Holmes, 8019:4-8020:13.
21 Cross-examination of Elizabeth Holmes, 8018:9-8019:3
22 Trial testimony of Surekha Gangakhedkar, September 17, 2021, 1185:5-1188:12.

                                                   Page 13
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 18 of 156




    party machines could process 30-40 patients at one time while conducting several different

    tests for each patient23. In addition, the Edison could run "between 4 and max 12"24

    immunoassay tests, not the hundreds management had envisioned.


    33. Starting in February 2014, and ending in April 2015, Theranos raised $734 million in

    capital from various investors through the sale of Series C-2 Preferred stock. In addition, the

    Company raised $112.5 million in Series C-l Preferred stock capital between August 2011

    and January 201425. Because it is my understanding that these capital raises were based on

    misrepresentations to investors regarding the capabilities of the Company's technology and

    progress with the Company's business model, I did not rely on these transactions to estimate

   the fair market value of Theranos on the Valuation Dates.


    VIL      Industry Analysis26


   34. Theranos operates in the Scientific Research and Development industry in the US which

   includes companies and organizations that are involved in physical, engineering or life

   sciences research and development (R&D).


   35. Over the past five years, the industry has performed well despite challenging conditions

   presented by the recession, which have caused many industries to decline. Indeed, industry

   growth is expected to be limited in the next two years, before strengthening in the second

   half of the next five-year period as falling federal funding for defense and weak government




23 Trial testimony of Erika Cheung, September 14, 2021, 807:19-809:9
24 Trial testimony of Erika Cheung, September 14, 2021, 805:21-24, 812:10-11
25 This figure includes promissory notes convertible to Series C-l Preferred Stock. The majority of C-l sales
occurred in calendar year 2013.
26 IBISWorld, IBISWorld Industry Report 54171, Scientific Research & Development in the US, December 2014.

                                                     Page 14
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 19 of 156




    investment will mitigate industry growth. That said, improving private investment from

    major industries, such as oil and health, will help long-term growth. The industry is projected

    to continue to grow at an average annual rate of 2.4%27 to $147.3 billion over the five years

    to 2019.


    VIII.      Economic Conditions28


    36. The relevant time periods for a review of the state of the U.S. economy are the

   Valuation Dates. Throughout 2014, the majority of U.S. economic indicators continued to

    improve.


   37. Although growth in gross domestic product ("GDP") declined slightly in the first quarter

   of 2014, by year end GDP growth had rebounded to 2.6% following two quarters of rapid

   growth (4.6% and 5.0%, respectively). Health care spending as a share of GDP remained

   stable for the past two years. Unemployment which wavered around 6.7% in February

   continued to decline through December to 5.6%. Construction starts, manufacturing activity

   and productivity were improved in both periods and throughout 2014. Personal income and

   consumer spending improved in February which continued through December. Despite

   some intra-year fluctuation, all major stock market indices ended 2014 higher than at the

   end of 2013. Inflation remained subdued and these trends were expected to remain steady

   through 2015.




27 This represents an inflation adjusted real growth figure. Forecasts in an income approach to valuation make use
of nominal figures that include inflation.
28 KeyValueData, "National Economic Report", February 2014 and December 2014; JT Research LLC, "Overview of
the U.S. Economy", Fourth Quarter 2014; and Federal Reserve Bank of Philadelphia Research Department, "Survey
of Professional Forecasters", Fourth Quarter 2014.

                                                     Page 15
   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 20 of 156




      IX.    Financial Review


   38. In valuing Theranos, it is useful to examine the financial position of the company. This

   allows the appraiser to review the history of Theranos, compare it to its industry, and use

   the analysis to assist in assessing the future prospects of the company.


   39. I have analyzed Theranos's financial statements for the years ended December 31, 2007,

   to December 31, 2015, the period closest to the last of my three Valuation Dates.29 Interim

   financial statements between calendar year ends 2013 and 2015 were not available.


   40. Theranos's historical financial statements are presented in Exhibits B.l through B.6

   which include common size presentations and comparative industry metrics. My analysis

   includes a comparison of Theranos to industry averages of a guideline public company peer

   group, and industry data published by RMA and Bizminer as shown in Exhibits B.4 - B.6.30 I

   have used data for companies defined in Exhibit D.3 as a peer group to Theranos.


   41. I note that because Theranos was not a mature company and had not reached

   profitability or meaningful revenues from core services on the Valuation Dates, future results

   were expected to deviate from past results. In the valuation section of this report, I discuss

   in greater detail the financial projections used for valuing Theranos.




29 The 2007 - 2008 financial statements were audited, the remainder are internally prepared
[KPMG_Theranos_000164-000188].
30 The guideline public company data was obtained from S&P Capital IQ, and the selection of these companies is
discussed in the estimate of value section of this report.
https://www.spglobal.com/marketintelligence/en/solutions/sp-capital-iq-platform

                                                    Page 16
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 21 of 156




      A. Adjustments to Reported Financial Statements


42. In analyzing a company's historical earnings as a guide to estimating the company's

earnings base, it is important to make the distinction between past earnings that represent

ongoing earning power and those that do not. Financial statements should be adjusted to

eliminate the effect of past items that would tend to distort the company's current and

future earning power, such as items that are unusual or non-recurring in nature, occur

infrequently, are discretionary, or are derived from non-operating sources, such as interest

income.


43. Based on my review, I identified items that require adjustments in Theranos's financial

statements. These adjustments to the income statement were related to removing non­

recurring or non-operating expenses, and included interest and other income. These

adjustments provide a consistent basis (by only considering operating income) by which to

compare Theranos to other publicly traded companies whose financials were reported by

Capital IQ using the same method. It is noted that these adjustments to the financial

statements were very small in relation to the total revenues and expenses for each period,

and are shown in Exhibit B.3.


44. In addition to the above adjustments, I also adjusted out a "miscellaneous receipts

liability", that equals a portion of proceeds from the 2013 and 2014 capital raises, and

compensation of service providers with preferred stock, for which I understand the stock

was not yet issued. Since Theranos would satisfy the miscellaneous receipts liability by

issuing the corresponding stock, and such stock was included the capitalization tables as of




                                          Page 17
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 22 of 156




    my Valuation Dates, I removed these liabilities. The amount of these liabilities totaled

    $45,187 million as of 12/31/13 and $390,375 million as of 12/31/14.31


          B. Balance Sheet Review


    45.      Theranos's adjusted historical balance sheet is shown in Exhibit B.4.


    46. Assets. Theranos's assets were primarily comprised of cash generated by proceeds from

   the sale of preferred and common shares. Compared to its peer group, Theranos was far

    heavier in its cash holdings, at $424 million at 12/31/15. Theranos also carried low levels of

    inventory on its balance sheet, similar to its peer group. Adding non-current receivables of

   $27 million, Theranos' assets summed to $535 million at 12/31/15.


   47. Liabilities and Equity. Theranos had little current liabilities in relation to its cash

   holdings. Theranos did carry significant amounts of long term liabilities in the form of

   customer deposits / deferred revenue of $136 million, notes payable in the amount $41

   million and other non-current liabilities of $35 million at 12/31/15, for total liabilities of $250

   million. As a result, Theranos' equity was significantly positive at 12/31/14 and 12/31/15.

   For a company that was not mature and still investing in growth, this conservatively levered

   balance sheet appears appropriate. Compared to its peer group, Theranos was similarly

   heavy on equity versus both current liabilities and debt.




31 The $45,187 liability as of 12/31/13 reconciles closely to the proceeds of 2.683 million Series C-l shares issued
between 8/1/13 and 12/31/13 at $15 per share, plus additional shares issued to directors and legal service
providers [THPFM0004648099, lines 82-88 of Excel KPMG auditor workpaper]. The $390,375 million liability as of
12/31/14 reconciles closely to the proceeds of 22.838 million Series C-2 shares issued 10/31/14 through 12/31/14
at $17 per share and marked as "subscribed" in Theranos capitalization tables.

                                                      Page 18
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 23 of 156




           C.         Income Statement Review


    48. Theranos's historical income statement, adjusted as described above, is shown in Exhibit

    B.5.


    49. Sales and Cost of Goods Sold. Theranos' revenue was minimal in the years leading to

    12/31/14 and 12/31/14, in keeping with the fact that Theranos was a near pre-revenue and

    pre-profit company. Revenues in the period 2009-2011, at under $3 million per annum,

    resulted from contracts with pharmaceutical companies such as Celgene to provide testing

    services that would support clinical trials. These revenues terminated in 2011 and did not

    recur thereafter.


   50. Operating Expenses. Operating expenses were significant and increasing in the years

    leading up to 12/31/14 and 12/31/15, with research & development, and general and

   administrative costs of $97 million and $76 million in 2015, respectively.


   51. Net Income. Like many growing and young companies, Theranos had incurred

   significant losses through 2015, with losses of $184 million in 2015.


           D.         Financial Ratios Review


   52. I have reviewed Theranos's financial ratios shown in Exhibit B.6 and compared them to a

   peer group.32 The purpose of financial ratios review is to compare Theranos' historic

   financial performance with benchmark data available in the marketplace, i.e., the peer group

   I have selected. The financial ratios reflect the fact that Theranos was a near pre-revenue




32 The peer group is comprised of public companies identified as having similar characteristics to Theranos, as
shown in Exhibit D.3.

                                                      Page 19
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 24 of 156




and pre-profit company as of 12/31/14 and 12/31/15 and that it retained large amounts of

cash proceeds from investor financings. Its current ratio was well above that of its peers.

Certain other metrics were not meaningful, as Theranos had negative earnings and

operational metrics, and low levels of fixed assets.


53. Summary: In conclusion, Theranos's financial metrics and financial condition at the

Valuation Dates are in keeping with the fact that it was an early stage near pre-revenue and

pre-profit company.


  X.    Estimate of Value


54. The value of a closely held business is derived not from a formula, but from the relevant

facts and circumstances of a company and is based on informed judgment with regard to

those facts. In determining fair market value, I considered available financial data, as well as

all relevant factors affecting the fair market value. One of the first issues to address in

valuing an interest is whether that interest has control and is marketable. As discussed

directly below, the 100% equity interests I valued in Theranos were considered both

controlling and marketable at the Valuation Dates.


    Controlling Interest Consideration

55. The 100% interests being valued in Theranos on the Valuation Dates represented

majority ownership interests in the entire company, and therefore possessed the ability to

control management and financial decisions impacting the entire company or the business

segment. These decisions included the ability to elect directors and appoint management,

determine management compensation and perquisites, set policy, acquire and liquidate



                                           Page 20
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 25 of 156




    assets, determine dividend distribution policy, and other significant policies. Accordingly, I

    have considered valuation methods which yield an estimate of value on a controlling basis.


    56. It is noted that when I allocated Theranos' value to different share classes, the investors

    in these shares did not hold controlling interests in the Company33. I did not discount the

    preferred shares held by investors for lack of control, which results in a higher fair market

   value for their shares, and lower calculated investor loss than had I applied such a discount.

    Preferred stock investors in early-stage companies often collectively exert elements of

   influence or control over the companies they invest in34.


         Marketability Consideration

   57. A major component of a security being valued is its marketability. All other things being

   equal, an investment is worth more if it is marketable than if it is not, since investors prefer

   liquidity over lack of liquidity. Investments that lack the inherent liquidity of publicly traded

   securities are, all else being equal, less attractive investments. Given that the 100% equity

   interests that I valued in Theranos are controlling interests in the entire company, the owner

   of such interests would have had control over the decision to sell the entire company to

   achieve liquidity. As such, I applied valuation methods that yielded an estimate of value on a

   marketable basis, and no lack of marketability discount was applied.




33 Mrs. Holmes testified that she was the founder of Theranos, the only CEO Theranos had ever had, and that at
various points in time before 2016 she owned a majority of the voting shares in Theranos. At the end of 2016, Mrs.
Holmes owned more than 51% of the Class B common stock in Theranos [Cross-examination of Elizabeth Holmes,
8004:22-8005:6, 8013:18-8014:15].

34 AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 7.08, 7.11 [accessed via Commerce Clearing House Accounting Research Manager Subscription]

                                                     Page 21
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 26 of 156




    58. The investors in Series C-l and C-2 shares did not hold controlling interests in the

    Company as noted above, and could not make a decision to sell the entire company to

    achieve liquidity. Under valuation theory, it is generally accepted that the level of

    marketability of senior preferred securities and the entire early-stage enterprise (such as

    Theranos) are comparable35. The entire early-stage enterprise is less liquid than an

    established, profitable company due to negative cash flows and a more limited pool of

    prospective buyers. The senior preferred securities such Series C-l and C-2 shares in

   Theranos have significant liquidation preferences in first order of priority ahead of all of

   other securities, which render them more marketable. In addition, preferred investors

   typically have access to information that would make it easier to access an exit market for

   their securities. As such, I have not applied a lack of marketability discount to Series C-l and

   C-2 preferred shares as compared to entire value of Theranos' equity.


         Valuation Methodologies

   59. The appraisal profession generally recognizes three primary approaches to determine

   value: the income approach, the market approach, and the asset approach. Each approach

   is distinctive and contains many variations. While all valuation approaches are generally

   considered, not all may be used; which approach or approaches are used depends upon the

   specific facts of that engagement.


   60. In valuing the Interest in Theranos, I considered several valuation methods:




35 AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 7.18 - 7.19 [accessed via Commerce Clearing House Accounting Research Manager Subscription]

                                                    Page 22
 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 27 of 156




     Income Approaches:


     Capitalization of Earnings Method


     Discounted Cash Flow Method


     Market Approaches:


     Guideline Public Company Method


     Merger and Acquisition Method


     Back-Solve Method (Investor Financing)


     Asset and Cost Approaches:


     Net Asset Value Method


    Adjusted Net Asset Value Method


     Cost To Recreate Method (Technology and Branding Assets)


61. Income approaches value a company with reference to various measures of the earnings

or cash flows generated by that company, with the assumption that such earnings or cash

flows sooner or later will be paid out to shareholders in the form of dividends.


62. Market approaches value a company by comparison with transactions in similar

businesses, business interests, or securities.


63. Asset approaches value a company, often one that is capital-intensive, with reference to

the stated or calculated net worth of that company, with the assumption that such net

worth sooner or later will be paid out to shareholders in liquidation.




                                           Page 23
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 28 of 156




64. The focus on liquidation value utilized by asset-based approaches tends to limit their

applicability to the value of a non-operating business such as a holding company, early stage

enterprises with an unproven product or service, or one that will be liquidated. In the

alternative, income and market approaches are most appropriate when valuing ongoing

businesses.


     Selection of Valuation Methods

65. In valuing Theranos, I considered the methods listed above. I chose the discounted flow

method combined with the guideline public company method (to support the Company's

exit value), and the adjusted net asset value method combined with the cost to recreate

method (for the Company's technology and branding assets) as suitable methods for valuing

the Company's equity.


66. As discussed in the appendix to this report, I explain my use of the back-solve method to

infer the value Theranos based on certain Series C-2 financing rounds. Because it is my

understanding that investors were provided inaccurate information regarding Theranos'

business operations and capabilities of its technology, I did not rely on this method to define

the value of the Company. The following summarizes the methods considered and my

reasoning for my selection.


     Capitalization of Earnings Method

67. The capitalization of earnings method is an abridged version of the discounted cash flow

method. This method seeks to determine an estimate of value by projecting a single

period's expected economic amount and converting that amount to a value by dividing it by

a "capitalization rate." The capitalization rate is a derivative of the discount rate, i.e., the

                                            Page 24
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 29 of 156




    discount rate minus the annually compounded expected growth rate, in perpetuity, of the

    variable being capitalized.


    68. This method is appropriate when the projected single period expected economic

    amount is indicative of future operations, assuming a normal and constant growth rate. On

    the Valuation Dates, Theranos was a young pre-profit development stage company that had

    a small revenue base, and that had not reached long term mature growth levels or margins.

    The capitalization of earnings method cannot accommodate changing growth rates or

    margin assumptions in future periods. Accordingly, I did not consider the capitalization of

    earnings method an appropriate valuation method for Theranos.


         Discounted Cash Flow Method


    69. The discounted cash flow method is based on the theory that the total value of a

    business is the present value of the projected future earnings plus the present value of the

   terminal value. This method requires that a terminal value assumption be made. The

   amounts of projected earnings and the terminal value are discounted to the present using an

   appropriate discount rate. The discounted cash flow method relies on the ability of the

   appraiser and management to reasonably forecast cash flows and assess the risks associated

   with those cash flows.


   70. I was provided with detailed forecasts that reflected management's contemporaneous

   expectations at the Valuation Dates36. It is my opinion that at the Valuation Dates the



36 The forecasts spanned the 2014 - 2018 calendar years, and were contained in IRC 409A valuation prepared for
Theranos by Aranca. The 409A valuation dates were 9/30/13,12/15/14, and 3/25/15. Email correspondence
between the Theranos management team and Aranca indicated that management provided input regarding
forecast expectations that were integrated into the valuation approaches [examples include Trial Exhibits 5206,
5085, 3527]

                                                    Page 25
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 30 of 156




    projections in the Aranca 409(a) Reports provided the best estimate of future anticipated

    operating results that were available on the Valuation dates, and that the discounted cash

    flow method is an appropriate method for valuing Theranos. I note that I do not consider the

    Aranca forecasts to represent a realistic estimate of future results for reasons discussed later

    in this report, they represented the best choice available of management prepared

    forecasts.


         Guideline Public Company Method

    71. The guideline public company method develops an estimate of value based on prices at

    which stocks of similar companies are trading in a public market. The estimate of value is

    derived by value multipliers such as price to earnings and price to cash flow. These value

    multipliers are then adjusted and applied to the subject company's fundamental data to

    reach an estimate of value for the subject company.


    72. Application of the guideline public company method requires the selection of sufficient

    "comparable companies" to facilitate the determination of a value conclusion for the subject

   company. In selecting comparable guideline companies, "the standard sought is usually one

   of reasonable and justifiable similarity."37


   73. I have not used the guideline public company method to value Theranos as of any of the

   valuation dates. I did however use this method to estimate the terminal value of Theranos

   at the end of the projection period in 2018, under the discounted cash flow method. The

   2014-2018 forecasts provided to me assume that Theranos will continue to experience high



37 Frank M. Burke Jr., Valuation and Valuation Planning for Closely Held Businesses (Englewood Cliffs, NJ: Prentice-
Hall, 1981), p. 49.

                                                      Page 26
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 31 of 156




revenue growth in 2018, and a standard perpetuity formula for the terminal value cannot

accommodate varying future growth rates. In addition, if Theranos were to achieve its

forecasts, it would be significantly more comparable at the end of 2018 to the guideline

public companies I selected than it is on the Valuation Dates. Accordingly, the guideline

public company method is an appropriate method for valuing Theranos as of 12/31/2018, at

the end of management and Aranca's forecast horizon.


    Merger and Acquisition Method

74. The merger and acquisition method derives an estimate of value of the subject company

based on merger and acquisition transactions involving companies or operating units of

companies in similar industries to the subject company. I did not apply this method because

Theranos did not have meaningful revenues or positive earnings to which valuation multiples

could be applied on the Valuation Dates.


    The Back-Solve (Investor Transactions) Method

75. I applied the back-solve method to infer the value of Theranos' equity based on

purchases by investors of Series C-2 Preferred Stock at $17 per share. Because it is my

understanding that these capital raises were based on misrepresentations to investors

regarding the capabilities of the Company's technology and progress with the Company's

business model, I did not consider the back-solve method to provide a reliable indication of

the Company's fair market value. The implementation of this method is discussed in the

appendix to this report.




                                           Page 27
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 32 of 156




         Net Asset Value Method

    76. The net asset value method values a company at the book value of its stockholders'

    equity. The historical cost bases of assets, however, usually bear very little relationship to

    true market values. The method only reflects accounting history expressed in nominal

    dollars and not the potential of a going concern. Because of this limitation inherent in the

    net asset value method and because I was able to apply more appropriate methods, I did not

    use the net asset value method to value Theranos.


         Adjusted Net Asset Method

    77. Under the adjusted net asset method, the assets and liabilities of Theranos are

    expressed at their current market values with an offsetting adjustment to equity. The

   adjusted net asset method is generally appropriate for businesses that are early stages of

   development with unproven products or services (such as Theranos), about to be liquidated,

   or that have substantial capital investments in tangible assets such as real property. I have

   used the net asset value method to value Theranos. In applying this method, Theranos'

   underlying technology and brand intangible assets were adjusted to estimated fair market

   values by applying the cost to recreate method. This method considers that a buyer of the

   assets would contemplate the cost of developing such assets as an alternative to purchasing

   them.38




38 AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 4.42 - 4.44 [accessed via Commerce Clearing House Accounting Research Manager Subscription]

                                                    Page 28
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 33 of 156




      XI.        Value of Theranos at February 7, 2014


    78. The following discussion describes my process in estimating the fair market value of a

    100% equity interest in Theranos as of February 7, 2014.


            A.      Income Approach - Discounted Cash Flow Method


    79. As discussed previously, the discounted cash flow method is based upon the theory that

    the total value of a business is equal to the present value of the forecast future cash flows

    plus the present value of the terminal value. The present value determination is based on

    using a discount rate that reflects the expected rate of return that the market requires in

    order to attract funds to the particular investment. This rate is often referred to as a

    company's "cost of capital."


            Earnings Base

    80. My determination of value was calculated using a free cash flow to invested capital39

    earnings base. An invested capital earnings base considers the cash flows of the subject

    company available to both debt and equity holders, which permits comparability of firms

    with differing capital structures. For my calculations, I defined debt as all interest-bearing

   debt, which includes capital leases. These invested capital earnings-based cash flows are

   calculated for a period through 2018 as shown in Exhibit C.6.




39 Invested Capital is defined as "...the sum of equity and debt in a business enterprise. Debt is typically either (a)
all interest-bearing debt or (b) long-term Interest-bearing debt. When the term is used, it should be supplemented
by a specific definition in the given valuation context." In the International Glossary of Business Valuation Terms as
published in Valuing a Business: The Analysis and Appraisal of Closely Held Companies by Shannon P. Pratt and
Alina V. Niculita, 5th Edition, Appendix A, p. 1072.

                                                       Page 29
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 34 of 156




    81. The fair market value of Theranos's invested capital was equal to the present value of

    Theranos's free cash flow to invested capital. Theranos's free cash flow to invested capital

    was determined as follows for a five-year period (as shown in Exhibit C.5):


                         Net Income (aftertax, excluding interest expense)

                         +       Depreciation and Amortization

                         +/-     Increases or Decreases in Working Capital

                         -       Capital Expenditures

                         =       Free Cash Flow to Invested Capital



   82. For the free cash flow to invested calculation, I established a Weighted Average Cost of

   Capital ("WACC") using the Modified Capital Asset Pricing Model ("CAPM") for the cost of

   equity component of the WACC. The terminal value was determined by applying a market

   derived exit multiple to Theranos' projected revenue and earnings before interest, taxes,

   depreciation, and amortization ("EBITDA"). The guideline public company peer group

   selection and analysis to support the terminal value is discussed in the next section of this

   report.


          Selection of Forecasts

   83. For purposes of my analysis, I requested from Counsel any available forecasts that the

   Company prepared in close proximity to the Valuation Dates. The available documents

   contained forecasts that were provided to investors40, forecasts that appeared to be




40 Mosley Materials, pp. 370-372, Summary Cap and Projected Income -KRM, pp. 3-5, Theranos Revenue
Model_PFM, Trial Exhibit 4859 Projected Statement of Income, 2_SEC-USAO-EPROD-001215410_native

                                                  Page 30
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 35 of 156




   internally prepared for which I did not have record that they were provided to investors41,

   and the forecasts contained within the Aranca IRC 409A valuations as of 9/30/13, 12/15/14,

   and 3/25/1542.


   84. The forecasts provided to investors who participated in the 2014 and early 2015

   financings were much more aggressive in terms of revenue growth than the forecasts

   applied by Aranca in the same time periods. Because these forecasts are associated with

   misrepresentations made to investors, and reflect extremely optimistic assumptions

   regarding near term revenue growth and profitability, I did not consider them reliable for

   implementing an income approach to the valuation of Theranos.


   85. The internally prepared forecasts that I reviewed and did not have evidence as to

   whether they were provided to investors, contained revenue growth and operating margin

   assumptions that were very similar to the investor forecasts. I did not consider these

   forecasts to be reliable for the same reason as that cited above for investor forecasts.


   86. The Aranca forecasts contained optimistic assumptions of high revenue growth and

   above industry operating margins, however their growth assumptions were orders of

   magnitude lower than those in the investor forecasts. A comparison is contained in Appendix

   Exhibits B.l through B.3. Management prepared and accepted these forecasts for purposes

   of determining the fair market value of Theranos stock, and as a basis for Federal tax

   reporting for compensatory grants made to employees. In addition, I noted that Theranos'



41 Projected Statement on lncome_Jan 2015, Projected Statement on Incomejan 2015-1, SEC-USAO-EPROD-
000808915, SEC-USAO-EPROD-000809708, SEC-USAO-EPROD-000875621, SEC-USAO-EPROD-001247904, SEC-
USAO-EPROD-001519025, 10.08.13 board docs.
42 Trial Exhibits 5141, 5190, 5206 Attachment, 5209.

                                                Page 31
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 36 of 156




    Board of Directors was presented forecasts in October 201343 that were very similar to those

    adopted by Aranca in their 9/30/13 409A44, and that these forecasts were much lower than

    those presented to investors in January 201445. Finally, I observed that the Aranca forecasts

    were relatively consistent across the three IRC 409A reports that I reviewed with valuation

    dates between September 2013 and March 2015. For all of these reasons, I determined that

   the Aranca forecasts most closely aligned with management's expectations on the Valuation

    Dates46. I relied on these forecasts as a starting point for applying my discounted cash flow

    method.


           Key Assumptions

   87. The key assumptions incorporated in the cash flow forecasts are set forth in Exhibit C.l

   to C.3. My assumptions are based balance sheet, income, expense, and capital expenditure

   forecasts that were developed in communications between Theranos management and

   Aranca47. In vetting these forecasts, I considered the historical operations of Theranos, the

   Company's stage of development, historical and forecast industry growth information, and

   economic conditions.


   88. My key assumptions as shown in Exhibits C.l through C.3 and in D.l are explained as

   follows:




43 10.08.13 Board Docs, pp. 15-16, NUNN_THERANOS_0000665 - 0000666
44 Trial Exhibit 5141, p. 59.
45 Theranos Revenue Model_PFM (this document contains worksheet tabs that represent the two year forecast
provided by Theranos management to PFM in January 2014).
46 Despite the Aranca forecasts being the best choice available among management prepared projections, I still
considered them overly optimistic for reasons explained in the discount rate selection section of this report.
47 Trial Exhibits 3527, 5190.

                                                    Page 32
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 37 of 156




   89. Revenue: Revenue was forecast to grow significantly through 2018, at which point it

   would still be higher than a long-term sustainable level, at 55.6% annual growth. Revenues

   are based on laboratory test services provided through retail pharmacies, physician's offices,

   and hospitals. Because Theranos' Edison device was not FDA approved, and could not

   perform many of the tests offered, the ability to generate these revenues in the near term

   were dependent on operation of Theranos' laboratories in CA and AZ, with significant use of

   third party purchased equipment48. In the long term, Theranos' ability to successfully

   capture market share from companies such as Quest Diagnostics was highly dependent on

   successful development of its device, FDA approval, and ability to deliver a superior

   alternative to conventional laboratory tests.


   90. Cost of Revenues: Cost of revenues was forecast to be equal to 35.3% in of revenue in

   2014, decreasing to 30% in 2018.


   91. Operating Expenses: Operating expense levels were forecast to decrease from being

   significantly greater than revenue in 2014 to 24.7% of revenue in 2018. The forecasted

   operated expenses and cost of revenues result in an EBITDA margin of 45.3% in 2018 which

   is significantly above BizMiner and RMA industry medians of 11.2% and 8.8% respectively

   (Exhibit B.5). In addition, Theranos' forecasted EBITDA margin is more than twice the upper

   quartile range of the guideline public companies of 20.7% (Exhibit D.2). I did not alter these

   very optimistic margin assumptions applied by Aranca and Theranos management, however




48 Cross-examination of Elizabeth Holmes, 8016:12-8017:25, 8019:4-8020:13.

                                                   Page 33
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 38 of 156




I did consider this variable in determining the appropriate WACC discount rate to apply to

the forecasts.


92. Capital Expenditures: Capital expenditures ("Capex") were forecast to decrease from

being significantly greater than revenue in 2014 to 11.8% of revenue in 2018. Over the

forecast period, the projected capital expenditures significantly exceed industry metrics as a

percentage of revenue. The upper quartile of the public company peer group is 6.5% of

revenue (Exhibit D.2). I noted thatTheranos appeared to classify its Edison "manufactured

device" as a fixed asset rather than as consumable inventory. This along with its large

investment in manufacturing equipment for the device may explain why the Company

required significantly higher capital expenditures than its peer group. This factor also

mitigates to a limited extent the Company's very optimistic EBITDA margins as discussed

above.


93. Depreciation and Amortization: As shown in Exhibit C.3, depreciation was forecast to

decrease from significantly greater than revenue to 5.7% in 2018. Projected depreciation is

based on an estimated economic life of 7.5 years for new purchases, and 5 years of existing

fixed assets. These lives were inferred based on an analysis of historical depreciation and

accumulated depreciation relative to cost basis for the Company's fixed assets.


94. Income Tax Rate: I applied a 40% income tax rate which approximates combined CA

State and Federal statutory corporate tax rates on the Valuation Dates.


95. Working Capital: Theranos' forecasted working capital was based on the projected

difference between current operating assets and operating liabilities adopted by Aranca.



                                          Page 34
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 39 of 156




    Aranca's analysis did not include required operating cash which I added to the forecasts

    based on 180 days of operating expenses. This results in working capital stabilizing at 18.6%

    or revenue in 2018, as shown in Exhibit C.3. This is at the lower bound of the 22.8% to 48.7%

    range based on industry comparable data.


   96. Exit Multiple - Guideline Public Companies: The Company's projected high revenue

   growth rate in 2018 is the reason why I estimated Theranos' terminal value at 12/31/2018

   using an exit multiple under the guideline public company method, as shown in Exhibit D.l.

   Exhibit D.3 outlines the guideline public companies that I deem comparable to Theranos. I

   selected publicly traded companies that offer medical diagnostic tests in a laboratory

   setting, or rapid point of care tests outside of laboratory. These selected companies included

   Quest Diagnostics and Labcorp Diagnostics, which were discussed as comparators in

   Company management discussions with Mr. Grossman during Partner Fund Management's

   ("PFM") due diligence for its February 2014 investment in Theranos49. I also selected

   companies that developed diagnostic equipment for medical testing, such as Cepheid or

   Illumina, which were also discussed as comparators between Mr. Grossman and Theranos

   management. My selected peer group has a large degree of overlap with the guideline public

   companies selected by Aranca and Company management for IRC 409A purposes.


   97. Exit Multiple Selection: In Exhibit D.4,1 compare Theranos at the end of the forecast

   period in 12/31/18 to the guideline public companies for a series of financial metrics, as of

   the 2/7/2014 Valuation Date. In Exhibit D.2, I have listed financial metrics of the guideline




49 Trial testimony of Brian Grossman, November 16, 2021, 6381:5-11.

                                                   Page 35
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 40 of 156




public companies as of 2/7/2014 and indicated with bordering those combinations of public

guideline company and metrics that I consider most comparable to Theranos.


98. If Theranos were to meet its forecasts through 2018, it would be of similar revenue size

to the guideline public companies, it would have experienced higher growth in the historical

period, it would be expected to realize modestly higher growth in the near future, it would

generate higher profit margins than the peer group, and it would require significantly larger

capital expenditures to sustain the Company compared to the peer group. I selected a MVIC

(market value of invested capital)/Revenue multiple of 6.10x, which is near the mean of the

peer group, and significantly above the median and upper quartile. This recognizes the

higher assumed profitability and growth of Theranos in 2018 compared to the peer group,

while accounting for the higher required capital expenditures of the Company. I selected

12.60x MVIC/EBITDA multiple that is between the median and lower quartile of the peer

group. Theranos' higher profitability is inherent in the EBITDA figure, and should not be

reflected in the multiple. In addition, the higher capital expenditure requirements for

Theranos have a negative impact on the applicable multiple.


      Discount Rate

99. When considering any investment, an investor is exposed to various risks. These include

company, industry, economic, market, interest rate, and credit risks. The riskier the

investment, the higher the return expected. Discount and capitalization rates, as used in an

Income Approach to value a business, represent the return an investor would require in

order to choose a particular investment. It represents anticipated future return; past

returns, however, are often used to help determine a reasonable future rate.


                                          Page 36
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 41 of 156




    1 00.In order to determine the appropriate discount rate that equity investors in Theranos

    required - the cost of equity of Theranos - I considered several commonly accepted

    approaches. Two widely used approaches for privately held companies are the Modified

    Capital Asset Pricing Model ("Modified CAPM"), and the Ibbotson's Build-Up Model. Given

    the level of risk, and the resulting required rate of return of investor for an early-stage

    investment such as Theranos, I did not use either of the above methods, and instead

    estimated Theranos' WACC using venture capital rates of return from several studies that

    are widely cited.50


    101 .As shown in Exhibit C.4, I selected a venture capital cost of equity of 45%. The next step

    was to develop a WACC. This was derived by weighting the cost of equity and the after-tax

    cost of debt by their respective amounts in Theranos's invested capital (based on industry

   capital structure). Because the industry use of debt was so low (only 3.0% of invested

   capital), the WACC ended up being 44% (rounded).


    102 .Table 1 of Exhibit C.4 presents actual rates of return achieved on venture backed

   portfolio companies at different stages of development, and over different time horizons.

   The annual rates of return for a Seed/Early-Stage company such as Theranos are 25.5% to

   34.9% over a 10-year period. Such returns are appropriate if a forecast reflects expected

   value, which is a weighted average of possible future results. The Aranca forecasts I adopted

   are the most realistic version that was available in the documents that I reviewed, but they

   do not represent expected value.




50 See footnotes 1 through 7 of Exhibit C.7.

                                               Page 37
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 42 of 156




    103 .The Aranca forecasts do not consider downside risk, and early-stage companies face

   significant statistical risk of failure or under-performance51. In addition, the forecasted

   revenues are predicated on Theranos' ability to implement on its vision to offer very broad

   array of faster, lower cost, more accurate tests in a miniaturized device that would displace

   traditional labs such as Quest Diagnostics. As discussed in the background section to this

   report, this vision was unrealized on the Valuation Dates and the Company faced significant

   remaining development risk. I further note that the Edison was not FDA approved, and

   Theranos lab operations were likely not in compliance with CLIA quality standards on all of

   the Valuation Dates52, and the forecasts assumed that Theranos would realize outsized 45%

   EBITDA margins that were far above industry norms. For all of these reasons, the Aranca

   forecasts did not reflect expected value, and therefore the applicable rate of return required

   an upwards adjustment to those demonstrated in Table 1 of Exhibit C.4.


   104 .Tables 2 and 3 of Exhibit C.4 demonstrate target rates of return; the returns expected by

   Venture Capital investors if the investment is successful. These higher target rates of return

   (compared to actual returns) compensate for downside risk that is not included in a "success

   scenario" forecast such as the one applied by Aranca that I relied upon. The range of most

   target annual rates of return for Seed, Start-up and "early development" companies such as

   Theranos on the Valuation Dates is between 28% and 75%. When I derived the implied




51AICPA Accounting and Valuation Guide, Valuation of Portfolio Company Investments of Venture Capital and
Private Equity Funds and Other Investment Companies, May 1, 2019, Part II- Appendixes A-C, B.04.04. Also refer to
graphic entitled "Venture Capital is an Unusual Creature" directly following this section.
52 Therano-no: Key CLIA Compliance Issues, Loyola University Chicago School of Law, May 5, 2022.
http://blogs.luc.edu/compliance/?p=4681



                                                    Page 38
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 43 of 156




    annual rates of return that would reconcile forecasts provided by Theranos to investors to

    prices paid by those same investors in 2014 and 201553, the resulting range was similar at

    36% to 82% (Exhibit C.4). Based on this data for target rates of return applicable to Theranos

    on the Valuation Dates, I selected a cost of equity of 45% with a resulting WACC of 44%. My

    cost of equity selection is in the low end of the applicable target rates of return, as well as

   those inferred from investor forecasts. This favorable assumption results in a higher value

   for a Theranos, and a lower calculated investor loss.


    105.Utilizing a discounted cash flow to invested capital method with a WACC of 44.0%, I

   derived an estimate of value for Theranos of $431 million (rounded), on a 100% -controlling,

   marketable interest basis, as shown in Exhibit C.6. This is inclusive of Series C-l and C-2

   financing proceeds through 2/7/2014 not included on the 12/31/2013 balance sheet. This is

   also net of interest-bearing debt.


          B. Asset Approach - Adjusted Net Asset Value


   106.In Exhibit E.l, I have estimated the value of Theranos using the adjusted net asset value

   method combined with a cost to recreate approach for Theranos' technology and branding

   assets. The basis for application of this method is that Theranos was a near pre-revenue54,

   pre-profit early-stage company with largely unproven technology on the Valuation Dates.

   The Company's stage of development renders going concern income and market approaches




53 Please refer to Appendix for an explanation of reconciliation of discounted cash flow approaches based on
forecasts provided to investors, to the $17 per share they agreed to invest at for Theranos Series C-2 Preferred
Stock.
54 Theranos had revenues of $116,000 and $391,000 in calendar years 2014 and 2015, which were far below its
near-term management forecast expectations.

                                                     Page 39
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 44 of 156




   to valuation less reliable, as future results may deviate significantly from forecasted

   expectations, due to development delays, technical failures, inability to obtain regulatory

   approvals, low market adoption and other factors. For such early-stage companies, adjusted

   net asset approaches are often applied, which reflect the fair market value of the company's

   assets less its liabilities. In addition, intangible assets of such early-stage companies are often

   measured through cost approaches55, which measure the cost to obtain or reproduce

   functionally similar or identical assets.


   107.1 started with Theranos' 12/1/2013 balance sheet and made three adjustments. I have

   added to cash those Series C-l and C-2 financing proceeds through 2/7/2014 not included on

   the 12/31/2013 balance sheet. I have removed from other current liabilities the

   "miscellaneous receipts" liability that represents proceeds from the 2013 capital raises for

   which stock was not yet issued (for the reasons explained earlier in this report). Finally, I

   added the value of Theranos' technology and branding assets, which I have estimated using

   the cost to recreate method, as shown in Exhibit E.2.


   108.In Exhibit E.2, I have categorized Theranos' historical operating expenses based on trial

   balances prepared by the Company. My objective was to include any historical expenses that

   related to development of Theranos' technology, and to developing recognition of the

   Theranos brand56. I excluded any expenses that related to capital raising for Theranos, as




55 AICPA Intangible Asset Valuation Cost Approach Methods and Procedures, p.25. Reasons to use the cost
approach include "if the subject intangible asset is not the type of asset that generates a measurable amount of
income".
56 Inclusion of expenditures related to developing Theranos brand recognition is favorable to the Company's value
as it ignores the impact of management misrepresentations made to investors and business partners that would
damage the brand and potentially render it worthless.

                                                     Page 40
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 45 of 156




   this would not create an intangible asset, and the cash proceeds of capital raises are

    included in my adjusted net asset method. Theranos' largest categories of operating

   expenses such as salaries and wages did not include functional allocations to categories

    research and development, capital raising and investor relations, and general and

   administrative support. In such instances, I made a favorable assumption by including all

   expenses in my cost approach. This results in a higher valuation for Theranos and a lower

   calculated investor loss.


   109.Exhibit E.2 details my allocations of historical costs incurred by Theranos to the value of

   its technology and brand, and they result in capture of over 95% of Theranos operating

   expenses between 2004 and the Valuation Dates. I have then grown the allocated expenses

   at historical inflation rates to the Valuation Dates, deducted a 4% functional obsolescence

   adjustment which represents 50% of 2004-2006 expenses57, and added a 14% developer

   profit margin58 to result in a cost to recreate value for Theranos' technology and brand of

   $340,370 million. My valuation of Theranos' technology and brand through a cost approach

   makes a favorable assumption that the Company's significant historical expenditures into

   these assets have been productively spent, and that less than 5% of these expenditures are

   obsolete on the valuation date. The final step was to integrate this value into the adjusted

   net asset approach in Exhibit E.l to result in a value of Theranos' equity of $378 million

   (rounded) as of the 2/7/2014 Valuation Date.




57 It is my understanding that Theranos began development of the Edison in 2007, and carried forward some of the
technology from the prior version of its device.
58 This is based on the upper quartile of the guideline public company peer group EBIT margins in Exhibit D.2.

                                                    Page 41
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 46 of 156




          C.              Conclusion of 100% Equity Value


    110.My analysis results in a fair market value of Theranos on the 2/7/2014 Valuation Date in

    the range of $378 million to $431 million per Exhibit A.3. Allocation of these values to the

    different share classes (including Series C-2 Preferred Stock), warrants and options is also

    shown in Exhibit A.3, based on the equity allocation models developed in Exhibits L.l and

    L.2, and Exhibits M.l and M.2 which explained in the following section.


          D.              Equity Allocation Models


    111.After I concluded my estimate of Theranos' entire equity value, I allocated the

    Company's value to its capital structure. The methodology that is commonly applied to

   allocate value to a complex capital structure for a going concern business is the option

    pricing equity allocation model ("OPM"), where common stock and each security in a

   company are treated as a call option on total company value.59The OPM will model future

   possible exit values for the company on a lognormal (bell shaped) distribution curve,60 based

   on an estimated current equity value for the company, and an estimated volatility of the

   company's equity in the future. The key inputs that the OPM requires to estimate a

   distribution of future possible exit values from a liquidity event include equity value on the

   valuation date, a risk-free rate of return, an estimated term to a future liquidity event, and

   an estimated volatility of the underlying equity value of the company. The higher the




59 AICPA Practice Aid: Valuation of Privately-Held-Company Equity Securities Issued as Compensation, 2013,
Sections 6.30 - 6.41. [accessed via Commerce Clearing House Accounting Research Manager Subscription]
60 The distribution of percentage returns on the stock are normally distributed in the option pricing model, creating
a symmetrical bell shaped curve. The distribution of stock prices (or company exit values) are lognormally
distributed creating a bell shaped curve that is asymmetrical, with a longer tail on the right side of the curve. This
occurs because as stock prices are constrained at zero on the left side of the curve, they cannot become negative.

                                                      Page 42
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 47 of 156




    volatility input and the longer the term to liquidity, the more widely dispersed will be the

    resulting possible exit values on the bell-shaped distribution curve.


    112.The OPM considers the rights and preferences of each security, and at each possible

    future total exit value (typically from an IPO or sale of the company) it will allocate proceeds

    from that exit value to each class of securities. At high exit values, preferred stock will

    convert to common61. At low exit values preferred stock will not convert to retain their

    liquidation preferences that exceed the value of common stock. At very low exit values,

    there may be zero payout to common stock and the preferred securities may not recover

    their full liquidation preferences. As a final step, the OPM will aggregate all the payouts to

    each security under future possible exits to determine the probability weighted present

   value of each class of securities. All the securities will sum to the total value of the company

    on the valuation date.


    113.1 applied the OPM to allocate Theranos' equity value to its securities, taking into account

   the first priority liquidation preferences of Series C, C-l and C-262, the second priority

    liquidation preferences of Series A and B63, and the fact that all preferred stock had

    participation rights with common stock in a liquidity event64.1 estimated an approximate 4

   year term to a liquidity event from the 2/7/2014 Valuation Date based on observation that



61 In the case of Theranos, preferred stock retains participation rights with common stock. Preferred stock holders
receive their liquidation preferences + equal sharing with common stock in any residual exit value that exceeds
these preferences.
62 Series C, C-l, C-2 preferred stock are repaid first in a liquidation or sale of the company, for an amount equal to
their initial investment prices of $0,564, $3.00 & $15.00, and $17.00 respectively. [Articles_Jan 2014, pp. 5-6,
Liquidation Rights. Certificate of Designation of Series C-2 Preferred Stock_2014.02.07, pp. 1-2, Liquidation Rights]
63 Series A, B preferred stock are repaid second in a liquidation or sale of the company, for an amount equal to
their initial investment prices of $$0.15 and $0.1846 respectively. [Articlesjan 2014, pp. 5-6, Liquidation Rights]
64 All preferred stock share in any remaining residual liquidation or sale value equally with common stock without
having to convert to common stock. [Articles_Jan 2014, pp. 5-6, Liquidation Rights]

                                                       Page 43
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 48 of 156




the Company's forecasts estimated mature operating profit margins between 2017 and

2018, that the Company would become more attractive and saleable to an industry buyer

within that timeframe, that Aranca in their discussions with management had assumed a

company exit in 2018, and a 4 year term to liquidity in their 12/15/14 IRC 409A valuation.


114 .Another significant input into the OPM is an estimate of Theranos' future equity

volatility between the Valuation Dates and the date of the estimated liquidity event. I

analyzed the asset and equity volatilities of the same 22 guideline public company peer

group discussed earlier in this report. The median and average asset volatility of the peer

group was between 39% and 40%, and the upper quartile was 47% per Exhibit R.l. I selected

an asset volatility of 50% for Theranos, taking into account that it was earlier stage and

significantly smaller than the peer group companies as measured by revenues and market

value. Earlier stage companies are generally more volatile due to higher remaining

development and implementation risks. This is confirmed by the smallest companies in the

public peer group having asset volatilities that range between 47% and 101%. My final step

was to calculate the corresponding equity volatility of 55% for Theranos given the proportion

of financing debt and equity in its capital structure.


115 .My analysis results in a range of per share values on a controlling marketable basis for

Theranos securities on the 2/7/14 Valuation Date shown in the lower section of Exhibit A.3.


 XII.   Value of Theranos at December 31, 2014


116.Using the same adjusted net asset value and discounted cash flow methods as those

used to value Theranos at the 2/7/2014 Valuation Date, including identical Aranca IRC 409A



                                            Page 44
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 49 of 156




    forecasts, the resulting fair market value of Theranos's equity on the 12/31/2014 Valuation

    Date was in the range $827 million to $951 million as shown in Exhibit A.4. Allocation of

    these values to the different share classes, warrants and options is also shown in Exhibit A.4,

    based on the equity allocation models developed in Exhibits N.I and N.2, and Exhibits 0.1

    and 0.2. The volatility used in the equity allocations was developed in Exhibit R.2.


    117 .The discounted cash flow and guideline public company methods are outlined in

    Exhibits F and G respectively. The adjusted net asset method combined with the cost to

    recreate method are outlined in Exhibits H.l and H.2.


    XIII.     Value of Theranos at October 15, 2015


    118 .Using the same adjusted net asset value and the discounted cash flow methods as those

    used to value Theranos at the 2/7/2014 Valuation Date, which included nearly identical

   Aranca IRC 409A forecasts65, the resulting fair market value of Theranos on the 10/15/2015

   Valuation Date was in the range of $1,051 million to $1,184 million as shown in Exhibit A.5.

   Allocation of these values to the different share classes, warrants and options is also shown

   in Exhibit A.5, based on the equity allocation models developed in Exhibits P.l and P.2, and

   Exhibits Q.l and Q.2. The volatility used in the equity allocations was developed in Exhibit

   R.3.




651 applied the Aranca 3/25/15 IRC 409A forecasts to this valuation date, which are nearly identical to the
12/15/14 IRC 409A forecasts.

                                                      Page 45
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 50 of 156




    119.The discounted cash flow and guideline public company methods are outlined in

    Exhibits I and J respectively. The adjusted net asset method combined with the cost to

    recreate method are outlined in Exhibits K.l and K.2.


    XIV.       Conclusion of Values


    120.       . A summary of my estimated fair market values is outlined below, and these include

    the Company's substantial cash balances:


                              Cash
                             Balance
100% Company Equity Value              Series C-1 Per Share               Series C-2 Per Share     Valuation    Report
                           Included in
   Range (In Thousands)                    Value Range                        Value Range            Date       Exhibit
                          Equity Value
                          (Thousands)

$    378,000    -   $   431,000   $   151,912   $   8.77   -   $   9.39   $   9.90   -   $ 10.59   02-07-14    Exhibit A.3

$    827,000    -   $   951,000   $   465,933   $   9.61   -   $ 10.36    $ 10.80    -   $ 11.63    12-31-14   Exhibit A.4

$ 1,051,000     -   $ 1,184,000   $   496,919   $ 10.14    -   $ 10.81    $ 11.37    -   $ 12.11    10-15-15   Exhibit A.5




    121. The aggregate Series C-l and C-2 investor losses based on the Company values in the

    tables above range between $277,964 million and $315,884 million per Exhibit A.l to this

    report. I have been asked to prepare an alternate calculation of investor loss based on my

    estimated values as of only the 10/15/2015 Valuation Date, which results in a range of

    aggregate loss between $237,323 million and $273,646 million.




Dated: September 8, 2022
                                          Carl S. Saba, MBA, CVA, ASA, ABV




                                                     Page 46
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 51 of 156




 XV.     Appendix


       A. Investor Financings - Back-solve Methods


122.There are two general processes for establishing the value of an enterprise and its

associated classes of stock. The first is a top-down process that establishes the fair market

value of the enterprise and then allocates this value among the various classes of equity.

The second, and the way that I used under the back-solve method, is a bottom-up process

that uses the pricing of a recent stock transaction to infer the value of the other classes of

equity. This in turn establishes an implied total equity value for the subject company.

Inferring value from investments in a company is a form of the market approach referred to

as the back-solve method. This approach is frequently applied to early stage companies and

is discussed in the AICPA Practice Aid on Valuation of Privately-Held-Company Equity

Securities Issued as Compensation. The back-solve method utilizes the same OPM

framework discussed earlier in this report that I used to allocate my estimated values for

Theranos to its securities.


123.1 applied the back-solve method with the same OPM assumptions used for the equity

allocation models previously described on the three Valuation Dates. The primary difference

in this analysis is that I did not have an established value for Theranos' equity. I instead

solved for the implied value of Theranos' equity based on the $17.00 per share paid by

Series C-2 investors throughout 2014. I performed this analysis as of the 2/7/14 Valuation

Date, and 12/31/14 Valuation Date. In addition, I approximated the implied equity value of

Theranos as of 2/13/15, the investment date for Mr. Murdoch, by adding his $125 million

investment amount to the 12/31/14 back-solve value. The resulting implied equity values for

                                            Page 47
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 52 of 156




    Theranos based on investor pricing of Series C-2 preferred stock is $1,510 million, $2,250

    million and $2,375 million66 as of 2/7/14, 12/31/14, and 2/13/15 respectively (Appendix

    Exhibit A). The supporting back-solve models are contained in the Appendix Exhibits C.l -

    C.3, and D.l - D.3 respectively for the first two valuation dates.


          B. Investor Forecasts - DCF Models


    124.As part of my analysis, I have also reviewed the forecasts provided to investors as part

    of their due diligence process at various points in time in the period from February 2014 to

   April 2015. As discussed earlier in this report, the forecasts provided to investors presented

    revenue growth rates and thresholds that were orders of magnitude higher than those

    provided to Aranca for IRC 409A purposes (and also shared with the Theranos Board in

   October 2013) in the same approximate time frame. The comparison of revenues, gross

    margin, and EBITDA margin between forecasts provided to investors vs. Aranca is contained

   in Appendix Exhibits B.l - B.3. An example of the significant discrepancies is a comparison of

   projected revenues in Exhibit B.l for calendar year 2015. Forecasts provided to investors

   assumed Theranos' revenue would range between $990 million and $1,677 million, which is

   approximately 9 to 15 times higher than the forecasts provided to Aranca with revenues of

   $112 to $113 million.




66 These are not my opinions of the equity value of Theranos, they represent the values assigned to the Company
based on investors' willingness to pay the $17 per share for Series C-2 preferred offered by Theranos management.
There are a number of references in press articles to a valuation for Theranos of approximately $9 billion in this
timeframe. My inferred values are substantially lower due to the back-solve model's recognition of superior
economic rights (such as liquidation preferences) to Series C-2 preferred stock as compared to all other inferior
securities. The approximate $9 billion figure can be achieved by multiplying all shares outstanding for Theranos on
these dates by the $17 per share paid for Series C-2. This simplified post-money approach would incorrectly
assume that all securities have equal value to the most senior Series C-2 preferred stock.

                                                     Page 48
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 53 of 156




125.Given that investors reviewed the forecasts provided to them as one of the factors that

they considered in their decision to invest in Series C-2 at $17 per share, I considered that it

would be informative to estimate the implied annual rates of return that investors placed on

those forecasts, and to compare those rates of return to the target VC rates of return study

data. This would provide additional information to consider in selecting my discount rate for

the income approach described in the main section of this report.


126.1 applied income approaches with a market derived exit multiple (similar to that

discussed in the main section of this report) using the following investor forecasts:


 •   Management prepared two-year forecasts provided to PFM in January 2014 for their

     2/7/14 investment (Appendix Exhibit E.l - E.3).


 •   Financial model developed by PFM based on the management forecasts above, which

     extend the two-year forecast horizon to a ten year period. I relied on PFM's "base case"

     version of the model (Appendix Exhibit E.4 - E.5).


•    Management prepared two-year forecasts provided to Daniel Mosley and RDV

     Corporation for their October 2014 investment (Appendix Exhibit F.l -F.3).


•    Management prepared two-year forecasts provided to Rupert Murdoch for his February

     2015 investment (Appendix Exhibit G.l - G.3).


127.In each instance, I translated the investor two-year forecasts into a discounted cash flow

method, and estimated a market exit multiple of revenue or EBITDA applicable to Theranos

at the end each forecast period (similar to that described in the main section of this report).

For the PFM financial model, I did not apply a market exit multiple as the forecast horizon


                                           Page 49
Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 54 of 156




 was extended far enough to allow for Theranos to reach steady state growth rates and

 margins. This allowed me to apply a standard perpetuity formula to capture all cash flows

 that would follow the discrete forecast period.


 128.My final step was to solve for the rate of return that would be required to reconcile the

 Theranos equity value resulting from investor forecast discounted cash flow methods to the

 back-solve values of Theranos from investor pricing discussed earlier. That reconciliation is

 shown on Exhibit A, and results in annual rates of return on investor proceeds ranging from

 36% to 82%. As discussed in the section of this report where I explained my selection of the

 discount rate under the income approach, these rates of return are generally consistent with

 target VC rates of return study data for companies at early stages of development (refer to

 Exhibit C.4 for comparison).




                                          Page 50
   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 55 of 156




         C. Assumptions and Limiting Conditions


In addition to those cited elsewhere in this report, other assumptions and limiting conditions

pertaining to the estimate of value stated in this report are summarized below.


1. The estimates of value arrived at herein are valid only for the stated purpose as of the dates

    of the valuations.


2. Public information and industry and statistical information have been obtained from

    sources I believe to be reliable. However, I make no representation as to the accuracy or

    completeness of such information and have performed no procedures to corroborate the

    information.


3. No change of any item in this report shall be made by anyone other than Hemming Morse,

    LLP, and I shall have no responsibility for any unauthorized change.


4. I have not conducted interviews with the management of Theranos concerning the past,

    present, and prospective operating results of the Company. I have instead relied upon

    materials itemized in Appendix Exhibit I, Evidence Relied Upon in the determination of my

   opinions of value.


5. This report reflects facts and conditions existing at the Valuation Dates. Subsequent events

   have not been considered unless they evidence facts and circumstances that were known or

   knowable on the Valuation Dates, and I have no obligation to update my report for such

   events.


6. This report is designed to give estimates of value. It does not purport to be a

   comprehensive list of all of the considerations undertaken in order to arrive at my estimates

                                             Page 51
   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 56 of 156




   of value. It is not an accounting report, and it should not be relied on to disclose unreported

   assets or liabilities, or to verify financial reporting.


7. This report contains a review and discussion of information contained in trial balances,

   financial statements, and tax returns prepared by Theranos. The majority of this financial

   data is not CPA Audited, Reviewed, or Compiled. I have applied some procedures to

   corroborate financial information on the Company between different sources, and have

   generally assumed this information to be a reliable representation of Theranos' books and

   records.




                                                Page 52
 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 57 of 156




        D. Certifications and Representation


I certify and represent that, to the best of my knowledge and belief:

1. the statements of fact in this report are true and correct;


2. the reported analyses, opinions, and conclusions are limited only by the reported

    assumptions and limiting conditions, and are my personal, unbiased professional analyses,

    opinions, and conclusions;


3. Hemming Morse, LLP and its employees have no present or prospective interest in or bias

   with respect to the property that is the subject of this report, and the employees of

   Hemming Morse, LLP and I have no personal interest or bias with respect to the parties

   involved;


4. I have performed no services, as an appraiser or in any other capacity, regarding the

   property that is the subject of this report within the three-year period immediately

   preceding acceptance of this assignment;


5. my engagement in this assignment was not contingent upon developing or reporting

   predetermined results;


6. my fee for completing this assignment is not contingent upon the development or reporting

   of a predetermined values or direction in values that favor the cause of the client, the

   amount of the value opinions, the attainment of stipulated results, or the occurrence of any

   subsequent events directly related to the intended use of this appraisal;




                                            Page 53
   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 58 of 156




7. my analyses, opinions, and conclusions were developed, and this report has been prepared

    in conformity with Uniform Standards of Professional Appraisal Practice and with the

    American Institute of Certified Public Accountants' Statement on Standards for Valuation

    Services No. 1 ("SSVS");


8. Brian Zacharias, Claudia Stern, and Sacha Zadmehran provided significant business and/or

    intangible asset appraisal assistance to the person signing this certification/representation;


9. the analyses, opinions, and conclusions of value included in the valuation report are subject

    to the specified assumptions and limiting conditions, and they are the personal analyses,

    opinions, and conclusions of value of the valuation analyst;


10. the economic and industry data included in the valuation report have been obtained from

   various printed or electronic reference sources that the valuation analyst believes to be

    reliable. The valuation analyst has not performed any corroborating procedures to

   substantiate that data;


11. the parties, for whom the information and use of the valuation report is restricted, are

    identified; the valuation report is not intended to be and should not be used by anyone

   other than such parties;


12. I have no obligation to update the report or the opinions of value for information that

   comes to my attention after the date of the report;


Dated: September 8, 2022




Carl S. Saba, MBA, CVA, ASA, ABV

                                             Page 54
  Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 59 of 156



XVI. Exhibit List
Investor Loss Calculation                                  Exhibit A. 1
Series C-1 & C-2 Investor Details List                     Exhibit A.2
Value Summary 2/7/14                                       Exhibit A.3
Value Summary 12/31/14                                     Exhibit A.4
Value Summary 10/15/15                                     Exhibit A.5


2/7/2014 Valuation Date
Historical Balance Sheets                                  Exhibit   B.1
Historical Income Statements                               Exhibit   B.2
Adjustments to Financial Statements                        Exhibit   B.3
Adjusted Balance Sheets                                    Exhibit   B.4
Adjusted Income Statements                                 Exhibit   B.5
Comparative Financial Ratios                               Exhibit   B.6

Discounted Cash Flow Key Assumptions                       Exhibit   C.1
Adjusted Working Capital Analysis                          Exhibit   C.2
Depreciation & Capital Expenditure Analysis                Exhibit   C.3
Discount Rate - Venture Capital Rates of Return            Exhibit   C.4
Forecast Free Cash Flow to Invested Capital                Exhibit   C.5
Discounted Cash Flow Method Value Summary                  Exhibit   C.6

Guideline   Public Company   Method                        Exhibit   D.1
Guideline   Public Company   Key Financial Ratios          Exhibit   D.2
Guideline   Public Company   Descriptions                  Exhibit   D.3
Guideline   Public Company   Ranking                       Exhibit   D.4

Adjusted Net Asset Value                                   Exhibit E.1
Cost to Recreate Method - Technology and Branding Assets   Exhibit E.2


12/31/2014 Valuation Date
Discounted Cash Flow Key Assumptions                       Exhibit   F.1
Adjusted Working Capital Analysis                          Exhibit   F.2
Depreciation & Capital Expenditure Analysis                Exhibit   F.3
Discount Rate - Venture Capital Rates of Return            Exhibit   F.4
Forecast Free Cash Flow to Invested Capital                Exhibit   F.5
Discounted Cash Flow Method Value Summary                  Exhibit   F.6

Guideline   Public Company   Method                        Exhibit   G.1
Guideline   Public Company   Key Financial Ratios          Exhibit   G.2
Guideline   Public Company   Descriptions                  Exhibit   G.3
Guideline   Public Company   Ranking                       Exhibit   G.4

Adjusted Net Asset Value                                   Exhibit H.1
Cost to Recreate Method - Technology and Branding Assets   Exhibit H.2


10/15/2015 Valuation Date
Discounted Cash Flow Key Assumptions                       Exhibit   1.1
Adjusted Working Capital Analysis                          Exhibit   I.2
Depreciation & Capital Expenditure Analysis                Exhibit   1.3
Discount Rate - Venture Capital Rates of Return            Exhibit   1.4
Forecast Free Cash Flow to Invested Capital                Exhibit   1.5
Discounted Cash Flow Method Value Summary                  Exhibit   1.6

Guideline   Public Company   Method                        Exhibit J.1
Guideline   Public Company   Key Financial Ratios          Exhibit J.2
Guideline   Public Company   Descriptions                  Exhibit J.3
Guideline   Public Company   Ranking                       Exhibit J.4
  Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 60 of 156


Adjusted Net Asset Value                                                 Exhibit K.1
Cost to Recreate Method - Technology and Branding Assets                 Exhibit K.2


Equity Allocation Models
NAV Equity Allocation 2/7/14 - Step 1                                    Exhibit L.1
NAV Equity Allocation 2/7/14 - Step 2                                    Exhibit L.2

DCF Equity Allocation 2/7/14 - Step 1                                    Exhibit M.1
DCF Equity Allocation 2/7/14 - Step 2                                    Exhibit M.2

NAV Equity Allocation 12/31/14 - Step 1                                  Exhibit N.1
NAV Equity Allocation 12/31/14 - Step 2                                  Exhibit N 2

DCF Equity Allocation 2/7/14 - Step 1                                    Exhibit 0.1
DCF Equity Allocation 2/7/14 - Step 2                                    Exhibit 0.2

NAV Equity Allocation 10/15/15 - Step 1                                  Exhibit P.1
NAV Equity Allocation 10/15/15 - Step 2                                  Exhibit P.2

DCF Equity Allocation 10/15/15 - Step 1                                  Exhibit Q.1
DCF Equity Allocation 10/15/15 - Step 2                                  Exhibit Q.2



Volatility Models
Volatility Analysis 2/7/14                                               Exhibit R.1
Volatility Analysis 12/31/14                                             Exhibit R 2
Volatility Analysis 10/15/15                                             Exhibit R 3


Appendix
Summary of Investor Values                                           Appendix Exhibit A

Summary of Revenue Forecasts                                        Appendix Exhibit B.1
Summary of Gross Profit Forecasts                                   Appendix Exhibit B.2
Summary of EBITDA Forecasts                                         Appendix Exhibit B.3

Backsolve Method Value Summary 2/7/14                               Appendix Exhibit C.1
Backsolve Method 2/7/14 - Step 1                                    Appendix Exhibit C.2
Backsolve Method 2/7/14 - Step 2                                    Appendix Exhibit C.3

Backsolve Method Value Summary 12/31/14                             Appendix Exhibit D.1
Backsolve Method 12/31/14 - Step 1                                  Appendix Exhibit D.2
Backsolve Method 12/31/14 - Step 2                                  Appendix Exhibit D.3

PFM Forecast - Depreciation & Capital Expenditure Analysis          Appendix Exhibit E.1
PFM Forecast Free Cash Flow to Invested Capital                     Appendix Exhibit E.2
PFM Forecast - Discounted Cash Flow Method                          Appendix Exhibit E.3

PFM (Base Model) Forecast Free Cash Flow to Invested Capital        Appendix Exhibit E 4
PFM (Base Model) Forecast - Discounted Cash Flow Method             Appendix Exhibit E.5

Mosley-RDV Forecast - Depreciation & Capital Expenditure Analysis   Appendix Exhibit F.1
Mosley-RDV Forecast Free Cash Flow to Invested Capital              Appendix Exhibit F.2
Mosley-RDV Forecast - Discounted Cash Flow Method                   Appendix Exhibit F.3

Murdoch Forecast - Depreciation & Capital Expenditure Analysis      Appendix Exhibit G.1
Murdoch Forecast Free Cash Flow to Invested Capital                 Appendix Exhibit G.2
Murdoch Forecast - Discounted Cash Flow Method                      Appendix Exhibit G.3

Carl Saba Curriculum Vitae                                           Appendix Exhibit H

Documents Considered or Relied Upon                                  Appendix Exhibit I
                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 61 of 156



US v. Elizabeth Holmes                                                                                                                                                 Exhibit A.1
Valuation of Theranos, Inc.                                                                                                                              Investor Loss Calculation
                                                                                                                                                                           (USD)


                                                                                                      Series C-1         Series C-2        Investor Loss Value Range [3]
         Incremental          Series C-1       Series C-2                                             Purchase           Purchase
          Loss Date           Shares [1]       Shares [2]         Low Value         High Value          Price              Price             Low                   High

           2/7/2014                              9,669,998    $         9.90    $         10.59                      $         17.00   $    62,004,902    - $     68,689,534

           2/7/2014                7,500,032                            8.77               9.39             15.00                           42,100,107            46,740,488

          12/31/2014                     N/A    32,808,227             10.80              11.63                N/A             17.00       124,318,072           143,386,658

          10/15/2015                     N/A    42,947,639             11.37              12.11                N/A             17.00        49,541,379            57,067,784


                                                                                                                         Total Loss    $   277,964,460    - $    315,884,464




          10/15/2015               6,563,232                           10.14              10.81   $          15.00                     $    27,479,453       $    31,923,063

          10/15/2015                            42,947,639              11.37             12.11                                17.00       209,843,062           241,722,753

                                                                                           Total Loss, Alternate Calculation [4]       $   237,322,514    - $    273,645,817




Notes:
[1] Preferred Series C-1 shares with an issue price and liquidation preference of$15.0 per share.
[2] Preferred Series C-2 shares with an issue price and liquidation preference of$17.0 per share.
[3] Losses calculated at each date based on incremental increase in share count relative to prior date.
[4] The alternate calculation measures loss based on the value of all Series C-1and C-2 shares as of 10/15/15, rather than the valuation date closest to when the investment
   was made.
[5] Share counts presented above do not include shares held by Defendant.




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                                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 62 of 156


     US v. Elizabeth Holmes                                                                                                                                                                                                 ______________________ Exhibit A.2
     Valuation of Theranos, Inc.                                                                                                                                                                                             Series C-1 & C-2 Investor Details List
                                                                                                                                                                                                                                                           (USD)



                                                                  Class of                                               Investment      Price Paid Per
                               Investor Name                       Stock        Certificate Date        Shares             Amount            Share        Fair Market Value Per Share             Investor Loss                            Notes

           Walgreen                                             Series C-2          01/07/14             2,941,176   $      49,999,992   S        17.00   $     9.90   -   $    10.59   $   18,859,086 -   S       20,892,249         Convertible Note
           CENTRAL VALLEY ADMINISTRATORS INC.                   Series C-2          02/07/14               294,117           4,999,989            17.00         9.90            10.59        1.885,905 -            2,089,221
           PARTNER INVESTMENTS, LP                              Scries C-2          02/07/14             3,263,529          55,479,993            17.00         9.90            10.59       20,926,043 -          23,182,041
           PEER VENTURES GROUP IV L.P.                          Scries C-2          02/07/14               779,411          13,249,987            17.00         9.90            10.59        4,997,654 -            5,536,442
           PFM HEALTHCARE MASTER FUND, LP                       Scries C-2          02/07/14             2,255,096          38,336,632            17.00         9.90            10.59       14,459,879 -          16,018,772
           PFM HEALTHCARE PRINCIPALS FUND, LP                   Scries C-2          02/07/14               136,669           2,323,373            17.00         9.90            10.59          876,334 -              970,810
           RILEY P. BECHTEL & SUSAN P. BECHTEL                  Scries C-2          03/18/14                 8,823             149,991            17.00        10.80            11.63           47,405 -               54,676
           RILEY P. BECHTEL & SUSAN P. BECHTEL                  Scries C-2          03/18/14               291,177           4,950,009            17.00        10 80            11.63        1,564,448 -            1,804,412
           ANDREAS C. DRACOPOULOS                               Scries C-2          10/31/14             1,470,588          24,999,996            17.00        10.80            11.63        7,901,238 -            9,113,174
           LAKESHORE CAPTL MGMT                                 Scries C-2          10/31/14             5,882,352          99,999,984            17.00        10.80            11.63       31,604,954 -          36,452,695
           MOSLEY FAMILY HOLDINGS LLC                           Scries C-2          10/31/14               352,941           5,999,997            17.00        10.80            11.63        1,896,297 -            2,187,161
           Cox Investment Holdings, Inc.                        Scries C-2          11/03/14             5,882,352          99,999,984            17.00        10.80            11.63       31,604,954 -          36,452,695
           MADRONE PARTNERS, LP                                 Scries C-2          12/15/14             5,882,352          99,999,984            17.00        10.80            11.63       31,604,954 -          36,452,695
           SODA SPRING PARTNERS, LP                             Scries C-2          12/15/14             2,941,176          49,999,992            17.00        10.80            11.63       15,802,477 -          18,226,347
           THE HENRY A. KISSINGER 2014                          Scries C-2          12/15/14               176,470           2,999,990            17.00        10.80            11.63          948,146 -            1,093,577
           BENDEL FUND                                          Scries C-2          12/31/14               249,998           4,249,966            17.00        10.80            11.63        1,343,200 -            1,549,227
           K.R. Murdoch                                         Series C-2          02/13/15             7,352,941         124,999,997            17.00        11.37            12.11       35,926,623 -          41,384,653
           David Boies                                          Scries C-2          03/06/15                17,647             299,999            17.00        11.37            12.11           86,224 -               99,323
           EOSon Investments M Ltd.                             Scries C-2          03/30/15             1,058,823          17,999,991            17.00        11.37            12.11        5,173,431 -            5,959,387
           EOSon Investments N Ltd.                             Scries C-2          03/30/15               117,647           1,999,999            17.00        11.37            12.11          574,826 -              662,154
           Robert Kraft Attn: Michael Joyce                     Scries C-2          03/31/15                58,823             999,991            17.00        11.37            12.11          287,410 -              331,074
           1NMOB1LIARIA CARSO, SA de CV                         Scries C-2          04/16/15             1,764,705          29,999,985            17.00        11.37            12.11        8,622,386 -            9,932,312
                                                                                    TOTAL               43,178,813   S     734,039,821                                                  S 236,993,874      S 270,445,096                     [1]


           Safeway                                              Scries C-1          08/19/11             1,000,000   $      15,000,000   $        15.00   $    8.77    -   $     9.39   $    5,613,324 -   $       6,232,038          Convertible Note
           Walgreen                                             Scries C-1          06/14/12             2,000,000          30,000,000            15.00        8.77              9.39       11,226,647 -          12,464,077          Convertible Note
           George Shultz                                        Scries C-1          02/19/13               200,000           3,000,000            15.00        8.77              9.39        1,122,665 -           1,246,408
           PEER VENTURES GROUP IV, L.P.                         Scries C-1          06/10/13             1,180,000          17,700,000            15.00        8.77              9.39        6,623,722 -           7,353,805
           Richard Kovaccvich                                   Scries C-1          08/01/13                10,000             150,000            15.00        8.77              9.39           56,133 -               62,320
           Richard Kovaccvich                                   Scries C-1          08/02/13               133,333           1,999,995            15.00        8.77              9.39          748,441 -             830,936
           Lucas Venture Group XI                               Scries C-1          09/30/13               261,334           3,920,010            15.00        8.77              9.39        1,466,952 -           1,628,644
           Lucas Venture Group IV LP                            Scries C-1          09/30/13                33,334            500,010             15.00        8.77              9.39          187,115 -             207,739
           PEER VENTURES GROUP IV, L.P.                         Scries C-1          09/30/13             1,000,000          15,000,000            15.00        8.77              9.39        5,613,324 -           6,232,038
           Lucas Venture Group XI                               Scries C-1          10/01/13               126,666           1,899,990            15.00        8.77              9.39          711,017 -             789,387
           Lucas Venture Group XI                               Scries C-1          10/02/13                45,000            675,000             15.00        8.77              9.39          252,600 -             280,442
           Lucas Venture Group XI                               Scries C-1          10/07/13                15,000            225,000             15.00        8.77              9.39           84,200 -               93,481
           Lucas Venture Group XI                               Scries C-1          10/09/13                11,667             175,005            15.00        8.77              9.39           65,491 -               72,709
           Lucas Venture Group XI                               Scries C-1          10/15/13                10,000             150,000            15.00        8.77              9.39           56,133 -               62,320
           Lucas Venture Group XI                               Scries C-1          10/30/13                 1,666              24,990            15.00        8.77              9.39            9,352 -               10,383
           Alan Eisenman                                        Scries C-1          12/30/13                 6,666              99,990            15.00        8.77              9.39           37,418 -               41,543
           Gordon Family Trust                                  Scries C-1          12/30/13                20,000            300,000             15.00        8.77              9.39          112,266 -              124,641
           Crofton Capital GP                                   Scries C-1          12/30/13                20,000            300,000             15.00        8.77              9.39          112,266 -              124,641
           Sherrie Eisenman                                     Scries C-1          12/30/13                 3,333              49,995            15.00        8.77              9.39           18,709 -               20,771
           PEER VENTURES GROUP IV, L.P.                         Scries C-1          12/31/13               169,995           2,549,925            15.00        8.77              9.39          954,237 -           1,059,415
           Hall Black Diamond 11, LLC                           Scries C-1          12/31/13               325,000           4,875,000            15.00        8.77              9.39        1,824,330 -           2,025,413
           Black Diamond Ventures XI1-B, LLC                    Scries C-1          12/31/13               356,660           5,349,900            15.00        8.77              9.39        2,002,048 -           2,222,719
           Richard Kovaccvich                                   Scries C-1          12/18/13               133,333           1,999,995            15.00        8.77              9.39          748,441 -             830,936
           Colin Carter                                         Scries C-1          01/06/14                16,666            249,990             15.00        8.77              9.39           93,552 -              103,863
           Daniel C. Carter                                     Scries C-1          01/07/14                 5,000              75,000            15.00        8.77              9.39           28,067 -               31,160
           Mendenhall TF Partners                               Scries C-1          01/14/14                87,500           1,312,500            15.00        8.77              9.39          491,166 -             545,303
           Kendra Fadil                                         Scries C-1          01/14/14                 5,000              75,000            15.00        8.77              9.39           28,067 -               31,160
           Boies, Schiller & Flexner LLP                        Scries C-1          01/14/14               322,879           4,843,185            15.00        8.77              9.39        1,812,424 -           2,012,194
                                                                                    TOTAL                7,500,032   S     112,500,480                                                  S 42,100,107       S      46,740,488




     Notes:
     [1] Series C-2 shares per investor detail above exceed share count in Aranca 3/25/15 409A by 231,174 shares.




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                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 63 of 156


     US v. Elizabeth Holmes                                                                                                                                        Exhibit A.3
     Valuation of Theranos, Inc.                                                                                                                         Value Summary 2/7/14
     As of February 7, 2014                                                                                                         (thousands of USD, except Per Share Value)


         |Equity Value
                                                                                               Indicated Value Range
          Valuation Methods                            Ref.                    Low                       -                        High

            Adjusted Net Asset Value Method         Exhibit E.1     $                378,000
            Discounted Cash Flow Method             Exhibit C.6                                                           $               431,000



         |Per Share Value


                                                                        Adj. Net Asset Value Method Value Allocation      Discounted Cash Flow Method Value Allocation
                                                                                                   Present Value                                         Present Value
                                                      Shares               Present Value             Per Share                Present Value                Per Share
                          Share Classes             Outstanding             Marketable              Marketable                 Marketable                 Marketable
            Preferred Shares
              Series A @ $0,150                        46,320,045   $             15,971,798   $                   0.34   $          19,704,031      $                0.43
              Series B @ $0.1846                       54,162,965                 19,200,011                       0.35              23,640,024                       0.44
              Series C @ $0,564                        58,896,105                 36,586,427                       0.62              42,179,901                       0.72
              Series C-1 @ $3.00                       25,175,001                 50,247,440                       2.00              54,863,296                       2.18
              Series C-1 @ $15.00                       7,500,032                 65,759,992                       8.77              70,400,373                       9.39
              Series C-2 @ $17.00                       9,669,998                 95,700,432                       9.90             102,385,064                      10.59
            Total Preferred Shares                    201,724,146                283,466,099                                        313,172,690
            Warrants on Common
             Exercise Price @ $0,072                      741,665                    202,862                       0.27                   254,789                        0.34
            Common - Outstanding                      302,640,465                 91,674,991                       0.30             114,224,663                          0.38
            Options on Common
              Exercise Price @ $0,015                     350,000                    104,602                       0.30                    130,472                       0.37
              Exercise Price @ $0,030                   1,227,125                    359,949                       0.29                    449,631                       0.37
              Exercise Price @ $0,066                     552,500                    155,386                       0.28                    194,741                       0.35
              Exercise Price @ $0,072                   3,092,715                    845,929                       0.27                  1,062,459                       0.34
              Exercise Price @ $0,094                     312,500                     81,901                       0.26                    103,201                       0.33
              Exercise Price @ $0,170                   3,990,167                    953,270                       0.24                  1,209,524                       0.30
              Exercise Price @ $0,206                     703,195                    155,010                       0.22                    197,832                       0.28
            Total Options Outstanding                  10,228,202                  2,656,047                                             3,347,859
          Total Outstanding                           515,334,478   $            378,000,000                              $         431,000,000




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                                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 64 of 156


US v. Elizabeth Holmes                                                                                                                                       Exhibit A.4
Valuation of Theranos, Inc.                                                                                                                     Value Summary 12/31/14
As of December 31,2014                                                                                                        (thousands of USD, except Per Share Value)


    |Equity Value
                                                                                         Indicated Value Range
     Valuation Methods                           Ref.                    Low                       -                        High

       Adjusted Net Asset Value Method        Exhibit H.1     $                827,000
       Discounted Cash Flow Method            Exhibit F.6                                                           $              951,000



    |Per Share Value


                                                                  Adj. Net Asset Value Method Value Allocation      Discounted Cash Flow Method Value Allocation
                                                                                             Present Value                                       Present Value
                                               Shares               Present Value              Per Share                Present Value              Per Share
                     Share Classes           Outstanding             Marketable               Marketable                 Marketable               Marketable
       Preferred Shares
         Series A @ $0,150                       46,320,045   $             32,977,000   $                 0.71     $          41,348,789    $                0.89
         Series B @ $0.1846                      54,134,965                 39,131,429                     0.72                49,002,864                     0.91
         Series C @ $0,564                       58,896,105                 58,956,625                     1.00                70,461,233                     1.20
         Series C-1 @ $3.00                      25,175,001                 61,774,321                     2.45                69,038,049                     2.74
         Series C-1 @ $15.00                      7,500,032                 72,077,495                     9.61                77,684,547                    10.36
         Series C-2 @ $17.00                     32,808,227                354,428,619                    10.80               381,466,406                    11.63
       Total Preferred Shares                   224,834,375                619,345,489                                        689,001,888
       Warrants on Common
        Exercise Price @ $0,072                     741,665                    466,518                       0.63                  591,355                       0.80
       Common - Outstanding                     302,965,725                201,372,919                       0.66             254,016,501                        0.84
       Options on Common
         Exercise Price @ $0,015                    350,000                    231,008                       0.66                 291,581                        0.83
         Exercise Price @ $0,030                  1,170,875                    765,136                       0.65                 966,622                        0.83
         Exercise Price @ $0,066                    547,500                    349,798                       0.64                 442,794                        0.81
         Exercise Price @ $0,072                  2,579,175                  1,622,338                       0.63               2,056,464                        0.80
         Exercise Price @ $0,094                    312,500                    191,946                       0.61                 243,815                        0.78
         Exercise Price @ $0,170                  3,972,457                  2,317,274                       0.58               2,956,570                        0.74
         Exercise Price @ $0,206                    606,365                    337,573                       0.56                 432,410                        0.71
       Total Options Outstanding                  9,538,872                  5,815,073                                          7,390,256
     Total Outstanding                          538,080,637   $            827,000,000                              $         951,000,000




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                                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 65 of 156



     US v. Elizabeth Holmes                                                                                                                                        Exhibit A.5
     Valuation of Theranos, Inc.                                                                                                                      Value Summary 10/15/15
     As of October 15, 2015                                                                                                         (thousands of USD, except Per Share Value)


         |Equity Value
                                                                                                  Indicated Value Range
          Valuation Methods                               Ref.                    Low                       -                     High

            Adjusted Net Asset Value Method            Exhibit K.1     $              1,051,000

            Discounted Cash Flow Method                Exhibit 1.6                                                         $          1,184,000



         |Per Share Value


                                                                           Adj. Net Asset Value Method Value Allocation    Discounted Cash Flow Method Value Allocation
                                                                                                       Present Value                                 Present Value
                                                        Shares                Present Value              Per Share             Present Value           Per Share
                          Share Classes               Outstanding               Marketable              Marketable              Marketable             Marketable
            Preferred Shares
              Series A @ $0,150                           46,320,045   $             42,593,795   $                 0.92   $         51,570,875    $                1.11
              Series B @ $0.1846                          54,162,965                 50,438,016                     0.93             61,011,415                     1.13
              Series C @ $0,564                           58,896,105                 71,702,077                     1.22             83,840,633                     1.42
              Series C-1 @ $3.00                          21,947,001                 59,748,688                     2.72             66,016,108                     3.01
              Series C-1 @ $15.00                          6,563,232                 66,525,417                    10.14             70,969,027                    10.81
              Series C-2 @ $17.00                         42,947,639                488,387,110                    11.37            520,266,801                    12.11
            Total Preferred Shares                       230,836,987                779,395,102                                     853,674,858

            Warrants on Common
             Exercise Price @ $0,072                         741,665                    615,782                     0.83                 751,426                     1.01

            Common - Outstanding                         302,965,725                263,274,450                     0.87            320,141,665                      1.06

            Options on Common
              Exercise Price @ $0,015                        350,000                    302,400                     0.86                367,883                      1.05
              Exercise Price @ $0,030                      1,170,875                  1,003,355                     0.86              1,221,403                      1.04
              Exercise Price @ $0,066                        547,500                    460,518                     0.84                561,402                      1.03
              Exercise Price @ $0,072                      2,579,175                  2,141,411                     0.83              2,613,120                      1.01
              Exercise Price @ $0,094                        312,500                    254,377                     0.81                310,879                      0.99
              Exercise Price @ $0,170                      3,972,457                  3,097,888                     0.78              3,798,228                      0.96
              Exercise Price @ $0,206                        606,365                    454,717                     0.75                559,136                      0.92
            Total Options Outstanding                      9,538,872                  7,714,666                                       9,432,051

          Total Outstanding                              544,083,249   $          1,051,000,000                            $       1,184,000,000




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                                      Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 66 of 156


    US v. Elizabeth Holmes                                                                                                                                                                               Exhibit B.1
    Valuation of Theranos, Inc.                                                                                                                                                           Historical Balance Sheets
    As of February 7, 2014                                                                                                                                                                      (thousands of USD)

                                                        As of               As Of             As of             As Of                As of           As of             As Of             As of             As Of
                                                       12-31-07            12-31-08          12-31-09          12-31-10            12-31-11         12-31-12          12-31-13          12-31-14          12-31-15
    Assets
       Current Assets
          Current Operating Assets
              Cash & Equivalents                   $      14,509       $       1,884     $       3,690     $      36,718       $      88,056    $      51,785     $      30,966     $     465,933     $     424,278
              Accounts Receivable                            -                   215                 29                55                 -                -                -                 -                  -
              Inventory                                      -                   -                 581               -                    -             1,733             3,777             2,383            13,331
              Other Current Assets                           412                 250               195               827                 665            1,882             1,780            12,788             5,114
          Total Current Operating Assets                  14,921               2,349             4,495            37,600              88,721           55,401            36,523           481,104           442,723
          Total Current Non-Operating Assets                  -                  -                 -                 -                    -                -                 -                 -                 -
       Total Current Assets                               14,921               2,349             4,495            37,600              88,721           55,401            36,523           481,104           442,723

       Total Fixed Assets - Net                             1,795              2,211              1,766             2,630               4,648           19,557           22,021            53,366            64,803

       Non Current Assets
          Total Intangible Assets - Net                       -                   -                 -                 -                   -                -                 -                -                 -
          Total Long Term Receivables                         -                   -                 -                 -                   -                -                 -             27,045            27,513
          Total Other Non-Current Assets                      -                   -                 -                 -                   -                -                 -                -                 -
       Total Non Current Assets                               -                   -                 -                 -                   -                -                 -             27,045            27,513

    Total Assets                                   $       16,716      $        4,560    $        6,260    $      40,230       $       93,369   $      74,958     $      58,543     $     561,515     $     535,039

    Liabilities and Equity:
    Liabilities
       Current Liabilities
             Current Operating Liabilities
                Accounts Payable                   $        1,683      $          549    $          560    $          440      $        1,238   $        7,669    $        7,430    $      16,633     $       18,692
                Deferred Revenue                              500                 244             1,663               257                   7                7                  7              -                 -
                Other Current Liabilities                   1,821               1,306               950             1,298               2,845            7,714            50,017          400,359             19,175
             Total Current Operating Liabilities            4,004               2,099             3,173             1,995               4,090           15,390            57,454          416,992             37,867
             Total Current Debt Obligations                   -                   -               8,061               -                   -                -                  -               -                  -
       Total Current Liabilities                            4,004               2,099            11,234             1,995               4,090           15,390            57,454          416,992             37,867

       Non Current Liabilities
          Long Term Debt
              Note Payable 1                                  -                   -                 -                 -                   -                -                 -                 -                 -
              Note Payable 2                                  -                   -                 -                 -                   -             40,173            40,489            40,805           41,121
              Noncurrent capital lease                             3              -                 -                     42              101              231             1,897               -                 -
          Total Long Term Debt                                     3              -                 -                     42              101           40,404            42,386            40,805           41,121
          Other Non Current Liabilities
              Deferred Rent                                   -                   643               723               759                 767            1,572             1,857                -               -
              Deferred Revenue, LT                            -                   -               2,146             3,808               3,801            3,801             3,801                -                -
              Customer Deposits                               -                   -                 -                 -                73,500           69,500            80,000           143,846          136,346
              Other Non-current liabilities                       29                73              807             1,847               5,959            3,425             1,866            33,750           34,508
          Total Other Non Current Liabilities                     29              716             3,676             6,414              84,027           78,297            87,525           177,596          170,854
       Total Non Current Liabilities                              32              716             3,676             6,456              84,128          118,702           129,911           218,401          211,975

    Total Liabilities                                       4,036               2,815            14,910             8,451              88,218          134,092           187,365           635,393           249,842

    Total Equity                                           12,680               1,745            (8,649)           31,779               5,151          (59,134)         (128,821)          (73,878)          285,197

    Total Liabilities and Equity                   $       16,716      $        4,560    $        6,260    $       40,230      $       93,369   $       74,958    $       58,543    $      561,515    $      535,039


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                                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 67 of 156


     US v. Elizabeth Holmes________________________________________________________________________________________________________ ______________________ Exhibit B.2
     Valuation of Theranos, Inc.                                                                                                           Historical Income Statements
     As of February 7, 2014(thousands of USD)



                                                  FYE                FYE                FYE                 FYE                 FYE                FYE                  FYE               FYE               FYE
                                                12-31-07           12-31-08           12-31-09            12-31-10            12-31-11           12-31-12             12-31-13          12-31-14          12-31-15

     Total Revenue                          $                  $        1,799     $       2,794       $        1,401      $         518      $                    $                 $         116     $         391

     Total Cost of Sales                               -                  -                  -                   -                   -                  -                    -                 -                 -

     Gross Profit                                      -                1,799             2,794                1,401                518                 -                    -                116               391

     Total Operating Expenses                      16,728             12,615              13,597              16,801              27,173            64,015               85,605           122,756           173,246

     EBITDA                                        (16,728)           (10,816)           (10,804)            (15,399)            (26,655)           (64,015)             (85,605)         (122,640)         (172,855)

     Depreciation & Amortization
        Depreciation                                  672                740                626                 771                1,025              2,654                5,573             7,247            10,162
        Amortization                                  -                  -                  -                   -                    -                  -                    -                 -                 -
     Total Depreciation & Amortization                672                740                626                 771                1,025              2,654                5,573             7,247            10,162

     EBIT                                          (17,400)           (11,556)           (11,430)            (16,170)            (27,680)           (66,670)             (91,178)         (129,888)         (183,017)

        GainZ(Loss) on Sale of Fixed Asse              -                 -                   -                   -                   -                      (9)             (849)              (1)               -
     Total Mise lnc/(Exp)                            1,132               264                      8                  42              146                    27              (807)             528              1,984

     Interest Expense                                      3                  1                  46                  88                  3             196                  383               474                537

     Pre-Tax Income                                (16,271)           (11,294)           (11,467)            (16,216)            (27,536)           (66,838)             (92,368)         (129,834)         (181,570)
        Less: Income Taxes/(Benefit)                   -                  -                  -                   -                   -                  -                    -                 -                 -

     Net IncomeZ(Loss)                      $      (16,271)    $      (11,294)    $      (11,467)     $      (16,216)     $      (27,536)    $      (66,838)      $      (92,368)   $     (129,834)   $     (181,570)




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                                           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 68 of 156


     US v. Elizabeth Holmes                                                                                                                                                                    Exhibit B.3
     Valuation of Theranos, Inc.                                                                                                                                      Adjustments to Financial Statements
     As of February 7, 2014                                                                                                                                           ______________ (thousands of USD)


                                                              FYE                      FYE                   FYE                FYE                   FYE                    FYE                FYE
                                                            12-31-09                 12-31-10              12-31-11           12-31-12              12-31-13               12-31-14           12-31-15
     Balance Sheet Adjustments:
        Cash & Equivalents                              $                        $                     $                  $                     $                      $                  $
        Miscellaneous Receipts Liability                               -                        -                     -                  -              45,187                390,375                    -
        Other                                                          -                        -                     -                  -                  -                      -                     -
     Total Balance Sheet Adjustments                    $                        $                     $                  $                     $       45,187         $      390,375     $

     Income Statement Adjustments:

     Revenue
        Revenue 1                                       $                        $                     $                  $                     $                      $                  $
        Revenue 2                                                      -                        -                     -                  -                     -                      -                  -
        Revenue 3                                                      -                        -                     -                  -                     -                      -                  -
     Total Revenue                                      $                        $                     $                  $                     $                      $                  $

     Total Cost of Sales                                               -                        -                     -                  -                     -                      -

     Gross Profit                                                      -                        -                     -                  -                     -                      -                  -

     Total Operating Expenses                                          -                        -                     -                  -                     -                      -                  -

     Total Officers' Compensation                                      -                                              -                  -                     -                      -                  -

     EBITDA

     Total Depreciation & Amortization


     EBIT



     Miscellaneous lncome/(Expense)
        Interest Income                                                    (8)                  (42)              (146)                  (37)                  (42)               (529)            (1,984)
        GainZ(Loss) on Sale of Fixed Assets                            -                        -                  -                       9                   849                   1                -
        Other IncomeZ(Expense)                                         -                        -                  -                     -                     -                   -                  -
     Total Mise lnc/(Exp)                                                  (8)                  (42)              (146)                  (27)                  807                (528)            (1,984)

     Interest Expense                                                  -                        -                     -                  -                     -                      -                  -


     Pre-Tax Income                                                        (8)                  (42)              (146)                  (27)                  807                (528)            (1,984)
        Less: Income TaxesZ(Benefit)                                   -                        -                  -                     -                     -                   -                  -

     Total Income Statement Adjustments                 J__________ (81          $              (42)   $          (146) J_________ (271         $              807    J________ (528)     $        (1,984)




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                                                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 69 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                      ___________ Exhibit B.4
Valuation of Theranos, Inc.                                                                                                                                                                                                 Adjusted Balance Sheets
As of February 7, 2014                                                                                                                                                                                                           (thousands of USD)


                                                                                Subject Company - Adjusted                                                     Subject Company Common Size                          Benchmark Common Size
                                                   As of         As of        As of       As of        As of             As of       As of         As of       As of      As of     As of            As of      Comp. [1]  RM A [2] BizMiner [3]
                                                  12-31-09      12-31-10     12-31-11    12-31-12    12-31-13           12-31-14    12-31-16      12-31-11    12-31-12   12-31-13  12-31-14         12-31-16      LTM      2016-16     2017
Assets
  Current Assets
           Current Operating Assets
              Cash & Equivalents                  $   3,690     $ 36,718     $ 88,056     $ 51,785       $ 30,966       $ 465,933   $ 424,278        94.3%       69.1%       52.9%        83.0%         79.3%      16.3%        24.7%        15.9%
              Accounts Receivable                        29           55                                                                              0.0%        0.0%        0.0%         0.0%          0.0%      10.1%        12.2%        12.0%
              Inventory                                 581                                    1,733          3,777        2,383         13,331       0.0%        2.3%        6.5%         0.4%          2.5%       5.1%         1.1%         3.0%
              Other Current Assets                      195            827          665        1,882          1,780       12,788          5,114       0.7%        2.5%        3.0%         2.3%          1.0%       2.1%         7.5%        12.4%
           Total Current Operating Assets             4,495         37,600       88,721       55,401         36,523      481,104        442,723      95.0%       73.9%       62.4%        85.7%         82.7%      33.6%        45.5%        43.2%
           Total Current Non-Operating Assets                                                                   -            -                        0.0%        0.0%        0.0%         0.0%          0.0%         NA           NA           NA
  Total Current Assets                                4,495         37,600       88,721       55,401         36,523      481,104        442,723      95.0%       73.9%       62.4%        85.7%         82.7%      33.6%        45.5%        43.2%

   Total Fixed Assets - Net                           1,766          2,630        4,648       19,557         22,021       53,366         64,803        5.0%      26.1%       37.6%          9.5%        12.1%       8.3%        25.0%        21.9%

   Non Current Assets
      Total Intangible Assets - Net                                                                                                                    0.0%       0.0%        0.0%          0.0%         0.0%      31.8%         9.9%           NA
      Total Long Term Receivables                                                                               -         27,045         27,513        0.0%       0.0%        0.0%          4.8%         5.1%         NA           NA           NA
      Total Other Non-Current Assets                                                                                                                   0.0%       0.0%        0.0%          0.0%         0.0%      26.2%        19.6%        34.9%
   Total Non Current Assets                                                                                               27,045         27,513        0.0%       0.0%        0.0%          4.8%         5.1%      58.1%        29.5%        34.9%

Total Assets                                      $   6,260     $ 40,230     $ 93,369     $ 74,968       $   68,643     $ 661,616   $ 636,039       100.0%      100.0%      100.0%        100.0%       100.0%      100.0%      100.0%       100.0%

Liabilities and Equity:

Liabilities
   Current Liabilities
        Current Operating Liabilities
            Accounts Payable                      $      560    $      440   $    1,238   $     7,669    $     7,430    $ 16,633    $    18,692        1.3%      10.2%       12.7%          3.0%         3.5%       3.0%        10.2%         5.4%
            Deferred Revenue                           1,663           257            7              7             7                                   0.0%       0.0%        0.0%          0.0%         0.0%       0.4%           NA           NA
            Other Current Liabilities                    950         1,298        2,845         7,714          4,830        9,984        19,175        3.0%      10.3%        8.3%          1.8%         3.6%       5.8%        10.5%        18.0%
        Total Current Operating Liabilities            3,173         1,995        4,090        15,390         12,267       26,617        37,867        4.4%      20.5%       21.0%          4.7%         7.1%       9.3%        20.7%        23.4%
        Total Current Debt Obligations                 8,061                                       -             -                                     0.0%       0.0%        0.0%          0.0%         0.0%       0.1%         2.0%         4.2%
   Total Current Liabilities                          11,234         1,995        4,090        15,390         12,267       26,617        37,867        4.4%      20.5%       21.0%          4.7%         7.1%       9.4%        22.7%        27.6%

   Non Current Liabilities
      Total Long Term Debt                                              42          101       40,404         42,386        40,805        41,121        0.1%      53.9%        72.4%         7.3%         7.7%        0.6%        11.3%       26.2%
      Other Non Current Liabilities
         Deferred Rent                                   723           759          767         1,572          1,857                                   0.8%       2.1%        3.2%          0.0%         0.0%          NA           NA          NA
         Deferred Revenue, LT                          2,146         3,808        3,801         3,801          3,801                                   4.1%       5.1%        6.5%          0.0%         0.0%          NA           NA          NA
         Customer Deposits                                             -         73,500        69,500         80,000     143,846        136,346       78.7%      92.7%      136.7%         25.6%        25.5%          NA           NA          NA
         Other Non-current liabilities                   807         1,847        5,959         3,425          1,866      33,750         34,508        6.4%       4.6%        3.2%          6.0%         6.4%       17.5%         3.4%          NA
      Total Other Non Current Liabilities              3,676         6,414       84,027        78,297         87,525     177,596        170,854       90.0%     104.5%      149.5%         31.6%        31.9%       17.5%         3.4%          NA
   Total Non Current Liabilities                       3,676         6,456       84,128       118,702        129,911     218,401        211,975       90.1%     158.4%      221.9%         38.9%        39.6%       18.1%        14.7%       26.2%

Total Liabilities                                     14,910         8,451       88,218       134,092        142,178     245,018        249,842       94.5%     178.9%      242.9%         43.6%        46.7%       27.5%        37.4%       53.8%

Total Equity                                          (8,649)       31,779        5,151       (59,134)       (83,634)     316,497       285,197        5.5%     -78.9%      -142.9%        56.4%        53.3%       72.5%        62.7%       46.2%

Total Liabilities and Equity                      $    6,260    $ 40,230     $ 93,369      $ 74,968      $ 68,643       $ 661,616   $ 636,039        100.0%     100.0%       100.0%       100.0%       100.0%      100.0%       100.2%      100.0%


Notes:
[1]  Source: Refer to report for selection of public comparables group. Figures represent median of dataset as reported by S&P CapitallQ.
[2]  Source: The Risk Management Association; NAICS 54171N: Research and Development in the Physical, Engineering, and Life Sciences (non-Cost of Sales) for firms with annual revenues greater than $25MM.
[3]  Source: BizMiner Industry Financial Analysis Profile; NAICS 5417: Scientific Research & Development Services for firms with annual revenues between $100MM - S250MM.




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                                                     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 70 of 156


US v. Elizabeth Holmes
                                                                                                                                                                                                                                                      _______________Exhibit B.S
Valuation of Theranos, Inc.                                                                                                                                                                                                                           Adjusted Income Statements
As of February 7, 2014                                                                                                                                                                                                                                _______ (thousands of USD)


                                                                                             Subject Company - Adjusted                                                                  Subject Company Common Size                           Benchmark Common Size
                                                    FYE               FYE                 FYE            FYE            FYE                 FYE              FYE          FYE          FYE           FYE         FYE          FYE        Comp. [1]    RMA [2]   BizMiner [3]
                                                  12-31-09          12-31-10            12-31-11       12-31-12      12-31-13             12-31-14         12-31-15     12-31-11     12-31-12      12-31-13    12-31-14     12-31-15       LTM        2016-16        2017
Total Revenue                                         2,794              1,401                518                                               116              391       100.0%         0.0%         0.0%        100.0%      100.0%       100.0%         100.0%        100.0%

Total Cost of Sales                                                                                                                                                           0.0%        0.0%         0.0%         0.0%         0.0%        50.7%           0 0%         28.6%

Gross Profit                                          2,794              1,401                518                                               116              391       100.0%         0.0%         0.0%        100.0%      100.0%        49.3%         100.0%         71.4%

Operating Expenses
   Research & Development                            10,257            13,594              22,018         52,890           66,757            73,459           97,159      4248.5%         0.0%         0.0%     63326.4%     24848.9%           NA             NA            NA
   General and Administrative                         3,341             3,206               5,155         11,125           18,848            49,298           76,087       994.8%         0.0%         0.0%     42498.1%     19459.6%           NA             NA            NA
Total Operating Expenses                             13,597            16,801              27,173         64,015           85,605           122,756          173,246      5243.3%         0.0%         0.0%    105824.5%     44308.5%        33.7%          84.4%         57.8%

Total Officers' Compensation                                                                                                                                                  0.0%        0.0%         0.0%          0.0%        0.0%           NA           6.8%          2.4%

EBITDA                                               (10,804)          (15,399)           (26,655)        (64,015)         (85,605)        (122,640)        (172,855)     -5143.3%        0.0%         0.0%    -105724.6%   -44208.5%        15.6%           8.8%         11.2%

Depreciation & Amortization
   Depreciation                                         626                  771            1,025          2,654            5,573             7,247           10,162       197.7%         0.0%         0.0%      6247.6%      2598.9%           NA             NA            NA
   Amortization                                                                                                                                                  -           0.0%         0.0%         0.0%         0.0%         0.0%           NA             NA            NA
Total Depreciation & Amortization                       626                  771            1,025          2,654            5,573             7,247           10,162       197.7%         0.0%         0.0%      6247.6%      2598.9%        11.5%           2.4%          4.2%

EBIT                                                 (11,430)          (16,170)           (27,680)        (66,670)         (91,178)        (129,888)        (183,017)     -5341.0%        0.0%         0.0%    -111972.1%   -46807.4%         4.2%           8.8%          7.1%

   GainZ(Loss) on Sale of Fixed Assets                                                                                                                                        0.0%        0.0%         0.0%          0.0%        0.0%            NA            NA            NA
Total Miscellaneous lncome/(Expense)                                                          -                                -                                              0.0%        0.0%         0.0%          0.0%        0.0%         -2.1%          0.8%          0.0%

Interest Expense                                          46                   88                 3          196              383               474              537          0.5%        0.0%         0.0%        408.6%      137.3%         1.2%             NA          2.9%

Pre-Tax Income                                       (11,476)          (16,258)           (27,682)        (66,865)         (91,561)        (130,362)        (183,554)    -5341.5%         0.0%         0.0%    -112380.7%   -46944.8%          0.8%          9.6%          4.2%
   Less: Income Taxes/(Benefit)                                                                                                                                              0.0%         0.0%         0.0%          0.0%        0.0%         -4.4%            NA          2.6%

Net lncome/(Loss)                             $      (11,476)   $      (16,258)     $     (27,682)    $   (66,865)     $   (91,561)   $    (130,362)   $    (183,554)     -5341.5%        0.0%         0.0%    -112380.7%   -46944.8%         5.2%           9.6%          1.6%


Growth Analysis:                                                                                                     Revenue Growth__________________________________________________ EBITDA Margin Growth
Subject -1 year                                                        n/a                  -63.0%        -100.0%               NA           NA       237.1%        362.9%       -100.0%    #DIV/0!        #DIV/0!              -58.2%
Guidline Public Company Group [4] -1 year                                                     8.4%           6.5%           10.6%          3.7%         4.2%         11.3%          5.6%        -3.5%          -2.3%              5.5%
Industry [5] -1 year [Nominal Growth Rate]                             n/a                    9.7%           3.2%            -1.6%         0.0%         1.1%            NA            NA            NA             NA               NA

Subject - 3 year                                                                                          -100.0%          -100.0%            -39.3%               NA                  -100.0%       -100.0%       173.9%           NA
Guideline Public Company Group - 3 year                                                                      5.5%             7.2%              4.9%             9.2%                     4.7%          8.7%         2.6%        -0.9%
Industry [5] - 3 year [Nominal Growth Rate]                                                                    NA             3.7%              0.5%            -0.2%                       NA            NA           NA           NA



Notes:
[1]   Source: Refer to report for selection of public comparables group. Figures represent median of dataset as reported by S&P CapitallQ.
[2]   Source: The Risk Management Association; NAICS 54171N: Research and Development in the Physical, Engineering, and Life Sciences (non-Cost of Sales) for firms with annual revenues greater than $25MM.
[3]   Source: BizMiner Industry Financial Analysis Profile; NAICS 5417: Scientific Research & Development Services for firms with annual revenues between $100MM - S250MM.
[4]   Figures represent median of dataset as reported by S&P CapitallQ.
[5]   Source: IBISWorld. NAICS 54171 (real growth) plus inflation from https://www.usinflationcalculator.com/inflation/current-inflation-rates/ .




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                                        Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 71 of 156


     US v. Elizabeth Holmes                                                                                                                                                            Exhibit B.6
     Valuation ofTheranos, Inc.                                                                                                                                        Comparative Financial Ratios
     As of February 7, 2014


                                                                                       Subject Company                                                             Benchmark
                                                    FYE              FYE              FYE           FYE              FYE              FYE            Comp. [1]      RMA [2]       BizMiner [3]
                                                  12-31-10         12-31-11         12-31-12      12-31-13         12-31-14         12-31-15           LTM          2015-16          2017
        Liquidity Ratios
          Current Ratio                                 18.8             21.7              3.6            3.0           18.1             11.7               3.5            2.2             1.6
          Quick (Acid-Test) Ratio                       18.4             21.5              3.4            2.5           17.5             11.2               2.2            1.5             1.0
          Working Capital as a % of Revenue          2083.1%           116.6%              N/A            N/A      262013.8%         66883.6%             48.7%          36.1%           22.8%
          Days' Receivables                             10.8             19.3               NA             NA             NA               NA              57.8           37.2            63.3
          Days' Inventory                                 NA               NA               NA             NA             NA               NA             103.6             N/A           55.7
          Days' Payables                                  NA               NA               NA             NA             NA               NA              42.3             N/A          100.3

        Coverage Ratios
         Times Interest Earned                         (183.9)      (10,229.0)          (340.4)        (238.4)          (274.0)         (340.8)             5.3           20.4                 3.9
          Nl+Non-Cash Expenditures
          / Current L.T. Debt                                NA               NA            NA               NA               NA               NA            NA                               1.51

        Leverage Ratios
          Fixed Assets/Tangible Worth                        0.1              0.9          -0.3            -0.3               0.2              0.2           0.2            0.3                 0.5
          Debt-to-Equity                                     0.0              0.0          -0.7            -0.5               0.1              0.1           0.1            0.2                 0.7

        Operating Ratios
          EBT/Tangible Worth                           -51.2%         -537.4%          113.1%          109.5%           -41.2%          -64.4%               NA           7.7%            11.4%
          EBT/Total Assets                             -40.4%          -29.6%          -89.2%         -156.4%           -23.2%          -34.3%               NA           4.9%             5.3%
          Fixed Asset Turnover                            0.5             0.1             0.0             0.0              0.0             0.0              7.5           10.3              3.1
         Total Asset Turnover                             0.0             0.0             0.0             0.0              0.0             0.0              0.6            0.7              0.7

        Total Officers' Compensation                                     0.0%             0.0%            0.0%            0.0%            0.0%               NA            6.8%               2.4%




     Notes:
     [1] Source: Refer to report for selection of public comparables group. Figures represent median of dataset as reported by S&P CapitallQ.
     [2] Source: The Risk Management Association; NAICS 54171N: Research and Development in the Physical, Engineering, and Life Sciences (non-Cost of Sales) for firms with annual revenues
        greater than $25MM.
     [3] Source: BizMiner Industry Financial Analysis Profile; NAICS 5417: Scientific Research & Development Services for firms with annual revenues between $100MM - S250MM.




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                                          Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 72 of 156


     US v. Elizabeth Holmes                                                                                                                                              Exhibit C.1
     Valuation of Theranos, Inc.                                                                                                              Discounted Cash Flow Key Assumptions
     As of February 7, 2014                                                                                                                                      (thousands of USD)


                                                                                                         For the Twelve Month Period Ending December 31,
                                                               Basis                      2014            2015                 2016              2017                   2018

     Total Revenue                                     Annual Growth Rate                          N/A      75534.7%                97.0%                  44.8%               55.6%

     Terminal Value                                    Exit Multiple, Ex. D.1                                                                                                  4.0%

     Total Cost of Revenue                                 % of Revenue                          35.3%          35.0%               32.0%                  32.0%               30.0%

     Total Operating Expenses                              % of Revenue                     66687.3%            85.5%               44.7%                  33.7%               24.7%

     Depreciation & Amortization                            Exhibit C.3                      3041.6%             6.8%                5.8%                   6.3%                5.7%

     Interest Expense                                           N/A                                N/A            N/A                 N/A                    N/A                 N/A

     Income Taxes                                    % of Pre-Tax Net Income                     40.0%          40.0%               40.0%                  40.0%               40.0%

     Adjusted Operating Working Capital                      Exhibit C.2                   -19704.4%             4.0%               10.5%                14.8%                18.6%
     Adjusted Operating Working Capital                                                      (29,557)           4,593              23,523               47,806               93,778
     Yr/yr Working Capital (Increasej/Reduction                                               (33,712)        (34,150)            (18,930)             (24,283)             (45,972)

     Capital Expenditures                                  % of Revenue                      5502.0%            29.2%               20.6%                  20.3%               11.8%

     Interest-Bearing Debt                        town Sch, If Used Enter # on Ex. List




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                                          Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 73 of 156


US v. Elizabeth Holmes
                                                                                                                                                                                                       ____________________ Exhibit C.2
Valuation ofTheranos, Inc.
                                                                                                                                                                                                       Adjusted Working Capital Analysis
As of February 7, 2014
                                                                                                                                                                                                       _____________ (thousands of USD)


                                                                      FYE              FYE               FYE              FYE               FYE                           For the Twelve Month Period Ending December 31,
                                                                    12-31-09         12-31-10          12-31-11         12-31-12          12-31-13           2014                2015          2016           2017              2018
Working Capital
Total Revenue                                              [1] $         2,794   $        1,401    $         518    $                 $                 5         150       $    113,452    $   223,452    $   323,452      $   503,452
Total COS                                                                    -                 -                -                -                 -               53             39,708         71,505        103,505          151,036
Total Operating Expenses                                                13,597           16,801           27,173           64,015            85,605           100,031             97,025         99,961        108,977          124,401

Operating Assets
    Cash & Equivalents                                     [2] $        3,690    $      36,718     $      88,056    $      51,785     $      30,966     5      49,330       $     47,848    $    49,296    $    53,742      $    61,348
    Accounts Receivable                                                    29               55                  -                -                 -                 -
    Inventory                                                             581                 -                 -           1,733             3,777             8,874              3,404          6,704          9,704           15,104
    Other Current Assets                                                  195              827               665            1,882             1,780            18,362              4,838          5,080          5,334            5,601
    Note Receivable                                                          -                -                 -                -                 -           27,236             57,539         50,055         42,303           58,453
Total Operating Assets                                                  4,495           37,600            88,721           55,401            36,523           103,802            113,629        111,135        111,083          140,506

Operating Liabilities
    Accounts Payable                                                    560                 440            1,238            7,669             7,430             8,340             13,879         16,480          16,174          22,774
    Deferred Revenue                                                  1,663                 257                7                7                 7               -                   -
    Other Current Liabilities                                           950               1,298            2,845            7,714             4,830            12,239              7,073          8,265           9,453          11,521
    Deferred Rent                                                       723                 759              767            1,572             1,857
    Deferred Revenue, LT                                              2,146               3,808            3,801            3,801             3,801               -
    Customer Deposits                                                   -                   -             73,500           69,500            80,000            93,808             70,356         46,904          23,452
    Other Non-current liabilities                             _________ 807               1,847            5,959            3,425             1,866            18,972             17,728         15,963          14,198          12,433
Total Operating Liabilities                                           6,849               8,409           88,117           93,687            99,791           133,359            109,036         87,612          63,277          46,728

Net Operating Working Capital                                   $      (2,354)   $       29,191    $         604    $      (38,287)   $      (63,268)   $      (29,557)     $      4,593    $    23,523    $     47,806     $     93,778
Net Operating Working Capital as % of Revenue                          -84.3%          2083.1%            116.6%             0.0%              0.0%         -19704.4%               4.0%          10.5%           14.8%            18.6%
Yr/yr Working Capital (Increase)ZReduction                                   -          (31,545)          28,587           38,891            24,981            (33,712)          (34,150)       (18,930)        (24,283)         (45,972)

BizMiner Working Capital as a % of Revenue                                                                                                                      22.8%
RMA Working Capital as a % of Revenue                                                                                                                           36.1 %
Comparable Group Working Capital as a % of Revenue                                                                                                              48.7%

Days' Operating Expenses in Cash                                           99              798             1,183               295               132              180                180            180             180                180
Days' Sales Outstanding                                                     4                14              -                 -                 -                -                  -              -
Days' Inventory                                                           -                -                 -                 -                 -             61,113                  31             34             34               37
Other Current Assets as a % of Revenue                                   7.0%            59.0%            128.4%              0.0%              0.0%         12241.3%               4.3%           2.3%            1.6%             1.1%
Note Receivable as a % of Revenue                                        0.0%             0.0%              0.0%              0.0%              0.0%         18157.3%              50.7%          22.4%           13.1%            11.6%
Days' Payables                                                            -                -                 -                 -                 -             57,436                128              84             57               55
Deposits & Deferred Revenue as a % of Revenue                          136.3%           290.1%          14917.2%              0.0%              0.0%         62538.7%              62.0%          21.0%            7.3%             0.0%
Other Current Liabilites as a % of Opex                                  7.0%             7.7%             10.5%             12.1%              5.6%            12.2%               7.3%           8.3%            8.7%             9.3%
Deferred Rent as a % of Opex                                             5.3%             4.5%              2.8%              2.5%              2.2%             0.0%               0.0%           0.0%            0.0%             0.0%
Other Non-current liabilities as a % of Opex                             5.9%            11.0%             21.9%              5.4%              2.2%            19.0%              18.3%          16.0%           13.0%            10.0%

Notes:
[1] Historical balances are per Adjusted Income Statement. Refer to Exhibit B.5. Operating Expenses exclude Depreciation & Amortization.
[2] Estimated operating cash levels equal to 6 months of operating expenses




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                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 74 of 156


       US v. Elizabeth Holmes                                                                                                                              Exhibit C.3
       Valuation of Theranos, Inc.                                                                                         Depreciation & Capital Expenditure Analysis
       As of February 7, 2014                                                                                                                      (thousands of USD)


                                                                                                For the Twelve Month Period Ending December 31,
       Forecast Depreciation                                                       2014              2015             2016            2017                 2018

       Total Revenue                                                          $           150   $      113,452    $      223,452    $      323,452    $      503,452

       Beginning Balance - Total Fixed Assets                                         22,021            25,711            51,123            84,125           129,327
       Capital Expenditures                                                            8,253            33,134            45,970            65,569            59,240
            Fixed Assets                                                              30,274            58,845            97,093           149,694           188,567
       Capital Expenditures as a % of Revenue                                       5502.04%            29.21%            20.57%            20.27%            11.77%

       Depreciation
           Assumptions as to Depreciable Lives:
           Beg. Dep. Existing Fixed Assets - avg life   5.0
           Capital Additions - avg life                 7.5

            Beginning Balance                                                 $        4,061    $        4,430    $        4,430    $        4,430    $         4,430
            2014 Additions                                                               502             1,095             1,095             1,095              1,095
            2015 Additions                                                                               2,198             4,395             4,395              4,395
            2016 Additions                                                                                                 3,049             6,098              6,098
            2017 Additions                                                                                                                   4,349              8,698
            2018 Additions                                                                                                                                      3,929

       Total Depreciation                                                     $        4,562    $        7,722    $       12,969    $       20,366    $       28,644
       As a % of Revenue                                                             3041.6%              6.8%              5.8%              6.3%              5.7%

       Net Fixed Assets                                                       $       25,711    $       51,123    $       84,125    $      129,327    $      159,923
       As a % of Revenue                                                            17140.8%             45.1%             37.6%             40.0%             31.8%

       Historical Capital Expenditure Analysis                                      FYE               FYE               FYE               FYE               FYE
                                                                                  12-31-09          12-31-10          12-31-11          12-31-12          12-31-13

       Net FA                                                                 $         1,766   $         2,630   $         4,648   $       19,557    $        22,021
       Chg from PY                                                                        N/A               864             2,018           14,909              2,463
       Depreciation                                                                       626               771             1,025            2,654              5,573
       (Gain)/Loss                                                                        -                  -                 -                 9                849
       Capital Expenditures                                                               N/A             1,635             3,043           17,572              8,885

                                                                  Average
        Fixed Assets                                          $      10,124   $        1,766    $        2,630    $        4,648    $        19,557   $        22,021
        Fixed Assets as a % of Revenue                             1074.0%             63.2%            187.7%            896.9%                N/A                N/A

        Capital Expenditures                                         7,784                N/A            1,635             3,043             17,572               8,885
        Capital Expenditures as a % of Revenue                      825.7%                N/A           116.7%            587.1%                N/A                 N/A



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FORENSIC & FINANCIAL CONSULTANTS
                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 75 of 156


                US v. Elizabeth Holmes                                                                                                                                                                        Exhibit C.4
                Valuation of Theranos, Inc.                                                                                                                               Discount Rate - Venture Capital Rates of Return
                As of February 7, 2014




                                                                                             Market          Interest Bearing       Trading Volume                              1-Year Growth         Equity as a %
                    Company Name                                      Ticker Symbol       Capitalization           Debt                   [7]             LTM Revenue               Rate             of Total Capital
                    OraSure Technologies, Inc.                             OSUR          $       337,504     $                                  713   $           98,940                  12.7%               100.0%
                    Trinity Biotech plc                                     TRIB                 545,805                                         69               91,216                  10.6%               100.0%
                    Enzo Biochem, Inc.                                       ENZ                 138,102                 3,992                  209               92,929                   -7.3%               97.2%
                    QuidelOrtho Corporation                                QDEL                  964,525                 5,567                  193              177,325                  13.9%                99.4%
                    Exact Sciences Corporation                             EXAS                  865,903                 1,711                  739                4,144                    0.0%               99.8%
                    OPKO Health, Inc.                                       OPK                3,106,222               227,744                4,324               96,530                 105.2%                93.2%
                    PerkinElmer, Inc.                                        PKI               4,920,548               934,728                  829            2,157,586                    2.5%               84.0%
                    Quest Diagnostics Incorporated                          DGX                7,315,200             3,366,000                2,520            7,146,000                  -3.2%                68.5%
                    Laboratory Corporation of America Holdings               LH                7,791,710             3,000,400                1,101            5,808,300                    2.4%               72.2%
                    Myriad Genetics, Inc.                                  MYGN                2,351,966                                      2,462              737,115                  35.2%               100.0%
                    Illumina, Inc.                                          ILMN             19,831,532                868,593                1,595            1,421,178                  23.7%                95.8%
                    Qiagen N.V.                                            QGEN                5,280,047               850,202                  892            1,301,984                    3.8%               86.1%
                    Alere Inc.                                          IQT2622336            2,819,163              3,841,104                  654            2,608,636                    8.9%               42.3%
                    Luminex Corporation                                 IQT2627430               734,789                 1,657                  170              213,423                    5.4%               99.8%
                    Abaxis, Inc.                                        IQT2586525               824,250                   706                  187              179,781                    0.6%               99.9%
                    CombiMatrix Corporation                            IQT36309071                25,342                   233                   75                6,367                  19.0%                99.1%
                    Affymetrix Inc.                                     IQT2587418               518,522               144,461                1,231              330,399                  11.8%                78.2%
                    Genomic Health, Inc.                               IQT24111615               815,172                                        218              261,595                  11.2%               100.0%
                    Cepheid                                             IQT2599314            3,328,663                                         609              401,292                  21.2%               100.0%
                    Nanosphere, Inc.                                   IQT38720096               169,146                  11,815                 33               10,002                  97.0%                93.5%
                    GenMark Diagnostics, Inc.                         IQT106626443               513,559                      37                240               27,404                  33.9%               100.0%
                    Bio-Reference Laboratories, Inc.                    IQT2594421               723,947                  52,630                424              735,368                  15.5%                93.2%
                    Average                                                                    2,905,528              605,072                  886             1,086,705                     19.3%               91.0%
                    Median                                                                       845,076                4,780                  632               237,509                     11.5%               98.1%
                    Selected                                                                                                                                                                                     97.0%

                Industry Capital Structure
                    Equity                                                      97.0%
                    Interest Bearing Debt                                        3.0%
                    Tax Rate                                                    40.0%

               Cost of Equity
                                                                                                                                                                                                          Ref.
               Table 1: Venture Capital Average Actual Rates of Return for the Period ended September 30,          2008                                                                                   [1]
               Stage of Development                                         5-year Return                               10-year Return                              20-year Return
                                                                      2002                2008                      2002              2008                   2002                     2008
               Seed/Early Stage                                      51.4%                3.0%                     34.9%             25.5%                  20.4%                    22.1%
               Balanced                                              20.9%                7.5%                     20.9%             12.0%                  14.3%                    14.6%
               Later Stage                                           10.6%                8.1%                     21.6%              7.3%                  15.3%                    14.7%
               All Ventures                                          28.3%                5.7%                     26.3%             13.4%                  16.6%                    17.2%


               Table 2: Target Rates of Return                                                                                                                                                            [2-5]
                                                                                                               Sahlman,
                                                                                          Scherlis and      Stevenson, and                             Everett Median
               Stage of Development                                     Plummer             Sahlman             Bhide                   Everett           Returns
               Start-up                                                50% - 70%           50% - 70%          50% -100%                30% - 40%           33.0%
               First stage or "early development"                      40% - 60%           40% - 60%          40% - 60%                23% - 38%           28.0%
               Second stage or "expansion"                             35% - 50%           30% - 50%          30% - 40%                19%-32%             25.0%
               Bridge/IPO                                              25% - 35%           20% - 35%          20% - 30%                18%-38%             25.0%


               Table 3:         Rates of Return                                                                                                                                                            [6]
                                                                                                                        Plummer /Qed
                                                                        Ruhnka /                                 Range of Discount Rates Used
               Stage of Development                                      Young               Wetzel                 High              Low
               Seed                                                      73.0%               50.0%                 75.4%             49.2%
               Start-up                                                  54.8%               50.0%                 59.6%             40.6%
               3rd Stage                                                 42.2%               37.5%                 49.3%             34.7%
               Fourth Stage                                              35.0%               30.0%                 45.7%             31.2%
               Exit Stage                                                35.0%               22.5%                 40.8%             28.1%


               Table 4: Theranos Investor Forecasts Implied Internal Rates of Return (Feb 2014 - Feb 2015)                                                                                                 [6]


               Investor Group____________________________________ IRR
               PFM Forecast                                      75.5%
               PFM Model                                         35.5%
               Mosley and RDV Forecast                           54.0%
               Murdoch Forecast                                  82.0%


                                                                   Selected Venture Capital Cost of Equity                                   45.0%


               Weighted Average Cost of Capital
                   Equity as a % of total capital                                                                         97.0%
                  Cost of Equity (above)                                                                                  45.0%
                  Weighted Cost of Equity

                   Debt as a % of total capital                                                                            3.0%
                   Cost of Debt [4]                                                              25.00%
                   After Tax Cost of Debt (tax rate above)                                                 __________ 15.0%
                   Weighted After Tax Cost of Debt                                                                                 ___________ 0.5%
                                                                   Weighted Average Cost of Capital                                          44.1 %

                                                                   Weighted Average Cost of Capital (rounded)                                44.0%

               Notes:
               [1] Source: Thomson Financial. The average annual return is based upon Thomson Financials’ Private Equity Performance Index (PEPI).
                   The PEPI is based on the latest quarterly statistics from Thomson Financials' Private Equity Performance Database analyzing the cashflows and
                   returns for over 1400 US venture capital and private equity partnerships.
               [2] Plummer, James L, QED Report on Venture Capital Financial Analysis.
               [3] Scherlis, Daniel R. and William A. Sahlman, "A Method for Valuing High-Risk, Long Term, Investments: The Venture Capital Method,"
                   Harvard Business School Teaching Note 9-288-006, Boston: Harvard Business School Publishing, 1989.
               (4) William A. Sahlman, Howard H. Stevenson, Amar V. Bhide, et al., "Financing Entrepreneurial Ventures,"
                   Business Fundamental Series (Boston: Harvard Business School Publishing, 1998).
                   Craig R. Everett, "2021 Private Capital Markets Report" (Malibu: Pepperdine University Graziadio School of Business and Management, 2021), Table
               [5] 1, p. 5. Note that this publication also includes rates of return for many other types of private capital investments, as well as summaries of other
                   information captured in Pepperdine's annual industry survey.
               [6] Dorsey, Terry, "A Portfolio Model for Venture Capital Performance Measurement and Investment Selection," Polaris Group, Inc. January 2000.
               [7] Refer to the report for discussion of the selected Venture Capital Rate of Return.




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                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 76 of 156


US v. Elizabeth Holmes                                                                                                               Exhibit C.5
Valuation of Theranos, Inc.                                                                           Forecast Free Cash Flow to Invested Capital
As of February 7, 2014                                                                                                        (thousands of USD)


                                                                             For the Twelve Month Period Ending December 31,
                                                               2014               2015             2016            2017               2018

Total Revenue                                             $           150    $     113,452     $    223,452     $     323,452    $      503,452
Total Cost of Revenue                                                  53           39,708           71,505           103,505           151,036
Gross Margin                                                           97           73,744          151,947           219,947           352,416
GM %,                                                              64.7%             65.0%,           68.0%             68.0%             70.0%

Total Operating Expenses                                         100,031            97,025           99,961           108,977           124,401
Operating Expense %                                            66687.3%              85.5%            44.7%,            33.7%             24.7%
EBITDA                                                            (99,934)          (23,281)         51,986           110,970           228,015
EBITDA %                                                       -66622.7%            -20.5%            23.3%             34.3%             45.3%
Less: Partial Period Adjustment                                    8,328                -               -                 -                  -
Adjusted EBITDA                                                  (91,606)           (23,281)         51,986           110,970           228,015
Depreciation & Amortization                                        4,562              7,722          12,969            20,366            28,644
EBIT                                                              (96,169)          (31,003)         39,017            90,604           199,371
EBIT %                                                         -64112.3%,           -27.3%            17.5%             28.0%             39.6%
Interest Expense                                                      -                 -                -                -                  -

Earnings Before Taxes                                             (96,169)          (31,003)         39,017            90,604           199,371
       Income Taxes                                                   -                 -               -                 -              42,265

Forecast After-Tax Income                                  $      (96,169)   $      (31,003)   $     39,017     $      90,604    $      157,106
NPAT%                                                          -64112.3%             -27.3%           17.5%             28.0%             31.2%

Cash Flow
Add:    Depreciation & Amortization                                 4,562             7,722          12,969            20,366             28,644
        After-Tax Gross Cash Flow                                 (91,606)          (23,281)         51,986           110,970            185,750

      Decrease / (Increase) in Working Capital                    (33,712)          (34,150)         (18,930)         (24,283)           (45,972)
Less: Capital Expenditures                                         (8,253)          (33,134)         (45,970)         (65,569)           (59,240)

Free Cash Flow                                             $    (133,571)    $      (90,565)   $     (12,914)   $      21,118    $        80,538



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                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 77 of 156


             US v. Elizabeth Holmes                                                                                     Exhibit C.6
             Valuation of Theranos, Inc.                                               Discounted Cash Flow Method Value Summary
             As of February 7, 2014                                                                             (thousands of USD)


                    Forecast                 Base                           Discount                                  Discounted
                     Period                Cash Flow         Period           Rate             PV Factor [2]         Cash Flow [3]

                    2014             $         (133,571)      0.45           44.0%                0.8494         $         (113,454)
                    2015                        (90,565)      1.40           44.0%                0.6012                    (54,450)
                    2016                         (12,914)     2.40           44.0%                0.4175                     (5,392)
                    2017                          21,118      3.40           44.0%                0.2899                      6,123
                    2018                          80,538      4.40           44.0%                0.2013                     16,216
              Terminal Value [1]              3,000,000       4.90           44.0%                0.1678                    503,372

             Indicated Value                                                                                     $          352,416
             Add: C-2 Financing Proceeds not on 12/31/13 balance sheet                                                      114,390
             Add: C-1 Financing Proceeds not on 12/31/13 balance sheet                                                         6,556
             Deduct: Interest Bearing Debt                                                                                   (42,386)

             Total Equity Value - Controlling, Marketable Basis                                                  $          430,975

             Total Equity Value - Controlling, Marketable Basis (rounded)                                        $_______ 431,000


              Notes:
              [1] Refer to Exhibit D.1
              [2] 1 / (1 + Discount Rate) A Period.
              [3] Base Cash Flow x PV Factor.




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                                                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 78 of 156


       US v. Elizabeth Holmes                                                                                                                                                                                                                                                    ___________________ Exhibit D.1
       Valuation of Theranos, Inc.                                                                                                                                                                                                                                               Guideline Public Company Method
       As of February 7, 2014                                                                                                                                                                                                                                                    _____________ (thousands of USD)


                                                                                               Debt,                                                                                                                                                       Market Value of Invested Capital 1
                                                                                Market       Pref Shr&                                                    Revenue                            EBITDA                     EBIT                    Revenue                         EBITDA                 EBIT
         Name                                                Ticker              Cap          Min Int.           Cash            MVIC [1]          LTM              2014E            LTM              2014E             LTM               LTM             2014E          LTM           2014E           LTM
         OraSure Technologies, Inc.                          OSUR           $      337,504   $               $      93,191   $      244,313   $      98,940     $     104,732   $     (13,910)    $     (11,967)    $     (20,462)          2.47x            2.33X            NA             NA             NA
         Trinity Biotech plc                                  TRIB                 545,805                          22,317          523,488          91,216           110,443          19,006                 NA            15,416          5.74x            4.74x         27.54X            NA          33.96x
         Enzo Biochem, Inc.                                    ENZ                 138,102           3,992           7,621          134,473          92,929            97,348         (11,277)            (9,200)         (15,573)          1.45x            1.38x            NA             NA             NA
         QuidelOrtho Corporation                              QDEL                 964,525           5,567           8,388          961,704         177,325           199,864          30,867             53,570             6,667          5.42x            4.81x         31.16X         17.95x        144.25X
         Exact Sciences Corporation                           EXAS                 865,903           1,711         133,259          734,355           4,144            28,311         (45,343)          (49,052)          (46,761)            NA            25.94X            NA             NA             NA
         OPKO Health, Inc.                                    OPK                3,106,222         224,313         185,798        3,144,737          96,530           102,743         (57,469)                NA          (72,685)         32.58X           30.61x            NA             NA             NA
         PerkinElmer, Inc.                                     PKI               4,920,548         934,728         173,242        5,682,034       2,157,586         2,283,690         389,970           444,503           263,091           2.63x            2.49x         14.57x         12.78x         21.60X
         Quest Diagnostics Incorporated                        DGX               7,315,200       3,391,000         187,000       10,519,200       7,146,000         7,204,659       1,439,000         1,425,874         1,156,000           1.47x            1.46x          7.31x          7.38x          9.10x
         Laboratory Corporation of America Holdings             LH               7,791,710       3,019,800         404,000       10,407,510       5,808,300         5,920,847       1,203,500         1,176,931         1,012,700           1.79x            1.76x          8.65x          8.84x         10.28X
         Myriad Genetics, Inc.                               MYGN                2,351,966                         353,595        1,998,371         737,115           712,147         300,472           239,889           291,227           2.71x            2.81x          6.65x          8.33x          6.86x
         Illumina, Inc.                                       ILMN              19,831,532         868,593       1,165,603       19,534,522       1,421,178         1,671,408         363,622           493,335           265,697          13.75x           11,69x         53.72x         39.60X         73.52X
         Qiagen N.V.                                         QGEN                5,280,047         859,741         380,226        5,759,562       1,301,984         1,371,150         382,685           457,917           188,130           4.42x            4.20x         15.05x         12.58x         30.61x
         Alere Inc.                                        IQT2622336            2,819,163       4,452,454         356,289        6,915,328       2,608,636         3,085,506         546,428           673,094           171,771           2.65x            2.24x         12.66x         10.27x         40.26x
         Luminex Corporation                               IQT2627430              734,789           1,657          72,441          664,005         213,423           230,083          25,707             50,037             9,785          3.11x            2.89x         25.83x         13.27x         67.86x
         Abaxis, Inc.                                      IQT2586525              824,250             706         101,830          723,126         179,781           191,556          31,289             33,025            23,944          4.02x            3.78x         23.11X         21.90X         30.20x
         CombiMatrix Corporation                          IQT36309071               25,342             233          14,036           11,539           6,367             6,959          (5,353)                NA            (6,051)         1.81x            1.66x            NA             NA             NA
         Affymetrix Inc.                                   IQT2587418              518,522         144,461          57,128          605,855         330,399           335,643          45,802             43,787             6,814          1.83x            1.81x         13.23x         13.84x         88.91x
         Genomic Health, Inc.                             IQT24111615              815,172                         105,350          709,822         261,595           286,115           (5,508)          (18,086)         (11.832)          2.71x            2.48x            NA             NA             NA
         Cepheid                                           IQT2599314            3,328,663                          74,909        3,253,754         401,292           456,698            8,477            16,305           (14,710)         8.11x            7.12x            NA             NA             NA
         Nanosphere, Inc.                                 IQT38720096              169,146         11,815           41,467          139,494          10,002            19,719         (31,689)           (29,322)          (33,721)        13.95x            7.07x            NA             NA             NA
         GenMark Diagnostics, Inc.                       IQT106626443              513,559             37          105,589          408,007          27,404            26,812         (27,134)           (33,133)          (29,362)        14.89x           15.22x            NA             NA             NA
         Bio-Reference Laboratories, Inc.                  IQT2594421              723,947         52,630           14,533          762,044         735,368           801,467          93,075           115,197             72,094          1.04x            0.95x          8.19x          6.62x         10.57x

         Correlation to MVIC                                                                                                                             0.65            0.67              0.61            0.66              0.57
         Correlation to Price                                                                                                                            0.49            0.51              0.44            0.48              0.44


                                                                                                                                                                                Upper Quartile                                               5.74x           6.51x         25.83x         14.87x         67.86x
                                                                                                                                                                                Mean                                                         6.12x           6.34x         19.05x         14.45x         43.69x
                                                                                                                                                                                Median                                                       2.71x           2.85x         14.57X         12.68x         30.61x
                                                                                                                                                                                Lower Quartile                                               1.83X           1.91x          8.65x          8.71x         10.57X
                                                                                                                                                                                Selected Multiple                                            6.10x                         12.60X
                                                                                                                                                                                   Subject Company Base Value                         S   503,452    $               $   228,015    $              $   199,371
                                                                                                                                                                                Indicated Equity Value                                $ 3,071,057    $               $ 2,872,989    $              $
                                                                                                                                                                                   Weighting                                                33.3%             0.0%         66.7%            0.0%           0.0%

                                                                                                                                                                                Indicated Value                                                                                                    $ 2,939,012
                                                                                                                                                                                   Add: Subject Company Cash                                                                                            61,348
                                                                                                                                                                                Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis                                      $ 3,000,360

                                                                                                                                                                                Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis (rounded)                            $ 3,000,000
       Notes:
       Source: S&P Capital IQ.
       [1] MVIC = Market Value of Invested Capital. Presented as net of cash.




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                                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 79 of 156


       US v. Elizabeth Holmes_________________________________________________________________________________________________________________                                                                                                             Exhibit D.2
       Valuation of Theranos, Inc.                                                                                                                                                                    Guideline Public Company Key Financial Ratios
       As of February 7, 2014___________________________________________________________________________________________________________ ____________________________________________________________________________________ (thousands of USD)


                                                                   Market         Trading           LTM           CAGR Revenue [2]            Forward Growth                               As a % of Revenue                        Current     Debt to      Debt to
       Name                                      Ticker             Cap          Volume [1]       Revenue         1 Year       3 Year     2014E    2015E    2016E       GM       EBITDA     D&A        EBIT     Capex    WC [3]      Ratio      Equity        TNW

       OraSure Technologies, Inc.                OSUR          $     337,504           713    $      98,940         12.7%        9.7%       5.9%      14.5%   10.9%     59.2%     -14.1%     0.0%      -20.7%     2.5%   195.9%        6.30        0.0%          0.0%

       Trinity Biotech plc                       TRIB                545,805            69           91,216         10.6%        0.6%      21 1%|
                                                                                                                                                      14.5%      NA     49.6%      20.8%     0.0%      16.9%      4.9%    61.1%        3.66        0.0%          0.0%

       Enzo Biochem, Inc.                         ENZ                138,102           209           92,929         -7.3%        -1.8%      4.8%      12.4%   15.2%     41.8%     -12.1%     0.0%      -16.8%     0.9%     8.6%        1.35       12.4%         25.5%

       QuidelOrtho Corporation                   QDEL                964,525           193          177,325         13.9%       16.1%      12.7%      18.0%   13.2%     62.2%      17.4%     4.6%       3.8%     11.7%    30.8%        3.27        2.5%          6.9%

       Exact Sciences Corporation                EXAS                865,903           739            4,144            NA        -8.1%       N/A     212.6%   90.4%    100.0%        N/A     0.0%    -1128.4%      N/A   3081.7%      17.47        1.3%          1.3%

       OPKO Health, Inc.                         OPK               3,106,222         4,324                    |    105.2% 11    50.2% |
                                                                                                     96,530                                 6.4%      41.0%   62.2%     31.1%     -59.5%    11.5%      -75.3%     4.1%    156.3%       2.64       26.1%       -102.9%

       PerkinElmer, Inc.                          PKI              4,920,548           829        2,157,586          2.5%        8.2%       5.8%       5.3%    5.1%     45.3%      18.1%     0.0%      12.2%      1.8%    20.5%        1.73       46.9%       -153.5%

       Quest Diagnostics Incorporated            DGX               7,315,200         2,520        7,146,000         -3.2%        -0.5%      0.8%       1.1%    0.5%     40.1%      20.1%      1.1%     16.2%      3.2%      3.5%       1.22       84.7%       -130.9%

       Laboratory Corporation of America 1        LH               7,791,710         1,101        5,808,300          2.4%        5.1%       1.9%       2.1%    2.6%     38.3%      20.7%      1.4%     17.4%      3.5%     12.0%       1.95      119.5%       -144.0%

       Myriad Genetics, Inc.                     MYGN              2,351,966         2,462          737,115         35.2% 1     25.0% |    -3.4%       9.7%   -18.1%    87.2%      40.8%     0.0%      39.5%      1.7%     52.5%       6.74        0.0%          0.0%

        Illumina, Inc.                           ILMN              19,831,532        1,595        1,421,178         23.7%       16.3%      17.6% |    18.3%   19.0%     68.3%      25.6%     2.4%      18.7%      5.6%     91.2%       5.02       56.7%        181.3%

       Qiagen N.V.                               QGEN              5,280,047           892        1,301,984          3.8%        6.2%       5.3%       6.2%    6.1%     65.7%      29.4%     2.7%      14.4%      6.5%     44.8%       2.73       31.2%       1093.2%
                                                                                                                                 6.6% |    1B.3%|
       Alere Inc.                             IQT2622336           2,819,163           654        2,608,636          8.9%                              5.4%    4.1%     50.6%      20.9%     0.0%       6.6%      3.8%     38.4%       2.30      184.8%       -151.0%

        Luminex Corporation                   IQT2627430             734,789           170          213,423          5.4%       14.7%       7.8%       8.8%    8.7%     68.5%      12.0%      1.9%      4.6%      8.5%     55.2%       5.14        0.6%          1.0%

       Abaxis, Inc.                           IQT2586525             824,250           187          179,781          0.6%         8.7%      6.5%      12.3%      NA     49.1%      17.4%     0.0%       13.3%     3.1%     84.0%       9.42        0.4%          0.4%

        CombiMatrix Corporation               IQT36309071             25,342            75            6,367         19.0%       21.5%       9.3%      16.2%   16.3%     44.6%     -84.1%     2.4%      -95.0%     4.8%   218.7%        7.62        1.6%          1.6%

       Affymetrix Inc.                        IQT2587418             518,522         1,231          330,399         11.8%        2.1%       1.6%       2.7%    2.5%     59.3%      13.9%      0.0%      2.1%      1.5%     29.9%       2.28       53.2%       -682.8%

        Genomic Health, Inc.                  IQT24111615            815,172           218          261,595         11.2%        13.7%      9.4%      12.8%   30.6%     79.6%      -2.1%      0.0%      -4.5%     4.2%     44.0%       4.86        0.0%          0.0%

        Cepheid                               IQT2599314            3,328,663          609          401,292                     23.6% |    13.8%|
                                                                                                                    21.2%                             15.5%   15.5%     48.5%       2.1%      0.0%      -3.7%    11.8%     37.0%       2.56        0.0%          0.0%

        Nanosphere, Inc.                      IQT38720096            169,146            33           10,002         97.0%       70.3%      97.1%      70.7%   64.2%    -149.9%       N/A      0.0%    -337.1%    14.0%    465.0%       8.17       27.4%         29.0%

        GenMark Diagnostics, Inc.             IQT106626443           513,559           240           27,404         33.9%      120.3%      -2.2%      57.7%   78.2%     47.5%     -99.0%      0.0%    -107.1%    15.6%    368.1%      10.85        0.0%          0.0%

        Bio-Reference Laboratories, Inc.       IQT2594421            723,947           424          735,368         15.5%        15.2%      9.0%        NA       NA     46.3%      12.7%      2.9%       9.8%     3.1%     22.2%       2.20       19.1%         23.5%



                             Upper Quartile                    $ 3,273,053           1,049    $ 1,160,767     j    21.2% |      20.2% |    12.7% |    18.0%   24.8%     64.9%      20.7%      2.3%      14.2%     6.5%    140.0%       6.63       43.0%          5.6%
                                      Mean                          2,905,528          886        1,086,705         20.2%        19.3%     11.9%      26.6%   22.5%     47.0%       0.1%      1.4%     -73.3%     5.6%    232.8%       4.98       30.4%         -0.1%
                                    Median                           845,076           632          237,509         11.8%        11.7%      6.5%      12.8%    13.2%    49.3%      15.6%      0.0%       4.2%     4.1%     48.7%       3.47        7.4%          0.0%
                             Lower Quartile                          525,342           197           93,829          3.8%         5.4%      4.8%       6.2%     4.6%    44.8%      -4.6%      0.0%     -19.7%     3.1%     30.1%|      2.29 |      0.1%        -77.2%



              Theranos, Inc. (at 12/31/18)                                  NA         NA     $     503,452         55.6%        64.3%     28.0%         NA      NA     70.0%      45.3%      5.7%      39.6%    11.8%     18.6%       2.39          N/A           N/A




        Notes:
        Source: S&P Capital IQ.
        [1]       Represents trailing 3-month average daily trading volume (in thousands).
        [2]       CAGR = Compound Annual Growth Rate
        [3]       Working capital excludes cash




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                                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 80 of 156


                               US v. Elizabeth Holmes                                                                                                                                                              Exhibit D.3
                               Valuation of Theranos, Inc.                                                                                                                            Guideline Public Company Descriptions
                               As of February 7, 2014


                               Name                                           Ticker       Description


                               OraSure Technologies, Inc.                                  OraSure Technologies, Inc., together with its subsidiaries, develops, manufactures, markets, and sells oral fluid diagnostic
                                                                              OSUR
                                                                                           products and specimen collection devices in the United States, Europe, and internationally.


                               Trinity Biotech plc                                         Trinity Biotech plc acquires, develops, manufactures, and markets medical diagnostic products for the clinical laboratory and point-
                                                                               TRIB
                                                                                           of-care (POC) segments of the diagnostic market in the Americas, Africa, Asia, and Europe.

                                                                                           Enzo Biochem, Inc., an integrated diagnostics, clinical lab, and life sciences company, researches, develops, manufactures, and
                               Enzo Biochem, Inc.                              ENZ
                                                                                           markets diagnostic and research products based on genetic engineering, biotechnology, and molecular biology.


                               QuidelOrtho Corporation                                     QuidelOrtho Corporation focuses on the development and manufacture of diagnostic testing technologies across the continuum
                                                                               QDEL
                                                                                           of healthcare testing needs.


                               Exact Sciences Corporation                      EXAS        Exact Sciences Corporation provides cancer screening and diagnostic test products in the United States and internationally.


                                                                                           OPKO Health, Inc., a healthcare company, engages in the diagnostics and pharmaceuticals businesses in the United States,
                               OPKO Health, Inc.                               OPK
                                                                                           Ireland, Chile, Spain, Israel, Mexico, and internationally.

                                                                                           PerkinElmer, Inc. provides products, services, and solutions to the diagnostics, life sciences, and applied services markets
                               PerkinElmer, Inc.                                PKI
                                                                                           worldwide.


                               Quest Diagnostics Incorporated                  DGX         Quest Diagnostics Incorporated provides diagnostic testing, information, and services in the United States and internationally.


                                                                                           Laboratory Corporation of America Holdings operates as a global life sciences company that provides vital information to help
                               Laboratory Corporation of America Holdings       LH
                                                                                           doctors, hospitals, pharmaceutical companies, researchers, and patients make clear and confident decisions.

                                                                                           Myriad Genetics, Inc., a genetic testing and precision medicine company, develops and commercializes genetic tests in the
                               Myriad Genetics, Inc.                           MYGN
                                                                                           United States and internationally.


                               Illumina, Inc.                                  ILMN        Illumina, Inc. provides sequencing and array-based solutions for genetic and genomic analysis.


                               Qiagen N.V.                                     QGEN        QIAGEN N.V. offers sample to insight solutions that transform biological materials into molecular insights worldwide.


                                                                                           Alere Inc. provides diagnostic tests for infectious disease, cardiometabolic disease, and toxicology in the United States and
                               Alere Inc.                                   IQT2622336
                                                                                           internationally.

                                                                                           Luminex Corporation develops, manufactures, and sells proprietary biological testing technologies and products for the
                               Luminex Corporation                          IQT2627430
                                                                                           diagnostics, pharmaceutical, and research industries worldwide.

                                                                                           Abaxis, Inc. develops, manufactures, markets, and sells portable blood analysis systems for use in human or veterinary patient
                               Abaxis, Inc.                                 IQT2586525
                                                                                           care to provide rapid blood constituent measurements for clinicians worldwide.


                               CombiMatrix Corporation                      IQT36309071    CombiMatrix Corporation provides clinical molecular diagnostic laboratory services in the United States.


                                                                                           Affymetrix, Inc. provides life science products and molecular diagnostic products that enable parallel analysis of biological
                               Affymetrix Inc.                              IQT2587418
                                                                                           systems at the gene, protein, and cell level.

                                                                                           Genomic Health, Inc., a healthcare company, provides clinically actionable genomic information to personalize cancer treatment
                               Genomic Health, Inc.                         IQT24111615
                                                                                           decisions in the United States and internationally.

                                                                                           Cepheid, a molecular diagnostics company, develops, manufactures, and markets integrated systems for testing in the clinical
                               Cepheid                                       IQT2599314
                                                                                           and non-clinical markets.

                                                                                           Nanosphere, Inc. develops, manufactures, and markets molecular diagnostic tests for infectious diseases and associated drug
                               Nanosphere, Inc.                             IQT38720096
                                                                                           resistance markers for earlier disease detection, optimal patient treatment, and improved healthcare economics.
                                                                                           GenMark Diagnostics, Inc. designs and manufactures multiplex molecular diagnostic solutions to enhance patient care, improve
                               GenMark Diagnostics, Inc.                    IQT106626443   quality metrics, and reduce the total cost-of-care for laboratory professionals, healthcare providers, and customers in the United
                                                                                           States and internationally.
                                                                                           Bio-Reference Laboratories, Inc. provides clinical laboratory testing services for the detection, diagnosis, evaluation, monitoring,
                               Bio-Reference Laboratories, Inc.              IQT2594421
                                                                                           and treatment of diseases in the United States.


                               Notes:
                               Source: S&P Capital IQ.




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                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 81 of 156


                                   US v, Elizabeth Holmes                                                                                                                                   ____________________ Exhibit D.4
                                   Valuation ofTheranos, Inc.                                                                                                                               Guideline Public Company Ranking
                                   As of February 7, 2014                                                                                                                                   _____________ (thousands of USD)


                                                             Size                                                           Liquidity                                                       Liquidity
                                                      (Revenue, millions)                                   (Operatinq Net Workinq Capital-to-Revenue)                                   (Current Ratio)
                                Quest Diagnostics Incorporated            $          7,146,000   Quest Diagnostics Incorporated                           3.5% Exact Sciences Corporation                             17.47
                                Laboratory Corporation of America Holdir             5,808,300   Enzo Biochem, Inc.                                       8.6% GenMark Diagnostics, Inc.                              10.85
                                Alere Inc.                                           2,608,636   Laboratory Corporation of America Holdir                12.0% Abaxis, Inc.                                            9.42
                                PerkinElmer, Inc.                                    2,157,586 ITheranos, Inc. (at 12/31/18)                             18.6% | Nanosphere, Inc.                                      8.17
                                Illumina, Inc.                                       1,421,178   PerkinElmer, Inc.                                       20.5% CombiMatrix Corporation                                 7.62
                                Qiagen N.V.                                          1,301,984   Bio-Reference Laboratories, Inc.                        22.2% Myriad Genetics, Inc.                                   6.74
                                Myriad Genetics, Inc.                                  737,115   Affymetrix Inc.                                         29.9% OraSure Technologies, Inc.                              6.30
                                Bio-Reference Laboratories, Inc.                       735,368   QuidelOrtho Corporation                                 30.8% Luminex Corporation                                     5.14
                               ITheranos, Ino. (at 12/31/18)                           603,452 | Cepheid                                                 37.0%   Illumina, Inc.                                        5.02
                                Cepheid                                                401,292   Alere Inc.                                              38.4% Genomic Health, Inc.                                    4.86
                                Affymetrix Inc.                                        330,399   Genomic Health, Inc.                                    44.0% Trinity Biotech plc                                     3.66
                                Genomic Health, Inc.                                   261,595   Qiagen N.V.                                             44.8% QuidelOrtho Corporation                                 3.27
                                Luminex Corporation                                    213,423   Myriad Genetics, Inc.                                   52.5% Qiagen N.V.                                             2.73
                                Abaxis, Inc.                                           179,781   Luminex Corporation                                     55.2% OPKO Health, Inc.                                       2.64
                                QuidelOrtho Corporation                                177,325   Trinity Biotech plc                                     61.1% Cepheid                                                 2.56
                                OraSure Technologies, Inc.                              98,940   Abaxis, Inc.                                            84.0% ITheranos, Inc. (at 12/31/18)                           2.39 |
                                OPKO Health, Inc.                                       96,530   Illumina, Inc.                                          91.2% Alere Inc.                                              2.30
                                Enzo Biochem, Inc.                                      92,929   OPKO Health, Inc.                                      156.3% Affymetrix Inc.                                         2.28
                                Trinity Biotech plc                                     91,216   OraSure Technologies, Inc.                             195.9%   Bio-Reference Laboratories, Inc.                      2.20
                                GenMark Diagnostics, Inc.                               27,404   CombiMatrix Corporation                                218.7%   Laboratory Corporation of America Holdir              1.95
                                Nanosphere, Inc.                                        10,002   GenMark Diagnostics, Inc.                              368.1%   PerkinElmer, Inc.                                     1.73
                                CombiMatrix Corporation                                  6,367   Nanosphere, Inc.                                       465.0%   Enzo Biochem, Inc.                                    1.35
                                Exact Sciences Corporation                               4,144   Exact Sciences Corporation                            3081.7% Quest Diagnostics Incorporated                          1.22

                                                        Operational Efficiency                                               Growth                                                           Growth
                                                         (Capital Expenditures)                                 (Historical 1-year Growth Rate)                                      (Historical 3-year CAGR)
                                    Enzo Biochem, Inc.                                    0.9% OPKO Health, Inc.                                        105.2% GenMark Diagnostics, Inc.                             120.3%
                                    Affymetrix Inc.                                       1.5% Nanosphere, Inc.                                          97.0%    Nanosphere, Inc.                                    70.3%
                                    Myriad Genetics, Inc.                                 1.7% ITheranos, Ino. (at 12/31/18)                             56.6% | ITheranos, Inc. (at 12/31/18)                        64.3% |
                                    PerkinElmer, Inc.                                     1.8% Myriad Genetics, Inc.                                     35.2%    OPKO Health, Inc.                                   50.2%
                                    OraSure Technologies, Inc.                            2.5% GenMark Diagnostics, Inc.                                 33.9%    Myriad Genetics, Inc.                               25.0%
                                    Abaxis, Inc.                                          3.1%   Illumina, Inc.                                          23.7% Cepheid                                                23.6%
                                    Bio-Reference Laboratories, Inc.                      3.1% Cepheid                                                   21.2%    CombiMatrix Corporation                             21.5%
                                    Quest Diagnostics Incorporated                        3.2% CombiMatrix Corporation                                   19.0%    Illumina, Inc.                                      16.3%
                                    Laboratory Corporation of America Holdir              3.5%   Bio-Reference Laboratories, Inc.                        15.5% QuidelOrtho Corporation                                16.1%
                                    Alere Inc.                                            3.8% QuidelOrtho Corporation                                   13.9% Bio-Reference Laboratories, Inc.                       15.2%
                                    OPKO Health. Inc.                                     4.1% OraSure Technologies, Inc.                                12.7% Luminex Corporation                                    14.7%
                                    Genomic Health, Inc.                                  4.2% Affymetrix Inc.                                           11.8% Genomic Health, Inc.                                   13.7%
                                    CombiMatrix Corporation                               4.8% Genomic Health, Inc.                                      11.2% OraSure Technologies, Inc.                               9.7%
                                    Trinity Biotech plc                                   4.9% Trinity Biotech plc                                       10.6% Abaxis, Inc.                                             8.7%
                                    Illumina, Inc.                                        5.6% Alere Inc.                                                 8.9%    PerkinElmer, Inc.                                     8.2%
                                    Qiagen N.V.                                           6.5%   Luminex Corporation                                      5.4% Alere Inc.                                               6.6%
                                    Luminex Corporation                                   8.5%   Qiagen N.V.                                              3.8% Qiagen N.V.                                              6.2%
                                    QuidelOrtho Corporation                              11.7% PerkinElmer, Inc.                                          2.5%    Laboratory Corporation of America Holdir              5.1%
                                   ITheranos, Ino. (at 12/31/18)                         11.8% | Laboratory Corporation of America Holdir                 2.4% Affymetrix Inc.                                          2.1%
                                    Cepheid                                              11.8% Abaxis, Inc.                                               0.6% Trinity Biotech plc                                      0.6%
                                    Nanosphere, Inc.                                     14.0% Quest Diagnostics Incorporated                            -3.2% Quest Diagnostics Incorporated                          -0.5%
                                    GenMark Diagnostics, Inc.                            15.6% Enzo Biochem, Inc.                                        -7.3% Enzo Biochem, Inc.                                      -1.8%
                                                                                                                                                                  Exact Sciences Corporation                          -8.1%

                                                                Growth                                                      Profitability                                           Operational Efficiency
                                                      (Forward 1-year Growth Rate)                              (Historical EBITDA Margin 1-year)                                     (Return on Equity)
                                    Nanosphere, Inc.                                     97.1% ITheranos, Inc. (at 12/31/18)                             4S.3%| Myriad Genetics, Inc.                                  27.2%
                                   ITheranos, Ino. (at 12/31/18)                         28.0% | Myriad Genetics, Inc.                                   40.8% Bio-Reference Laboratories, Inc.                        15.3%
                                    Trinity Biotech plc                                  21.1% Qiagen N.V.                                               29.4% Laboratory Corporation of America Holdii                11.6%
                                    Alere Inc.                                           18.3% Illumina, Inc.                                            25.6% Quest Diagnostics Incorporated                            9.7%
                                    Illumina, Inc.                                       17.6% Alere Inc.                                                20.9% Abaxis, Inc.                                              8.5%
                                    Cepheid                                              13.8% Trinity Biotech plc                                       20.8% Illumina, Inc.                                            7.3%
                                    QuidelOrtho Corporation                              12.7% Laboratory Corporation of America Holdir                  20.7%  PerkinElmer, Inc.                                        5.7%
                                    Genomic Health, Inc.                                   9.4%  Quest Diagnostics Incorporated                          20.1% Trinity Biotech plc                                       5.5%
                                    CombiMatrix Corporation                                9.3%  PerkinElmer, Inc.                                       18.1% Qiagen N.V.                                               3.3%
                                    Bio-Reference Laboratories, Inc.                       9.0%  QuidelOrtho Corporation                                 17.4% Luminex Corporation                                       2.3%
                                    Luminex Corporation                                    7.8% Abaxis, Inc.                                             17.4% QuidelOrtho Corporation                                   1.9%
                                    Abaxis, Inc.                                           6.5% Affymetrix Inc.                                          13.9% Alere Inc.                                                1.8%
                                    OPKO Health, Inc.                                      6.4%  Bio-Reference Laboratories, Inc.                        12.7% Affymetrix Inc.                                           1.0%
                                    OraSure Technologies, Inc.                             5.9% Luminex Corporation                                      12.0% ITheranos, Inc. (at 12/31/18)                             0.0% |
                                    PerkinElmer, Inc.                                      5.8% Cepheid                                                   2.1% Cepheid                                                  -3.4%
                                    Qiagen N.V.                                            5.3% Genomic Health, Inc.                                     -2.1% Genomic Health, Inc.                                     -5.5%
                                    Enzo Biochem, Inc.                                     4.8% Enzo Biochem, Inc.                                      -12.1% OPKO Health, Inc.                                        -6.8%
                                    Laboratory Corporation of America Holdir               1.9% OraSure Technologies, Inc.                              -14.1% OraSure Technologies, Inc.                               -7.7%
                                    Affymetrix Inc.                                        1.6% OPKO Health, Inc.                                       -59.5% GenMark Diagnostics, Inc.                              -22.1%
                                    Quest Diagnostics Incorporated                         0.8% CombiMatrix Corporation                                 -84.1% Exact Sciences Corporation                             -24.6%
                                    GenMark Diagnostics, Inc.                             -2.2% GenMark Diagnostics, Inc.                               -99.0% Enzo Biochem, Inc.                                     -25.1%
                                    Myriad Genetics, Inc.                                 -3.4%                                                                 Nanosphere, Inc.                                      -43.4%
                                                                                                                                                                CombiMatrix Corporation                               -51.6%




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                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 82 of 156


  US v. Elizabeth Holmes                                                                                                    Exhibit E.1
  Valuation of Theranos, Inc.                                                                                 Adjusted Net Asset Value
  As of February 7, 2014                                                                                           (thousands of USD)

                                                              12/31/2013
                                                              Unadjusted                Adjustments                   Adjusted
  Assets:
     Current Assets
        Current Operating Assets
           Cash & Equivalents                      [1]   $              30,966      $             120,946       $             151,912
           Accounts Receivable                                             -                          -                           -
           Inventory                                                     3,777                        -                         3,777
           Other Current Assets                                          1,780                        -                         1,780
        Total Current Operating Assets                                  36,523                    120,946                     157,469
        Total Current Non-Operating Assets                                 -                          -                           -
    Total Current Assets                                                36,523                    120,946                     157,469

      Total Fixed Assets - Net                                          22,021                         -                       22,021

      Other Assets
         Intangible Assets
             Goodwill                                                       -                         -                           -
             Other Intangible Assets               [2]                                            340,370                     340,370
         Total Intangible Assets - Net                                      -                     340,370                     340,370
         Total Long Term Receivables                                        -                         -                           -
         Total Other Non-Current Assets                                     -                         -                           -
      Total Non Current Assets                                              -                     340,370                     340,370

 Total Assets                                            $              58,543      $             461,316       $             519,859

 Liabilities and Equity:

  Liabilities
     Current Liabilities
           Current Operating Liabilities
              Accounts Payable                           $               7,430                                  $               7,430
              Deferred Revenue                                               7                                                      7
              Other Current Liabilities            [3]                  50,017                     (45,187)                     4,830
          Total Current Operating Liabilities                           57,454                     (45,187)                    12,267
          Total Current Debt Obligations                                   -                           -                          -
     Total Current Liabilities                                          57,454                     (45,187)                    12,267

     Non Current Liabilities
        Total Long Term Debt                                            42,386                         -                       42,386
        Other Non Current Liabilities
            Deferred Rent                                                1,857                         -                        1,857
            Deferred Revenue, LT                                         3,801                         -                        3,801
            Customer Deposits                                           80,000                         -                       80,000
            Other Non-current liabilities                                1,866                         -                        1,866
        Total Other Non Current Liabilities                             87,525                         -                       87,525
     Total Non Current Liabilities                                     129,911                         -                      129,911

 Total Liabilities                                       $___________ 187,365      $___________ (45,187)        $             142,178



 Total Equity Value - Controlling, Marketable Basis                                                             $377,682

 Total Equity Value - Controlling, Marketable Basis (rounded)                                                   $378,000

 Notes:
 [1] Add Series C-1 and C-2 Preferred Stock proceeds through 2/7/14 that are not on 12/31/13 balance sheet.
 [2] Add value of technology and branding assets under cost to recreate method (Exhibit E.2)
 [3] Adjust out "miscellaneous receipts" liability that represents proceeds received from 2013 capital raises, for which stock had not
    been issued yet.


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                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 83 of 156



         US v. Elizabeth Holmes                                                                                                                                                                                                                                                 Exhibit E.2
         Valuation of Theranos, Inc.                                                                                                                                                                                               Cost to Recreate Method - Technology and Branding Assets
         As of February 7, 2014                                                                                                                                                                                                                                                      (USD)




                                                                                                 Calendar Year 2009____________________________________ Calendar Year 2010_______________________________________Calendar Year 2011
                                                                                                    Allocation to                                          Allocation to                                         Allocation to
                                                                                                  Technology and                                         Technology and                                         Technology and
                                                                              Total Cost [11          Brand [21      Allocated Cost     Total Cost [11      Brand [21       Allocated Cost     Total Cost [11      Brand [2]                                               Allocated Cost
                             Functional Category
                            Salaries. Wages & SBC                         S        6,717,962            100%               S     6,717,962        S     7,485,029          100%                S     7,485.029         S     10,069,033           100%                     $     10,069,033
                          Payroll Taxes & Processing                                 483,606            100%                      483,606                568.593           100%                        568,593                 784,642            100%                             784.642
                               Health Insurance                                      417,083            100%                      417.083                493.526           100%                       493,526                  767,508            100%                             767,508
                                 Other benefits                                      114,239            100%                       114,239                180,253          100%                        180,253                 773,318            100%                             773.318
                              Sales Commissions                                          5,000           0%                                                                  0%                                                                    0%
                                           Subtotal Employees             $        7,737,890                               $     7,732,890        $    8,727,402                               $     8,727,402         S    12,394,501                                     $     12,394,501

                              Contractor Services                                    488,192           100%                       488,192                518,786           100%                       518,786                 1,637,549           100%                            1,637,549


                               Subtotal for All Labor Costs           $            8,226,082                            $        8,221,082    S         9,246,188                           $        9,246,188      $       14,032,050                                 $         14,032,050

                                                     Facility Costs       $        2,145,779           99.9%              $      2,144,392        S    2,064,230           100.0%              $     2,064,230         S     2,724,300           100.0%                   $       2,724,300
                 R&D Materials, Parts, Biological Compounds                          935.138           100%                       935.138              3,786,184           100%                      3,786,184               5,955,745            100%                            5,955,745
            Conf., Website, Market Studies, Trademark Costs                           58,925           100%                         58,925                 75,422          100%                         75,422                   13,452           100%                               13,452
                   Legal, Tax, Accounting Services - General                         120,697            50%                         60,349               284,605            50%                       142,303                  339,165            50%                              169,583
                          Legal Regulatory and Patents Costs                         313,058           100%                       313,058                492,136           100%                       492,136                 1,307,265           100%                            1,307,265
                                       Legal Costs for Litigation                                       0%                                                                  0%                                                 665,695             0%
                Expensed Equip., Software, and Maintenance                           148,010           100%                       148,010                226.101           100%                       226,101                  620,302            100%                             620,302
                 Dues. Subscriptions, Licenses and Supplies                           85,853           100%                        85,853                233,858           100%                       233,858                  447,386            100%                             447,386
                                                 Recruiting Costs                    192,343           99.9%                      192,219                212,706          100.0%                      212,706                  300,466           100.0%                            300,466
                                                 Travel Expenses                     226,711            50%                       113,355                154,949            50%                        77,474                  396,822            50%                              198,411
                 Interest (Income), Expense & Bank Charges                           109,143            0%                                                70,077            0%                                                (132,632)            0%
                                  Supporting G&A Expenses                            274,158           99.9%                      273,981                361,955          100.0%                      361,955                  455,201           100.0%                            455,201
                                            Relocation Expenses                       27,220            0%                                                   6.272          0%                                                  66,194             0%
                     Supplies for Manufacturing 1 Operations                        754,146            100%                       754,146                432,293           100%                       432,293                   77,829            100%                              77,829
                                                         Inventory                                     100%                                               (13,583)         100%                                                    (5,337)        100%                               (5,337)
                                            Capital Expenditures                     180,627           100%                       180,627              1,635,110           100%                     1,635,110                3,042,848            100%                           3,042,848
                                                     Other Costs                      17,441            0%                                                17,845            0%                                                  15,927             0%
                                 Subtotal for Indirect Costs          $           5,589,248                            $        5,260,052     S       10,040,161                           $        9,739,772       S       16,290,629                                 $        15,307,450


                                                                                                        Yrs                                                                 Yrs                                                                   Yrs
                     Inflation Adjusted Total Expenses [4]                        2.3%                  4.61          I $      14,983,679 |           2.3%                  3.61          | S      20,623,946 |             2.3%                  2.61                          31,148,641 |




                                                                                                 Calendar Year 2012                                                  Calendar Year 2013                                                       Calendar Year 2014
                                                                                                    Allocation to                                                      Allocation to                                                          Allocation to
                                                                                                  Technology and                                                      Technology and                                                         Technology and
                                                                          Total Cost [11              Brand [21           Allocated Cost          Total Cost [1]         Brand [21             Allocated Cost           Total Cost [11          Brand [21                 Allocated Cost
                            Functional Category
                           Salaries. Wages & SBC                      $          20,238,277            100%             S      20,238,277     S       29,829,686           100%             $      29,829,686       S       46,369,000            8%                   S         3,864,083
                         Payroll Taxes & Processing                               1,561,634            100%                     1,561,634              2,246,298           100%                     2,246,298                3,450,000            8%                               287,500
                              Health Insurance                                    1,429,986            100%                     1.429,986              2,161,519           100%                     2,161,519                      3,325          8%                                   277
                                Other benefits                                    2,374,572            100%                     2,374,572              3,255,991           100%                     3,255,991                8,112,675            8%                               676,056
                             Sales Commissions                                                          0%                                                    78            0%                                                 312,000            0%
                                      Subtotal Employees              $          25,604,469                            $       25,604,469     S       37,493,572                           $       37,493,494       $       58,247,000                                 $         4,827,917

                             Contractor Services                                  3,073,543            100%                     3,073,543              5,372,096           100%                     5,372,096                7,885,000            8%                               657,083


                              Subtotal for All Labor Costs            $          28,678,011                            S       28,678,011     $       42,865,668                           $       42,865,590       $       66,132,000                                 S         5,485,000

                                                    Facility Costs    S           7,375,665           100.0%           $        7,375,665     S        7,140,632          100.0%           $        7,140,617       S       16,776,000            8%                   $         1,390,512
                R&D Materials, Parts. Biological Compounds                       11,136,524            100%                    11,136.524             10,069,736           100%                    10,069.736               10,638,000            8%                               886,500
           Conf.. Website. Market Studies. Trademark Costs                        1,274,910            100%                     1,274.910              7,684,778           100%                     7,684.778                3,087,000            8%                               257,250
                  Legal, Tax, Accounting Services - General                       1,400,908            50%                        700,454                709,756           50%                        354,878                1.051.000            4%                                43,792
                         Legal Regulatory and Patents Costs                       1.750,963            100%                     1,750,963              1,913,373           100%                     1,913,373                2,199,000            8%                               183,250
                                       Legal Costs for Litigation                 1,829,174             0%                                             6,197,019            0%                                               3,899,000            0%
               Expensed Equip., Software, and Maintenance                         1,084,748            100%                     1,084,748              1,657,745           100%                     1,657,745                1,792,000            8%                               149,333
                 Dues, Subscriptions, Licenses and Supplies                       1,211,873            100%                     1,211,873              1,522,924           100%                     1,522,924                3,583,000            8%                               298,583
                                                Recruiting Costs                    796,875           100.0%                      796,875                552,947          100.0%                      552,946                1,147,000            8%                                95,071
                                                Travel Expenses                     267,524            50%                        133,762                787,042           50%                        393,521                1,170,000            4%                                48,750
                Interest (Income), Expense & Bank Charges                           143,830             0%                                               382,053            0%                                                 (27,000)           0%
                                  Supporting G&A Expenses                           934,674           100.0%                      934,674              1,185,138          100.0%                    1,185,135                2,335,000            8%                               193,541
                                           Relocation Expenses                       65,756             0%                                                24,763            0%                                                  43,000            0%
                     Supplies for Manufacturing / Operations                        855,721            100%                      855,721               1,574,094           100%                     1.574,094                1,952,000            0%
                                                        Inventory                 6,865,924            100%                     6,865,924              1,742,894           100%                     1,742,894                1,145,000            8%                                95,417
                                           Capital Expenditures                  17,572,491            100%                    17,572,491              8,884,769           100%                     8,884,769              38,594,066             8%                             3,216,172
                                                     Other Costs                     90,432             0%                                               (44,941)           0%                                                  30,000            0%
                                Subtotal for Indirect Costs           $          54,657,993                           $        51,694,585     S       51,984,722                           S       44,677,410      $       89,414,066                                 $          6,858,171


                                                                                                       Yrs                                                                 Yrs                                                                    Yrs
                    Inflation Adjusted Total Expenses [3]                                              1.61       [ S          83,390,064 I                                0.61       [S           88,771,777 |                                                      I $        12,343,171 I
                                                                                 2.3%                                                                 2.3%                                                                  2.3%                   0


                                                                                                                                                                                                                2004-2006 Expenses, Inflation Adjusted [4]                      23,743,086
                                                                                                                                                                                                                     2007 Expenses, Inflation Adjusted [5]                      20,247,539
                                                                                                                                                                                                                     2008 Expenses, Inflation Adjusted [5]                      15,187,171
                                                                                                                                                                                                                  2009-2014 Expenses, Inflation Adjusted                       251,261,278

                                                                                                                                                                                                         Total Direct and Indirect Development Costs                           310,439,074

                                                                                                                                                                                                                               Obsolescence Adjustment [6]      4%             (11,871,543)

                                                                                                                                                                                                                                               Subtotal Cost                   298,567,531

                                                                                                                                                                                                                             Add Developer Profit Margin [7]   14%              41,799,454


                                                                                                                                                                                                                           Total Pretax Development Cost                       340,366,985

                                                                                                                                                                                                           Total Pretax Development Cost (Rounded)                    $        340,370,000



        Notes
         [1 ] Per company prepared trial balances.
         [2]         Allocations based on relevance of costs to devetoping Theranos technology and branding assets. 2014 is adjusted for partial period to valuation date.
         [3]         Adjust allocated expenses for average annual inflation of 2.3% over historical period.
         [4]         2004-2006 expenses based on retained earnings deficit at 12/31/07 less operating toss reported for calendar year 2007. Expenses are adjusted for inflation of 2.3% from midpoint of period to valuation date.
         [5]         2007 - 2008 expenses based on audited financial statements. Excludes financing costs and interest income. Expenses are adjusted for inflation of 2.3% from midpoint of each period to valuation date.
         [6]         Adjusted for estimated 50% of historical development efforts between 2004-2006 that represent obsolete technology on valuation date.
         [7]         Developer margin based on median EBIT margin of peer group of firms in Exhibit D.2.




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                                     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 84 of 156


US v. Elizabeth Holmes                                                                                                                      Exhibit F.1
Valuation of Theranos, Inc.                                                                                      Discounted Cash Flow Key Assumptions
As of December 31,2014                                                                                                              (thousands of USD)


                                                                                       For the Twelve Month Period Ending December 31,______
                                                        Basis             2015______________ 2016                2017               2018

Total Revenue                                     Annual Growth Rate        97703.4%              97.0%               44.8%                 55.6%

Terminal Value                                   Exit Multiple, Ex. G.1                                                                      4.0%

Total Cost of Revenue                                % of Revenue              35.0%              32.0%                32.0%                30.0%

Total Operating Expenses                             % of Revenue              85.5%              44.7%                33.7%                24.7%

Depreciation & Amortization                           Exhibit F.3               9.3%                6.9%                7.0%                  6.0%

Interest Expense                                          N/A                    N/A                 N/A                 N/A                   N/A

Income Taxes                                    % of Pre-Tax Net Income        40.0%              40.0%                40.0%                40.0%

Adjusted Operating Working Capital                    Exhibit F.2               4.0%               10.5%               14.8%                 18.6%
Adjusted Operating Working Capital                                             4,593              23,523              47,806                93,778
Yr/yr Working Capital (lncrease)/Reduction                                   299,343             (18,930)            (24,283)              (45,972)

Capital Expenditures                                 % of Revenue              29.2%               20.6%               20.3%                 11.8%




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                                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 85 of 156


US v. Elizabeth Holmes                                                                                                                                                                                  ____________________ Exhibit F.2
Valuation of Theranos, Inc.                                                                                                                                                                             Adjusted Working Capital Analysis
As of December 31,2014                                                                                                                                                                                  _____________(thousands of USD)


                                                                     FYE              FYE               FYE              FYE               FYE               FYE                For the Twelve Month Period Ending December 31,
Working Capital                                                    12-31-09         12-31-10          12-31-11         12-31-12          12-31-13          12-31-14          2015            2016          2017          2018

Total Revenue                                             [1] $        2,794    $       1,401     $         518    $                 $            -    $         116     $   113,452     $   223,452    $   323,452     $   503,452
Total COS                                                                   -                -                 -               -                  -                -          39,708          71,505        103,505         151,036
Total Operating Expenses                                              13,597           16,801            27,173           64,015            85,605           122,756          97,025          99,961        108,977         124,401

Operating Assets
    Cash & Equivalents                                    [2] $        3,690    $      36,718     $      88,056    $      51,785     $      30,966     $     465,933     $    47,848     $    49,296    $    53,742     $    61,348
    Accounts Receivable                                                   29               55                  -                -                 -                 -               -               -
    Inventory                                                            581                 -                 -           1,733             3,777             2,383           3,404           6,704          9,704          15,104
    Other Current Assets                                                 195              827               665            1,882             1,780            12,788           4,838           5,080          5,334           5,601
    Note Receivable                                                         -                -                 -                -                 -           27,045          57,539          50,055         42,303          58,453
Total Operating Assets                                                 4,495           37,600            88,721           55,401            36,523           508,149         113,629         111,135        111,083         140,506

Operating Liabilities
    Accounts Payable                                                      560              440            1,238            7,669             7,430            16,633          13,879          16,480          16,174         22,774
    Deferred Revenue                                                    1,663              257                7                7                 7               -               -                -              -               -
    Other Current Liabilities                                             950            1,298            2,845            7,714             4,830             9,984           7,073           8,265           9,453         11,521
    Deferred Rent                                                         723              759              767            1,572             1,857                               -                -
    Deferred Revenue, LT                                                2,146            3,808            3,801            3,801             3,801               -               -                -              -              -
    Customer Deposits                                                     -                 -            73,500           69,500            80,000           143,846          70,356          46,904          23,452            -
    Other Non-current liabilities                                         807            1,847            5,959            3,425             1,866            33,750          17,728          15,963          14,198         12,433
Total Operating Liabilities                                             6,849            8,409           88,117           93,687            99,791           204,213         109,036          87,612          63,277         46,728

Net Operating Working Capital                                  $       (2,3541 _$       29,191    $         604    $      (38,287)   $      (63,2681   $      303,936    $     4,593     $    23,523    $     47,806    $     93,778
Net Operating Working Capital as % of Revenue                          -84.3%         2083.1%            116.6%              0.0%              0.0%        262013.8%            4.0%           10.5%           14.8%           18.6%
Yr/yr Working Capital (lncrease)/Reduction                                   -         (31,545)          28,587            38,891            24,981          (367,204)       299,343         (18,930)        (24,283)        (45,972)

BizMiner Working Capital as a % of Revenue                                                                                                                                     22.8%
RMA Working Capital as a % of Revenue                                                                                                                                          36.1%
Comparable Group Working Capital as a % of Revenue                                                                                                                             58.0%

Days' Operating Expenses in Cash                                           99              798            1,183              295                132            1,385              180            180             180             180
Days' Sales Outstanding                                                     4                14             -                 -                 -                -                -              -               -               -
Days' Inventory                                                           -                -                -                 -                 -                -                  31            34               34              37
Other Current Assets as a % of Revenue                                   7.0%            59.0%           128.4%              0.0%              0.0%         11024.1%             4.3%           2.3%            1.6%            1.1%
Note Receivable as a % of Revenue                                        0.0%             0.0%             0.0%              0.0%              0.0%         23314.7%            50.7%          22.4%           13.1%           11.6%
Days' Payables                                                            -                -                -                 -                 -                -                128              84              57              55
Deposits & Deferred Revenue as a % of Revenue                          136.3%           290.1%         14917.2%              0.0%              0.0%        124005.2%            62.0%          21.0%            7.3%            0.0%
Other Current Liabilites as a % of Opex                                  7.0%             7.7%            10.5%             12.1%              5.6%             8.1%             7.3%           8.3%            8.7%            9.3%
Deferred Rent as a % of Opex                                             5.3%             4.5%             2.8%              2.5%              2.2%             0.0%             0.0%           0.0%            0.0%            0.0%
Other Non-current liabilities as a % of Opex                             5.9%            11.0%            21.9%              5.4%              2.2%            27.5%            18.3%          16.0%           13.0%           10.0%

Notes:
[1] Historical balances are per Adjusted Income Statement. Refer to Exhibit B.5. Operating Expenses exclude Depreciation & Amortization.
[2] Estimated operating cash levels equal to 6 months of operating expenses




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                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 86 of 156




     US v. Elizabeth Holmes                                                                                                                              Exhibit F.3
     Valuation of Theranos, Inc.                                                                                         Depreciation & Capital Expenditure Analysis
     As of December 31,2014                                                                                                                      (thousands of USD)


                                                                                 For the Twelve Month Period Ending December 31,
      Forecast Depreciation                                                   2015             2016            2017            2018

      Total Revenue                                                      $      113,452       $      223,452    $      323,452    $      503,452

      Beginning Balance - Total Fixed Assets                                     53,366               75,963           106,437           149,519
      Capital Expenditures                                                       33,134               45,970            65,569            59,240
           Fixed Assets                                                          86,500              121,933           172,006           208,759
      Capital Expenditures as a % of Revenue                                     29.21%               20.57%            20.27%            11.77%

      Depreciation
          Assumptions as to Depreciable Lives:
          Beg. Dep. Existing Fixed Assets - avg life   6.3
          Capital Additions - avg life                 8.0

           Beginning Balance                                             $        8,460       $        8,460    $        8,460    $        8,460
           2015 Additions                                                         2,077                4,154             4,154             4,154
           2016 Additions                                                                              2,881             5,763             5,763
           2017 Additions                                                                                                4,110             8,220
           2018 Additions                                                                                                                  3,713


      Total Depreciation                                                 $       10,537       $       15,496    $       22,487    $       30,310
      As a % of Revenue                                                            9.3%                 6.9%              7.0%              6.0%

      Net Fixed Assets                                                   $       75,963       $      106,437    $      149,519    $      178,448
      As a % of Revenue                                                           67.0%                47.6%             46.2%             35.4%

      Historical Capital Expenditure Analysis                                  FYE                  FYE               FYE               FYE               FYE
                                                                             12-31-10             12-31-11          12-31-12          12-31-13          12-31-14

      Net FA                                                                       2,630                4,648            19,557            22,021            53,366
      Chg from PY                                                                    N/A                2,018            14,909             2,463            31,345
      Depreciation                                                                   771                1,025             2,654             5,573             7,247
      (Gain)/Loss                                                                    -                     -                  9               849                 1
      Capital Expenditures                                                           N/A                3,043            17,572             8,885            38,594

                                                             Average
      Fixed Assets                                              20,444            2,630                4,648             19,557            22,021           53,366
      Fixed Assets as a % of Revenue                          5021.8%            187.7%               896.9%                N/A                N/A        46005.2%

      Capital Expenditures                                     17,024                   N/A            3,043             17,572             8,885           38,594
      Capital Expenditures as a % of Revenue                  4181.6%                   N/A           587.1%                N/A               N/A         33270.7%



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                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 87 of 156


                    US v. Elizabeth Holmes                                                                                                                                                                        Exhibit F.4
                    Valuation of Theranos, Inc.                                                                                                                               Discount Rate - Venture Capital Rates of Return
                    As of December 31. 2014




                                                                                                 Market          Interest Bearing       Trading Volume                              1-Year Growth        Equity as a %
                        Company Name                                     Ticker Symbol        Capitalization           Debt                   m               LTM Revenue               Rate            of Total Capital
                        OraSure Technologies, Inc.                            OSUR           S       568,416     $                                 641    S          106,464                   7.6%              100.0%
                        Trinity Biotech plc                                    TRIB                  392,493                                        135              104,872                  15.0%              100.0%
                        Enzo Biochem, Inc.                                      ENZ                  218,928                4,038                  188                96,637                   4.8%               98.2%
                        QuidelOrtho Corporation                               QDEL                   995,160              143,084                  302               184,158                   3.9%               87.4%
                        Exact Sciences Corporation                            EXAS                 2,430,718                3,760                1,974                 1,798                 -56.6%               99.8%
                        OPKO Health, Inc.                                      OPK                 4,337,104              147,343                2,446                91,125                  -5.6%               96.7%
                        PerkinElmer, Inc.                                       PKI                4,939,852            1,046,468                1,017             2,069,880                  -4.1%               82.5%
                        Quest Diagnostics Incorporated                         DGX                 9,692,466            3,770,000                1,637             7,435,000                   4.0%               72.0%
                        Laboratory Corporation of America Holdings              LH                 9,117,550            3,029,800                1,264             6,011,600                   3.5%               75.1%
                        Myriad Genetics, Inc.                                 MYGN                 2,485,880                                       749               724,873                  -1.7%              100.0%
                        Illumina, Inc.                                         ILMN              26,210,360             1,291,036                1,158             1,861,358                  31.0%               95.3%
                        Qiagen N.V.                                           QGEN                 5,425,828            1,173,204                  705             1,344,777                   3.3%               82.2%
                        Alere Inc.                                         IQT2622336              3,175,128            3,726,094                  493             2,577,001                  -1.2%               46.0%
                        Luminex Corporation                                IQT2627430                803,551                                       243               226,983                   6.4%              100.0%
                        Abaxis, Inc.                                       IQT2586525              1,280,721                 605                   202               182,777                   1.7%              100.0%
                        CombiMatrix Corporation                           IQT36309071                 14,271                 405                      7                8,042                  26.3%               97.2%
                        Affymetrix Inc.                                    IQT2587418                726,274             127,950                   703               349,019                   5.6%               85.0%
                        Genomic Health, Inc.                              IQT24111615              1,014,152                                       151               275,706                   5.4%              100.0%
                        Cepheid                                            IQT2599314             3,815,841              278,213                   620               470,141                  17.2%               93.2%
                        Nanosphere, Inc.                                  IQT38720096                 45,675               9,716                   117                14,290                  42.9%               82.5%
                        GenMark Diagnostics, Inc.                        IQT106626443                568,004                                       185                30,594                  11.6%              100.0%
                        Bio-Reference Laboratories, Inc.                   IQT2594421                890,901                 55,429                212               832,282                  16.3%               94.1%
                        Average                                                                    3,597,694             673,052                   689             1,136,335                     6.2%               90.3%
                        Median                                                                     1,147,437              32,573                   556               251,345                     5.1%               96.0%
                        Selected                                                                                                                                                                                    97.0%

                    Industry Capital Structure
                        Equity                                                     95.0%
                        Interest Bearing Debt                                       5.0%
                        Tax Rate                                                   40.0%

                   Cost of Equity
                                                                                                                                                                                                             Ref.
                   Table 1: Venture Capital Average Actual Rates of Return for the Period ended September 30,         2008                                                                                    [1]
                   Stage of Development                                         5-year Return                              10-year Return                               20-year Return
                                                                          2002                2008                     2002              2008                    2002                     2008
                   Seed/Early Stage                                      51.4%                3.0%                    34.9%             25.5%                   20.4%                    22.1%
                   Balanced                                              20.9%                7.5%                    20.9%             12.0%                   14.3%                    14.6%
                   Later Stage                                           10.6%                8.1%                    21.6%              7.3%                   15.3%                    14.7%
                   All Ventures                                          28.3%                5.7%                    26.3%             13.4%                   16.6%                    17.2%


                   Table 2: Target Rates of Return                                                                                                                                                           [2-5]
                                                                                                                   Sahlman,
                                                                                              Scherlis and      Stevenson, and                            Everett Median
                   Stage of Development                                     Plummer             Sahlman              Bhide                 Everett           Returns
                   Start-up                                                50% - 70%           50% - 70%          50% -100%               30% - 40%           33.0%
                   First stage or "early development"                      40% - 60%           40% - 60%           40% - 60%              23% - 38%           28.0%
                   Second stage or "expansion"                             35% - 50%           30% - 50%           30% - 40%              19%-32%             25.0%
                   Bridge/IPO                                              25% - 35%           20% - 35%           20% - 30%              18%-38%             25.0%


                   Table 3: Target Rates of Return                                                                                                                                                            [6]
                                                                                                                         Plummer /Qed
                                                                           Ruhnka/                                Range of Discount Rates Used
                   Stage of Development                                     Young                Wetzel              High              Low
                   Seed                                                     73.0%                50.0%              75.4%             49.2%
                   Start-up                                                 54.8%                50.0%              59.6%             40.6%
                   3rd Stage                                                42.2%                37.5%              49.3%             34.7%
                   Fourth Stage                                             35.0%                30.0%              45.7%             31.2%
                   Exit Stage                                               35.0%                22.5%              40.8%             28.1%


                   Table 4: Theranos Investor Forecasts Implied Internal Rates of Return (Feb 2014 - Feb 2015)                                                                                                [6]


                   Investor Group                                             IRR
                   PFM Forecast                                              75.5%
                   PFM Model                                                 35.5%
                   Mosley and RDV Forecast                                   54.0%
                   Murdoch Forecast                                          82.0%


                                                                       Selected Venture Capital Cost of Equity                                  45.0%


                   Weighted Average Cost of Capital
                       Equity as a % of total capital                                                                        95.0%
                       Cost of Equity (above)                                                                                45.0%
                      Weighted Cost of Equity                                                                                                   42.8%

                       Debt as a % of total capital                                                                           5.0%
                       Cost of Debt [4]                                                               25.00%
                       After Tax Cost of Debt (tax rate above)                                                 __________ 15.0%
                       Weighted After Tax Cost of Debt                                                                                ___________ 0.8%
                                                                       Weighted Average Cost of Capital                                         43.5%

                                                                       Weighted Average Cost of Capital (rounded)                               44.0%

                   Notes:
                   [1] Source: Thomson Financial. The average annual return is based upon Thomson Financials' Private Equity Performance Index (PEPI).
                       The PEPI is based on the latest quarterly statistics from Thomson Financials' Private Equity Performance Database analyzing the cashflows and
                       returns for over 1400 US venture capital and private equity partnerships.
                   [2] Plummer, James L., QED Report on Venture Capital Financial Analysis.
                   [3] Scherlis, Daniel R. and William A. Sahlman, "A Method for Valuing High-Risk, Long Term, Investments: The Venture Capital Method,"
                       Harvard Business School Teaching Note 9-288-006, Boston: Harvard Business School Publishing, 1989.
                   [4] William A. Sahlman, Howard H. Stevenson, Amar V. Bhide, et al., "Financing Entrepreneurial Ventures,"
                       Business Fundamental Series (Boston: Harvard Business School Publishing, 1998).
                       Craig R. Everett, “2021 Private Capital Markets Report" (Malibu: Pepperdine University Graziadio School of Business and Management, 2021), Table
                   [5] 1, p. 5. Note that this publication also includes rates of return for many other types of private capital investments, as well as summaries of other
                       information captured in Pepperdine's annual industry survey.
                   [6] Dorsey, Terry, "A Portfolio Model for Venture Capital Performance Measurement and Investment Selection,' Polaris Group, Inc. January 2000.
                   [7] Refer to the report for discussion of the selected Venture Capital Rate of Return.




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                                       Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 88 of 156


         US v. Elizabeth Holmes                                                                                                      Exhibit F.5
         Valuation of Theranos, Inc.                                                                  Forecast Free Cash Flow to Invested Capital
         As of December 31,2014                                                                                              (thousands of USD)


                                                                                 For the Twelve Month Period Ending December 31,
                                                                          2015              2016             2017            2018

          Total Revenue                                               $     113,452    $     223,452     $       323,452     $      503,452
          Total Cost of Revenue                                              39,708           71,505             103,505            151,036
          Gross Margin                                                       73,744          151,947             219,947            352,416
          GM %                                                                65.0%            68.0%               68.0%              70.0%

          Total Operating Expenses                                           97,025           99,961             108,977            124,401
          Operating Expense %                                                 85.5%            44.7%               33.7%              24.7%
          EBITDA                                                            (23,281)          51,986             110,970            228,015
          EBITDA %                                                           -20.5%            23.3%               34.3%              45.3%
          Less: Partial Period Adjustment                                        -                -                   -                 -
          Adjusted EBITDA                                                   (23,281)
          Depreciation & Amortization                                        10,537            15,496             22,487             30,310
          EBIT                                                              (33,818)          36,490              88,483            197,705
          EBIT%                                                              -29.8%            16.3%               27.4%              39.3%
          Interest Expense                                                       -                -                   -                 -

          Earnings Before Taxes                                             (33,818)          36,490              88,483            197,705
                 Income Taxes                                                   -                -                   -               32,350

          Forecast After-Tax Income                                   $     (33,818)   $      36,490     $        88,483     $      165,354
          NPAT%                                                              -29.8%            16.3%               27.4%              32.8%

          Cash Flow
          Add: Depreciation & Amortization                                   10,537            15,496             22,487             30,310
                After-Tax Gross Cash Flow                                   (23,281)           51,986            110,970            195,665

                Decrease / (Increase) in Working Capital                    299,343           (18,930)            (24,283)          (45,972)
          Less: Capital Expenditures                                        (33,134)          (45,970)            (65,569)          (59,240)

          Free Cash Flow                                              $     242,928    $      (12,914)    $       21,118     $       90,453



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                                        Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 89 of 156


                  US v. Elizabeth Holmes                                                        _____________________________ Exhibit F.6
                  Valuation of Theranos, Inc.                                                   Discounted Cash Flow Method Value Summary
                  As of December 31,2014                                                                                 (thousands of USD)


                         Forecast                   Base                             Discount                                  Discounted
                          Period                  Cash Flow                 Period     Rate             PV Factor [2]         Cash Flow [3]

                          2015                $          242,928             0.50     44.0%                0.8334        $           202,464
                          2016                            (12,914)           1.50     44.0%                0.5788                      (7,475)
                          2017                             21,118            2.50     44.0%                0.4020                       8,489
                          2018                             90,453            3.50     44.0%                0.2791                     25,250
                    Terminal Value [1]                 3,282,000             4.00     44.0%                0.2326                    763,471

                  Indicated Value                                                                                         $          992,199
                  Add: C-2 Financing Proceeds
                  Deduct: Interest Bearing Debt                                                                                       (40,805)
                  Add: Other non-operating assets

                   Total Equity Value - Controlling, Marketable Basis                                                     $          951,394

                   Total Equity Value - Controlling, Marketable Basis (rounded)                                           $          951,000


                   Notes:
                   [1]                  Refer to Exhibit G.1
                   [2]                  1 / (1 + Discount Rate) A Period.
                   [3]                  Base Cash Flow x PV Factor.




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                                                                  Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 90 of 156


     US v. Elizabeth Holmes
                                                                                                                                                                                                                                                                                                          Exhibit G.1
     Valuation of Theranos, Inc.
                                                                                                                                                                                                                                                                                    Guideline Public Company Method
     As of December 31,2014
                                                                                                                                                                                                                                                                                                  (thousands of USD)


                                                                                       Debt,                                                                                                                                                                   Market Value of Invested Capital 1
                                                                    Market          PrefShr&                                                            Revenue                              EBITDA                         EBIT                     Revenue                      EBITDA                  EBIT
       Name_______________________________________ Ticker____________ Cap____________ Min Int.___________ Cash___________ MVIC [1]              LTM               2015E              LTM                2015E               LTM                LTM             2015E         LTM          2015E           LTM
       OraSure Technologies, Inc.                             OSUR            $      568,416   $               $      97,867   S      470,549     106,464    $       121,370     S       (3,995)    $         9,167    $      (10,302)            4.42x          3.88x             NA        51.33X            NA
       Trinity Biotech plc                                    TRIB                   392,493                           9,102          383,391     104,872            113,729             19,933             28,853              15,438            3.66x          3.37x          19.23X       13.29x         24.83X
       Enzo Biochem, Inc.                                      ENZ                   218,928           4,038          16,591          206,375      96,637            104,929             (8,660)                 NA           (12,544)            2.14x          1.97x             NA           NA             NA
       QuidelOrtho Corporation                                QDEL                   995,160         143,084         200,895          937,349     184,158            204,235             20,540             37.389              (6.560)           5.09x          4.59x          45 64x       25.07x            NA
       Exact Sciences Corporation                             EXAS                 2,430,718           3,760         282,756        2,151,722       1,798             78.142            (96,829)           (98.942)          (100,539)              NA          27.54X             NA           NA             NA
       OPKO Health. Inc.                                       OPK                 4,337,104         140,940          96,907        4,381,137      91,125            136,930            (94,387)          (102,500)          (109,314)           48.08x         32.00x             NA           NA             NA
       PerkinElmer, Inc.                                       PKI                 4,939,852       1,046,468         174,821        5,811,499   2,069,880          2,339,190           291,561             466,728            181,096             2.81x          2.48x          19.93x       12.45x         32.09X
       Quest Diagnostics Incorporated                          DGX                 9,692,466       3,799,000         192,000       13,299,466   7,435,000          7,571,861         1,433,000           1,507,392          1,119,000             1.79x          1.76x           9.28x        8.82x         11.89x
       Laboratory Corporation of America Holdings               LH                 9,117,550       3,047,500         580,000       11,585,050   6,011,600          6,532,839         1,152,500           1,282,404            945,500             1.93x          1.77x          10.05x        9.03x         12.25x
       Myriad Genetics, Inc.                                 MYGN                  2,485,880                         165,115        2,320,765     724,873            879,890           191,786             258,525            170,797             3.20x          2.64x          12.10x        8.98x         13.59x
       Illumina, Inc.                                         ILMN                26,210,360       1,291,036       1,338,371       26,163,025   1,861,358          2,260,107           604,746             767,866            492,172            14.06x         1158x           43.26x       34.07x         53.16x
       Qiagen N.V.                                           QGEN                  5,425,828       1,181,459         576,703        6,030,584   1,344,777          1,424,763           395,375             482,240            200,793             4.48x          4.23x          15.25X       12.51x         30.03X
       Alere Inc.                                          IQT2622336              3,175,128       4,336,708         378,720        7,133,116   2,577,001          2,773,166           505,722             569,942            169,693             2.77X          2.57x          14.10x       12.52X         42.04X
       Luminex Corporation                                 IQT2627430                803,551                          91,694          711,857     226,983            243,469             45,424             52,461              31,219            3.14x          2.92x          15.67x       13.57x         22.80x
       Abaxis, Inc.                                        IQT2586525              1,280,721            605          109,278        1,172,048     182,777            229,201             43,819             45,639              36,400            6.41x          5.11x          26.75X       25.68x         32.20x
       CombiMatrix Corporation                            IQT36309071                 14,271            405            5,240            9,436       8,042             10,972             (6.137)                 NA             (6,454)           1.17x          0.86x             NA           NA             NA
       Affymetrix Inc.                                     IQT2587418                726,274        127,950           79,923          774,301     349,019            357,448             42,566             50,812              11,889            2.22x          2.17x          18.19x       15.24X         65.13x
       Genomic Health. Inc                                IQT24111615              1,014,152                         103,660          910,492     275,706            311,059            (16.757)             (9,280)           (23,627)           3.30x          2.93x             NA           NA             NA
       Cepheid                                             IQT2599314              3,815,841        278,213          293,392        3,800,662     470,141            543,680             12.257             22,071             (14,086)           8.08x          6.99x             NA           NA             NA
       Nanosphere. Inc.                                   IQT38720096                 45,675          9,716           21.053           34,338      14,290             23,424            (35,822)           (31,355)           (37,690)            2.40x          1.47x             NA           NA             NA
       GenMark Diagnostics, Inc.                         IQT106626443                568,004                          70,506          497,498      30,594             38,324            (36,398)           (46,700)           (39,054)           16.26x         12.98x             NA           NA             NA
       Bio-Reference Laboratories, Inc.                    IQT2594421                890,901         55,429           17,507          928,823     832,282            978,442           108,589                   NA             83,425            1.12x          0.95x           8.55x          NA          11.13X
       Correlation to MVIC                                                                                                                            063                 0.65             0.68                 0 73               0 66
       Correlation to Price                                                                                                                           0.50                0.53             0.56                 0.61               0.57

                                                                                                                                                                                                   Upper Quartile                                 5.09x          4.98x          19.93x       25.07x         34.66x
                                                                                                                                                                                                   Mean                                           6.60x          6.22x          19.85x       18.66x         29.26x
                                                                                                                                                                                                   Median                                         3.20x          2.93x          15.67x       13.29x         27.43X
                                                                                                                                                                                                   Lower Quartile                                 2.22x          2.02x          12.10x       12.45x         13.25x
                                                                                                                                                                                                   Selected Multiple                              6.60x                         13.90X
                                                                                                                                                                                                   Subject Company Base Value             S    503,452    S              S    228,015    S            S
                                                                                                                                                                                                   Indicated Value                            3,322,783                      3,169,409
                                                                                                                                                                                                   Interest Bearing Debt                            N/A           N/A              N/A         N/A               N/A
                                                                                                                                                                                                   Indicated Equity Value                 S 3,322,783     $              $ 3,169,409     $            $
                                                                                                                                                                                                   Weighting                                    33.3%             0.0%         66.7%          0.0%            0.0%

                                                                                                                                                                                                   Indicated Value                                                                                    $ 3,220,533
                                                                                                                                                                                                       Add: Subject Company Cash                                                                           61,348
                                                                                                                                                                                                   Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis                      $ 3,281,882

                                                                                                                                                                                                   Total Invested Capital Value at 12/31/18 Exit - Controlling, Marketable Basis (rounded)            $ 3,282,000
     Notes:
     Source: S&P Capital IQ.
     [1] MVIC = Market Value of Invested Capital. Presented as net of cash.




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                                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 91 of 156


       US v. Elizabeth Holmes________________________________________________________________________________________________________________________________________________________ Exhibit G.2
       Valuation of Theranos, Inc.                                                                                                                                                               Guideline Public Company Key Financial Ratios
       As of December 31,2014______________________________________________________________________________________________________ ________________________________________________________________ __________________ (thousands of USD)



                                                                        Market         Trading           LTM       CAGR Revenue [2]             Forward Growth                         As a % of Revenue                      Current     Debt to    Debt to
       Name                                           Ticker             Cap          Volume [1]       Revenue     1 Year    3 Year         2015E    2016E    2017E       GM       EBITDA     EBIT       Capex     WC [3]      Ratio      Equity      TNW

       OraSure Technologies, Inc.                     OSUR         S     568,416            641    $     106,464      7.6%        9.1%       14.0%     13.4%    44.6%     62.6%      -3.8%       -9.7%     2.8%    190.3%        4.96        0.0%       0.0%
       Trinity Biotech plc                            TRIB               392,493            135          104,872     15.0%       10.4%        8.4% |    9.5%       NA     47.1%      19.0%      14.7%      7.9%     44.7%        3.13        0.0%       0.0%
       Enzo Biochem, Inc.                              ENZ               218,928            188           96,637      4.8%        -1.8%       8.6%      7.4%     8.1%     43.6%      -9.0%      -13.0%     0.8%     15.8%        1.62       11.2%      19.1%
       QuidelOrtho Corporation                        QDEL               995,160            302          184,158      3.9%        5.1%       10.9%      8.7%     6.3%     59.2%      11.2%       -3.6%     6.1%    129.3%        7.54       58.4%     116.9%
       Exact Sciences Corporation                     EXAS              2,430,718         1,974            1,798     -56.6%      -24.4%        N/A     189.9%   68.1%    -140.5%       N/A    -5591.7%      N/A #######         16.65        1.3%       1.3%

       OPKO Health, Inc.                               OPK              4,337,104         2,446           91,125      -5.6% 11   48.2% |
                                                                                                                                             50.3%     141.4%   178.9%     3.5%    -103.6%     -120.0%     5.2%     65.6%        1.72       17.6%     -60.3%

       PerkinElmer, Inc.                               PKI              4,939,852         1,017        2,069,880      -4.1%       2.6%       13.0%      4.5%     4.2%     45.3%      14.1%       8.7%      1.3%     22.8%        1.79       51.2%    -142.9%

       Quest Diagnostics Incorporated                  DGX              9,692,466         1,637        7,435,000      4.0%        0.2%        1.8%      2.3%     4.9%     38.3%      19.3%      15.1%      4.1%     -1.4%        0.94       87.1%    -136.0%

       Laboratory Corporation of America Holdi         LH               9,117,550         1,264        6,011,600      3.5%        2.7%        8.7%      0.0%     0.8%     36.6%      19.2%      15.7%      3.4%     11.9%        1.73      106.8%    -174.4%

       Myriad Genetics, Inc.                          MYGN              2,485,880           749          724,873                 17.8% |
                                                                                                                      -1.7%                  21.4%      -3.7%    6.5%     82.0%      26.5%      23.6%      3.3%     35.9%        5.35        0.0%       0.0%

       Illumina, Inc.                                 ILMN             26,210,360         1,158        1,861,358     31.0% |     20.8% I     21.4% |    19.9%    14.9%    71.8%      32.5%      26.4%      5.7%     62.7%        2.62       88.3%     304.9%

       Qiagen N.V.                                    QGEN              5,425,828           705        1,344,777      3.3%        4.8%        5.9%      7.2%     7.5%     66.3%      29.4%      14.9%      6.4%     53.3%        2.66       44.1%    2720.7%

       Alere Inc.                                  IQT2622336           3,175,128           493        2,577,001      -1.2%       2.6%        7.6%       1.8%      NA     47.5%      19.6%       6.6%      3.9%     41.1%        2.37      194.4%    -159.9%

       Luminex Corporation                         IQT2627430            803,551            243          226,983      6.4%        7.2%        7.3%      10.0%    10.9%    71.0%      20.0%      13.8%      7.5%     64.6%        5.83        0.0%       0.0%
       Abaxis, Inc.                                IQT2586525           1,280,721           202          182,777       1.7%       6.5%       25.4%      13.0%      NA     56.0%      24.0%      19.9%      3.4%     85.5%        6.12        0.3%       0.3%

       CombiMatrix Corporation                     IQT36309071             14,271             7            8,042     26.3%       20.0%       36.4%      39.6%   29.2%     44.9%     -76.3%      -80.3%     2.6%     82.6%        6.19        5.7%       5.7%

       Affymetrix Inc.                             IQT2587418            726,274            703          349,019      5.6%        9.3%        2.4%       4.0%     2.6%    60.3%      12.2%       3.4%      2.3%     35.6%        2.87       47.0%    1283.9%

       Genomic Health, Inc.                        IQT24111615          1,014,152           151          275,706      5.4%       10.2%       12.8%      13.7%    12.0%    81.1%       -6.1%      -8.6%     3.8%     40.0%        3.87        0.0%       0.0%

       Cepheid                                     IQT2599314           3,815,841           620          470,141                  19.2% |    15.6% |
                                                                                                                     17.2%                              18.1%    16.3%    51.2%       2.6%       -3.0%     10.0%    81.1%        3.77       78.5%      98.3%

       Nanosphere, Inc.                            IQT38720096             45,675           117           14,290     42.9%       78.0%       63.9%      27.1%    76.1%   -111.1%       N/A     -263.8%     17.7%   136.1%        2.24       36.4%      39.5%

       GenMark Diagnostics, Inc.                   IQT106626443           568,004           185           30,594      11.6%      82.8%       25.3%      58.5%    61.6%    57.1%     -119.0%    -127.7%     18.7%   215.1%        6.35        0.0%       0.0%

        Bio-Reference Laboratories, Inc.           IQT2594421             890,901           212          832,282      16.3%       16.8%      17.6%      10.1%      NA     46.8%      13.0%       10.0%      1.9%    24.9%        2.43       17.4%      20.6%



                                Upper Quartile                     $ 4,206,788              950    $ 1,216,653        14.1% ||    18.9% |    21.4%      19.5%    40.7%    62.0%      19.7%       14.9% |   6.4%     84.8%        5.71       56.6%      34.8%
                                           Mean                         3,597,694           689        1,136,335       6.2%       15.8%      18.0%      27.1%    30.8%     37.3%      -2.8%    -274.9%     5.7%    758.4%        4.22       38.4%     179.0%
                                        Median                          1,147,437           556          251,345       5.1%        9.2%      13.0%      10.0%    11.5%    49.4%      13.6%        5.0%      3.9%    58.0%        3.00       17.5%       0.1%
                                Lower Quartile                            607,881           192           98,696       2.1%        3.2%       8.4%       5.2%     6.3%    43.9%       -4.3%     -12.2%      2.8%    35.7% |      2 27 |      0.1%       0.0%



                    Theranos, Inc. (at 12/31/18)                                 NA         NA     5     503,452     55.6%       64.3%       28.0%        NA       NA       0.0%     45.3%       39.3%     11.8%    18.6%        2.39          N/A        N/A




        Notes:
        Source: S&P Capital IQ.
        [1]         Represents trailing 3-month average daily trading volume (in thousands).
        [2]         CAGR = Compound Annual Growth Rate
        [3]         Working capital excludes cash



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                                          Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 92 of 156


                    US v. Elizabeth Holmes                                                                                                                                                            Exhibit G.3
                    Valuation of Theranos, Inc.                                                                                                                              Guideline Public Company Descriptions
                    As of December 31, 2014


                    Name                                           Ticker       Description


                                                                                OraSure Technologies, Inc., together with its subsidiaries, develops, manufactures, markets, and sells oral fluid diagnostic products
                    OraSure Technologies, Inc.                     OSUR
                                                                                and specimen collection devices in the United States, Europe, and internationally.

                                                                                Trinity Biotech plc acquires, develops, manufactures, and markets medical diagnostic products for the clinical laboratory and point-
                    Trinity Biotech plc                             TRIB
                                                                                of-care (POC) segments of the diagnostic market in the Americas, Africa, Asia, and Europe.

                                                                                Enzo Biochem, Inc., an integrated diagnostics, clinical lab, and life sciences company, researches, develops, manufactures, and
                    Enzo Biochem, Inc.                              ENZ
                                                                                markets diagnostic and research products based on genetic engineering, biotechnology, and molecular biology.

                                                                                QuidelOrtho Corporation focuses on the development and manufacture of diagnostic testing technologies across the continuum of
                    QuidelOrtho Corporation                         QDEL
                                                                                healthcare testing needs.

                    Exact Sciences Corporation                      EXAS        Exact Sciences Corporation provides cancer screening and diagnostic test products in the United States and internationally.

                                                                                OPKO Health, Inc., a healthcare company, engages in the diagnostics and pharmaceuticals businesses in the United States,
                    OPKO Health, Inc.                               OPK
                                                                                Ireland, Chile, Spain, Israel, Mexico, and internationally.

                                                                                PerkinElmer, Inc. provides products, services, and solutions to the diagnostics, life sciences, and applied services markets
                    PerkinElmer, Inc.                                PKI
                                                                                worldwide.

                    Quest Diagnostics Incorporated                  DGX         Quest Diagnostics Incorporated provides diagnostic testing, information, and services in the United States and internationally.

                                                                                Laboratory Corporation of America Holdings operates as a global life sciences company that provides vital information to help
                    Laboratory Corporation of America Holdings       LH
                                                                                doctors, hospitals, pharmaceutical companies, researchers, and patients make clear and confident decisions.

                                                                                Myriad Genetics, Inc., a genetic testing and precision medicine company, develops and commercializes genetic tests in the United
                    Myriad Genetics, Inc.                           MYGN
                                                                                States and internationally.

                    Illumina, Inc.                                  ILMN        Illumina, Inc. provides sequencing and array-based solutions for genetic and genomic analysis.


                    Qiagen N.V.                                     QGEN        QIAGEN N.V. offers sample to insight solutions that transform biological materials into molecular insights worldwide.

                                                                                Alere Inc. provides diagnostic tests for infectious disease, cardiometabolic disease, and toxicology in the United States and
                    Alere Inc.                                   IQT2622336
                                                                                internationally.

                                                                                Luminex Corporation develops, manufactures, and sells proprietary biological testing technologies and products for the diagnostics,
                    Luminex Corporation                          IQT2627430
                                                                                pharmaceutical, and research industries worldwide.

                                                                                Abaxis, Inc. develops, manufactures, markets, and sells portable blood analysis systems for use in human or veterinary patient care
                    Abaxis, Inc.                                 IQT2586525
                                                                                to provide rapid blood constituent measurements for clinicians worldwide.

                    CombiMatrix Corporation                      IQT36309071    CombiMatrix Corporation provides clinical molecular diagnostic laboratory services in the United States.

                                                                                Affymetrix, Inc. provides life science products and molecular diagnostic products that enable parallel analysis of biological systems
                    Affymetrix Inc.                              IQT2587418
                                                                                at the gene, protein, and cell level.

                                                                                Genomic Health, Inc., a healthcare company, provides clinically actionable genomic information to personalize cancer treatment
                    Genomic Health, Inc.                         IQT24111615
                                                                                decisions in the United States and internationally.

                                                                                Cepheid, a molecular diagnostics company, develops, manufactures, and markets integrated systems for testing in the clinical and
                    Cepheid                                       IQT2599314
                                                                                non-clinical markets.

                                                                                Nanosphere, Inc. develops, manufactures, and markets molecular diagnostic tests for infectious diseases and associated drug
                    Nanosphere, Inc.                             IQT38720096
                                                                                resistance markers for earlier disease detection, optimal patient treatment, and improved healthcare economics.
                                                                                GenMark Diagnostics, Inc. designs and manufactures multiplex molecular diagnostic solutions to enhance patient care, improve
                    GenMark Diagnostics, Inc.                    IQT106626443   quality metrics, and reduce the total cost-of-care for laboratory professionals, healthcare providers, and customers in the United
                                                                                States and internationallv.
                                                                                Bio-Reference Laboratories, Inc. provides clinical laboratory testing services for the detection, diagnosis, evaluation, monitoring,
                    Bio-Reference Laboratories, Inc.              IQT2594421
                                                                                and treatment of diseases in the United States.


                    Notes:
                    Source: S&P Capital IQ.




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                                    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 93 of 156


                                   US v. Elizabeth Holmes                                                                                                                                    ____________________ Exhibit G.4
                                   Valuation of Theranos, Inc.                                                                                                                                Guideline Public Company Ranking
                                   As of December 31, 2014                                                                                                                                   _____________ (thousands of USD)


                                                             Size                                                           Liquidity                                                        Liquidity
                                                      (Revenue, millions)                                   (Operating Net Working Capital-to-Revenue)                                    (Current Ratio)
                                Quest Diagnostics Incorporated            $          7,435,000   Quest Diagnostics Incorporated                           -1.4%   Exact Sciences Corporation                            16.65
                                Laboratory Corporation of America Holdir             6,011,600   Laboratory Corporation of America Holdir                 11.9% QuidelOrtho Corporation                                  7.54
                                Alere Inc.                                           2,577,001   Enzo Biochem, Inc.                                       15.8% GenMark Diagnostics, Inc.                                6.35
                                PerkinElmer, Inc.                                    2,069,880 ITheranos, Ino. (at 12/31/18)                              18.6% | CombiMatrix Corporation                                6.19
                                Illumina, Inc.                                       1,861,358   PerkinElmer, Inc.                                        22.8% Abaxis, Inc.                                             6.12
                                Qiagen N.V.                                          1,344,777   Bio-Reference Laboratories, Inc.                         24.9% Luminex Corporation                                      5.83
                                Bio-Reference Laboratories, Inc.                       832,282   Affymetrix Inc.                                          35.6%   Myriad Genetics, Inc.                                  5.35
                                Myriad Genetics, Inc.                                  724,873   Myriad Genetics, Inc.                                    35.9% OraSure Technologies, Inc.                               4.96
                               iTheranos, Inc. (at 12/31/18)                           503,462 | Genomic Health, Inc.                                     40.0% Genomic Health, Inc.                                     3.87
                                Cepheid                                                470,141   Alere Inc.                                               41.1% Cepheid                                                  3.77
                                Affymetrix Inc.                                        349,019   Trinity Biotech plc                                      44.7% Trinity Biotech plc                                      3.13
                                Genomic Health, Inc.                                   275,706   Qiagen N.V.                                              53.3% Affymetrix Inc.                                          2.87
                                Luminex Corporation                                    226,983   Illumina, Inc.                                           62.7%   Qiagen N.V.                                            2.66
                                QuidelOrtho Corporation                                184,158   Luminex Corporation                                      64.6%   Illumina, Inc.                                         2.62
                                Abaxis, Inc.                                           182,777   OPKO Health, Inc.                                        65.6%   Bio-Reference Laboratories, Inc.                       2.43
                                OraSure Technologies, Inc.                             106,464   Cepheid                                                  81.1% ITheranos, Ino. (at 12/31/18)                            2.39 |
                                Trinity Biotech plc                                    104,872   CombiMatrix Corporation                                  82.6% Alere Inc.                                               2.37
                                Enzo Biochem, Inc.                                      96,637   Abaxis, Inc.                                             85.5%   Nanosphere, Inc.                                       2.24
                                OPKO Health, Inc.                                       91,125   QuidelOrtho Corporation                                 129.3%   PerkinElmer, Inc.                                      1.79
                                GenMark Diagnostics, Inc.                               30,594   Nanosphere, Inc.                                        136.1%   Laboratory Corporation of America Holdir               1.73
                                Nanosphere, Inc.                                        14,290   OraSure Technologies, Inc.                              190.3%   OPKO Health, Inc.                                      1.72
                                CombiMatrix Corporation                                  8,042   GenMark Diagnostics, Inc.                               215.1%   Enzo Biochem, Inc.                                     1.62
                                Exact Sciences Corporation                               1,798   Exact Sciences Corporation                            15247.8% Quest Diagnostics Incorporated                           0.94

                                                        Operational Efficiency                                                    Growth                                                      Growth
                                                         (Capital Expenditures)                                      (Historical 1 -year Growth Rate)                                (Historical 3-year CAGR)
                                    Enzo Biochem, Inc.                                    0.8%     ITheranos, Inc. (at 12/31/18)                          66,6% | GenMark Diagnostics, Inc.                             82.8%
                                    PerkinElmer, Inc.                                     1.3%      Nanosphere, Inc.                                      42.9% Nanosphere, Inc.                                        78.0%
                                    Bio-Reference Laboratories, Inc.                      1.9%      Illumina, Inc.                                        31.0% ITheranos, Ino. (at 12/31/18)                           64.3% |
                                    Affymetrix Inc.                                       2.3%      CombiMatrix Corporation                               26.3% OPKO Health, Inc.                                       48.2%
                                    CombiMatrix Corporation                               2.6%      Cepheid                                               17.2% Illumina, Inc.                                          20.8%
                                    OraSure Technologies, Inc.                            2.8%      Bio-Reference Laboratories, Inc.                      16.3% CombiMatrix Corporation                                 20.0%
                                    Myriad Genetics, Inc.                                 3.3%      Trinity Biotech plc                                   15.0% Cepheid                                                 19.2%
                                    Laboratory Corporation of America Holdir              3.4%      GenMark Diagnostics, Inc.                             11.6% Myriad Genetics, Inc.                                   17.8%
                                    Abaxis, Inc.                                          3.4%      OraSure Technologies, Inc.                              7.6% Bio-Reference Laboratories, Inc.                       16.8%
                                    Genomic Health, Inc.                                  3.8%      Luminex Corporation                                     6.4% Trinity Biotech plc                                    10.4%
                                    Alere Inc.                                            3.9%      Affymetrix Inc.                                         5.6% Genomic Health, Inc.                                   10.2%
                                    Quest Diagnostics Incorporated                        4.1%      Genomic Health, Inc.                                    5.4% Affymetrix Inc.                                          9.3%
                                    OPKO Health. Inc.                                     5.2%      Enzo Biochem, Inc.                                      4.8% OraSure Technologies, Inc.                               9.1%
                                    Illumina, Inc.                                        5.7%      Quest Diagnostics Incorporated                          4.0% Luminex Corporation                                      7.2%
                                    QuidelOrtho Corporation                               6.1%      QuidelOrtho Corporation                                 3.9% Abaxis, Inc.                                             6.5%
                                    Qiagen N.V.                                           6.4%      Laboratory Corporation of America Holdir                3.5% QuidelOrtho Corporation                                  5.1%
                                    Luminex Corporation                                   7.5%      Qiagen N.V.                                             3.3% Qiagen N.V.                                              4.8%
                                    Trinity Biotech plc                                   7.9%      Abaxis, Inc.                                            1.7% Laboratory Corporation of America Holdir                 2.7%
                                    Cepheid                                              10.0%      Alere Inc.                                            -1.2% Alere Inc.                                                2.6%
                                   ITheranos, Ino. (at 12/31/18)                         11.8% |    Myriad Genetics, Inc.                                 -1.7% PerkinElmer, Inc.                                         2.6%
                                    Nanosphere, Inc.                                     17.7%      PerkinElmer, Inc.                                      -4.1% Quest Diagnostics Incorporated                           0.2%
                                    GenMark Diagnostics, Inc.                            18.7%      OPKO Health, Inc.                                      -5.6% Enzo Biochem, Inc.                                      -1.8%
                                                                                                    Exact Sciences Corporation                           -56.6% Exact Sciences Corporation                             -24.4%

                                                                Growth                                                     Profitability                                              Operational Efficiency
                                                      (Forward 1-year Growth Rate)                             (Historical EBITDA Margin 1-year)                                        (Return on Equity)
                                    Nanosphere, Inc.                                     63.9% ITheranos, Ino. (at 12/31/18)                              46.3% | Myriad Genetics, Inc.                                  15.6%
                                    OPKO Health, Inc.                                    50.3% Illumina, Inc.                                             32.5% Bio-Reference Laboratories, Inc.                         15.1%
                                    CombiMatrix Corporation                              36.4% Qiagen N.V.                                                29.4%   Illumina, Inc.                                         11.9%
                                   ITheranos, Ino. (at 12/31/18)                         28.0% | Myriad Genetics, Inc.                                    26.5% Abaxis, Inc.                                             11.5%
                                    Abaxis, Inc.                                         25.4% Abaxis, Inc.                                               24.0% Laboratory Corporation of America Holdir                 10.4%
                                    GenMark Diagnostics, Inc.                            25.3% Luminex Corporation                                        20.0% Quest Diagnostics Incorporated                            9.1%
                                    Illumina, Inc.                                       21.4% Alere Inc.                                                 19.6% Luminex Corporation                                       6.6%
                                    Myriad Genetics, Inc.                                21.4% Quest Diagnostics Incorporated                             19.3% Trinity Biotech plc                                       5.1%
                                    Bio-Reference Laboratories, Inc.                     17.6% Laboratory Corporation of America Holdir                   19.2%   PerkinElmer, Inc.                                       3.8%
                                    Cepheid                                              15.6% Trinity Biotech plc                                        19.0% Qiagen N.V.                                               3.4%
                                    OraSure Technologies, Inc.                           14.0% PerkinElmer, Inc.                                          14.1% Alere Inc.                                                1.8%
                                    PerkinElmer, Inc.                                    13.0% Bio-Reference Laboratories, Inc.                           13.0% Affymetrix Inc.                                           1.8%
                                    Genomic Health, Inc.                                 12.8% Affymetrix Inc.                                            12.2% ITheranos, Inc. (at 12/31/18)                             0.0% I
                                    QuidelOrtho Corporation                              10.9% QuidelOrtho Corporation                                    11.2% QuidelOrtho Corporation                                  -1.3%
                                    Laboratory Corporation of America Holdir              8.7% Cepheid                                                     2.6% Cepheid                                                  -1.9%
                                    Enzo Biochem, Inc.                                    8.6% OraSure Technologies, Inc.                                 -3.8% OraSure Technologies, Inc.                               -4.0%
                                    Trinity Biotech plc                                   8.4% Genomic Health, Inc.                                       -6.1% OPKO Health, Inc.                                        -6.6%
                                    Alere Inc.                                            7.6% Enzo Biochem, Inc.                                         -9.0% Genomic Health, Inc.                                    -10.2%
                                    Luminex Corporation                                   7.3% CombiMatrix Corporation                                   -76.3% Enzo Biochem, Inc.                                      -20.1%
                                    Qiagen N.V.                                           5.9% OPKO Health, Inc.                                        -103.6% GenMark Diagnostics, Inc.                               -26.1%
                                    Affymetrix Inc.                                       2.4% GenMark Diagnostics, Inc.                                -119.0% Exact Sciences Corporation                              -29.2%
                                    Quest Diagnostics Incorporated                        1.8%                                                                    CombiMatrix Corporation                               -36.0%
                                                                                                                                                                  Nanosphere, Inc.                                      -51.6%




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               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 94 of 156


 US V. Elizabeth Holmes________________________________________________________________________________ Exhibit H.1
 Valuation of Theranos, Inc.                                                                Adjusted Net Asset Value
 As of December 31, 2014(thousands of USD)

                                                             12/31/2014
                                                             Unadjusted                 Adjustments                   Adjusted
 Assets:
    Current Assets
       Current Operating Assets
          Cash & Equivalents                             $             465,933      $                          $             465,933
          Accounts Receivable                                              -                           -                          -
          Inventory                                                      2,383                         -                       2,383
          Other Current Assets                                          12,788                         -                      12,788
       Total Current Operating Assets                                  481,104                         -                     481,104
       Total Current Non-Operating Assets                                  -                           -                          -
   Total Current Assets                                                481,104                         -                     481,104

      Total Fixed Assets - Net                                          53,366                         -                       53,366

      Other Assets
         Intangible Assets
             Goodwill                                                       -                         -                           -
             Other Intangible Assets               [1]                                            510,570                     510,570
         Total Intangible Assets - Net                                                            510,570                     510,570
         Total Long Term Receivables                                    27,045                        -                        27,045
         Total Other Non-Current Assets                                    -                          -                           -
      Total Non Current Assets                                          27,045                    510,570                     537,615

 Total Assets                                            $            561,515       $             510,570      $            1,072,085

 Liabilities and Equity:

 Liabilities
    Current Liabilities
          Current Operating Liabilities
             Accounts Payable                            $             16,633                                  $               16,633
             Deferred Revenue                                             -                                                       -
             Other Current Liabilities             [2]                400,359                    (390,375)                      9,984
          Total Current Operating Liabilities                         416,992                    (390,375)                     26,617
          Total Current Debt Obligations                                  -                           -                           -
    Total Current Liabilities                                         416,992                    (390,375)                     26,617

      Non Current Liabilities
         Total Long Term Debt                                           40,805                         -                       40,805
         Other Non Current Liabilities
             Deferred Rent                                                 -                                                       -
             Deferred Revenue, LT                                          -                                                       -
             Customer Deposits                                        143,846                                                 143,846
             Other Non-current liabilities                             33,750                                                  33,750
         Total Other Non Current Liabilities                          177,596                          -                      177,596
      Total Non Current Liabilities                                   218,401                          -                      218,401

 Total Liabilities                                       $            635,393       $            (390,375)     $              245,018



 Total Equity Value - Controlling, Marketable Basis                                                            $              827,067

 Total Equity Value - Controlling, Marketable Basis (rounded)                                                  $              827,000

 Notes:
 [1] Add value of technology and branding assets under cost to recreate method (Exhibit H.2)
 [2] Adjust out "miscellaneous receipts" liability that represents proceeds received from 2014 capital raises, for which stock had not
    been issued yet.



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                  Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 95 of 156


          US v. Elizabeth Holmes                                                                                                                                                                                                                                 Exhibit H.2
          Valuation of Theranos, Inc.                                                                                                                                                                               Cost to Recreate Method - Technology and Branding Assets
          As of December 31,2014                                                                                                                                                                                                                                      (USD)




                                                                                              Calendar Year 2009                                               Calendar Year 2010                                                 Calendar Year 2011
                                                                                                 Allocation to                                                    Allocation to                                                   Allocation to
                                                                                               Technology and                                                   Technology and                                                   Technology and
                                                                          Total Cost [11           Brand [2]     Allocated Cost            Total Cost [11           Brand [21     Allocated Cost             Total Cost [11         Brand [21                    Allocated Cost
                              Functional Category
                             Salaries, Wages & SBC                        $     6,717,962            100%           $     6,717,962        $     7,485,029            100%            $     7,485,029        $     10,069,033          100%                      S     10,069,033
                           Payroll Taxes & Processing                            483,606             100%                   483,606               568,593             100%                    568,593                 784,642          100%                              784,642
                                Health Insurance                                 417,083             100%                   417,083               493,526             100%                    493,526                 767,508          100%                              767,508
                                  Other benefits                                 114,239             100%                   114,239                180,253            100%                    180,253                 773,318          100%                              773,318
                               Sales Commissions                                      5,000           0%                                                               0%                                                               0%
                                            Subtotal Employees            $    7,737,890                            $     7,732,890        $     8,727,402                            $     8,727,402        $     12,394,501                                    $     12,394,501

                               Contractor Services                               488,192             100%                   488,192               518,786             100%                    518,786               1,637,549          100%                             1,637,549


                                Subtotal for All Labor Costs          S         8,226,082                        $        8,221,082    S         9,246,188                         $        9,246,188    $         14,032,050                                 $       14,032,050

                                                     Facility Costs       S    2,145,779            99.9%           S     2,144,392        S     2,064,230           100.0%          $      2,064,230        S      2,724,300         100.0%                     S      2,724,300
                  R&D Materials, Parts, Biological Compounds                     935,138             100%                  935,138               3,786,184            100%                  3,786,184               5,955,745          100%                             5,955,745
             Conf., Website. Market Studies. Trademark Costs                      58,925            100%                     58,925                75,422             100%                     75,422                  13,452          100%                                13,452
                     Legal, Tax. Accounting Services - General                   120,697             50%                     60,349               284,605             50%                     142,303                 339,165           50%                              169,583
                           Legal Regulatory and Patents Costs                    313,058            100%                   313,058                492,136             100%                   492,136                1,307,265          100%                             1,307,265
                                        Legal Costs for Litigation                                   0%                                                                0%                                             665,695           0%
                 Expensed Equip., Software, and Maintenance                      148,010            100%                    148,010               226,101             100%                   226,101                  620,302          100%                              620,302
                   Dues, Subscriptions, Licensesand Supplies                      85,853            100%                    85,853                233,858             100%                   233,858                  447,386          100%                              447,386
                                                 Recruiting Costs                192,343            99.9%                   192,219               212,706            100.0%                  212,706                  300,466         100.0%                             300,466
                                                 Travel Expenses                 226,711             50%                   113,355                154,949             50%                     77,474                  396,822           50%                              198,411
                  Interest (Income), Expense & Bank Charges                      109,143             0%                                            70,077             0%                                             (132,632)          0%
                                   Supporting G&A Expenses                       274,158            99.9%                  273.981                361.955            100.0%                  361,955                  455,201         100.0%                             455,201
                                             Relocation Expenses                  27,220             0%                                                6,272          0%                                               66,194           0%
                       Supplies for Manufacturing / Operations                   754,146            100%                   754,146                432,293            100%                    432,293                   77,829          100%                               77,829
                                                         Inventory                                  100%                                           (13,583)          100%                                              (5,337)         100%                                (5,337)
                                             Capital Expenditures                180,627            100%                   180,627               1,635,110           100%                   1,635,110               3,042,848          100%                            3,042,848
                                                      Other Costs                 17,441             0%                                            17,845             0%                                               15,927           0%
                                  Subtotal for Indirect Costs         $        5,589,248                         $       5,260,052     $       10,040,161                         $        9,739,772     $        16,290,629                                 S        15,307,450


                                                                                                     Yrs                                                              Yrs                                                              Yrs
                      Inflation Adjusted Total Expenses [4]                    2.3%                  5.51      | S      15,294,493 |            2.3%                  4.51       | S      21,051,759 |              2.3%               3.51                 | 5       31,794,773 |



                                                                                              Calendar Year 2012                                               Calendar Year 2013                                                 Calendar Year 2014
                                                                                                 Allocation to                                                   Allocation to                                                    Allocation to
                                                                                               Technology and                                                   Technology and                                                   Technology and
                                                                          Total Cost [11           Brand [2]     Allocated Cost            Total Cost [11          Brand [21      Allocated Cost             Total Cost [11         Brand [2]                Allocated Cost
                             Functional Category
                            Salaries. Wages & SBC                     S       20,238,277            100%         $      20,238,277     S       29,829,686            100%         S       29,829,686     S        46,369,000           100%                  S        46,369,000
                          Payroll Taxes & Processing                           1,561,634            100%                 1.561,634              2,246,298            100%                  2,246,298               3,450,000           100%                            3,450,000
                               Health Insurance                                1,429,986            100%                 1,429,986              2,161,519            100%                  2,161,519                    3,325          100%                                3,325
                                 Other benefits                                2,374,572            100%                 2,374,572              3,255,991            100%                  3,255,991                8,112,675          100%                            8,112,675
                              Sales Commissions                                                      0%                                                  78           0%                                             312,000            0%
                                           Subtotal Employees         $       25,604,469                         $      25,604,469     $       37,493,572                         $       37,493,494     $        58,247,000                                 $        57,935,000

                              Contractor Services                              3,073,543            100%                 3,073,543              5,372,096            100%                  5,372,096               7,885,000           100%                            7,885,000


                               Subtotal for All Labor Costs           $       28,678,011                        $       28,678,011     $       42,865,668                         $       42,865,590     S        66,132,000                                 5        65,820,000

                                                    Facility Costs    $        7,375,665           100.0%        S       7,375,665     S        7,140,632           100.0%        S        7,140,617     S        16,776,000          99.5%                  $        16,686,139
                 R&D Materials, Parts, Biological Compounds                   11,136,524            100%                11,136,524             10,069,736            100%                 10,069,736              10,638,000           100%                           10,638,000
            Conf., Website, Market Studies, Trademark Costs                    1,274,910            100%                 1,274,910              7,684,778            100%                  7,684,778               3,087,000           100%                            3,087,000
                    Legal, Tax, Accounting Services - General                  1,400,908            50%                    700,454                709,756            50%                     354,878               1,051,000           50%                               525,500
                          Legal Regulatory and Patents Costs                   1,750,963            100%                 1,750,963              1,913,373            100%                  1,913,373               2,199,000           100%                            2,199,000
                                        Legal Costs for Litigation             1,829,174             0%                                         6,197,019             0%                                           3,899,000            0%
                Expensed Equip., Software, and Maintenance                     1,084,748            100%                 1,084,748              1,657,745            100%                  1,657,745               1,792,000           100%                            1,792,000
                  Dues, Subscriptions. Licenses and Supplies                   1,211,873            100%                 1,211,873              1,522,924            100%                  1,522,924               3,583,000           100%                            3,583,000
                                                 Recruiting Costs               796.875            100.0%                  796,875                552,947           100.0%                   552,946               1,147,000          99.5%                            1.140.856
                                                 Travel Expenses                267,524             50%                    133,762                787,042            50%                     393,521               1,170,000           50%                               585,000
                 Interest (Income), Expense & Bank Charges                      143,830              0%                                           382,053             0%                                              (27,000)          0%
                                   Supporting G&A Expenses                      934,674            100.0%                  934,674              1,185,138           100.0%                 1,185,135               2,335,000          99.5%                            2,322,493
                                            Relocation Expenses                  65,756              0%                                            24,763             0%                                              43,000            0%
                      Supplies for Manufacturing / Operations                   855,721             100%                   855,721              1,574,094            100%                  1,574,094               1,952,000          100%                             1,952,000
                                                        Inventory              6,865,924            100%                 6,865,924              1,742,894            100%                  1,742,894               1,145,000          100%                             1,145,000
                                            Capital Expenditures              17,572.491            100%                17,572,491              8,884,769            100%                  8,884,769              38,594.066          100%                            38.594,066
                                                     Other Costs                 90,432              0%                                           (44,941)            0%                                              30,000            0%
                                 Subtotal for Indirect Costs          $       54,657,993                        $       51,694,585     $       51,984,722                         $       44,677,410     S        89,414,066                                 $        84,250,054


                                                                                                    Yrs                                                              Yrs                                                               Yrs
                     Inflation Adjusted Total Expenses [3]                    2.3%                  2.50       [$       85,119,867 |                                 1.50       [$        90,613,216 |                                                  | $          151,813,833 |
                                                                                                                                                2.3%                                                               2.3%                0.50


                                                                                                                                                                                                  2004-2006 Expenses. Inflation Adjusted [41                 $        24,235,601
                                                                                                                                                                                                       2007 Expenses, Inflation Adjusted [5]                          20,667,544
                                                                                                                                                                                                       2008 Expenses. Inflation Adjusted [5]                          15,502,206
                                                                                                                                                                                                    2009-2014 Expenses. Inflation Adjusted                           395.687.942

                                                                                                                                                                                             Total Direct and Indirect Development Costs                     $       456,093,294

                                                                                                                                                                                                                    Obsolescence Adjustment [61      3%.             (12,117,801)

                                                                                                                                                                                                                                   Subtotal Cost             $       443,975,493

                                                                                                                                                                                                                   Add Developer Profit Margin [71   15%.             66.596.324


                                                                                                                                                                                                                 Total Pretax Development Cost               S       510,571,817

                                                                                                                                                                                               Total Pretax Development Cost (Rounded)                       $       510,570,000



         Notes
          [1 ] Per company prepared trial balances
          [21  Allocations based on relevance of costs to developing Theranos technology and branding assets.
          [3]                  Adjust allocated expenses for average annual inflation of 2.3% over historical period
          [4]                  2004 - 2006 expenses based on retained earnings deficit at 12/31 /07 less operating loss reported for calendar year 2007. Expenses are adjusted for inflation of 2.3% from midpoint of period to valuation date.
          [5]                  2007 - 2008 expenses based on audited financial statements. Excludes financing costs and interest income. Expenses are adjusted for inflation of 2.3% from midpoint of each period to valuation date.
          [6]                  Adjusted for estimated 50% of historical development efforts between 2004-2006 that represent obsolete technology on valuation date.
          [7]                  Developer margin based on median EBIT margin of peer group of firms in Exhibit G.2.




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                                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 96 of 156


US v. Elizabeth Holmes                                                                                                                      Exhibit 1.1
Valuation of Theranos, Inc.                                                                                    Discounted Cash Flow Key Assumptions
As of October 15, 2015                                                                                                            (thousands of USD)


                                                                         ___________ For the Twelve Month Period Ending December 31,
                                                      Basis             2015 2016                              2017               2018

Total Revenue                                  Annual Growth Rate         97703.4%              97.0%               44.8%                 55.6%

Terminal Value                                 Exit Multiple, Ex. J.1                                                                      4.0%

Total Cost of Revenue                             % of Revenue               35.0%              32.0%               32.0%                 30.0%

Total Operating Expenses                          % of Revenue               85.4%              44.6%               33.6%                 24.7%

Depreciation & Amortization                         Exhibit 1.3               1.7%               6.2%                6.6%                   6.0%

Interest Expense                                        N/A                    N/A                 N/A                N/A                    N/A

Income Taxes                                 % of Pre-Tax Net Income         40.0%              40.0%               40.0%                 40.0%

Adjusted Operating Working Capital                  Exhibit I.2              19.6%              14.4%               21.3%                  19.2%
Adjusted Operating Working Capital                                          22,272             32,154              68,786                 96,480
Yr/yr Working Capital (Increase)ZReduction                                 281,664             (9,883)            (36,631)               (27,694)

Capital Expenditures                              % of Revenue               10.3%              27.8%               17.8%                  16.9%




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                                                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 97 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                            ____________________ Exhibit 1.2
Valuation of Theranos, Inc.                                                                                                                                                                                                       Adjusted Working Capital Analysis
As of October 15, 2015                                                                                                                                                                                                            ____________ (thousands of USD)


                                                                     FYE                 FYE               FYE              FYE               FYE                   FYE                           For the Twelve Month Period Ending December 31,
Working Capital                                                    12-31-09            12-31-10          12-31-11         12-31-12          12-31-13              12-31-14             2016                 201 e              2017               2018

Total Revenue                                              [1] $        2,794      $        1,401    $         518    $                 $                     $              116   $     113,452      $       223,452     $      323,452     $       503,452
Total COS                                                                                        -                -                                     -                                 39,708               71,505            103,505             151,036
Total Operating Expenses                                               13,597              16,801           27,173           64,015               85,605               122,756            96,881               99,764            108,780             124,204

Operating Assets
    Cash & Equivalents                                     [2] $        3,690      $      36,718     $      88,056    $      51,785     $         30,966      $       465,933      $      95,554      $        98,397     $      107,290     $       122,503
    Accounts Receivable                                                    29                 55
    Inventory                                                             581                                                  1,733               3,777                2,383              3,404                6,704              9,704              15,104
    Other Current Assets                                                  195                 827               665            1,882               1,780               12,788              4,838                5,080              5,334               5,601
    Note Receivable                                                          -                                                                         -               27,045             27,512                9,585              9,735
Total Operating Assets                                                  4,495              37,600            88,721           55,401              36,523              508,149            131,308              119,766            132,063             143,208

Operating Liabilities
    Accounts Payable                                                      560                 440             1,238            7,669               7,430                16,633            13,879               16,480             16,174              22,774
    Deferred Revenue                                                    1,663                 257                 7                7                   7
    Other Current Liabilities                                             950               1,298             2,845            7,714               4,830                 9,984                7,073             8,265              9,453              11,521
    Deferred Rent                                                         723                 759               767            1,572               1,857
    Deferred Revenue, LT                                                2,146               3,808             3,801            3,801               3,801
    Customer Deposits                                                                                        73,500           69,500              80,000              143,846             70,356               46,904             23,452
    Other Non-current liabilities                                         807               1,847             5,959            3,425               1,866               33,750             17,728               15,963             14,198              12,433
Total Operating Liabilities                                             6,849               8,409            88,117           93,687              99,791              204,213            109,036               87,612             63,277              46,728

Net Operating Working Capital                                  $        (2,354)    $       29,191    $         604    $      (38,287)   $        (63,268)     $        303,936     $      22,272      $        32,154     $        68,786    $         96,480
Net Operating Working Capital as % of Revenue                          -84.3%            2083.1%            116.6%              0.0%                0.0%            262013.8%              19.6%                 14.4%              21.3%               19.2%
Yr/yr Working Capital (Increasej/Reduction                                                (31,545)          28,587            38,891              24,981              (367,204)          281,664                (9,883)           (36,631)            (27,694)

BizMiner Working Capital as a % of Revenue                                                                                                                                                    22.8%
RMA Working Capital as a % of Revenue                                                                                                                                                         36.1%
Comparable Group Working Capital as a % of Revenue                                                                                                                                            60.2%

Days' Operating Expenses in Cash                                              99              798             1,183             295                    132               1,385                 360                360                360                  360
Days' Sales Outstanding                                                        4               14
Days' Inventory                                                                                                                                                                                  31                34                  34                   37
Other Current Assets as a % of Revenue                                   7.0%               59.0%           128.4%              0.0%                   0.0%          11024.1%                  4.3%              2.3%                1.6%                 1.1%
Note Receivable as a % of Revenue                                        0.0%                0.0%             0.0%              0.0%                   0.0%          23314.7%                 24.2%              4.3%                3.0%                 0.0%
Days' Payables                                                                                                 -                                                                                128                84                  57                   55
Deposits & Deferred Revenue as a % of Revenue                          136.3%              290.1%         14917.2%              0.0%                   0.0%         124005.2%                 62.0%             21.0%                7.3%                 0.0%
Other Current Liabilites as a % of Opex                                  7.0%                7.7%            10.5%             12.1%                   5.6%              8.1%                  7.3%              8.3%                8.7%                 9.3%
Deferred Rent as a % of Opex                                             5.3%                4.5%             2.8%              2.5%                   2.2%              0.0%                  0.0%              0.0%                0.0%                 0.0%
Other Non-current liabilities as a % of Opex                             5.9%               11.0%            21.9%              5.4%                   2.2%             27.5%                 18.3%             16.0%               13.1%                10.0%

Notes:
[1]  Historical balances are per Adjusted Income Statement. Refer to Exhibit B.5. Operating Expenses exclude Depreciation & Amortization.
[2]  Estimated operating cash levels equal to 6 months of operating expenses




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                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 98 of 156


       US v. Elizabeth Holmes                                                                                                                             Exhibit I.3
       Valuation of Theranos, Inc.                                                                                       Depreciation & Capital Expenditure Analysis
       As of October 15, 2015                                                                                                                    (thousands of USD)


                                                                                     For the Twelve Month Period Ending December 31,
       Forecast Depreciation                                                      2015             2016            2017            2018

       Total Revenue                                                         $      113,452   $      223,452    $      323,452    $      503,452

       Beginning Balance - Total Fixed Assets                                        53,366           63,121           111,409           147,752
       Capital Expenditures                                                          11,670           62,104            57,667            85,125
            Fixed Assets                                                             65,036          125,225           169,076           232,877
       Capital Expenditures as a % of Revenue                                        10.29%           27.79%            17.83%            16.91%

       Depreciation
           Assumptions as to Depreciable Lives:
           Beg. Dep. Existing Fixed Assets - avg life   6.3
           Capital Additions - avg life                 8.0

            Beginning Balance                                                $        1,763   $        8,460    $        8,460    $         8,460
            2015 Additions                                                              152            1,463             1,463              1,463
            2016 Additions                                                                             3,893             7,786              7,786
            2017 Additions                                                                                               3,615              7,229
            2018 Additions                                                                                                                  5,336


       Total Depreciation                                                    $        1,915   $       13,816    $       21,324    $       30,274
       As a % of Revenue                                                               1.7%             6.2%              6.6%              6.0%

       Net Fixed Assets                                                      $       63,121   $      111,409    $      147,752    $      202,603
       As a % of Revenue                                                              55.6%            49.9%             45.7%             40.2%

        Historical Capital Expenditure Analysis                                    FYE              FYE               FYE               FYE                FYE
                                                                                 12-31-10         12-31-11          12-31-12          12-31-13           12-31-14

        Net FA                                                               $        2,630   $         4,648   $       19,557    $        22,021    $       53,366
        Chg from PY                                                                     N/A             2,018           14,909              2,463            31,345
        Depreciation                                                                    771             1,025            2,654              5,573             7,247
        (Gain)/Loss                                                                      -                 -                 9                849                 1
        Capital Expenditures                                                            N/A             3,043           17,572              8,885            38,594

                                                                  Average
        Fixed Assets                                          $     20,444   $        2,630   $        4,648    $       19,557    $        22,021    $       53,366
        Fixed Assets as a % of Revenue                             5021.8%           187.7%           896.9%               N/A                 N/A         46005.2%

        Capital Expenditures                                        17,024              N/A            3,043             17,572             8,885             38,594
        Capital Expenditures as a % of Revenue                     4181.6%              N/A           587.1%                N/A               N/A          33270.7%,



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               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 99 of 156


                US v. Elizabeth Holmes                                                                                                                                                                      Exhibit I.4
                Valuation of Theranos, Inc.                                                                                                                            Discount Rate - Venture Capital Rates of Return
                As of October 15, 2015




                                                                                             Market          Interest Bearing     Trading Volume                             1-Year Growth         Equity as a %
                      Company Name                                   Ticker Symbol        Capitalization           Debt                 m                LTM Revenue             Rate             of Total Capital
                      OraSure Technologies, Inc.                          OSUR           $       267,159     $                                566    S          116,018                  8.9%              100.0%
                      Trinity Biotech plc                                  TRIB                  271,362               99,069                 121               101,392                 -1.5%               73.3%
                      Enzo Biochem, Inc.                                    ENZ                  181,945                3,586                 135                97,599                  1.7%               98.1%
                      QuidelOrtho Corporation                             QDEL                   620,241              146,697                 240               205,670                22.0%                80.9%
                      Exact Sciences Corporation                          EXAS                   713,931                6,156              2,658                 26,521              1894.1%                99.1%
                      OPKO Health. Inc.                              NasdaqGS:OPK              5,015,072              145,354               5,704               241,080               179.4%                97.2%
                      PerkinElmer, Inc.                                     PKI                5,470,749           1,028,376                  753             2,262,633                  1.9%               84.2%
                      Quest Diagnostics Incorporated                       DGX                 9,197,441           3,731,000                1,043             7,527,000                  3.0%               71.1%
                      Laboratory Corporation of America Holdings             LH              11,664,918            6,681,200                1,063             7,773,600                31.0%                63.6%
                      Myriad Genetics, Inc.                               MYGN                 2,711,591                                      817               737,800                -0.9%               100.0%
                      Illumina. Inc.                                       ILMN              21,971,248            1,110,101                1,950             2,140,593                23.3%                95.2%
                      Qiagen N.V.                                         QGEN                 5,912,561           1,058,906                  862             1,292,856                -3.9%                84.8%
                      Alere Inc.                                       IQT2622336              3,975,232           3,601,525                  602             2,483,662                -4.0%                52.5%
                      Luminex Corporation                              IQT2627430                789,484                                      258               235,365                  5.1%              100.0%
                      Abaxis, Inc.                                     IQT2586525              1,017,036                 530                  177               217,133                29.6%                99.9%
                      CombiMatrix Corporation                         IQT36309071                 13,695                 344                    2                 9,621                27.0%                97.5%
                      Affymetrix Inc.                                  IQT2587418                714,389             124,950                  688               357,744                  2.8%               85.1%
                      Genomic Health, Inc.                            IQT24111615                715,559                                      221               281,451                  2.2%              100.0%
                      Cepheid                                          IQT2599314             2,388,029              285,406               1,075                523,099                15.8%                89.3%
                      Nanosphere, Inc.                                IQT38720096                 16,632              15,474                  245                18,871                44.5%                51.8%
                      GenMark Diagnostics, Inc.                      IQT106626443                353,067               9,794                  225                36,051                34.0%                97.3%
                      Bio-Reference Laboratories, Inc.                 IQT2594421                                     69,849                  376               882,467                16.1%                 0.0%
                     Average                                                                   3,362,788             823,560                 899              1,253,101                  106.0%             82.8%
                     Median                                                                      752,522              84,459                 584                261,266                   12.3%             92.3%
                     Selected                                                                                                                                                                               97.0%

               Industry Capital Structure
                   Equity                                                      95.0%
                   Interest Bearing Debt                                        5.0%
                   Tax Rate                                                    40.0%

               Cost of Equity
                                                                                                                                                                                                        Ref.
               Table 1: Venture Capital Average Actual Rates of Return for the Period ended September 30,        2008                                                                                    [1]
               Stage of Development                                         5-year Return                             10-year Return                               20-year Return
                                                                      2002                2008                    2002              2008                    2002                     2008
               Seed/Early Stage                                      51.4%                3.0%                   34.9%             25.5%                   20.4%                    22.1%
               Balanced                                              20.9%                7.5%                   20.9%             12.0%                   14.3%                    14.6%
               Later Stage                                           10.6%                8.1%                   21.6%              7.3%                   15.3%                    14.7%
               All Ventures                                          28.3%                5.7%                   26.3%             13.4%                   16.6%                    17.2%


               Table 2:          Rates of Return
                                                                                                               Sahlman,
                                                                                          Scherlis and      Stevenson, and                            Everett Median
               Stage of Development                                     Plummer             Sahlman              Bhide               Everett             Returns
               Start-up                                                50% - 70%           50% - 70%          50% -100%             30% - 40%             33.0%
               First stage or “early development"                      40% - 60%           40% - 60%           40% - 60%            23% - 38%             30.0%
               Second stage or "expansion"                             35% - 50%           30% - 50%           30% - 40%            19%-32%               25.0%
               Bridge/IPO                                              25% - 35%           20% - 35%           20% - 30%            18%-38%               23.0%


               Table 3: Target Rates of Return
                                                                                                                     Plummer /Qed
                                                                       Ruhnka/                                Range of Discount Rates Used
               Stage of Development                                     Young                Wetzel              High              Low
               Seed                                                     73.0%                50.0%              75.4%             49.2%
               Start-up                                                 54.8%                50.0%              59.6%             40.6%
               3rd Stage                                                42.2%                37.5%              49.3%             34.7%
               Fourth Stage                                             35.0%                30.0%              45.7%             31.2%
               Exit Stage                                               35.0%                22.5%              40.8%             28.1%


               Table 4: Theranos Investor Forecasts Implied Internal Rates of Return (Feb 2014 - Feb 2015)


               Investor Group                                             IRR
               PFM Forecast                                              75.5%
               PFM Model                                                 35.5%
               Mosley and RDV Forecast                                   54.0%
               Murdoch Forecast                                          82.0%


                                                                   Selected Venture Capital Cost of Equity                                 45.0%



              Weighted Average Cost of Capital
                  Equity as a % of total capital                                                                      95.0%
                  Cost of Equity (above)                                                                   __________ 45,0%
                 Weighted Cost of Equity                                                                                                   42.8%

                     Debt as a % of total capital                                                                        5.0%
                     Cost of Debt [4]                                                            25.00%
                     After Tax Cost of Debt (tax rate above)                                                            15.0%
                     Weighted After Tax Cost of Debt                                                                                        0.8%
                                                                   Weighted Average Cost of Capital                                        43.5%

                                                                   Weighted Average Cost of Capital (rounded)                   ____       44.0%

              Notes:
              [1]                       Source: Thomson Financial. The average annual return is based upon Thomson Financials' Private Equity Performance Index (PEPI).
                  The PEPI is based on the latest quarterly statistics from Thomson Financials' Private Equity Performance Database analyzing the cashflows and
                  returns for over 1400 US venture capital and private equity partnerships.
              [2]                       Plummer, James L., QED Report on Venture Capital Financial Analysis.
              [3]                       Scherlis, Daniel R. and William A. Sahlman, "A Method for Valuing High-Risk, Long Term, Investments: The Venture Capital Method,"
                  Harvard Business School Teaching Note 9-288-006, Boston: Harvard Business School Publishing, 1989.
              [4]                       William A. Sahlman. Howard H. Stevenson, Amar V. Bhide, et al., "Financing Entrepreneurial Ventures,"
                  Business Fundamental Series (Boston: Harvard Business School Publishing, 1998).
                   Craig R. Everett, ‘2021 Private Capital Markets Report" (Malibu: Pepperdine University Graziadio School of Business and Management, 2021), Table
               [5]   1, p. 5. Note that this publication also includes rates of return for many other types of private capital investments, as well as summaries of other
                   information captured in Pepperdine's annual industry survey.
               [6]                          Dorsey, Terry, “A Portfolio Model for Venture Capital Performance Measurement and Investment Selection," Polaris Group, Inc. January 2000.
               [7]                          Refer to the report for discussion of the selected Venture Capital Rate of Return.




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                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 100 of 156


  US v. Elizabeth Holmes                                                                                                       Exhibit 1.5
  Valuation of Theranos, Inc.                                                                  Forecast Free Cash Flow to Invested Capital
  As of October 15, 2015                                                                                             (thousands of USD)


                                                                      For the Twelve Month Period Ending December 31,
                                                                   2015             2016            2017            2018

  Total Revenue                                                $    113,452     $    223,452      $      323,452     $      503,452
  Total Cost of Revenue                                              39,708           71,505             103,505            151,036
  Gross Margin                                                       73,744          151,947             219,947            352,416
  GM%                                                                 65.0%            68.0%               68.0%              70.0%

  Total Operating Expenses                                           96,881           99,764             108,780            124,204
  Operating Expense %                                                 85.4%            44.6%               33.6%              24.7%
  EBITDA                                                             (23,137)         52,183             111,167            228,212
  EBITDA %                                                            -20.4%           23.4%               34.4%              45.3%
  Less: Partial Period Adjustment                                     18,317             -                    -                 -
  Adjusted EBITDA                                                     (4,820)
  Depreciation & Amortization                                          1,915          13,816              21,324             30,274
  EBIT                                                                (6,735)         38,367              89,843            197,938
  EBIT%                                                                -5.9%           17.2%               27.8%              39.3%
  Interest Expense                                                       -               -                    -                  -

  Earnings Before Taxes                                               (6,735)         38,367              89,843            197,938
         Income Taxes                                                    -               -                   -                  -

  Forecast After-Tax Income                                    $      (6,735)   $     38,367      $       89,843     $      197,938
  NPAT%                                                                -5.9%           17.2%               27.8%              39.3%

  Cash Flow
  Add: Depreciation & Amortization                                     1,915          13,816              21,324             30,274
        After-Tax Gross Cash Flow                                     (4,820)         52,183             111,167            228,212

        Decrease / (Increase) in Working Capital                     281,664          (9,883)             (36,631)          (27,694)
  Less: Capital Expenditures                                         (11,670)        (62,104)             (57,667)          (85,125)

  Free Cash Flow                                               $     265,174    $    (19,804)     $       16,869     $      115,393


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                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 101 of 156


             US v. Elizabeth Holmes                                                                                        Exhibit 1.6
             Valuation of Theranos, Inc.                                                Discounted Cash Flow Method Value Summary
             As of October 15, 2015                                                                              (thousands of USD)


                    Forecast                 Base                            Discount                                  Discounted
                     Period                Cash Flow         Period            Rate             PV Factor [2]         Cash Flow [3]

                     2015            $          265,174       0.11            44.0%                0.9623         $          255,175
                     2016                        (19,804)     0.71            44.0%                0.7717                     (15,282)
                     2017                         16,869      1.71            44.0%                0.5359                       9,040
                     2018                       115,393       2.71            44.0%                0.3721                      42,943
               Terminal Value [1]             2,909,000       3.21            44.0%                0.3101                    902,132

              Indicated Value                                                                                     $        1,194,008
             Add: C-2 Financing Proceeds not on 12/31/14 Balance Sheet                                                       176,300
             Operating Losses for 2015 prorated to 10/15/15                                                                 (145,314)
             Deduct: Interest Bearing Debt                                                                                   (40,805)

             Total Equity Value - Controlling, Marketable Basis                                                   $        1,184,189

              Total Equity Value - Controlling, Marketable Basis (rounded)                                        $        1,184,000



              Notes:
              [1] Refer to Exhibit J.1
              [2] 1 / (1 + Discount Rate) A Period.
              [3] Base Cash Flow x PV Factor.




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                                                                     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 102 of 156


US v. Elizabeth Holmes
                                                                                                                                                                                                                                                                                                                                            __________________ Exhibit J.1
Valuation of Theranos, Inc.
                                                                                                                                                                                                                                                                                                                                             Guideline Public Company Method
As of October 15, 2015
                                                                                                                                                                                                                                                                                                                                            ___________ (thousands of USD)


                                                                                            Debt,                                                                                                                                                                                                                     Market Value of Invested Capital /
                                                                     Market               Pref Shr &                                                                                            Revenue                                         EBITDA                            EBIT                     Revenue                       EBITDA                  EBIT
  Name                                               Ticker           Cap                  Min Int.          Cash             MVIC [1]          Price [1]         3-year         6-year             LTM              2016E              LTM                2016E                  LTM                LTM             2016E         LTM           2016E           LTM
  OraSure Technologies, Inc.                          OS UR   $             267,159   $                  $      108,189   $       158,970   $       158,970     $ 100,050    S  96,505      S         116,018    $      129,998     $        7,237     $         12,850       S       1,403             1.37x           1.22x          21.97x       12.37X         113.31X
  Trinity Biotech plc                                 TRIB                  271,362             99,069          104,289           266,142           167,073         99,362      94,508                101,392           115,039            17,182                24,972              12,657             2.62x           2.31x          15.49X       10.66X          21.03X
  Enzo Biochem, Inc.                                   ENZ                  181,945              3,586           18,109           167,422           163,836         96,400      97,407                 97,599                NA             (8.875)                  NA             (12,664)            1.72x             NA              NA           NA              NA
  QuidelOrtho Corporation                             QDEL                  620,241            146,697          182,560           584,378           437,681        188,888     178,165                205,670           224,952            36,098                52,014              12,039             2.84X           2.60x          16.19x       11.24X          48.54X
  Exact Sciences Corporation                          EXAS                  713,931              6,156          343,509           376,578           370,422         14,395      10,877                 26,521           117,061          (144,373)            (154,902)            (151,231)              NA            3.22X             NA           NA              NA
  OPKO Health, Inc.                                isdaqGSO               5,015,072            143,954          212,144         4,946,882         4,802,928        164,731     128,548                241,080         1,239,782           (64,542)               78,008             (88,273)           20.52x           3.99x             NA        63.41x             NA
  PerkinElmer, Inc.                                    PKI                5,470,749          1,028,376          195,066         6,304,059         5,275,683      2,227,989   2,174,950              2,262,633         2,374,847           355,149              485,963              241,489             2.79x           2.65x          17.75x       12.97X          26.10x
  Quest Diagnostics Incorporated                       DGX                9,197,441          3,832,000          123,000        12,906,441         9,074,441      7,393,534   7,370,262              7,527,000         7,622,205         1,449,000            1,521,683            1,140,000             1.71x           1.69x           8.91X        8.48x          11,32x
  Laboratory Corporation of America Holding             LH               11,664,918          6,696,700          713,000        17,648,618        10,951,918      6,828,200   6,445,160              7,773,600         9,131,565         1,578,200            1,878,324            1,213,700             2.27x           1.93x          11.18x        9.40x          14.54X
  Myriad Genetics, Inc.                               MYGN                2,711,591                             155,400         2,556,191         2,556,191        730,777     678,158                737,800           779,683           193,300              227,461              167,500             3.46X           3.28x          13.22X       11.24X          15.26x
  Illumina, Inc.                                      ILMN               21,971,248          1,142,229        1,439,406        21,674,071        20,531,842      1,872,918   1,661,529              2,140,593         2,576,267           766,572              913,442              642,962            10.13X           8.41x          28.27x       23.73X          33.71 x
  Qiagen N.V.                                         QGEN                5,912,561          1,061,204          429,529         6,544,236         5,483,032      1,309,484   1,287,628              1,292,856         1,402,013           364,361              471,991              179,796             5.06x           4.67x          17.96x       13.87x          36.40x
  Alere Inc.                                       IQT262233-             3,975,232          4,212,525          479,538         7,708,219         3,495,694            391         196              2,483,662         2,652,810           533,132              605,209              214,215             3.10x           2.91x          14.46x       12.74X          35.98x
  Luminex Corporation                              IQT262743'               789,484                             131,559           657,925           657,925                                           235,365           248,841            52,993                48,894              39,990             2.80x           2.64x          12.42X       13.46x          16.45x
  Abaxis, Inc.                                     IQT258652              1,017,036                530          133,141           884,425           883,895           391                             217,133           243,580            46,272                53,433              39,654             4.07x           3.63x          19.11X       16.55X          22.30X
  CombiMatrix Corporation                          □T3630907                 13,695                344            5,549             8,490              8,146                                            9,621            15,845             (5.995)                  NA              (6,304)            0.88x           0.54x             NA           NA              NA
  Affymetrix Inc.                                  IQT258741.               714,389            124,950          137,593           701,746           576,796                                           357,744           374,639            46,644                66,154              28,487             1.96x           1.87x          15.04x       10.61x          24.63X
  Genomic Health, Inc.                             □T2411161                715,559                              98,013           617,546           617,546                                           281,451           335,207           (24,677)               10,950             (31,426)            2.19x           1.84x             NA        56.40x             NA
  Cepheid                                          IQT259931              2,388,029            285,406          326,184         2,347,251         2,061,845          (514)        (2.645)             523,099           626,028              8,250               50,077             (24,425)            4.49x           3.75x             NA        46.87x             NA
  Nanosphere, Inc.                                 3T387200J                 16,632             15,474           12,339            19,767              4,293       18,647         18,759               18,871            24,880           (29,703)                   NA             (31,532)            1.05x           0.79x             NA           NA              NA
  GenMark Diagnostics. Inc.                        )T1066264                353,067              9,794           54,178           308,683           298,889        (9,936)       (10,408)              36,051            52,729           (38,446)              (44,875)            (41,732)            8.56x           5.85x             NA           NA              NA
  Bio-Reference Laboratories, Inc.                 IQT259442                                    69,849           25,146            44,703            (25.146)      28,752         27,994              882,467                NA           115,980                    NA              89,519             0.05x             NA            0.39x          NA            0 50x

  Correlation to MVIC                                                                                                                                                0.71           0.69                  0.77               0.80             0.85                 0.87                  0.85
  Correlation to Price                                                                                                                                               0.58           0.55                  0.63               0.65             0.71                 0.73                  0.73

                                                                                                                                                                                                                                                      Upper Quartile                                    4.07x           3.66x          17.91X       18.35X          35.42X
                                                                                                                                                                                                                                                      Mean                                              3.98x           2.99x          15.17x       20.87x          30.01x
                                                                                                                                                                                                                                                      Median                                            2.79x           2.65x          15.27X       12.85X          23.47x
                                                                                                                                                                                                                                                      Lower Quartile                                    1.72x           1.87x          12.62x       11.09X          15.56x
                                                                                                                                                                                                                                                      Selected Multiple                                 4.00x                          13.90x
                                                                                                                                                                                                                                                      Subject Company Base Value                S    503,452    S               S    228,212    S            $
                                                                                                                                                                                                                                                      Indicated Value                               2,013,808                       3,172,147
                                                                                                                                                                                                                                                      Interest Bearing Debt                               N/A            N/A              N/A         N/A               N/A
                                                                                                                                                                                                                                                      Indicated Equity Value                    $ 2,013,808     $               $ 3,172,147     $            $
                                                                                                                                                                                                                                                      Weighting                                       33.3%             0 0%          66.7%          0.0%             0.0%

                                                                                                                                                                                                                                                      Indicated Value                                                                                        $   2,786,034
                                                                                                                                                                                                                                                          Add: Subject Company Cash                                                                                122,503
                                                                                                                                                                                                                                                      Total Invested Capital Value at 12/31/18 Controlling, Marketable Basis                                 S 2,908,636

                                                                                                                                                                                                                                                      Total Invested Capital Value at 12/31/18 Controlling, Marketable Basis (rounded)                       $ 2,909,000
Notes:
Source: S&P Capital IQ
[1) MVIC = Market Value of Invested Capital. Presented as net of cash.




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                                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 103 of 156


     US v. Elizabeth Holmes                                                                                                                                                                             _______________________________ Exhibit J.2
     Valuation of Theranos, Inc.                                                                                                                                                                        Guideline Public Company Key Financial Ratios
     As of October 15, 2015                                                                                                                                                                                                      (thousands of USD)


                                                                     Market       Trading          LTM        CAGR Revenue [2]           Forward Growth                       As a % of Revenue                       Current    Debt to    Debt to
     Name                                        Ticker               Cap        Volume [1]       Revenue     1 Year    TYear        2016E    2017E    2018E    GM       EBITDA      EBIT       Capex     WC [3]       Ratio     Equity      TNW

     OraSure Technologies, Inc.                  OSUR           S     267,159          566    $     116,018      8.9%       9.1%      12.0%    10.8%      NA    65.8%       6.2%       1.2%       2.2% 1.89898           4.78       0.0%        0.0%
     Trinity Biotech plc                          TRIB                271,362          121          101,392     -1.5%       7.5%      13.5%    16.1%      NA    47.5%      16.9%      12.5%       8.3% 1.46681           8.54      47.0%      181.2%
     Enzo Biochem, Inc.                           ENZ                 181,945          135           97,599      1.7%      -1.8%         NA      NA       NA    43.9%      -9.1%      -13.0%      1.8% 0.23082           1.94       8.4%       12.4%
     QuidelOrtho Corporation                      QDEL                620,241          240         205,670      22.0%      13.6%       9.4%     8.4%      NA    64.1%      17.6%       5.9%       7.1%    1.04416        6.91      66.9%      140.3%
     Exact Sciences Corporation                   EXAS                713,931        2,658          26,521    1894.1%      85.6%        N/A    96.5%   71.7%    23.7%        N/A     -570.2%       N/A 12.6631          15.28       1.7%        1.7%
     OPKO Health, Inc.                        NasdaqGS:OPK           5,015,072       5,704         241,080     179.4% |
                                                                                                                           87.5%     414.3%    26.5%   30.0%    38.3%     -26.8%      -36.6%      2.2% 0.66296           1.45       7.4%      -54.9%
     PerkinElmer, Inc.                             PKI               5,470,749         753        2,262,633      1.9%       2.8%       5.0%     4.5%    5.5%    45.5%      15.7%      10.7%       1.1% 0.22963           1.94      50.1%     -164.8%
     Quest Diagnostics Incorporated               DGX                9,197,441       1,043        7,527,000      3.0%       0.7%       1.3%     2.3%    4.1%    38.2%      19.3%      15.1%       3.4% 0.06842           1.45      79.6%     -168.9%
     Laboratory Corporation of America Hole        LH               11,664,918       1,063        7,773,600     31.0% |    11.3%      17.5%     4.9%    3.2%    34.9%      20.3%      15.6%       2.8% 0.11098           1.47     135.5%     -142.1%
     Myriad Genetics, Inc.                       MYGN                2,711,591         817          737,600      -0.9%     12.4%       5.7%     0.7%   22.1%    79.8%      26.2%      22.7%       1.8% 0.33654           5.21       0.0%        0.0%
     Illumina, Inc.                               ILMN              21,971,248       1,950        2,140,593     23.3% 11   25.3% |
                                                                                                                                      20.4%    16.5%   14.9%    73.3%      35.8%      30.0%       6.6% 0.75987           3.79      56.4%      119.9%
     Qiagen N.V.                                 QGEN                5,912,561         862        1,292,856      -3.9%      1.3%       8.4%     6.8%    6.5%    65.3%      28.2%       13.9%      7.3% 0.54094           3.52      42.0%    2753.9%
     Alere Inc.                                IQT2622336            3,975,232         602        2,483,662      -4.0%     -2.9%       6.8%     3.7%    8.0%    47.1%      21.5%       8.6%       3.8% 0.30628           1.68     171.3%     -197.6%
     Luminex Corporation                       IQT2627430             789,484          258         235,365       5.1%       6.5%       5.7%     8.2%   22.6%    71.5%      22.5%       17.0%      8.7% 0.74435           7.57       0.0%        0.0%
     Abaxis, Inc.                              IQT2586525            1,017,036         177          217,133     29.6%       9.2%      12.2%      NA       NA    54.6%      21.3%       18.3%      2.2% 0.83656           7.33       0.2%        0.2%
                                                                                                                27.0% |    23.4% |
     CombiMatrix Corporation                   IQT36309071              13,695           2            9,621                           64.7%    38.8%   34.5%    45.1%     -62.3%      -65.5%      1.3% 0.70835           4.77       4.7%        4.7%
     Affymetrix Inc.                           IQT2587418             714,389          688          357,744      2.8%       9.0%       4.7%     3.5%    5.4%    63.3%      13.0%       8.0%       3.6%     0.5037        3.54      37.6%      177.0%

     Genomic Health, Inc.                      IQT24111615            715,559          221          281,451      2.2%       7.3%      19.1%    11.8%   13.0%    78.2%      -8.8%      -11.2%      7.4% 0.34992           3.26       0.0%        0.0%
     Cepheid                                   IQT2599314            2,388,029       1,075          523,099     15.8%      17.9%      19.7%    16.1%   17.2%    50.7%       1.6%       -4.7%      7.4%    0.79831        3.88      77.8%       95.0%
     Nanosphere, Inc.                          IQT38720096              16,632         245           18,871     44.5%      63.3%      31.8%    64.8%      NA    -57.8%       N/A     -167.1%      8.2% 0.21424           1.18     107.2%      123.5%
     GenMark Diagnostics, Inc.                IQT106626443            353,067          225           36,051     34.0%      40.3%      46.3%    57.9%   56.2%    59.9%    -106.6%     -115.8%     13.6%    1.40426        5.41      18.1%       18.9%

     Bio-Reference Laboratories, Inc.          IQT2594421                              376          882,467     16.1%      14.4%         NA      NA       NA    47.4%      13.1%       10.1%      2.7%    0.24663        2.34      20.7%       24.3%



                             Upper Quartile                     $ 4,755,112            997    $ 1,190,259       28.9% 11   22.0%      20.0%    21.5%   26.3%    65.0%      21.3%       14.8% |    7.4%      82.7%        5.36      64.2%      113.7%
                                      Mean                           3,362,788         899        1,253,101    106.0%      20.2%      37.8%    21.0%   21.0%    49.1%       3.3%      -36.1%      4.9%     118.8%        4.42      42.4%      132.9%
                                    Median                            752,522          584          261,266     12.3%      10.3%      12.2%    10.8%    14.9%   49.1%      16.3%        8.3%      3.6%      60.2%        3.66      29.2%        3.2%
                             Lower Quartile                           291,789          229          105,049      2.0%       6.7%       6.3%     4.7%    6.0%    44.2%      -1.0%      -12.5%      2.2%      26.2% |      1.94       2.5%        0.0%



               Theranos, Inc. (at 12/31/18)                                            NA     $     503,452     55.6%      64.3%      28.0%      NA       NA     0.0%      45.3%      39.3%      16.9%      19.2%        2.39         N/A        N/A




     Notes:
     Source: S&P Capital IQ.
     [1]  Represents trailing 3-month average daily trading volume (in thousands).
     (2)  CAGR = Compound Annual Growth Rate
     [3]  Working capital excludes cash



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FORENSIC & FINANCIAL CONSULTANTS
                                      Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 104 of 156


                    US v. Elizabeth Holmes____________________________________________________________________________________________________________________________________       Exhibit J.3
                    Valuation of Theranos, Inc.                                                                                                            Guideline Public Company Descriptions
                    As of October 15, 2015


                    Name                                             Ticker      Description


                                                                                 OraSure Technologies, Inc., together with its subsidiaries, develops, manufactures, markets, and sells oral fluid diagnostic products
                    OraSure Technologies, Inc.                       OSUR
                                                                                 and specimen collection devices in the United States, Europe, and internationally.

                                                                                 Trinity Biotech plc acquires, develops, manufactures, and markets medical diagnostic products for the clinical laboratory and point-
                    Trinity Biotech plc                              TRIB
                                                                                 of-care (POC) segments of the diagnostic market in the Americas, Africa, Asia, and Europe.

                                                                                 Enzo Biochem, Inc., an integrated diagnostics, clinical lab, and life sciences company, researches, develops, manufactures, and
                    Enzo Biochem, Inc.                                ENZ
                                                                                 markets diagnostic and research products based on genetic engineering, biotechnology, and molecular biology.

                                                                                 QuidelOrtho Corporation focuses on the development and manufacture of diagnostic testing technologies across the continuum of
                    QuidelOrtho Corporation                          QDEL
                                                                                 healthcare testing needs.

                    Exact Sciences Corporation                       EXAS        Exact Sciences Corporation provides cancer screening and diagnostic test products in the United States and internationally.

                                                                                 OPKO Health, Inc., a healthcare company, engages in the diagnostics and pharmaceuticals businesses in the United States,
                    OPKO Health, Inc.                            NasdaqGS:OPK
                                                                                 Ireland, Chile, Spain, Israel, Mexico, and internationally.

                                                                                 PerkinElmer, Inc. provides products, services, and solutions to the diagnostics, life sciences, and applied services markets
                    PerkinElmer, Inc.                                 PKI
                                                                                 worldwide.

                    Quest Diagnostics Incorporated                    DGX        Quest Diagnostics Incorporated provides diagnostic testing, information, and services in the United States and internationally.

                                                                                 Laboratory Corporation of America Holdings operates as a global life sciences company that provides vital information to help
                    Laboratory Corporation of America Holdings         LH
                                                                                 doctors, hospitals, pharmaceutical companies, researchers, and patients make clear and confident decisions.

                                                                                 Myriad Genetics, Inc., a genetic testing and precision medicine company, develops and commercializes genetic tests in the United
                    Myriad Genetics, Inc.                            MYGN
                                                                                 States and internationally.

                    Illumina, Inc.                                    ILMN       Illumina, Inc. provides sequencing and array-based solutions for genetic and genomic analysis.


                    Qiagen N.V.                                      QGEN        QIAGEN N.V. offers sample to insight solutions that transform biological materials into molecular insights worldwide.

                                                                                 Alere Inc. provides diagnostic tests for infectious disease, cardiometabolic disease, and toxicology in the United States and
                    Alere Inc.                                     IQT2622336
                                                                                 internationally.

                                                                                 Luminex Corporation develops, manufactures, and sells proprietary biological testing technologies and products for the diagnostics,
                    Luminex Corporation                            IQT2627430
                                                                                 pharmaceutical, and research industries worldwide.

                                                                                 Abaxis, Inc. develops, manufactures, markets, and sells portable blood analysis systems for use in human or veterinary patient care
                    Abaxis, Inc.                                   IQT2586525
                                                                                 to provide rapid blood constituent measurements for clinicians worldwide.

                    CombiMatrix Corporation                       IQT36309071    CombiMatrix Corporation provides clinical molecular diagnostic laboratory services in the United States.

                                                                                 Affymetrix, Inc. provides life science products and molecular diagnostic products that enable parallel analysis of biological systems
                    Affymetrix Inc.                                IQT2587418
                                                                                 at the gene, protein, and cell level.

                                                                                 Genomic Health, Inc., a healthcare company, provides clinically actionable genomic information to personalize cancer treatment
                    Genomic Health, Inc.                          IQT24111615
                                                                                 decisions in the United States and internationally.

                                                                                 Cepheid, a molecular diagnostics company, develops, manufactures, and markets integrated systems for testing in the clinical and
                    Cepheid                                        IQT2599314
                                                                                 non-clinical markets.

                                                                                 Nanosphere, Inc. develops, manufactures, and markets molecular diagnostic tests for infectious diseases and associated drug
                    Nanosphere, Inc.                              IQT38720096
                                                                                 resistance markers for earlier disease detection, optimal patient treatment, and improved healthcare economics.
                                                                                 GenMark Diagnostics, Inc. designs and manufactures multiplex molecular diagnostic solutions to enhance patient care, improve
                    GenMark Diagnostics, Inc.                     IQT106626443   quality metrics, and reduce the total cost-of-care for laboratory professionals, healthcare providers, and customers in the United
                                                                                 States and intemationallv.
                                                                                 Bio-Reference Laboratories, Inc. provides clinical laboratory testing services for the detection, diagnosis, evaluation, monitoring,
                    Bio-Reference Laboratories, Inc.               IQT2594421
                                                                                 and treatment of diseases in the United States.


                    Notes:
                    Source: S&P Capital IQ.




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                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 105 of 156


                                   US v. Elizabeth Holmes                                                                                                                                    _____________________ Exhibit J.4
                                   Valuation of Theranos, Inc.                                                                                                                               Guideline Public Company Ranking
                                   As of October 15, 2015                                                                                                                                    _____________ (thousands of USD)


                                                             Size                                                            Liquidity                                                       Liquidity
                                                      (Revenue, millions)                                    (Operating Net Working Capital-to-Revenue)                                   (Current Ratio)
                                Laboratory Corporation of America Holdir $            7,773,600   Quest Diagnostics Incorporated                           6.8% Exact Sciences Corporation                              15.28
                                Quest Diagnostics Incorporated                        7,527,000   Laboratory Corporation of America Holdir                11.1% Trinity Biotech plc                                      8.54
                                Alere Inc.                                            2,483,662 ITheranos, Ino. (at 12/31/18)                             19.2% | Luminex Corporation                                    7.57
                                PerkinElmer, Inc.                                     2,262,633   Nanosphere, Inc.                                        21.4% Abaxis, Inc.                                             7.33
                                Illumina, Inc.                                        2,140,593   PerkinElmer, Inc.                                       23.0% QuidelOrtho Corporation                                  6.91
                                Qiagen N.V.                                           1,292,856   Enzo Biochem, Inc.                                      23.1% GenMark Diagnostics, Inc.                                5.41
                                Bio-Reference Laboratories, Inc.                        882,467   Bio-Reference Laboratories, Inc.                        24.7% Myriad Genetics, Inc.                                    5.21
                                Myriad Genetics, Inc.                                   737,800   Alere Inc.                                              30.6% OraSure Technologies, Inc.                               4.78
                                Cepheid                                                 523,099   Myriad Genetics, Inc.                                   33.7% CombiMatrix Corporation                                  4.77
                               |Theranos, Ino. (at 12/31/18)                            603,452 | Genomic Health, Inc.                                    35.0% Cepheid                                                  3.88
                                Affymetrix Inc.                                         357,744   Affymetrix Inc.                                         50.4% Illumina, Inc.                                           3.79
                                Genomic Health, Inc.                                    281,451   Qiagen N.V.                                             54.1% Affymetrix Inc.                                          3.54
                                OPKO Health, Inc.                                       241,080   OPKO Health, Inc.                                       66.3% Qiagen N.V.                                              3.52
                                Luminex Corporation                                     235,365   CombiMatrix Corporation                                 70.8% Genomic Health, Inc.                                     3.26
                                Abaxis, Inc.                                            217,133   Luminex Corporation                                     74.4% ITheranos, Ino. (at 12/31/18)                            2.39 |
                                QuidelOrtho Corporation                                 205,670   Illumina, Inc.                                          76.0% Bio-Reference Laboratories, Inc.                         2.34
                                OraSure Technologies, Inc.                              116,018   Cepheid                                                 79.8% Enzo Biochem, Inc.                                       1.94
                                Trinity Biotech plc                                     101,392   Abaxis, Inc.                                            83.7% PerkinElmer, Inc.                                        1.94
                                Enzo Biochem, Inc.                                       97,599   QuidelOrtho Corporation                                104.4% Alere Inc.                                               1.68
                                GenMark Diagnostics, Inc.                                36,051   GenMark Diagnostics, Inc.                              140.4%   Laboratory Corporation of America Holdir               1.47
                                Exact Sciences Corporation                               26,521   Trinity Biotech plc                                    146.7%   Quest Diagnostics Incorporated                         1.45
                                Nanosphere, Inc.                                         18,871   OraSure Technologies, Inc.                             189.9%   OPKO Health, Inc.                                      1.45
                                CombiMatrix Corporation                                   9,621   Exact Sciences Corporation                            1266.3% Nanosphere, Inc.                                         1.18

                                                        Operational Efficiency                                                    Growth                                                     Growth
                                                         (Capital Expenditures)                                      (Historical 1-year Growth Rate)                                (Historical 3-year CAGR)
                                    PerkinElmer, Inc.                                      1.1%     Exact Sciences Corporation                         1894.1% OPKO Health, Inc.                                        87.5%
                                    CombiMatrix Corporation                                1.3%     OPKO Health, Inc.                                   179.4% Exact Sciences Corporation                               85.6%
                                    Myriad Genetics, Inc.                                  1.8%    ITheranos, Ino. (at 12/31/18)                         SS.6%| ITheranos. Ino. (at 12/31/18)                           64.3%|
                                    Enzo Biochem, Inc.                                     1.8%     Nanosphere, Inc.                                     44.5% Nanosphere, Inc.                                         63.3%
                                    OPKO Health, Inc.                                      2.2%     GenMark Diagnostics, Inc.                            34.0% GenMark Diagnostics, Inc.                                40.3%
                                    OraSure Technologies, Inc.                             2.2%     Laboratory Corporation of America Holdir             31.0% Illumina, Inc.                                           25.3%
                                    Abaxis, Inc.                                           2.2%     Abaxis, Inc.                                         29.6% CombiMatrix Corporation                                  23.4%
                                    Bio-Reference Laboratories, Inc.                       2.7%     CombiMatrix Corporation                              27.0% Cepheid                                                  17.9%
                                    Laboratory Corporation of America Holdir               2.8%     Illumina, Inc.                                       23.3% Bio-Reference Laboratories, Inc.                         14.4%
                                    Quest Diagnostics Incorporated                         3.4%     QuidelOrtho Corporation                              22.0% QuidelOrtho Corporation                                  13.6%
                                    Affymetrix Inc.                                        3.6%     Bio-Reference Laboratories, Inc.                     16.1% Myriad Genetics, Inc.                                    12.4%
                                    Alere Inc.                                             3.8%     Cepheid                                              15.8% Laboratory Corporation of America Holdir                 11.3%
                                    Illumina, Inc.                                         6.6%     OraSure Technologies, Inc.                            8.9% Abaxis, Inc.                                              9.2%
                                    QuidelOrtho Corporation                                7.1%     Luminex Corporation                                   5.1% OraSure Technologies, Inc.                                9.1%
                                    Qiagen N.V.                                            7.3%     Quest Diagnostics Incorporated                        3.0% Affymetrix Inc.                                           9.0%
                                    Cepheid                                                7.4%     Affymetrix Inc.                                       2.8% Trinity Biotech plc                                       7.5%
                                    Genomic Health, Inc.                                   7.4%     Genomic Health, Inc.                                  2.2% Genomic Health, Inc.                                      7.3%
                                    Nanosphere, Inc.                                       8.2%     PerkinElmer, Inc.                                     1.9% Luminex Corporation                                       6.5%
                                    Trinity Biotech plc                                    8.3%     Enzo Biochem, Inc.                                    1.7% PerkinElmer, Inc.                                         2.8%
                                    Luminex Corporation                                    8.7%     Myriad Genetics, Inc.                                -0.9% Qiagen N.V.                                               1.3%
                                    GenMark Diagnostics, Inc.                             13.6%     Trinity Biotech plc                                  -1.5% Quest Diagnostics Incorporated                            0.7%
                                   ITheranos, Ino. (at 12/31/18)                          16.9%|    Qiagen N.V.                                          -3.9%   Enzo Biochem, Inc.                                     -1.8%
                                                                                                    Alere Inc.                                           -4.0% Alere Inc.                                               -2.9%

                                                                 Growth                                                      Profitability                                           Operational Efficiency
                                                      (Forward 1 -year Growth Rate)                              (Historical EBITDA Margin 1-year)                                     (Return on Equity)
                                    OPKO Health, Inc.                                    414.3% ITheranos, Inc. (at 12/31/18)                             46.3%| Myriad Genetics, Inc.                                   15.0%
                                    CombiMatrix Corporation                               64.7%   Illumina, Inc.                                          35.8%  Bio-Reference Laboratories, Inc.                        14.8%
                                    GenMark Diagnostics, Inc.                             46.3% Qiagen N.V.                                               28.2%  Illumina, Inc.                                          14.3%
                                    Nanosphere, Inc.                                      31.8% Myriad Genetics, Inc.                                     26.2% Abaxis, Inc.                                             11.4%
                                   ITheranos, Ino. (at 12/31/18)                          28.0% I Luminex Corporation                                     22.5%  Laboratory Corporation of America Holdir                 8.7%
                                    Illumina, Inc.                                        20.4% Alere Inc.                                                21.5%  Quest Diagnostics Incorporated                           8.6%
                                    Cepheid                                               19.7% Abaxis, Inc.                                              21.3%  Luminex Corporation                                      7.8%
                                    Genomic Health, Inc.                                  19.1% Laboratory Corporation of America Holdir                  20.3%  PerkinElmer, Inc.                                        5.0%
                                    Laboratory Corporation of America Holdir              17.5% Quest Diagnostics Incorporated                            19.3% Affymetrix Inc.                                           4.2%
                                    Trinity Biotech plc                                   13.5% QuidelOrtho Corporation                                   17.6% Trinity Biotech plc                                       3.1%
                                    Abaxis, Inc.                                          12.2% Trinity Biotech plc                                       16.9% Qiagen N.V.                                               3.0%
                                    OraSure Technologies, Inc.                            12.0% PerkinElmer, Inc.                                         15.7% QuidelOrtho Corporation                                   2.6%
                                    QuidelOrtho Corporation                                9.4% Bio-Reference Laboratories, Inc.                          13.1% Alere Inc.                                                2.4%
                                    Qiagen N.V.                                            8.4% Affymetrix Inc.                                           13.0% OraSure Technologies, Inc.                                0.5%
                                    Alere Inc.                                             6.8% OraSure Technologies, Inc.                                 6.2% ITheranos, Ino. (at 12/31/18)                             0.0%l
                                    Luminex Corporation                                    5.7% Cepheid                                                    1.6% Cepheid                                                  -2.4%
                                    Myriad Genetics, Inc.                                  5.7% Genomic Health, Inc.                                      -8.8% OPKO Health, Inc.                                        -3.5%
                                    PerkinElmer, Inc.                                      5.0% Enzo Biochem, Inc.                                        -9.1% Genomic Health, Inc.                                    -14.2%
                                    Affymetrix Inc.                                        4.7% OPKO Health, Inc.                                        -26.8% Enzo Biochem, Inc.                                      -18.2%
                                    Quest Diagnostics Incorporated                         1.3% CombiMatrix Corporation                                  -62.3% Exact Sciences Corporation                              -32.4%
                                                                                                  GenMark Diagnostics, Inc.                             -106.6% GenMark Diagnostics, Inc.                               -35.1%
                                                                                                                                                                 CombiMatrix Corporation                                -47.1%
                                                                                                                                                                 Nanosphere, Inc.                                       -68.6%




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              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 106 of 156


    US v. Elizabeth Holmes                                                                                                    Exhibit K.1
    Valuation of Theranos, Inc.                                                                                  Adjusted Net Asset Value
    As of October 15, 2015                                                                                            (thousands of USD)

                                                                 12/31/2014
                                                                 Unadjusted                 Adjustments                   Adjusted
    Assets:
      Current Assets
          Current Operating Assets
             Cash & Equivalents                       [1]   $             465,933      $               30,986      $              496,919
             Accounts Receivable                                              -                                                        -
             Inventory                                                      2,383                         -                         2,383
             Other Current Assets                                          12,788                         -                        12,788
          Total Current Operating Assets                                  481,104                      30,986                     512,090
          Total Current Non-Operating Assets                                  -                           -                           -
      Total Current Assets                                                481,104                      30,986                     512,090

        Total Fixed Assets - Net                                           53,366                          -                       53,366

        Other Assets
           Intangible Assets
               Goodwill                                                        -                           -                          -
               Other Intangible Assets                [2]                                             703,330                    703,330
           Total Intangible Assets - Net                                      -                       703,330                    703,330
           Total Long Term Receivables                                     27,045                         -                       27,045
           Total Other Non-Current Assets                                     -                           -                          -
        Total Non Current Assets                                           27,045                     703,330                    730,375

    Total Assets                                            $             561,515      $              734,316      $           1,295,831

    Liabilities and Equity:

    Liabilities
       Current Liabilities
             Current Operating Liabilities
                Accounts Payable                            $              16,633      $                           $               16,633
                Deferred Revenue                                              -                           -                           -
                Other Current Liabilities             [3]                 400,359                    (390,375)                      9,984
             Total Current Operating Liabilities                          416,992                    (390,375)                     26,617
             Total Current Debt Obligations                                   -                           -                           -
       Total Current Liabilities                                          416,992                    (390,375)                     26,617

        Non Current Liabilities
           Total Long Term Debt                                            40,805                         -                       40,805
           Other Non Current Liabilities
               Deferred Rent                                                   -                          -                           -
               Deferred Revenue, LT                                            -                          -                           -
               Customer Deposits                                          143,846                         -                      143,846
               Other Non-current liabilities                               33,750                         -                       33,750
           Total Other Non Current Liabilities                            177,596                         -                      177,596
        Total Non Current Liabilities                                     218,401                         -                      218,401

   Total Liabilities                                        $             635,393      $             (390,375)    $              245,018


   Total Equity Value - Controlling, Marketable Basis                                                             $            1,050,813

   Total Equity Value - Controlling, Marketable Basis (rounded)                                                   $_________ 1,051,000

   Notes:
   [1] Add proceeds from 2015 capital raises of C-2 Preferred not on 12/31/14 balance sheet, minus pro-rated operating loss through
       10/15/15.
   [2]     Add value of technology and branding assets under cost to recreate method (Exhibit K.2).
   [3] Adjust out "miscellaneous receipts" liability that represents proceeds received from 2014 capital raises, for which stock had not
       been issued yet.


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                        Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 107 of 156


      US v. Elizabeth Holmes                                                                                                                                                                                                                                                                                               Exhibit K.2
      Valuation ofThoranos, Inc.                                                                                                                                                                                                                                                Cost Io Recreate Method - Technokw and Branding Assets
      As of October 15,2015                                                                                                                                                                                                                                                                                                     (USD)



                                                                                      Calendar Year 2009                                                   Calendar Year 2010                                               Calendar Year 2011
                                                                                         Allocation to                                                        Allocation to                                                    Allocation to
                                                                                       Technology and                                                       Technology and                                                   Technology and
                                                                     Total Cost [11        Brand [21             Allocated Cost         Total Cost (11         Brand [2]      Allocated Cost             Total Cost [11         Brand (21             Allocated Cost
                           Functional Category
                          Salaries, Wages & SBC                  $        6,717,962          100%                $     6,717,962        $     7,485,029           100%            $     7,485,029    $       10,069,033            100%            $      10,069,033
                         Payroll Taxes & Processing                         483,606          100%                        483,606                568,593           100%                    568,593               784,642            100%                      784,642
                              Health Insurance                              417,083          100%                        417,083                493,526           100%                    493,526               767,508            100%                      767,508
                               Other benefits                               114.239          100%                        114.239                180,253           100%                    180,253               773,318            100%                      773318
                            Sales Commissions                                 5,000           0%                                                                   0%                                                               0%
                                       Subtotal Employees        $        7,737,890                              S     7,732,890        $     8,727,402                           $     8,727,402    S       12,394,501                            $      12,394,501
                             Contractor Services                            488,192          100%                       488,192                518,786            100%                    518,786             1.637,549           100%                     1,637,549

                               Subtotal for All Labor Costs $             8,226,082                          5         8,221,082    S         9,246,188                       5         9,246,188    S       14,032,050                            $      14,032,050
                                                Facility Costs 3          2,145,779         99.9%            $         2,144,392        $     2,064,230         100.0%            S     2,064,230    $        2,724,300          100.0%            S       2,724,300
                R&D Materials, Parts, Biological Compounds                  935,138         100%                         935,138              3,786,184          100%                   3,786,184             5,955,745           100%                     5,955,745
            Conf., Website, Markel Studies, Trademark Costs                  58,925         100%                          58,925                 75,422          100%                      75,422                 13,452          100%                        13,452
                   Legal, Tax, Accounting Services - General                120,697          50%                          60,349                284,605           50%                     142,303                339,165           50%                       169,583
                          Legal Regulatory and Patents Costs                313,058         100%                         313,058                492,136          100%                     492,136              1,307,265          100%                     1,307,265
                                    Legal Costs for Litigation                                0%                                                                   0%                                            665,695           0%
               Expensed Equip., Sofivrare. and Maintenance                  148,010         100%                        148,010                226,101           100%                    226,101                 620.302          100%                       620,302
                 Ducs, Subscriptions, Licenses and Supplies                  85,853         100%                         85,853                233,858           100%                    233,858                 447,386          100%                       447,386
                                            Recruiting Costs                192,343         99.9%                       192,219                212,706          100.0%                   212,706                 300,466         100.0%                      300,466
                                            Travel Expenses                 226,711          50%                        113.355                154,949           50%                      77,474                 396,822          50%                        198.411
                 Interest (Income). Expense & Bank Charges                  109,143           0%                                                 70,077           0%                                            (132,632)          0%
                                  Supporting GAA Expenses                   274,158         99.9%                       273,981                361,955          100.0%                   361,955                 455,201         100.0%                     455201
                                        Relocation Expenses                  27,220          0%                                                   6,272           0%                                              66,194           0%
                     Supplies for Manufacturing / Operations                754,146         100%                        754,146                432,293           100%                    432,293                  77,829          100%                        77,829
                                                    Inventory                               100%                                                (13,583)         100%                                             (5,337)         100%                         (5.337)
                                        Capital Expenditures                180,627         100%                        180,627              1,635,110           100%                   1,635,110             3,042,848           100%                     3,042,848
                                                 Other Costs                 17 XXI          0%                                                  17 PXC           0%                                              15 927           0%
                                 Subtotal for Indirect Costs S           5,589,248                           $        5,260,052     $       10,040,161                        $        9,739,772     $       16,290,629                           $      15,307,450

                                                                                             Yrs                                                                  Yrs                                                              Yrs
                     Inflation Adjusted Total Expenses [4]              2.3%                 6.30          C$        15,573,573 I            2.3%                 5.30      | $       21,435,892 |           2.3%                  4.30          | S     32,374,935 I



                                                                                      Calendar Year 2012                                                   Calendar Year 2013                                               Calendar Year 2014                                                Calendar Year 2015
                                                                                         Allocation to                                                        Allocation to                                                    Allocation to                                                   Allocation to
                                                                                       Technology and                                                       Technology and                                                   Technology and                                                    Technology
                                                                   Total Cost [1]          Brand (2J         Allocated Cost             Total Cost [11         Brand [21      Allocated Cost             Total Cost [1]         Brand [2]      Allocated Cost             Total Cost [11      and Brand [2]            Allocated Cost
                           FynctjonaLCategory
                          Salaries, Wages & SBC                $        20,238,277          100%             $       20.238,277     $       29,829,686           100%         S       29,829,686     $      46,369,000            100%            $      46,369,000      $     64.272,000          88%                  $ 56.238,000
                         Payroll Taxes & Processing                      1,561,634          100%                      1,561,634              2,246,298           100%                  2,246,298             3,450,000            100%                    3,450,000             4,573,000          88%                     4,001,375
                              Health Insurance                           1.429,986          100%                      1,429,986              2,161,519           100%                  2,161,519                 3,325            100%                        3,325                 4,800          88%                         4.200
                               Other benefits                            2,374,572          100%                      2,374,572              3,255,991           100%                  3.255,991             8,112,675            100%                    8.112,675            11.562 200          88%                    10,116,925
                            Sales Commissions                                                0%                                                     78            0%                                           312,000             0%                                             453,000          0%
                                       Subtotal Employees      S        25,604,469                           $       25,604,469     $       37,493,572                        $       37,493,494     $      58,247,000                            $      57,935,000      $     80,865,000                              5 70,360,500
                            Contractor Services                          3,073,543          100%                      3,073,543              5,372,096           100%                  5,372,096              7,885,000           100%                    7,885,000             9,673,000          88%                       8,463,875

                               Subtotal for All Labor Costs 15          28,678,011                           $       28,678,011     $       42,865,668                        $       42,865,590     S      66,132,000                            $      65,820,000      $     90,538,000                              S    78,824,375
                                            Facility Costs S             7,375,665         100.0%            S        7,375,665     $        7,140,632          100.0%        $        7,140,617     S      16,776,000           99.5%            S      16,686,139      S  16,980,000            87.0%                $ 14,774,269
            R&D Materials, Parts, Biological Compounds                  11,136,524          100%                     11,136,524             10,069,736           100%                 10,069,736            10,638,000            100%                   10,638,000         13,621,000             88%                   11,918,375
        Conf., Website, Market Studies, Trademark Costs                  1,274,910          100%                      1,274,910              7,684,778           100%                  7,684,778             3,087,000            100%                    3,087,000           7,974,000            88%                    6,977,250
               Legal, Tax. Accounting Services - General                 1,400,908           50%                        700,454                709,756           50%                     354,878             1,051,000            50%                       525,500         15,181,000             44%                    6,641,688
                      Legal Regulatory and Patents Costs                 1,750,963          100%                      1,750,963              1,913,373           100%                  1,913,373             2,199,000            100%                    2,199,000           5,612,000            88%                    4,910,500
                                Legal Costs for Litigation               1,829,174            0%                                             6,197,019            0%                                         3,899,000             0%                                         4,872,000             0%
           Expensed Equip., Software, and Maintenance                    1,084,748          100%                      1,084,748              1,657,745           100%                  1,657,745             1,792,000            100%                    1,792,000           2.691,000            88%                       2,354,625
             Dues, Subscriptions. Licenses and Supplies                  1,211,873          100%                      1,211,873              1,522,924           100%                  1,522,924             3,583.000           100%                     3,583,000           4,508,000            88%                       3,944,500
                                        Recruiting Costs                   796,875         100.0%                       796,875                552,947          100.0%                   552,946             1,147,000           99.5%                    1,140,856           1,337,000           87.0%                      1,163,321
                                        Travel Expenses                    267,524          50%                         133,762                787,042           50%                     393,521             1,170,000            50%                       585,000           3,004,000            44%                       1,314.250
             Interest (Income), Expense & Bank Charges                     143,830           0%                                                382,053            0%                                            (27,000)           0%                                        (1,336,000)            0%
                              Supporting G&A Expenses                      934,674         100.0%                       934,674              1,185,138          100.0%                 1,185,135             2,335,000           99.5%                    2,322,493           3,041,000           87.0%                      2,645,969
                                    Relocation Expenses                     65,756           0%                                                 24,763            0%                                             43,000            0%                                           162,000             0%
                 Supplies for Manufacturing / Operations                   855,721          100%                        855,721              1,574,094           100%                  1,574,094             1,952,000           100%                     1,952,000           2,286,000            88%                       2,000,250
                                                Inventory                6,865,924          100%                      6,865,924              1,742,894           100%                  1,742,894             1,145,000           100%                     1,145,000           1,959,000            88%                       1,714,125
                                    Capital Expenditures                17,572,491          100%                     17,572,491              8,884,769           100%                  8,884,769            38.594,066           100%                    38,594,066         21,598,615             88%                      18,898,788
                                             Other Costs                    90.432           0%                                                (44,941)           0%                                             30,000            0%                                           294,000             0%
                             Subtotal for Indirect Costs 5i             54,657,993                           >       51,694,585     S       51,984,722                       $        44,677,410     $      89,414,066                            S      84,250,054      $ 103,784,615                                 $    79,257,911

                                                                                             Yrs                                                                 Yrs                                                              Yrs                                                              Yrs
                    Inflation Adjusted Total Expenses [3]               2.3%                 3.29          | $       86,673.058 |           2.3%                 2.29       | S       92,266,644 |           2.3%                            [S         154,583,995 |           2.3%               0.39               | $ 169,518,037 |


                                                                                                                                                                                                                                                                 2004-2006 Expenses, Inflation Adjusted [4]            $    24,677.830
                                                                                                                                                                                                                                                                      2007 Expenses, Inflation Adjusted |5|                 21,044,667
                                                                                                                                                                                                                                                                      2008 Expenses, Inflation Adjusted [5]                 15.785,077
                                                                                                                                                                                                                                                                   2009-2015 Expenses, Inflation Adjusted                  562,426,134

                                                                                                                                                                                                                                                            Total Direct and Indirect Development Costs                S 623.933.708

                                                                                                                                                                                                                                                                                Obsolescence Adjustment |6]     2%         (12,338,915)

                                                                                                                                                                                                                                                                                              Subtotal Cost            $ 611,594,793

                                                                                                                                                                                                                                                                              Add Developer Profil Margin |7l   15%        91,739,219


                                                                                                                                                                                                                                                                             Total Pretax Development Cost             $ 703,334,012

                                                                                                                                                                                                                                                              Total Pretax Development Cost (Rounded)                  $ 703,330,000


     Notes
               Per company prepared trial balances
      121      Allocations based on relevance of costs Io developing Theranos technology and branding assets. 2015 adjusted for partial year.
      [31      Adjust allocated expenses for average annual inflation of 2.3% over historical period
               2004 - 2006 expenses based on retained earnings deficit at 12/31107 less operating loss reported for calendar year 2007. Expenses are adjusted for inflation of 2.3% from midpoint of period to valuation date.
      [51      2007 - 2008 expenses based on audited financial statements. Exdudes financing costs and interest income. Expenses are adjusted for inflation of 2.3% from midpoint of each period Io valuation dale.
      16]      Adjusted for estimated 50% of historical development efforts bebveen 2004-2006 that represent obsolete technology on valuation dale.
               Developer margin based on median EBIT margin of peer group of firms in Exhibit J.2.




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                                             Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 108 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                      ____________________ Exhibit L.1
Valuation of Theranos, Inc.                                                                                                                                                                                                                  NAV Equity Allocation 2/7/14 - Step 1
As of February 7, 2014                                                                                                                                                                                                                                                      (USD)

 Break Point Calculation                                                                                      $0,015        |          $0,030                   $0,066          |        $0,072           I           $0,064                 $0,170                  $0,206

                                                                                                                                                                                    $0,072 Warrants /
                                        Number of       Series C, C-1, C-2    Series A, B Liq.            $0,016 Options            $0.03 Options           $0,066 Options             Options on                 $0,094 Options         $0,170 Options          $0,206 Options
           Share Class                   Shares          Liq. Preference        Preference                   Exercise                  Exercise                Exercise               Common Ex.                     Exercise               Exercise                Exercise
 Preferred Share Classes
    Series A @ $0,150                    46,320,045     $                    $         6,948,007      $         7,642,807       $        9,032,409      $        12,089,532         $     15,424,575          $        19,778,659    $        27,653,067     $        37,194,996
    Series B @ $0.1846                   54,162,965                                   10,000,000               10,812,444               12,437,333               16,012,089               19,911,822                   25,003,141             34,210,845              45,368,416
    Series C @ $0,564                    58,896,105            33,217,403             33,217,403               34,100,845               35,867,728               39,754,871               43,995,390                   49,531,624             59,543,962              71,676,560
    Series C-1 @ $3.00                   25,175,001            75,525,003             75,525,003               75,902,628               76,657,878               78,319,428               80,132,028                   82,498,478             86,778,228              91,964,279
    Series C-1 @ $15.00                   7,500,032           112,500,480            112,500,480              112,612,980              112,837,981              113,332,984              113,872,986                  114,577,989            115,852,994             117,398,001
    Series C-2 @ $17.00                   9,669,998           164,389,966            164,389,966              164,535,016              164,825,116              165,463,336              166,159,576                  167,068,555            168,712,455             170,704,475

 Warrants on Common
   Exercise Price @ $0,072                  741,665                    -                      -                                                   -                      -                        -                        16,317                 72,683                  99,383

 Common                                  302,640,465                   -                      -                 4,539,607                 9,079,214              19,974,271               21,790,113                   28,448,204             51,448,879              62,343,936
 Options on Common
   Exercise Price @      $0,015              350,000                                                                   -                        5,250                17,850                    19,950                      27,650                 54,250                  66,850
   Exercise Price @      $0,030            1,227,125                   -                       -                       -                           -                 44,177                    51,539                      78,536                171,798                 215,974
   Exercise Price @      $0,066              552,500                   -                       -                       -                           -                                            3,315                      15,470                 57,460                  77,350
    Exercise Price @     $0,072            3,092,715                   -                                               -                                                 -                        -                        68,040                303,086                 414,424
    Exercise Price @     $0,094              312,500                   -                                               -                                                 -                        -                            -                  23,750                  35,000
    Exercise Price @     $0,170            3,990,167                   -                       -                       -                          -                      -                        -                            -                     -                   143,646
    Exercise Price @     $0,206              703,195                   -                       -                       -                          -                      -                         -                           -                     -                       -
                                         515,334,478          385,632,852            402,580,859              410,146,328              420,742,909              445,008,536              461,361,295                  487,112,663            544,883,458             597,703,289

                                                                                                                                                                                    $0,072 Warrants /
                                                        Series C, C-1, C-2       Series A, B Liq.         $0,016 Options            $0.03 Options           $0,066 Options             Options on                 $0,094 Options         $0,170 Options          $0,206 Options
                                                         Liq. Preference           Preference                Exercise                  Exercise                Exercise               Common Ex.                     Exercise               Exercise                Exercise
 Inputs
    Stock Price Now                $     378,000,000    $     378,000,000    $       378,000,000      $       378,000,000       $      378,000,000      $       378,000,000         $    378,000,000          $       378,000,000    $       378,000,000     $       378,000,000
    Volatility                                 55.0%                55.0%                  55.0%                    55.0%                    55.0%                    55.0%                    55.0%                        55.0%                  55.0%                   55.0%
    Riskfree Rate - Annual                     1.07%                1.07%                  1.07%                    1.07%                    1.07%                    1.07%                    1.07%                        1.07%                  1.07%                   1.07%
    Exercise Price                 $            0.00    $     385,632,852    $       402,580,859      $       410,146,328       $      420,742,909      $       445,008,536         $    461,361,295          $       487,112,663    $       544,883,458     $       597,703,289
    Time To Maturity - Years                    4.00                 4.00                   4.00                     4.00                     4.00                     4.00                     4.00                         4.00                   4.00                    4.00

 Outputs
    d1                                         37.38                 0.57                     0.53                    0.51                      0.49                    0.44                      0.41                       0.36                    0.26                   0.17
    d2                                         36.28                (0.53)                   (0.57)                  (0.59)                    (0.61)                  (0.66)                    (0.69)                     (0-74)                  (0.84)                 (0.93)
    N(d1)                                       1.000                0.716                   0.702                   0.697                     0.688                   0.670                     0.658                       0.640                  0.601                   0.568
    N(d2)                                       1.000                0.298                   0.285                   0.279                     0.271                   0.255                     0.244                       0.229                  0.199                   0.177
    Call Price (Vc)                $     378,000,000    $     160,373,387    $        155,639,607     $       153,595,412       $       150,800,657     $       144,686,429         $     140,776,792         $       134,938,116    $       123,102,911     $       113,598,649


    -d1                                       -37.383               -0.571                  -0.531                  -0.515                    -0.491                  -0.440                   -0.408                       -0.358                 -0.256                  -0.172
    -d2                                       -36.283                0.529                   0.569                   0.585                     0.609                   0.660                    0.692                        0.742                  0.844                   0.928
    N(-d1)                                      0.000                0.284                   0.298                   0.303                     0.312                   0.330                    0.342                        0.360                  0.399                   0.432
    N(-d2)                                      0.000                0.702                   0.715                   0.721                     0.729                   0.745                    0.756                        0.771                  0.801                   0.823
    Put Price (Pp)                 $               0    $     151,923,279    $        163,430,682     $       168,636,436       $       175,996,328     $       193,135,721         $    204,896,844          $       223,735,566    $       267,261,803     $       308,374,502


 Fair Market Value                | $    378,000,000 | | $    160,373,387 | | $       155,639,607 | | $       153,595,412 | | $         150,800,657 | | $       144,686,429 | | $         140,776,792 | | $           134,938,116 | |$       123,102,911 | | $       113,598,649 |




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                                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 109 of 156

                           US v. Elizabeth Holmes                                                                                                                                                                                  _______________________ Exhibit L.2
                           Valuation of Theranos, Inc.                                                                                                                                                                              NAV Equity Allocation 2/7/14 - Step 2
                           As of February 7, 2014                                                                                                                                                                                  ___________________________ (USD)

                                                                                                                                                                       $0,072 Warrants I
                                                                Series C, C-1, C-2    Series A, B Llq.    $0,015 Options           $0.03 Options     $0,066 Options       Options on       $0,094 Options    $0,170 Options     $0,206 Options           All Classes
                                                                 Llq. Preference        Preference           Exercise                 Exercise          Exercise         Common Ex.           Exercise          Exercise           Exercise              Participate
                            High call option                    $    378,000,000     $    160,373,387    $    155,639,607      $      153,595,412    $   150,800,657   $    144,686,429    $   140,776,792   $   134,938,116   $    123,102,911      $     113,598,649
                            Less low call option                     160,373,387           155,639,607        153,595,412             150,800,657        144,686,429        140,776,792        134,938,116       123,102,911        113,598,649
                            Total Value to Allocate             $    217,626,613     $       4,733,780   $      2,044,195      S        2,794,755    $     6,114,228   $      3,909,638    $     5,838,675   $    11,835,205   $      9,504,262      $     113,598,649

                            Preferred Share Classes
                                Series A @ $0,150                                            6,948,007         46,320,045              46,320,045         46,320,045         46,320,045         46,320,045        46,320,045          46,320,045            46,320,045
                                Series 8 @ $0.1846                                          10,000,000         54,162,965              54,162,965         54,162,965         54,162,965         54,162,965        54,162,965          54,162,965            54,162,965
                                Series C @ $0,564                     33,217,403                               58,896,105              58,896,105         58,896,105         58,896,105         58,896,105        58,896,105          58,896,105            58,896,105
                                Series C-1 @ $3.00                    75,525,003                               25,175,001              25,175,001         25,175,001         25,175,001         25,175,001        25,175,001          25,175,001            25,175,001
                                Series C-1 @ $15.00                  112,500,480                                7,500,032               7,500,032          7,500,032          7,500,032          7,500,032         7,500,032           7,500,032             7,500,032
                                Series C-2 @ $17.00                  164,389,966                                9,669,998               9,669,998          9,669,998          9,669,998          9,669,998         9,669,998           9,669,998             9,669,998
                            Warrants on Common
                               Exercise Price @ $0,072                                                                                                                                            741,665           741,665              741,665               741,665

                            Common                                                                            302,640,465             302,640,465        302,640,465        302,640,465        302,640,465       302,640,465         302,640,465           302,640,465
                            Options on Common
                                   Exercise   Price @ $0,015                                                                              350,000            350,000            350,000            350,000           350,000             350,000               350,000
                                   Exercise   Price @ $0,030                                                                                               1,227,125          1,227,125          1,227,125         1,227,125           1,227,125             1,227,125
                                   Exercise   Price @ $0,066                                                                                                                    552,500            552,500           552,500             552,500               552,500
                                   Exercise   Price @ $0,072                                                                                                                                     3,092,715         3,092,715           3,092,715             3,092,715
                                   Exercise Price @ $0,094                                                                                                                                                           312,500             312,500               312,500
                                   Exercise Price @ $0,170                                                                                                                                                                             3,990,167             3,990,167
                                   Exercise Price @ $0,206                                                                                                                                                                                                     703,195
                                                                     385,632,852            16,948,007        504,364,611             504,714,611        505,941,736        506,494,236        510,328,616       510,641,116         514,631,283           515,334,478
                            Distribution Percentage
                            Preferred Share Classes
                                Series A @ $0,150                            0.0%                41.0%               9.2%                    9.2%               9.2%               9.1%               9.1%              9.1%                 9.0%                  9.0%
                                Series 8 @ $0.1846                           0.0%                59.0%              10.7%                   10.7%              10.7%              10.7%              10.6%             10.6%                10.5%                 10.5%
                                Series C @ $0,564                            8.6%                 0.0%              11.7%                   11.7%              11.6%              11.6%              11.5%             11.5%                11.4%                 11.4%
                                Series C-1 @ $3.00                          19.6%                 0.0%               5.0%                    5.0%               5.0%               5.0%               4.9%              4.9%                 4.9%                  4.9%
                                Series C-1 @ $15.00                         29.2%                 0.0%               1.5%                    1.5%               1.5%               1.5%               1.5%              1.5%                 1.5%                  1.5%
                                Series C-2 @ $17.00                         42.6%                 0.0%               1.9%                    1.9%               1.9%               1.9%               1.9%              1.9%                 1.9%                  1.9%
                            Warrants on Common
                               Exercise Price @ $0,072                       0.0%                 0.0%               0.0%                    0.0%               0.0%                0.0%              0.1%              0.1%                 0.1%                  0.1%
                            Common                                           0.0%                 0.0%              60.0%                   60.0%              59.8%              59.8%              59.3%             59.3%                58.8%                 58.7%
                                Options on Common
                                    Exercise Price @   $0,015                0.0%                 0.0%               0.0%                    0.1%               0.1%                0.1%              0.1%              0.1%                 0.1%                  0.1%
                                    Exercise Price @   $0,030                0.0%                 0.0%               0.0%                    0.0%               0.2%                0.2%              0.2%              0.2%                 0.2%                  0.2%
                                    Exercise Price @   $0,066                0.0%                 0.0%               0.0%                    0.0%               0.0%                0.1%              0.1%              0.1%                 0.1%                  0.1%
                                    Exercise Price @   $0,072                0.0%                 0.0%               0.0%                    0.0%               0.0%                0.0%              0.6%              0.6%                 0.6%                  0.6%
                                    Exercise Price @   $0,094                0.0%                 0.0%               0.0%                    0.0%               0.0%                0.0%              0.0%              0.1%                 0.1%                  0.1%
                                    Exercise Price @   $0,170                0.0%                 0.0%               0.0%                    0.0%               0.0%                0.0%              0.0%              0.0%                 0.8%                  0.8%
                                    Exercise Price @   $0,206                0.0%                 0.0%               0.0%                    0.0%               0.0%               0.0%               0.0%              0.0%                 0.0%                  0.1%
                                                                           100.0%               100.0%             100.0%                  100.0%             100.0%             100.0%             100.0%            100.0%               100.0%                100.0%
                                Allocation of Value
                                Preferred Share Classes
                                    Series A @ $0,150           $                    $       1,940,661   $        187,736      $          256,488    $       559,771   $        357,545    $       529,948   $     1,073,567   $          855,443    $      10,210,639
                                    Series B @ $0.1846                                       2,793,119            219,523                 299,916            654,551            418,085            619,679         1,255,343            1,000,287           11,939,507
                                    Series C @ $0,564                  18,745,786                                 238,706                 326,125            711,750            454,620            673,831         1,365,044            1,087,699           12,982,865
                                    Series C-1 @ $3.00                 42,621,500                                 102,035                 139,401            304,236            194,326            288,027           583,485              464,934            5,549,495
                                    Series C-1 @ $15.00                63,488,104                                  30,398                  41,530             90,637             57,893             85,808           173,829              138,511            1,653,283
                                    Series C-2 @ $17.00                92,771,224                                  39,193                  53,546            116,860              74,643           110,635           224,123              178,586            2,131,623
                                Warrants on Common
                                   Exercise Price @ $0,072                                                                                                                                           8,485            17,190               13,697              163,490
                                Common                                                                          1,226,605                1,675,810         3,657,363           2,336,087         3,462,513         7,014,343           5,589,195            66,713,075
                                Options on Common
                                    Exercise Price @   $0,015                                                                                1,938             4,230               2,702             4,004             8,112                6,464               77,153
                                    Exercise Price @   $0,030                                                                                                 14,830               9,472            14,040            28,441               22,663              270,503
                                    Exercise Price @   $0,066                                                                                                                      4,265             6,321            12,805               10,204              121,791
                                    Exercise Price @   $0,072                                                                                                                                       35,384            71,680               57,117              681,748
                                    Exercise Price @   $0,094                                                                                                                                                          7,243                5,771               68,886
                                    Exercise Price @   $0,170                                                                                                                                                                              73,691              879,579
                                    Exercise Price @   $0,206                                                                                                                                                                                                  155,010
                                                                $     217,626,613    $       4,733,780   $      2,044,195      $         2,794,755   $     6,114,228   $       3,909,638   $     5,838,675   $    11,835,205   $       9,504,262     $     113,598,649

                                                                                                              Per Share
                                          Share Class___________ Number of Shares        Total Value________ Marketable
                                Preferred Share Classes

                                    Series A @ $0,150                  46,320,045    $      15,971,798   $            0.34
                                    Series B @ $0.1846                 54,162,965           19,200,011                0.35
                                    Series C @ $0,564                  58,896,105           36,586,427                0.62
                                    Series C-1 @ $3.00                 25,175,001           50,247,440                2.00
                                    Series C-1 © $15.00                 7,500,032           65,759,992                8.77
                            |       Series C-2 @ $17.00                 9,669,998    $      96,700,432   $            9.90 |
                                Warrants on Common
                                   Exercise Price @ $0,072                741,665              202,862                0.27




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                                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 110 of 156


     US v. Elizabeth Holmes                                                                                                                                                                                                             ____________________ Exhibit M.1
     Valuation of Theranos, Inc.                                                                                                                                                                                                         DCF Equity Allocation 2/7/14 - Step 1
     As of February 7, 2014                                                                                                                                                                                                                       ________________ (USD)

      Break Point Calculation                                                                                 $0,016                   $0,030                   $0,066              $0,072                   $0,094          i           $0,170          |           $0,206
                                                                                                                                                                               $0,072 Warrants /
                                         Number of       Series C, C-1, C-2       Series A, B Liq.        $0,016 Options            $0.03 Options           $0,066 Options        Options on             $0,094 Options              $0,170 Options              $0,206 Options
                Share Class               Shares          Liq. Preference           Preference               Exercise                  Exercise                Exercise          Common Ex.                 Exercise                    Exercise                    Exercise
      Preferred Share Classes
         Series A @ $0,150                46,320,045     $             -      $          6,948,007    $         7,642,807      $         9,032,409      $        12,089,532    $     15,424,575      $         19,778,659        $        27,653,067         $        37,194,996
         Series B @ $0.1846               54,162,965                   -                10,000,000             10,812,444               12,437,333               16,012,089          19,911,822                25,003,141                 34,210,845                  45,368,416
         Series C @ $0,564                58,896,105            33,217,403              33,217,403             34,100,845               35,867,728               39,754,871          43,995,390                49,531,624                 59,543,962                  71,676,560
         Series C-1 @ $3.00               25,175,001            75,525,003              75,525,003             75,902,628               76,657,878               78,319,428          80,132,028                82,498,478                 86,778,228                  91,964,279
         Series C-1 @ $15.00               7,500,032           112,500,480             112,500,480            112,612,980              112,837,981              113,332,984         113,872,986               114,577,989                115,852,994                 117,398,001
         Series C-2 @ $17.00               9,669,998           164,389,966             164,389,966            164,535,016              164,825,116              165,463,336         166,159,576               167,068,555                168,712,455                 170,704,475

      Warrants on Common
         Exercise Price @ $0,072             741,665                                                                   -                                                 -                   -                     16,317                     72,683                      99,383
      Common                             302,640,465                                                            4,539,607                 9,079,214              19,974,271          21,790,113                28,448,204                 51,448,879                  62,343,936
      Options on Common
        Exercise Price @ $0,015               350,000                                                                  -                        5,250                17,850              19,950                    27,650                     54,250                      66,850
        Exercise Price @ $0,030             1,227,125                                                                  -                                             44,177              51,539                    78,536                    171,798                     215,974
        Exercise Price @ $0,066               552,500                                                                  -                                                -                 3,315                    15,470                     57,460                      77,350
        Exercise Price @ $0,072             3,092,715                                                                                             -                     -                                          68,040                    303,086                     414,424
        Exercise Price @ $0,094               312,500                                                                  -                          -                     -                                             -                       23,750                      35,000
        Exercise Price @ $0,170             3,990,167                                                                  -                          -                     -                    -                                                   -                       143,646
        Exercise Price @ $0,206               703,195                                                                  -                          -                     -

                                          515,334,478          385,632,852             402,580,859            410,146,328              420,742,909              445,008,536         461,361,295               487,112,663                544,883,458                 597,703,289

                                                                                                                                                                               $0,072 Warrants /
                                                         Series C, C-1, C-2       Series A, B Liq.        $0,016 Options            $0.03 Options           $0,066 Options        Options on              $0,094 Options             $0,170 Options              $0,206 Options
                                                          Liq. Preference           Preference               Exercise                  Exercise                Exercise          Common Ex.                  Exercise                   Exercise                    Exercise
      Inputs
         Stock Price Now            $    431,000,000     $     431,000,000    $        431,000,000    $       431,000,000      $       431,000,000      $       431,000,000    $    431,000,000      $        431,000,000        $       431,000,000         $       431,000,000
         Volatility                            55.0%                 55.0%                   55.0%                  55.0%                    55.0%                    55.0%               55.0%                     55.0%                      55.0%                       55.0%
         Riskfree Rate - Annual                1.07%                 1.07%                   1.07%                  1.07%                    1.07%                    1.07%               1.07%                     1.07%                      1.07%                       1.07%
         Exercise Price             $           0.00     $     385,632,852    $        402,580,859    $       410,146,328      $       420,742,909      $       445,008,536    $    461,361,295      $        487,112,663        $       544,883,458         $       597,703,289
         Time To Maturity - Years               4.00                  4.00                    4.00                     4.00                   4.00                     4.00                4.00                      4.00                       4.00                        4.00

      Outputs
         d1                                     37.50                 0.69                    0.65                    0.63                     0.61                    0.56                 0.53                     0.48                        0.38                        0.29
         d2                                     36.40                (0.41)                  (0.45)                  (0.47)                   (0.49)                  (0.54)               (0.57)                   (0.62)                      (0.72)                      (0.81)
         N(d1)                                   1.000                0.755                   0.742                  0.737                     0.729                   0.712               0.701                     0.683                      0.646                       0.615
         N(d2)                                   1.000                0.341                   0.327                  0.321                     0.312                   0.294               0.283                     0.267                      0.234                       0.209
         Call Price (Vc)            $     431,000,000    $     199,382,497    $        193,963,436    $       191,617,587      $        188,404,768     $       181,352,863    $    176,826,793      $        170,042,554        $       156,196,002         $       144,980,775

         -d1                                   -37.502               -0.690                  -0.651                 -0.634                    -0.611                  -0.560              -0.527                    -0.477                     -0.376                      -0.291
         -d2                                   -36.402                0.410                   0.449                  0.466                     0.489                   0.540               0.573                     0.623                      0.724                       0.809
         N(-d1)                                  0.000                0.245                   0.258                  0.263                     0.271                   0.288               0.299                     0.317                      0.354                       0.385
         N(-d2)                                  0.000                0.659                   0.673                  0.679                     0.688                   0.706               0.717                     0.733                      0.766                       0.791
         Put Price (Pp)              $              0    $     137,932,389    $        148,754,512    $       153,658,611      $        160,600,439     $       176,802,154    $    187,946,845      $        205,840,004        $       247,354,895         $       286,756,628

      Fair Market Value             |$    431,000,000 11$      199,382,497 || $        193,963,436 | $        191,617,587     | $       188,404,768 | $         181,352,863 | $      176,826,793    | $       170,042,554 || $           156,196,002 | $             144,980,775




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                                        Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 111 of 156

                      US v. Elizabeth Holmes                                                                                                                                                                                 ______________________ Exhibit M.2
                      Valuation ofTheranos, Inc.                                                                                                                                                                              DCF Equity Allocation 2/7/14 - Step 2
                      As of February 7, 2014                                                                                                                                                                                 ___________________________ (USD)

                                                                                                                                                              $0,072 Warrants/
                                                          Series C, C-1, C-2   Series A, B Llq.     $0,016 Options       $0.03 Options      $0,066 Options       Options on        $0,094 Options     $0,170 Options      $0,206 Options           All Classes
                                                           Llq. Preference       Preference            Exercise             Exercise           Exercise         Common Ex.            Exercise            Exercise           Exercise              Participate
                       High call option                   $     431,000,000    $    199,382,497    $    193,963,436    $     191,617,587   $    188,404,768   $    181,352,863   $     176,826,793   $     170,042,554   $    156,196,002      $      144,980,775
                       Less low call option                     199,382,497         193,963,436         191,617,587          188,404,768        181,352,863        176,826,793         170,042,554         156,196,002        144,980,775
                       Total Value to Allocate            $     231,617,503    $      5,419,061    $      2,345,849    $       3,212,819   $      7,051,905   $      4,526,070   $       6,784,239   $      13,846,551   $     11,215,227      $     144,980,775

                       Preferred Share Classes
                              Series A @ $0,150                                        6,948,007         46,320,045          46,320,045          46,320,045         46,320,045         46,320,045          46,320,045           46,320,045            46,320,045
                              Series B @ $0.1846                                      10,000,000         54,162,965          54,162,965          54,162,965         54,162,965         54,162,965          54,162,965           54,162,965            54,162,965
                              Series C @ $0,564                 33,217,403                               58,896,105          58,896,105          58,896,105         58,896,105         58,896,105          58,896,105           58,896,105            58,896,105
                              Series C-1 @ $3.00                75,525,003                               25,175,001          25,175,001          25,175,001         25,175,001         25,175,001          25,175,001           25,175,001            25,175,001
                              Series C-1 @ $15.00              112,500,480                                7,500,032           7,500,032           7,500,032          7,500,032          7,500,032           7,500,032            7,500,032             7,500,032
                              Series C-2 @ $17.00              164,389,966                                9,669,998           9,669,998           9,669,998          9,669,998          9,669,998           9,669,998            9,669,998             9,669,998
                       Warrants on Common
                          Exercise Price @ $0,072                                                                                                                                         741,665             741,665              741,665               741,665

                       Common                                                                           302,640,465         302,640,465         302,640,465        302,640,465        302,640,465         302,640,465          302,640,465           302,640,465
                       Options on Common
                           Exercise Price @      $0,015                                                                         350,000             350,000            350,000            350,000             350,000              350,000               350,000
                           Exercise Price @      $0,030                                                                                           1,227,125          1,227,125          1,227,125           1,227,125            1,227,125             1,227,125
                           Exercise Price @      $0,066                                                                                                                552,500            552,500             552,500              552,500               552,500
                           Exercise Price @      $0,072                                                                                                                                 3,092,715           3,092,715            3,092,715             3,092,715
                           Exercise Price @      $0,094                                                                                                                                                       312,500              312,500               312,500
                           Exercise Price @      $0,170                                                                                                                                                                          3,990,167             3,990,167
                           Exercise Price @      $0,206                                                                                                                                                                                                  703,195
                                                               385,632,852            16,948,007        504,364,611         504,714,611         505,941,736        506,494,236        510,328,616         510,641,116          514,631,283           515,334,478
                       Distribution Percentage
                       Preferred Share Classes
                           Series A @ $0,150                           0.0%                41.0%               9.2%                 9.2%               9.2%               9.1%                9.1%                9.1%                 9.0%                  9.0%
                           Series B @ $0.1846                          0.0%                59.0%              10.7%                10.7%              10.7%              10.7%               10.6%               10.6%                10.5%                 10.5%
                           Series C @ $0,564                           8.6%                 0.0%              11.7%                11.7%              11.6%              11.6%               11.5%               11.5%                11.4%                 11.4%
                           Series C-1 @ $3.00                         19.6%                 0.0%               5.0%                 5.0%               5.0%               5.0%                4.9%                4.9%                 4.9%                  4.9%
                           Series C-1 @ $15.00                        29.2%                 0.0%                1.5%                1.5%               1.5%               1.5%                1.5%                1.5%                 1.5%                  1.5%
                           Series C-2 @ $17.00                        42.6%                 0.0%                1.9%                1.9%               1.9%               1.9%                1.9%                1.9%                 1.9%                  1.9%
                       Warrants on Common
                          Exercise Price @ $0,072                      0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%                0.1%                0.1%                 0.1%                  0.1%
                       Common                                          0.0%                 0.0%              60.0%                60.0%              59.8%              59.8%               59.3%               59.3%                58.8%                 58.7%
                       Options on Common
                              Exercise Price @   $0,015                0.0%                 0.0%               0.0%                 0.1%               0.1%               0.1%                0.1%                0.1%                 0.1%                  0.1%
                              Exercise Price @   $0,030                0.0%                 0.0%               0.0%                 0.0%               0.2%               0.2%                0.2%                0.2%                 0.2%                  0.2%
                              Exercise Price @   $0,066                0.0%                 0.0%               0.0%                 0.0%               0.0%               0.1%                0.1%                0.1%                 0.1%                  0.1%
                              Exercise Price @   $0,072                0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%                0.6%                0.6%                 0.6%                  0.6%
                              Exercise Price @ $0,094                  0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%                0.0%                0.1%                 0.1%                  0.1%
                              Exercise Price @ $0,170                  0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%                0.0%                0.0%                 0.8%                  0.8%
                              Exercise Price @ $0,206                  0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%                0.0%                0.0%                 0.0%                  0.1%
                                                                     100.0%               100.0%             100.0%               100.0%             100.0%             100.0%              100.0%              100.0%               100.0%                100.0%
                       Allocation of Value
                       Preferred Share Classes
                           Series A @ $0,150              $                    $       2,221,599   $        215,439    $        294,856    $        645,617   $        413,919   S        615,772    $       1,256,015   $        1,009,441    $      13,031,373
                           Series B @ $0.1846                                          3,197,462            251,917             344,781             754,933            484,004            720,035            1,468,684            1,180,360            15,237,848
                           Series C @ $0,564                     19,950,925                                 273,932             374,910             820,904            526,300            782,957            1,597,028            1,283,508            16,569,439
                           Series C-1 @ $3.00                    45,361,572                                 117,091             160,254             350,894            224,966            334,673             682,646               548,632             7,082,567
                           Series C-1 @ $15.00                   67,569,659                                  34,883              47,742             104,537             67,021             99,704             203,371               163,446             2,110,009
                           Series C-2 @ $17.00                   98,735,347                                  44,976              61,555             134,782             86,412            128,552             262,212               210,736             2,720,493

                       Warrants on Common
                          Exercise Price @ $0,072                                                                                                                                            9,860              20,111               16,163               208,655
                           Common                                                                          1,407,611           1,926,493          4,218,256          2,704,418           4,023,261           8,206,403            6,595,366            85,142,856

                           Options on Common
                               Exercise Price @ $0,015                                                                             2,228              4,878              3,128               4,653               9,491                7,627                98,467
                               Exercise Price @ $0,030                                                                                               17,104             10,966              16,313              33,275               26,742               345,231
                               Exercise Price @ $0,066                                                                                                                   4,937               7,345              14,982               12,040               155,437
                               Exercise Price @ $0,072                                                                                                                                      41,114              83,862               67,399               870,084
                               Exercise Price @ $0,094                                                                                                                                                           8,474                6,810                87,917
                               Exercise Price @ $0,170                                                                                                                                                                               86,957             1,122,567
                               Exercise Price @ $0,206                                                                                                                                                                                                    197,832
                                                          $     231,617,503    $       5,419,061   $      2,345,849    $       3,212,819   $      7,051,905   $      4,526,070   $       6,784,239   $      13,846,551   $       11,215,227    $      144,980,775

                                                                                                        Per Share
                                    Share Class           Number of Shares         Total Value         Marketable
                           Preferred Share Classes

                              Series A @ $0,150                  46,320,045    $      19,704,031   $            0.43
                               Series B @ $0.1846                54,162,965           23,640,024                0.44
                               Series C @ $0,564                 58,896,105           42,179,901                0.72
                               Series C-1 @ $3.00                25,175,001           54,863,296                2.18
                               Series C-1 @ $15.00                7,500,032           70,400,373                9.39
                       |       Series C-2 @ $17.00                9,669,998    S     102,386,064   $           10.69
                           Warrants on Common
                              Exercise Price @ $0,072               741,665              254,789                0.34



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                                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 112 of 156



US v. Elizabeth Holmes                                                                                                                                                                                                                                     ______________________ Exhibit N.1
Valuation of Theranos, Inc.                                                                                                                                                                                                                                 NAV Equity Allocation 12/31/14 - Step 1
As of December 31,2014                                                                                                                                                                                                                                                __________________ (USD)

 Break Point Calculation                                                                                     $0.016       ~| |           $0.030           11            $0.066         11         $0.072           11           $0,094           11           $0.170         11           $0,20?

                                                                                                                                                                                             $0,072 Warrants /
                                    Number of       Series C, C-1, C-2    Series A, B Liq.              $0,016 Options                $0.03 Options                 $0,066 Options              Options on                  $0,094 Options                $0,170 Options              $0,206 Options
           Share Class               Shares          Liq. Preference        Preference                     Exercise                      Exercise                      Exercise                Common Ex.                      Exercise                      Exercise                    Exercise
 Preferred   Share Classes
    Series   A @ $0,150              46,320,045     $                     $         6,948,007       $          7,642,807         $         9,032,409            $         12,089,532         $     15,424,575           $         19,778,659          $        27,653,067         $        37,194,996
    Series   B @ $0.1846             54,134,965                                     9,994,830                 10,806,855                  12,430,904                      16,003,811               19,901,529                     24,990,216                   34,193,160                  45,344,962
    Series   C @ $0,564              58,896,105            33,217,403              33,217,403                 34,100,845                  35,867,728                      39,754,871               43,995,390                     49,531,624                   59,543,962                  71,676,560
    Series   C-1 @ $3.00             25,175,001            75,525,003              75,525,003                 75,902,628                  76,657,878                      78,319,428               80,132,028                     82,498,478                   86,778,228                  91,964,279
    Series   C-1 @ $15.00             7,500,032           112,500,480             112,500,480                112,612,980                 112,837,981                     113,332,984              113,872,986                    114,577,989                  115,852,994                 117,398,001
    Series   C-2 @ $17.00            32,808,227           557,739,859             557,739,859                558,231,982                 559,216,229                     561,381,572              563,743,765                    566,827,738                  572,405,136                 579,163,631

 Warrants on Common
    Exercise Price @ $0,072             741,665                   -                        -                          -                             -                            -                                                    16,317                        72,683                     99,383
 Common                              302,965,725                  -                        -                   4,544,486                    9,088,972                     19,995,738               21,813,532                     28,478,778                   51,504,173                  62,410,939
 Options on Common
   Exercise Price @    $0,015            350,000                                                                      -                           5,250                       17,850                    19,950                        27,650                       54,250                      66,850
   Exercise Price @    $0,030          1,170,875                                                                      -                             -                         42,152                    49,177                        74,936                      163,923                     206,074
   Exercise Price @    $0,066            547,500                   -                        -                         -                             -                            -                         3,285                      15,330                       56,940                      76,650
   Exercise Price @    $0,072          2,579,175                   -                        -                         -                             -                                                        -                        56,742                      252,759                     345,609
   Exercise Price @    $0,094            312,500                   -                        -                                                                                                                -                           -                         23,750                      35,000
   Exercise Price @    $0,170          3,972,457                   -                                                  -                                                                                      -                           -                            -                       143,008
   Exercise Price @    $0,206            606,365                                                                                                                                  -                          -                           -
                                     538,080,637          778,982,745             795,925,582                803,842,584                 815,137,351                     840,937,937              858,956,217                    886,874,457                  948,555,026               1,006,125,944

                                                                                                                                                                                             $0,072 Warrants /
                                                    Series C, C-1, C-2        Series A, B Liq.           $0,016 Options               $0.03 Options                  $0,066 Options             Options on                   $0,094 Options               $0,170 Options              $0,206 Options
                                                     Liq. Preference            Preference                  Exercise                     Exercise                       Exercise               Common Ex.                       Exercise                     Exercise                    Exercise
 Inputs
    Stock Price Now             $    827,000,000    $     827,000,000     $        827,000,000      $        827,000,000         $       827,000,000            $        827,000,000         $    827,000,000           $        827,000,000          $       827,000,000         $       827,000,000
    Volatility                             53.0%                53.0%                    53.0%                     53.0%                       53.0%                           53.0%                    53.0%                          53.0%                        53.0%                       53.0%
    Riskfree Rate - Annual                 1.38%                1.38%                    1.38%                     1.38%                       1.38%                           1.38%                    1.38%                          1.38%                        1.38%                       1.38%
    Exercise Price              $           0.00    $     778,982,745     $        795,925,582      $        803,842,584         $       815,137,351            $        840,937,937         $    858,956,217           $        886,874,457          $       948,555,026         $     1,006,125,944
    Time To Maturity - Years                4.00                 4.00                     4.00                      4.00                        4.00                            4.00                     4.00                           4.00                         4.00                        4.00

 Outputs
    d1                                     39.50                  0.64                     0.62                      0.61                       0.60                             0.57                     0.55                           0.52                         0.45                        0.40
    d2                                     38.44                 (0.42)                   (0.44)                    (0.45)                     (0.46)                           (0.49)                   (0-51)                         (0.54)                       (0.61)                      (0.66)
    N(d1)                                   1.000                0.738                    0.732                     0.729                       0.724                           0.714                    0.708                          0.697                        0.675                       0.654
    N(d2)                                   1.000                0.337                    0.329                     0.326                       0.321                           0.311                    0.304                          0.293                        0.272                       0.254
    Call Price (Vc)             $    827,000,000    $     362,434,456     $        357,095,687      $        354,641,163          $      351,182,763            $        343,468,924         $    338,230,551           $        330,345,757          $       313,865,295         $       299,558,358

    -d1                                   -39.503               -0.638                   -0.618                    -0.609                      -0.596                          -0.566                   -0.546                         -0.516                       -0.453                      -0.397
    -d2                                   -38.443                0.422                    0.442                     0.451                       0.464                           0.494                    0.514                          0.544                        0.607                       0.663
    N(-d1)                                  0.000                0.262                    0.268                     0.271                       0.276                           0.286                    0.292                          0.303                        0.325                       0.346
    N(-d2)                                  0.000                0.663                    0.671                     0.674                       0.679                           0.689                    0.696                          0.707                        0.728                       0.746
    Put Price (Pp)              $                   $     272,730,055     $        283,427,430      $        288,466,230          $      295,698,159            $        312,404,192         $    324,219,853            $       342,759,259          $       384,658,539         $       424,841,621


 Fair Market Value              $    827,000,000 | $      362,434,456 | $          357,095,687     | $       354,641,163         |$       351,182,763          | $       343,468,924        I S    338,230,551          |$       330,345,757 || $             313,865,295 11 $            299,558,358




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                                      Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 113 of 156

                      US v. Elizabeth Holmes                                                                                                                                                                          _________________________ Exhibit N.2
                      Valuation of Theranos, Inc.                                                                                                                                                                      NAV Equity Allocation 12/31/14 - Step 2
                      As of December 31,2014                                                                                                                                                                          _____________________________ (USD)

                                                                                                                                                             $0,072 Warrants /
                                                       Series C, C-1, C-2   Series A, B Llq.     $0,016 Options         $0.03 Options      $0,066 Options       Options on       $0,094 Options     $0,170 Options     $0,206 Options          All Classes
                                                        Llq. Preference       Preference            Exercise               Exercise           Exercise         Common Ex.           Exercise           Exercise           Exercise             Participate
                       High call option                $     827,000,000    $    362,434,456    $    357,095,687    $      354,641,163    $    351,182,763   $    343,468,924    $   338,230,551   $    330,345,757   $    313,865,295    $      299,558,358
                       Less low call option                  362,434,456         357,095,687         354,641,163           351,182,763         343,468,924        338,230,551        330,345,757        313,865,295        299,558,358
                       Total Value to Allocate         $     464,565,544    $      5,338,769    $      2,454,524    $        3,458,400    $      7,713,839   $      5,238,373    $     7,884,794   $     16,480,462   $     14,306,937    $      299,558,358

                       Preferred Share Classes
                           Series A @ SO.150                                        6,948,007         46,320,045            46,320,045          46,320,045         46,320,045         46,320,045         46,320,045         46,320,045            46,320,045
                           Series B @ $0.1846                                       9,994,830         54,134,965            54,134,965          54,134,965         54,134,965         54,134,965         54,134,965         54,134,965            54,134,965
                           Series C @ $0,564                 33,217,403                               58,896,105            58,896,105          58,896,105         58,896,105         58,896,105         58,896,105         58,896,105            58,896,105
                           Series C-1 @ $3.00                75,525,003                               25,175,001            25,175,001          25,175,001         25,175,001         25,175,001         25,175,001         25,175,001            25,175,001
                           Series C-1 @ $15.00              112,500,480                                7,500,032             7,500,032           7,500,032          7,500,032          7,500,032          7,500,032          7,500,032             7,500,032
                           Series C-2 @ $17.00              557,739,859                               32,808,227            32,808,227          32,808,227         32,808,227         32,808,227         32,808,227         32,808,227            32,808,227
                       yVgrranlson Common
                           Exercise Price @ $0,072                                                                                                                                      741,665            741,665             741,665               741,665

                       Common                                                                        302,965,725           302,965,725        302,965,725         302,965,725        302,965,725        302,965,725       302,965,725            302,965,725
                       Options on Common
                           Exercise   Price @ $0,015                                                                           350,000            350,000             350,000            350,000            350,000            350,000               350,000
                           Exercise   Price @ $0,030                                                                                             1,170,875          1,170,875          1,170,875          1,170,875          1,170,875             1,170,875
                           Exercise   Price @ $0,066                                                                                                                  547,500            547,500            547,500            547,500               547,500
                           Exercise   Price @ $0,072                                                                                                                                   2,579,175          2,579,175          2,579,175             2,579,175
                           Exercise   Price @ $0,094                                                                                                                                                        312,500            312,500               312,500
                           Exercise   Price @ $0,170                                                                                                                                                                         3,972,457             3,972,457
                           Exercise   Price @ $0,206                                                                                                                                                                                                 606,365
                                                             778,982,745           16,942,837        527,800,100           528,150,100         529,320,975        529,868,475        533,189,315        533,501,815        537,474,272           538,080,637
                       Distribution Percentage
                       Preferred Share Classes
                           Series A @ $0,150                        0.0%                41.0%                8.8%                 8.8%                8.8%               8.7%               8.7%               8.7%               8.6%                  8.6%
                           Series B @ $0.1846                       0.0%                59.0%               10.3%                10.2%               10.2%              10.2%              10.2%              10.1%              10.1%                 10.1%
                           Series C @ $0,564                        4.3%                 0.0%               11.2%                11.2%               11.1%              11.1%              11.0%              11.0%              11.0%                 10.9%
                           Series C-1 @ $3.00                       9.7%                 0.0%                4.8%                 4.8%                4.8%               4.8%               4.7%               4.7%               4.7%                  4.7%
                           Series C-1 @ $15.00                     14.4%                 0.0%                1.4%                 1.4%                1.4%               1.4%               1 4%               1.4%               1.4%                  1.4%
                           Series C-2 @ $17.00                     71.6%                 0.0%                6.2%                 6.2%                6.2%               6.2%               6.2%               6.1%               6.1%                  6.1%
                       Warrants on Common
                          Exercise Price @ $0,072                   0.0%                 0.0%                0.0%                 0.0%                0.0%               0.0%               0.1%               0.1%               0.1%                  0.1%
                       Common                                       0.0%                 0.0%              57.4%                 57.4%               57.2%              57.2%              56.8%              56.8%              56.4%                 56.3%
                       Options on Common
                           Exercise Price @   $0,015                0.0%                 0.0%                0.0%                 0.1%                0.1%                0.1%              0.1%               0.1%               0.1%                  0.1%
                           Exercise Price @   $0,030                0.0%                 0.0%                0.0%                 0.0%                0.2%                0.2%              0.2%               0.2%               0.2%                  0.2%
                           Exercise Price @   $0,066                0.0%                 0.0%                0.0%                 0.0%                0.0%                0.1%              0.1%               0.1%               0.1%                  0.1%
                           Exercise Price @   $0,072                0.0%                 0.0%                0.0%                 0.0%                0.0%                0.0%              0.5%               0.5%               0.5%                  0.5%
                           Exercise Price @ $0,094                  0.0%                 0.0%                0.0%                 0.0%                0.0%                0.0%              0.0%               0.1%                0.1%                 0.1%
                           Exercise Price @ $0,170                  0.0%                 0.0%                0.0%                 0.0%                0.0%                0.0%              0.0%               0.0%                0.7%                 0.7%
                           Exercise Price @ $0,206                  0.0%                 0.0%                0.0%                  0.0%               0.0%                0.0%              0.0%               0.0%               0.0%                  0.1%
                                                                  100.0%               100.0%              100.0%                100.0%             100.0%              100.0%            100.0%             100.0%             100.0%                100.0%
                       Allocation of Value
                       Preferred Share Classes
                           Series A @ $0,150           $                    $       2,189,350   $        215,410    $          303,310    $        675,026   $        457,928    $       684,980   $      1,430,877   $      1,232,985    $       25,787,132
                           Series B @ $0.1846                                       3,149,419            251,754               354,483             788,913            535,188            800,547          1,672,289          1,441,010            30,137,827
                           Series C @ $0,564                  19,810,016                                 273,895               385,660             858,298            582,257            870,955          1,819,366          1,567,745            32,788,432
                           Series C-1 @ $3.00                 45,041,195                                 117,076               164,849             366,877            248,884            372,287            777,684            670,129            14,015,338
                           Series C-1 @ $15.00                67,092,432                                  34,879                49,111             109,299             74,147            110,910            231,684            199,642             4,175,391
                           Series C-2 @ $17.00               332,621,900                                 152,574               214,833             478,117            324,348            485,167          1,013,482            873,317            18,264,881
                       Warrants on Common
                          Exercise Price @ $0,072                                                                                                                                         10,968             22,911             19,742               412,897
                       Common                                                                           1,408,936             1,983,862          4,415,145           2,995,172         4,480,252          9,358,947          8,064,594           168,666,012
                       Options on Common
                           Exercise Price @ $0,015                                                                                2,292              5,101               3,460             5,176             10,812              9,317               194,851
                           Exercise Price @ $0,030                                                                                                  17,063              11,575            17,315             36,170             31,167               651,845
                           Exercise Price @ $0,066                                                                                                                       5,413             8,096             16,913             14,574               304,802
                           Exercise Price @ $0,072                                                                                                                                        38,141             79,674             68,655             1,435,869
                           Exercise Price @ $0,094                                                                                                                                                            9,653              8,318               173,974
                           Exercise Price @ $0,170                                                                                                                                                                             105,742             2,211,532
                           Exercise Price @ $0,206                                                                                                                                                                                                   337,573
                                                       $     464,565,544    $       5,338,769   $       2,454,524   $         3,458,400   $      7,713,839   $       5,238,373   $     7,884,794   $     16,480,462   $     14,306,937     $     299,558,358

                                                                                                     Per Share
                                  Share Class          Number of Shares         Total Value         Marketable
                       Preferred Share Classes
                           Series A @ $0,150                  46,320,045    $      32,977,000   $            0.71
                           Series B @ $0.1846                 54,134,965           39,131,429                0.72
                           Series C @ $0,564                  58,896,105           58,956,625                1.00
                           Series C-1 @ $3.00                 25,175,001           61,774,321                2.45
                           Series C-1 @ $15.00                 7,500,032           72,077,495                9.61
                           Series C-2@ $17.00                 32,808,227          354,428,619               10.80
                       Warrants on Common
                          Exercise Price @ $0,072                741,665              466,518                0.63



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                                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 114 of 156



        US v. Elizabeth Holmes                                                                                                                                                                                                                                    ____________________ Exhibit 0.1
        Valuation of Theranos, Inc.                                                                                                                                                                                                                                DCF Equity Allocation 2/7/14 - Step 1
        As of December 31,2014                                                                                                                                                                                                                                              ________________ (USD)

         Break Point Calculation                                                                                     $0,015            |          $0,030           !           $0,066          ||        $0,072           ||           $0,034          I           $0,170          |           $0,206
                                                                                                                                                                                                    $0,072 Warrants /
                                              Number of       Series C, C-1, C-2        Series A, B Liq.         $0,016 Options                $0.03 Options               $0,066 Options              Options on                  $0,094 Options              $0,170 Options              $0,206 Options
                   Share Class                 Shares          Liq. Preference            Preference                Exercise                      Exercise                    Exercise                Common Ex.                      Exercise                    Exercise                    Exercise
         Preferred   Share Classes
            Series   A @ $0,150                46,320,045     $                     $          6,948,007     $         7,642,807           $        9,032,409          $        12,089,532          $     15,424,575           $        19,778,659         $        27,653,067         $        37,194,996
            Series   B @ $0.1846               54,134,965                   -                  9,994,830              10,806,855                   12,430,904                   16,003,811                19,901,529                    24,990,216                  34,193,160                  45,344,962
            Series   C @ $0,564                58,896,105            33,217,403               33,217,403              34,100,845                   35,867,728                   39,754,871                43,995,390                    49,531,624                  59,543,962                  71,676,560
            Series   C-1 @ $3.00               25,175,001            75,525,003               75,525,003              75,902,628                   76,657,878                   78,319,428                80,132,028                    82,498,478                  86,778,228                  91,964,279
            Series   C-1 @ $15.00               7,500,032           112,500,480              112,500,480             112,612,980                  112,837,981                  113,332,984               113,872,986                   114,577,989                 115,852,994                 117,398,001
            Series   C-2 @ $17.00              32,808,227           557,739,859              557,739,859             558,231,982                  559,216,229                  561,381,572               563,743,765                   566,827,738                 572,405,136                 579,163,631

         Warrants on Common
           Exercise Price @ $0,072                741,665                   -                         -                         -                            -                          -                           -                       16,317                      72,683                      99,383
         Common                               302,965,725                   -                         -                4,544,486                     9,088,972                  19,995,738                21,813,532                    28,478,778                  51,504,173                  62,410,939
         Options on Common
           Exercise Price @    $0,015              350,000                  -                         -                                                    5,250                    17,850                     19,950                       27,650                      54,250                      66,850
           Exercise Price @    $0,030            1,170,875                  -                         -                                                      -                      42,152                    49,177                        74,936                     163,923                     206,074
           Exercise Price @    $0,066              547,500                  -                         -                                                      -                         -                          3,285                     15,330                      56,940                      76,650
           Exercise Price @    $0,072            2,579,175                  -                         -                                                      -                         -                            -                       56,742                     252,759                     345,609
           Exercise Price @    $0,094              312,500                  -                         -                         -                            -                         -                            -                          -                        23,750                      35,000
           Exercise Price @    $0,170            3,972,457                                            -                         -                            -                         -                                                        -                          -                       143,008
           Exercise Price @    $0,206              606,365                   -                        -                         -                            -                         -
                                              538,080,637           778,982,745              795,925,582             803,842,584                  815,137,351                  840,937,937               858,956,217                   886,874,457                 948,555,026               1,006,125,944

                                                                                                                                                                                                    $0,072 Warrants /
                                                              Series C, C-1, C-2        Series A, B Liq.         $0,016 Options                $0.03 Options               $0,066 Options              Options on                  $0,094 Options              $0,170 Options              $0,206 Options
                                                               Liq. Preference            Preference                Exercise                      Exercise                    Exercise                Common Ex.                      Exercise                    Exercise                    Exercise
         Inputs
            Stock Price Now              $    951,000,000     $     951,000,000     $        951,000,000     $       951,000,000           $      951,000,000          $       951,000,000          $    951,000,000           $       951,000,000         $       951,000,000         $       951,000,000
            Volatility                              53.0%                 53.0%                    53.0%                   53.0%                        53.0%                        53.0%                     53.0%                         53.0%                       53.0%                       53.0%
            Riskfree Rate - Annual                  1.38%                 1.38%                    1.38%                   1.38%                        1.38%                        1.38%                     1.38%                         1.38%                       1.38%                       1.38%
            Exercise Price               $           0.00     $     778,982,745     $        795,925,582     $       803,842,584           $      815,137,351          $       840,937,937          $    858,956,217           $       886,874,457         $       948,555,026         $     1,006,125,944
            Time To Maturity - Years                 4.00                  4.00                     4.00                    4.00                          4.00                        4.00                      4.00                          4.00                        4.00                        4.00

         Outputs
            d1                                       39.63                  0.77                     0.75                    0.74                         0.73                         0.70                      0.68                          0.65                        0.58                        0.53
            d2                                       38.57                 (0.29)                   (0-31)                  (0.32)                       (0.33)                       (0.36)                    (0.38)                        (0-41)                      (0.48)                      (0.53)
            N(d1)                                     1.000                0.779                    0.773                   0.770                        0.766                        0.757                     0.751                         0.741                       0.720                       0.702
            N(d2)                                     1.000                0.386                    0.378                   0.375                        0.370                        0.359                     0.351                         0.340                       0.317                       0.298
            Call Price (Vc)              $     951,000,000    $     456,633,546     $        450,506,701     $       447,685,948           $      443,707,334          $       434,815,355          $    428,762,774           $       419,630,618         $       400,456,912         $       383,715,353

            -d1                                     -39.635               -0.770                   -0.750                     -0.740                    -0.727                       -0.698                    -0.678                        -0.648                      -0.584                      -0.529
            -d2                                     -38.575                0.290                    0.310                   0.320                        0.333                        0.362                     0.382                         0.412                       0.476                       0.531
            N(-d1)                                    0.000                0.221                    0.227                   0.230                        0.234                        0.243                     0.249                         0.259                       0.280                       0.298
            N(-d2)                                    0.000                0.614                    0.622                   0.625                        0.630                        0.641                     0.649                         0.660                       0.683                       0.702
            Put Price (Pp)               $                    $     242,929,144     $        252,838,444     $       257,511,015           $      264,222,730          $       279,750,623          $    290,752,076           $       308,044,119         $       347,250,156         $       384,998,615

         Fair Market Value              | $    951,000,000 11 $     456,633,546 11 $         450,506,701 11 $        447,685,948 11 $             443,707,334 11 $             434,815,355 11 $          428,762,774 11 $              419,630,618 11 $            400,456,912 11 $            383,715,353 |




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                                      Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 115 of 156

                      US v. Elizabeth Holmes                                                                                                                                                                                _______________________ Exhibit 0.2
                      Valuation of Theranos, Inc.                                                                                                                                                                            DCF Equity Allocation 2/7/14 - Step 2
                      As of Decern ber 31, 2014                                                                                                                                                                             ___________________________ (USD)

                                                                                                                                                               $0,072 Warrants/
                                                           Series C, C-1, C-2    Series A, B Llq.    $0,016 Options       $0.03 Options      $0,066 Options       Options on       $0,094 Options     $0,170 Options     $0,206 Options           All Classes
                                                          _k!l Preference          Preference           Exercise             Exercise           Exercise         Common Ex.           Exercise           Exercise           Exercise              Participate
                       High call option                    $    951,000,000     $    456,633,546    $    450,506,701    $     447,685,948   $    443,707,334   $    434,815,355   $    428,762,774   $    419,630,618   $    400,456,912      $      383,715,353
                       Less low call option                     456,633,546          450,506,701         447,685,948          443,707,334        434,815,355        428,762,774        419,630,618        400,456,912        383,715,353
                       Total Value to Allocate             $    494,366,454     $       6,126,844   $      2,820,753    $       3,978,614   $      8,891,979   $      6,052,581   $      9,132,156   $     19,173,706   $     16,741,559      $     383,715,353

                       Preferred Share Classes
                           Series A @ $0,150                                            6,948,007         46,320,045          46,320,045          46,320,045         46,320,045         46,320,045         46,320,045          46,320,045            46,320,045
                           Series B @ $0.1846                                           9,994,830         54,134,965          54,134,965          54,134,965         54,134,965         54,134,965         54,134,965          54,134,965            54,134,965
                           Series C @ $0,564                     33,217,403                               58,896,105          58,896,105          58,896,105         58,896,105         58,896,105         58,896,105          58,896,105            58,896,105
                           Series C-1 @ $3.00                    75,525,003                               25,175,001          25,175,001          25,175,001         25,175,001         25,175,001         25,175,001          25,175,001            25,175,001
                           Series C-1 @ $15.00                  112,500,480                                7,500,032           7,500,032           7,500,032          7,500,032          7,500,032          7,500,032           7,500,032             7,500,032
                           Series C-2 @ $17.00                  557,739,859                               32,808,227          32,808,227          32,808,227         32,808,227         32,808,227         32,808,227          32,808,227            32,808,227
                       Warrants on Common
                           Exercise Price @ $0,072                                                                                                                                        741,665            741,665              741,665               741,665

                       Common                                                                            302,965,725         302,965,725         302,965,725        302,965,725        302,965,725        302,965,725         302,965,725           302,965,725
                       Options on Common
                           Exercise Price @ $0,015                                                                               350,000            350,000             350,000           350,000             350,000             350,000               350,000
                           Exercise Price @ $0,030                                                                                                 1,170,875          1,170,875          1,170,875          1,170,875           1,170,875             1,170,875
                           Exercise Price @ $0,066                                                                                                                      547,500            547,500            547,500             547,500               547,500
                           Exercise   Price @ $0,072                                                                                                                                     2,579,175          2,579,175           2,579,175             2,579,175
                           Exercise   Price @ $0,094                                                                                                                                                          312,500             312,500               312,500
                           Exercise   Price @ $0,170                                                                                                                                                                            3,972,457             3,972,457
                           Exercise   Price @ $0,206                                                                                                                                                                                                    606,365
                                                                778,982,745            16,942,837        527,800,100         528,150,100         529,320,975        529,868,475        533,189,315        533,501,815         537,474.272           538,080,637
                       Distribution Percentage
                       Preferred Share Classes
                           Series A @ $0,150                            0.0%                41.0%               8.8%                 8.8%               8.8%               8.7%               8.7%               8.7%                 8.6%                  8.6%
                           Series B @ $0.1846                           0.0%                59.0%              10.3%                10.2%              10.2%              10.2%              10.2%              10.1%                10.1%                 10.1%
                           Series C @ $0,564                            4.3%                 0.0%              11.2%                11.2%              11.1%              11.1%              11.0%              11.0%                11.0%                 10.9%
                           Series C-1 @ $3.00                           9.7%                 0.0%               4.8%                 4.8%               4.8%               4.8%               4.7%               4.7%                 4.7%                  4.7%
                           Series C-1 @ $15.00                         14.4%                 0.0%               1.4%                 1.4%               1.4%               1.4%               1.4%               1.4%                 1.4%                  1.4%
                           Series C-2 @ $17.00                         71.6%                 0.0%               6.2%                 6.2%               6.2%               6.2%               6.2%               6.1%                 6.1%                  6.1%
                       Warrants on Common
                          Exercise Price @ $0,072                       0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%               0.1%               0.1%                 0.1%                  0.1%
                       Common                                           0.0%                 0.0%              57.4%                57.4%              57.2%              57.2%              56.8%              56.8%                56.4%                 56.3%
                       Options on Common
                           Exercise Price @      $0,015                 0.0%                 0.0%               0.0%                 0.1%               0.1%               0.1%               0.1%               0.1%                 0.1%                  0.1%
                           Exercise Price @      $0,030                 0.0%                 0.0%               0.0%                 0.0%               0.2%               0.2%               0.2%               0.2%                 0.2%                  0.2%
                           Exercise Price @      $0,066                 0.0%                 0.0%               0.0%                 0.0%               0.0%               0.1%               0.1%               0.1%                 0.1%                  0.1%
                           Exercise Price @      $0,072                 0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%               0.5%               0.5%                 0.5%                  0.5%
                           Exercise Price @      $0,094                 0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%               0.0%               0.1%                 0.1%                  0.1%
                           Exercise Price @      $0,170                 0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%               0.0%               0.0%                 0.7%                  0.7%
                           Exercise Price @      $0,206                 0.0%                 0.0%               0.0%                 0.0%               0.0%               0.0%               0.0%               0.0%                 0.0%                  0.1%
                                                                      100.0%               100.0%             100.0%               100.0%             100.0%             100.0%             100.0%             100.0%               100.0%                100.0%
                       Allocation of Value
                       Preferred Share Classes
                           Series A @ $0,150               $                    $       2,512,528   $        247,551    $        348,934    $        778,123   $        529,105   $        793,343   $      1,664,712   $        1,442,804    $      33,031,689
                           Series B @ $0.1846                                           3,614,316            289,317             407,805             909,405            618,373            927,192          1,945,575            1,686,227           38,604,655
                           Series C @ $0,564                      21,080,788                                 314,762             443,671             989,386            672,758          1.008,738          2,116,687            1,834,530           41,999,913
                           Series C-1 @ $3.00                     47,930,494                                 134,544             189,646             422,911            287,569            431,183            904,773              784,165           17,952,763
                           Series C-1 @ $15.00                    71,396,271                                  40,083              56,499             125,992             85,671            128,456            269,546              233,615            5,348,413
                           Series C-2 @ $17.00                   353,958,901                                 175,339             247,148             551,140            374,762            561,920          1,179,106            1.021,930           23,396,159
                       Warrants on Common
                          Exercise Price @ $0,072                                                                                                                                           12,703             26,655               23,102               528,895

                       Common                                                                               1,619,157           2,282,275          5,089,473          3,460,717          5,189,020         10,888,390            9,436,952          216,050,517

                       Options on Common
                           Exercise Price @      $0,015                                                                             2,637              5,880              3,998              5,995             12,579               10,902               249,592
                           Exercise Price @      $0,030                                                                                               19,669             13,375             20,054             42,080               36,471               834,973
                           Exercise Price @      $0,066                                                                                                                   6,254              9,377             19,677               17,054               390,432
                           Exercise Price @      $0,072                                                                                                                                     44,175             92,694               80,338             1,839,258
                           Exercise Price @      $0,094                                                                                                                                                        11,231                9,734               222,850
                           Exercise Price @      $0,170                                                                                                                                                                            123,736             2,832,833
                           Exercise Price @      $0,206                                                                                                                                                                                                  432,410
                                                            $    494,366,454    $       6,126,844   $       2,820,753   $       3,978,614   $      8,891,979   $      6,052,581   $      9,132,156   $     19,173,706   $       16,741,559    $      383,715,353

                                                                                                         Per Share
                                  Share Class              Number of Shares         Total Value         Marketable
                       Preferred ?hare Clas.se?
                          Series A @ $0,150                       46,320,045    $      41,348,789   $            0.89
                          Series B @ $0.1846                      54,134,965           49,002,864                0.91
                          Series C @ $0,564                       58,896,105           70,461,233                1.20
                          Series C-1 @ $3.00                      25,175,001           69,038,049                2.74
                          Series C-1 @ $15.00                      7,500,032           77,684,547               10.36
                          Series C-2 @ $17.00                     32,808,227          381,466,406               11.63
                       Warrants on Common
                          Exercise Price @ $0,072                    741,665              591,355                0.80



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                                                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 116 of 156



       US v. Elizabeth Holmes                                                                                                                                                                                                                                        Exhibit P.1
       Valuation of Theranos, Inc.                                                                                                                                                                                                     NAV Equity Allocation 10/15/15 - Step 1
       As of October 15, 2015                                                                                                                                                                                                                                           (USD)


        Break Point Calculation                                                                                   $0,015                 $0,030                   $0,066                $0,072                   $0,094                  $0,170                   $0,206         |
                                                                                                                                                                                   $0,072 Warrants /
                                           Number of       Series C, C-1, C-2    Series A, B Liq.             $0,016 Options          $0.03 Options           $0,066 Options          Options on             $0,094 Options          $0,170 Options           $0,206 Options
                 Share Class                Shares          Liq. Preference        Preference                    Exercise                Exercise                Exercise            Common Ex.                 Exercise                Exercise                 Exercise
        Preferred Share Classes
           Series A @ $0,150                46,320,045     $                     $         6,948,007      $         7,642,807     $        9,032,409      $        12,089,532      $     15,424,575      $        19,778,659     $        27,653,067      $        37,194,996
           Series B @ $0.1846               54,162,965                    -               10,000,000               10,812,444             12,437,333               16,012,089            19,911,822               25,003,141              34,210,845               45,368,416
           Series   C @ $0,564              58,896,105            33,217,403              33,217,403               34,100,845             35,867,728               39,754,871            43,995,390               49,531,624              59,543,962               71,676,560
           Series   C-1 @ $3.00             21,947,001            65,841,003              65,841,003               66,170,208             66,828,618               68,277,120            69,857,304               71,920,322              75,651,312               80,172,395
           Series   C-1 @ $15.00             6,563,232            98,448,480              98,448,480               98,546,928             98,743,825               99,176,999            99,649,551              100,266,495             101,382,245              102,734,270
           Series   C-2 @ $17.00            42,947,639           730,109,863             730,109,863              730,754,078            732,042,507              734,877,051           737,969,281              742,006,359             749,307,458              758,154,671


        Warrants on Common
          Exercise Price @ $0,072              741,665                                                                     -                        -                       -                    -                    16,317                   72,683                  99,383

        Common                              302,965,725                   -                       -                 4,544,486               9,088,972              19,995,738             21,813,532              28,478,778              51,504,173               62,410,939


        Options on Common
          Exercise Price @ $0,015               350,000                   -                                                -                      5,250                 17,850                19,950                  27,650                   54,250                  66,850
          Exercise Price @ $0,030             1,170,875                   -                       -                        -                         -                  42,152                49,177                  74,936                  163,923                 206,074
          Exercise Price @ $0,066               547,500                   -                                                                          -                      -                  3,285                  15,330                   56,940                  76,650
           Exercise Price @ $0,072            2,579,175                                           -                        -                         -                      -                    -                    56,742                  252,759                 345,609
           Exercise Price @ $0,094              312,500                                           -                                                 -                                             -                       -                    23,750                  35,000
           Exercise Price @ $0,170            3,972,457                   -                                                -                                                                      -                       -                        -                  143,008
           Exercise Price @ $0,206              606,365                                                                    -                        -                       -                     -                       -                        -                       -


                                            544,083,249          927,616,749              944,564,756             952,571,797             964,046,642             990,243,401          1,008,693,868            1,037,176,354           1,099,877,367            1,158,684,823

                                                                                                                                                                                   $0,072 Warrants 1
                                                           Series C, C-1, C-2        Series A, B Liq.         $0,016 Options          $0.03 Options           $0,066 Options          Options on             $0,094 Options          $0,170 Options           $0,206 Options
                                                            Liq. Preference            Preference                Exercise                Exercise                Exercise            Common Ex.                 Exercise                Exercise                 Exercise
        Inputs
           Stock Price Now             $ 1,051,000,000     $   1,051,000,000     $      1,051,000,000     $      1,051,000,000    $     1,051,000,000     $      1,051,000,000     $   1,051,000,000     $      1,051,000,000    $      1,051,000,000     $      1,051,000,000
           Volatility                            53.0%                 53.0%                    53.0%                    53.0%                  53.0%                    53.0%                 53.0%                    53.0%                   53.0%                    53.0%
           Riskfree Rate - Annual                1.12%                 1.12%                    1.12%                    1.12%                  1.12%                      1.12%               1.12%                    1.12%                   1.12%                    1.12%
           Exercise Price              $          0.00     $     927,616,749     $        944,564,756     $        952,571,797    $       964,046,642     $       990,243,401      $   1,008,693,868     $      1,037,176,354    $      1,099,877,367     $      1,158,684,823
           Time To Maturity - Years               4.00                  4.00                     4.00                      4.00                  4.00                     4.00                  4.00                     4.00                    4.00                     4.00


         Outputs
            d1                                   39.72                   0.69                     0.67                    0.67                     0.65                    0.63                  0.61                    0.58                     0.53                     0.48
            d2                                   38.66                  (0.37)                   (0.39)                  (0.39)                  (0.41)                   (0.43)                (0.45)                  (0.48)                   (0.53)                   (0.58)
            N(d1)                                 1.000                 0.755                    0.750                    0.747                  0.743                    0.735                 0.729                   0.721                    0.702                    0.684
            N(d2)                                 1.000                 0.356                     0.349                   0.346                  0.342                    0.333                 0.327                   0.317                    0.298                    0.281
            Call Price (Vc)            $ 1,051,000,000     $     477,913,125     $        472,200,133     $        469,536,516    $       465,758,297     $        457,301,157     $     451,481,656     $       442,712,541     $        424,280,684     $        408,011,420


            -d1                                  -39.720                -0.690                  -0.673                   -0.665                 -0.654                   -0.628                -0.611                   -0.585                  -0.529                   -0.480
            -d2                                  -38.660                 0.370                   0.387                    0.395                  0.406                    0.432                 0.449                    0.475                   0.531                    0.580
            N(-d1)                                 0.000                 0.245                   0.250                    0.253                  0.257                    0.265                 0.271                    0.279                   0.298                    0.316
            N(-d2)                                 0.000                 0.644                   0.651                    0.654                  0.658                    0.667                 0.673                    0.683                   0.702                    0.719
            Put Price (Pp)             $             -     $      313,889,779    $        324,382,279     $        329,374,905    $       336,568,803     $        353,160,708     $     364,983,335     $        383,448,851    $        424,970,994     $        464,932,755


                                      | $ 1,051,000,000 || $      477,913,125 || $        472,200,133 || $         469,536,516 || $       465,758,297 || $         457,301,157 || $      451,481,656 || $         442,712,541 || $        424,280,684 11 $         408,011,420 |
         Fair Market Value




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                                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 117 of 156

                    US v. Elizabeth Holmes                                                                                                                                                                                          ________________________ Exhibit P.2
                    Valuation of Theranos, Inc.                                                                                                                                                                                     NAV Equity Allocation 10/15/15 - Step 2
                    As of October 15, 2015                                                                                                                                                                                                                           (USD)

                                                                                                                                                                $0,072 Warrants /
                                                     Series C, C-1, C-2   Series A, B Liq.        $0,015 Options        $0.03 Options         $0,066 Options       Options on           $0,094 Options        $0,170 Options        $0,206 Options          All Classes
                                                                                                                                                                                                                                                            Participate
                     High call option                $   1,051,000,000    $   477,913,125     $      472,200,133    $      469,536,516    $      465,758,297    $    457.301,157    $      451,481,656    $      442,712,541    $      424,280,684     $      408,011,420
                     Less low call option                  477,913,125        472,200,133            469,536,516           465,758,297           457,301,157         451,481,656           442,712,541           424,280,684           408,011,420
                     Total Value to Allocate         $     573,086,875    $     5,712,992     $        2,663,616    $        3,778,219    $        8,457.140    $      5,819,502    $        8,769,115    $       18,431,857    $       16,269,264     $      408,011,420
                     Preferred Share Classes
                        Series A @ $0,150                                        6,948,007             46,320,045           46,320,045             46.320,045         46,320,045             46,320,045            46,320,045            46,320,045            46,320,045
                        Series B @ $0.1846                                      10,000,000             54,162,965           54,162,965             54,162,965         54,162,965             54,162,965            54,162,965            54,162,965            54,162,965
                        Series C @ $0,564                  33,217,403                                  58,896,105           58,896,105             58,896,105         58,896,105             58,896,105            58,896,105            58,896,105            58,896,105
                        Series C-1 @ $3.00                 65,841,003                                  21,947,001           21,947,001             21,947,001         21,947,001             21,947,001            21,947,001            21,947,001            21,947,001
                        Series C-1 @ $15.00                98,448,480                                   6,563,232            6,563,232              6,563,232          6,563,232              6,563,232             6,563,232             6,563,232             6,563,232
                        Series C-2 @ $17.00               730,109,863                                  42,947,639           42,947,639             42,947,639         42,947,639             42,947,639            42,947,639            42,947,639            42,947,639

                     Warrants on Common
                        Exercise Price @ $0,072                                                                                                                                                741,665               741,665                741,665               741,665

                     Common                                                                           302,965,725          302,965,725            302,965,725        302,965,725            302,965,725           302,965,725           302,965,725           302,965,725

                     Options on Common
                        Exercise Price @    $0,015                                                                             350,000                350,000            350,000                350,000               350,000               350,000               350,000
                        Exercise Price @    $0,030                                                                                                  1,170,875          1,170,875              1,170,875             1,170,875             1,170,875             1,170,875
                        Exercise Price @    $0,066                                                                                                                       547,500                547,500               547,500               547,500               547,500
                        Exercise Price @    $0,072                                                                                                                                            2,579,175             2,579,175             2,579,175             2,579,175
                        Exercise Price @    $0,094                                                                                                                                                                    312,500               312,500               312,500
                        Exercise Price @    $0,170                                                                                                                                                                                        3,972,457             3,972,457
                        Exercise Price @    $0,206                                                                                                                                                                                                                606,365
                                                          927,616,749           16,948,007            533,802,712          534,152,712            535,323,587        535,871,087            539,191,927           539,504,427           543,476,884           544 083 249
                     Distribution Percentage
                     Preferred Share Classes
                        Series A @ $0,150                         0.0%               41.0%                   8.7%                  8.7%                  8.7%                8.6%                  8.6%                  8.6%                   8.5%                  8.5%
                        Series B @ $0.1846                        0.0%               59.0%                  10.1%                 10.1%                 10.1%               10.1%                 10.0%                 10.0%                  10.0%                 10.0%
                        Series C @ $0,564                         3.6%                0.0%                  11.0%                 11.0%                 11.0%               11.0%                 10.9%                 10.9%                  10.8%                 10.8%
                         Series C-1 @ $3.00                       7.1%                0.0%                   4.1%                  4.1%                  4.1%                4.1%                  4.1%                  4.1%                   4.0%                  4.0%
                         Series C-1 @ $ 15.00                    10.6%                0.0%                   1.2%                  1.2%                  1.2%                1.2%                  1.2%                  1.2%                   1.2%                  1.2%
                         Series C-2 @ $17.00                     78.7%                0.0%                   8.0%                  8.0%                  8.0%                8.0%                  8.0%                  8.0%                   7.9%                  7.9%

                     Warrants on Common
                        Exercise Price @ $0,072                   0.0%                 0.0%                  0.0%                  0.0%                  0.0%                0.0%                  0.1%                  0.1%                   0.1%                  0.1%

                     Common                                       0.0%                 0.0%                 56.8%                56.7%                  56.6%              56.5%                  56.2%                 56.2%                  55.7%                 55.7%

                     Options on Common
                         Exercise Price @   $0,015                0.0%                0.0%                   0.0%                 0.1%                   0.1%                0.1%                  0.1%                  0.1%                   0.1%                  0.1%
                         Exercise Price @   $0,030                0.0%                0.0%                   0.0%                 0.0%                   0.2%                0.2%                  0.2%                  0.2%                   0.2%                  0.2%
                         Exercise Price @   $0,066                0.0%                0.0%                   0.0%                 0.0%                   0.0%                0.1%                  0.1%                  0.1%                   0.1%                  0.1%
                         Exercise Price @   $0,072                0.0%                0.0%                   0.0%                 0.0%                   0.0%                0.0%                  0.5%                  0.5%                   0.5%                  0.5%
                         Exercise Price @   $0,094                0.0%                0.0%                   0.0%                 0.0%                   0.0%                0.0%                  0.0%                  0.1%                   0.1%                  0.1%
                         Exercise Price @   $0,170                0.0%                0.0%                   0.0%                 0.0%                   0.0%                0.0%                  0.0%                  0.0%                   0.7%                  0.7%
                         Exercise Price @   $0,206                0.0%                0.0%                   0.0%                 0.0%                   0.0%                0.0%                  0.0%                  0.0%                   0.0%                  0.1%
                                                                100.0%              100.0%                 100.0%               100.0%                 100.0%              100.0%                100.0%                100.0%                 100.0%                100.0%
                     Allocation of Value
                     Preferred Share Classes
                         Series A @ $0,150           $                    $      2,342,099    $           231,132   $          327,635    $           731,773   $        503,031    $           753,323   $         1,582,498   $         1,386,615    $       34,735,690
                         Series B @ $0.1846                                      3,370,893                270,267              383,111                855,676            588,204                880,876             1,850,446             1,621,397            40,617,145
                         Series C @ $0,564                  20,521,900                                    293,885              416,589                930,451            639,605                957,853             2,012,151             1,763,086            44,166,556
                         Series C-1 @ $3.00                 40,676,944                                    109,513              155,238                346,723            238,342                356,934               749,807               656,995            16,458,193
                         Series C-1 @ $15.00                60,822,028                                     32,750               46,424                103,687             71,276                106,741               224,229               196,474             4,921,809
                         Series C-2 @ $17.00               451,066,003                                    214,304              303,781                678,495            466,407                698,476             1,467,281             1,285,660            32,206,702

                     Warrants on Common
                        Exercise Price @ $0,072                                                                                                                                                  12,062                25,339                22,202               556,179

                     Common                                                                             1,511,765             2,142,965             4,786,308           3,290,175             4,927,264            10,350,649             9,069,437           227,195,886

                     Options on Common
                         Exercise Price @   $0.015                                                                                2,476                 5,529               3,801                 5,692                11,958                10,477               262,467
                         Exercise Price @   $0,030                                                                                                     18,498              12,716                19,042                40,002                35,051               878,046
                         Exercise Price @   $0,066                                                                                                                          5,946                 8,904                18,705                16,390               410,574
                         Exercise Price @   $0,072                                                                                                                                               41,946                88,116                77,209             1,934,139
                         Exercise Price @   $0,094                                                                                                                                                                     10,676                 9,355               234,346
                         Exercise Price @   $0,170                                                                                                                                                                                          118,918             2,978,970
                         Exercise Price @   $0,206                                                                                                                                                                                                                454,717
                                                     $     573,086,875    $      5,712,992    $         2,663,616   $         3,778,219   $         8,457,140   $       5,819,502   $         8,769,115   $        18,431,857   $        16,269,264     $     408,011,420




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                                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 118 of 156



US v. Elizabeth Holmes                                                                                                                                                                                                                                     Exhibit Q.1
Valuation of Theranos, Inc.                                                                                                                                                                                                     DCF Equity Allocation 10/15/15 - Step 1
As of October 15, 2015                                                                                                                                                                                                                                           (USD)


 Break Point Calculation                                                                                   $0,016                 $0,030                   $0,066               $0,072                   $0,094                   $0,170         |           $0,206         I
                                                                                                                                                                           $0,072 Warrants /
                                    Number of       Series C, C-1, C-2    Series A, B Liq.             $0,016 Options          $0.03 Options           $0,066 Options         Options on             $0,094 Options           $0,170 Options             $0,206 Options
          Share Class                Shares          Liq. Preference        Preference                    Exercise                Exercise                Exercise           Common Ex.                 Exercise                 Exercise                   Exercise
 Preferred Share Classes
    Series A @ $0,150                46,320,045     $                     $         6,948,007      $         7,642,807     $        9,032,409      $        12,089,532     $     15,424,575      $        19,778,659      $        27,653,067        $        37,194,996
    Series B @ $0.1846               54,162,965                    -               10,000,000               10,812,444             12,437,333               16,012,089           19,911,822               25,003,141               34,210,845                 45,368,416
    Series C @ $0,564                58,896,105            33,217,403              33,217,403               34,100,845             35,867,728               39,754,871           43,995,390               49,531,624               59,543,962                 71,676,560
    Series C-1 @ $3.00               21,947,001            65,841,003              65,841,003               66,170,208             66,828,618               68,277,120           69,857,304               71,920,322               75,651,312                 80,172,395
    Series C-1 @ $15.00               6,563,232            98,448,480              98,448,480               98,546,928             98,743,825               99,176,999           99,649,551              100,266,495              101,382,245                102,734,270
    Series C-2 @ $17.00              42,947,639           730,109,863             730,109,863              730,754,078            732,042,507              734,877,051          737,969,281              742,006,359              749,307,458                758,154,671


 Warrants on Common
   Exercise Price @ $0,072              741,665                    -                                                -                       -                       -                    -                     16,317                   72,683                     99,383


 Common                              302,965,725                   -                       -                 4,544,486               9,088,972              19,995,738           21,813,532               28,478,778               51,504,173                 62,410,939


 Options on Common
   Exercise Price @ $0,015               350,000                   -                       -                        -                      5,250                17,850                19,950                   27,650                   54,250                    66,850
   Exercise Price @ $0,030             1,170,875                   -                       -                                                                    42,152                49,177                   74,936                  163,923                   206,074
   Exercise Price @ $0,066               547,500                                           -                        -                        -                      -                  3,285                   15,330                   56,940                    76,650
   Exercise Price @ $0,072             2,579,175                                           -                        -                        -                      -                    -                     56,742                  252,759                   345,609
   Exercise Price @ $0,094               312,500                   -                       -                                                 -                      -                     -                        -                    23,750                    35,000
    Exercise Price @ $0,170            3,972,457                   -                                                                                                                                               -                        -                    143,008
    Exercise Price @ $0,206              606,365                                            -                       -                        -                      -                    -                         -                        -                         -


                                     544,083,249          927,616,749             944,564,756              952,571,797             964,046,642             990,243,401         1,008,693,868            1,037,176,354            1,099,877,367              1,158,684,823

                                                                                                                                                                           $0,072 Warrants 1
                                                    Series C, C-1, C-2        Series A, B Liq.         $0,016 Options          $0.03 Options           $0,066 Options         Options on             $0,094 Options           $0,170 Options             $0,206 Options
                                                     Liq. Preference            Preference                Exercise                Exercise                Exercise           Common Ex.                 Exercise                 Exercise                   Exercise
 Inputs
    Stock Price Now             $ 1,184,000,000     $    1,184,000,000    $      1,184,000,000     $      1,184,000,000    $     1,184,000,000     $      1,184,000,000    $   1,184,000,000     $      1,184,000,000     $      1,184,000,000       $      1,184,000,000
    Volatility                            53.0%                  53.0%                   53.0%                    53.0%                  53.0%                    53.0%                53.0%                    53.0%                    53.0%                      53.0%
    Riskfree Rate - Annual                1.12%                  1.12%                   1.12%                    1.12%                  1.12%                    1.12%                1.12%                    1.12%                    1.12%                      1.12%
    Exercise Price              $          0.00     $      927,616,749    $        944,564,756     $        952,571,797    $       964,046,642     $        990,243,401    $   1,008,693,868     $      1,037,176,354     $      1,099,877,367       $      1,158,684,823
    Time To Maturity - Years               4.00                   4.00                    4.00                     4.00                   4.00                      4.00                4.00                     4.00                     4.00                       4.00


 Outputs
   d1                                     39.83                   0.80                     0.79                    0.78                    0.77                     0.74                 0.72                     0.70                     0.64                       0.59
   d2                                     38.77                  (0.26)                   (0.27)                  (0.28)                  (0.29)                  (0.32)                (0.34)                   (0.36)                   (0.42)                     (0-47)
   N(d1)                                   1.000                 0.789                    0.784                    0.782                  0.778                    0.771                0.765                    0.757                    0.739                      0.723
   N(d2)                                   1.000                 0.398                    0.392                    0.389                  0.384                    0.375                0.368                    0.358                    0.338                      0.320
   Call Price (Vc)              $ 1,184,000,000     $     580,651,525     $        574,248,897     $        571,260,795    $       567,019,077     $        557,510,633    $     550,956,552     $        541,063,210     $        520,199,568       $        501,705,043


     -d1                                  -39.832               -0.802                   -0.785                   -0.777                 -0.766                   -0.741               -0.723                   -0.697                   -0.642                     -0.593
     -d2                                  -38.772                0.258                    0.275                    0.283                  0.294                    0.319                0.337                    0.363                    0.418                      0.467
     N(-d1)                                 0.000                0.211                    0.216                    0.218                  0.222                    0.229                0.235                    0.243                    0.261                      0.277
     N(-d2)                                 0.000                0.602                    0.608                    0.611                  0.616                    0.625                0.632                    0.642                    0.662                      0.680
     Put Price (Pp)             $                   $     283,628,179     $        293,431,043     $        298,099,184    $       304,829,583     $        320,370,184    $     331,458,231     $        348,799,520     $        387,889,878       $        425,626,378


  Fair Market Value            | $ 1,184,000,000 | | $     580,651,525 | | $       574,248,897 | ]$         571,260,795 || $       567,019,077 || $         557,510,633 || $     550,956,552 11 $         541,063,210 || $         520,199,568 11 $           501,705,043




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                                           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 119 of 156

                US v. Elizabeth Holmes                                                                                                                                                                                    _______________________ Exhibit Q.2
                Valuation ofTheranos, Inc.                                                                                                                                                                                DCF Equity Allocation 10/15/15 - Step 2
                As of October 15, 2015                                                                                                                                                                                                         _________ (USD)

                                                                                                                                                      $0,072 Warrants /
                                                 Series C, C-1, C-2    Series A, B Liq.     $0,015 Options      $0.03 Options       $0,066 Options       Options on           $0,094 Options        $0,170 Options      $0,206 Options            All Classes
                                                   Liq. Preference       Preference            Exercise            Exercise            Exercise         Common Ex.               Exercise              Exercise            Exercise               Participate
                 High call option                $ 1,184,000,000      $    580,651,525    $     574,248,897   $     571,260,795   $     567,019,077   $    557,510,633    $      550,956,552    $      541,063,210    $     520,199,568      $      501,705,043
                 Less low call option                   580,651,525         574,248,897         571,260,795         567,019,077         557,510,633        550,956,552           541,063,210           520,199,568          501,705,043
                 Total Value to Allocate         $      603,348,475   $       6,402,628   $       2,988,102   $       4,241,718   $       9,508,444   $      6,554,081    $        9,893,342    $       20,863,642    $      18,494,525      $      501,705,043
                 Preferred Share Classes
                    Series A @ $0,150                                        6,948,007          46,320,045          46,320,045          46,320,045          46,320,045             46,320,045            46,320,045            46,320,045            46,320,045
                     Series B @ $0.1846                                     10,000,000          54,162,965          54,162,965          54,162,965          54,162,965             54,162,965            54,162,965            54,162,965            54,162,965
                     Series C @ $0,564                  33,217,403                              58,896,105          58,896,105          58,896,105          58,896,105             58,896,105            58,896,105            58,896,105            58,896,105
                     Series C-1 @ $3.00                 65,841,003                              21,947,001          21,947,001          21,947,001          21,947,001             21,947,001            21,947,001            21,947,001            21,947,001
                     Series C-1 @ $15.00                98,448,480                               6,563,232           6,563,232           6,563,232           6,563,232              6,563,232             6,563,232             6,563,232             6,563,232
                     Series C-2 @ $17.00              730,109,863                               42,947,639          42,947,639          42,947,639          42,947,639             42,947,639            42,947,639            42,947,639            42,947,639

                 Warrants on Common
                    Exercise Price @ $0,072                                                                                                                                          741,665                741,665               741,665               741,665

                 Common                                                                        302,965,725         302,965,725         302,965,725         302,965,725            302,965,725           302,965,725           302,965,725           302,965,725

                 Options on Common
                    Exercise Price @    $0,015                                                                         350,000              350,000             350,000               350,000               350,000               350,000               350,000
                    Exercise Price @    $0,030                                                                                            1,170,875           1,170,875             1,170,875             1,170,875             1,170,875             1,170,875
                    Exercise Price @    $0,066                                                                                                                  547,500               547,500               547,500               547,500               547,500
                    Exercise Price @    $0,072                                                                                                                                      2,579,175             2,579,175             2,579,175             2,579,175
                    Exercise Price @    $0,094                                                                                                                                                              312,500               312,500               312,500
                    Exercise Price @    $0,170                                                                                                                                                                                  3,972,457             3,972,457
                     Exercise Price @   $0,206                                                                                                                                                                                                          606,365
                                                       927,616,749           16,948,007        533,802,712         534,152,712         535,323,587         535,871,087            539,191,927           539,504,427           543,476,884           544,083,249
                 Distribution Percentage
                 Preferred Share Classes
                    Series A @ $0,150                         0.0%                41.0%                8.7%                8.7%                8.7%                8.6%                  8.6%                  8.6%                   8.5%                  8.5%
                    Series B @ $0.1846                        0.0%                59.0%               10.1%               10.1%               10.1%               10.1%                 10.0%                 10.0%                  10.0%                 10.0%
                    Series C @ $0,564                         3.6%                 0.0%               11.0%               11.0%               11.0%               11.0%                 10.9%                 10.9%                  10.8%                 10.8%
                     Series C-1 @ $3.00                       7.1%                 0.0%                4.1%                4.1%                4.1%                4.1%                  4.1%                  4.1%                   4.0%                  4.0%
                     Series C-1 @ $15.00                     10.6%                 0.0%                1.2%                1.2%                1.2%                1.2%                  1.2%                  1.2%                   1.2%                  1.2%
                     Series C-2 @ $17.00                     78.7%                 0.0%                8.0%                8.0%                8.0%                8.0%                  8.0%                  8.0%                   7.9%                  7.9%

                 Warrants on Common
                    Exercise Price @ $0,072                    0.0%                0.0%                0.0%                0.0%                0.0%                0.0%                  0.1%                  0.1%                   0.1%                  0.1%

                 Common                                        0.0%                0.0%               56.8%               56.7%               56.6%               56.5%                 56.2%                 56.2%                  55.7%                 55.7%

                 Options on Common
                     Exercise Price @   $0,015                0.0%                 0.0%                0.0%                0.1%                0.1%                0.1%                  0.1%                  0.1%                   0.1%                  0.1%
                     Exercise Price @   $0,030                0.0%                 0.0%                0.0%                0.0%                0.2%                0.2%                  0.2%                  0.2%                   0.2%                  0.2%
                     Exercise Price @   $0,066                0.0%                 0.0%                0.0%                0.0%                0.0%                0.1%                  0.1%                  0.1%                   0.1%                  0.1%
                     Exercise Price @   $0,072                0.0%                 0.0%                0.0%                0.0%                0.0%                0.0%                  0.5%                  0.5%                   0.5%                  0.5%
                     Exercise Price @   $0,094                0.0%                 0.0%                0.0%                0.0%                0.0%                0.0%                  0.0%                  0.1%                   0.1%                  0.1%
                     Exercise Price @   $0,170                0.0%                 0.0%                0.0%                0.0%                0.0%                0.0%                  0.0%                  0.0%                   0.7%                  0.7%
                     Exercise Price @   $0,206                0.0%                 0.0%                0.0%                0.0%                0.0%                0.0%                  0.0%                  0.0%                   0.0%                  0.1%
                                                            100.0%               100.0%              100.0%              100.0%              100.0%              100.0%                100.0%                100.0%                 100.0%                100.0%
                 Allocation of Value
                 Preferred Share Classes
                     Series A @ $0,150           $                    $       2,624,822   $        259,289    $         367,828   $         822,739   $        566,527    $           849,902   $         1,791,282   $         1,576,272     $       42,712,214
                     Series B @ $0.1846                                       3,777,806            303,191              430,109             962,045            662,451                993,807             2,094,583             1,843,166             49,944,255
                     Series C @ $0,564                  21,605,549                                 329,686              467,695           1,046,116            720,341              1,080,653             2,277,622             2,004,235             54,308,735
                     Series C-1 @ $3.00                 42,824,872                                 122,854              174,282             389,824            268,427                402,694               848,731               746,857             20,237,567
                     Series C-1 @ $15.00                64,033,708                                  36,739               52,119             116,576             80,273                120,425               253,812               223,347              6,052,027
                     Series C-2 @ $17.00               474,884,345                                 240,411              341,048             762,838            525,280                788,023             1,660,865             1,461,509             39,602,482

                 Warrants on Common
                    Exercise Price @ $0,072                                                                                                                                            13,608                28,682                 25,239               683,897

                 Common                                                                           1,695,931           2,405,857           5,381,292           3,705,484             5,558,955            11,716,249             10,309,927           279,367,969

                 Options on Common
                    Exercise Price @    $0,015                                                                            2,779               6,217               4,281                 6,422                13,535                 11,911               322,739
                    Exercise Price @    $0,030                                                                                               20,797              14,321                21,484                45,280                 39,845             1,079,676
                    Exercise Price @    $0,066                                                                                                                    6,696                10,046                21,173                 18,631               504,856
                    Exercise Price @    $0,072                                                                                                                                         47,324                99,742                 87,769             2,378,285
                    Exercise Price @    $0,094                                                                                                                                                               12,085                 10,634               288,160
                     Exercise Price @   $0,170                                                                                                                                                                                     135,183             3,663,046
                     Exercise Price @   $0,206                                                                                                                                                                                                           559,136
                                                  $    603,348,475    $       6,402,628   $       2,988,102   $       4,241,718   $       9,508,444   $       6,554,081   $         9,893,342   $        20,863,642   $         18,494,525    $      501,705,043




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                                          Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 120 of 156

      US v. Elizabeth Holmes                                                                                                                                                                              Exhibit R.1
      Business Valuation                                                                                                                                                                    Volatility Analysis 2/7/14
      As of February 7, 2014                                                                                                                                                                    (thousands of USD)



                                                                                  LTM              Market             Revenue Growth              Enterprise                        Equity              Asset
       Guideline Companies                                   Ticker             Rev. Size       Capitalization       1 Year     3 Year              Value            Debt         Volatility [1]       Volatility
         Quest Diagnostics Incorporated                       DGX           $     7,146,000    $     7,315,200          -3.2%        -0.5%    $    10,681,200   $ 3,366,000                21.1%               15.0%
         Enzo Biochem, Inc.                                  ENZ                     92,929            138,102          -7.3%        -1.8%            142,094            3,992             52.1%               50.7%
         Exact Sciences Corporation                          EXAS                     4,144            865,903           0.0%        -8.1%            867,614            1,711             46.9%               46.8%
         Illumina, Inc.                                      ILMN                 1,421,178         19,831,532         23.7%         16.3%         20,700,125        868,593               43.6%               41.9%
         Standard BioTools Inc.                               LAB                    71,183          1,104,200         36.0%        28.5%           1,104,200            -                 38.7%               38.7%
         Laboratory Corporation of America Holdings            LH                 5,808,300          7,791,710          2.4%         5.1%          10,792,110       3,000,400              18.2%               13.3%
         Myriad Genetics, Inc.                               MYGN                   737,115           2,351,966        35.2%        25.0%           2,351,966             -                40.0%               40.0%
         OraSure Technologies, Inc.                          OSUR                    98,940            337,504         12.7%          9.7%            337,504               -              50.0%               50.0%
         PerkinElmer, Inc.                                    PKI                 2,157,586          4,920,548          2.5%          8.2%          5,855,276        934,728               27.0%               22.9%
         QuidelOrtho Corporation                             QDEL                   177,325             964,525        13.9%         16.1%            970,092            5,567             31.5%               31.3%
         Qiagen N.V.                                         QGEN                 1,301,984           5,280,047         3.8%          6.2%          6,130,249        850,202               25.0%               21.6%
         Trinity Biotech plc                                 TRIB                    91,216            545,805         10.6%          0.6%            545,805            -                 27.8%               27.8%
         Alere Inc.                                       IQT2622336              2,608,636           2,819,163          8.9%         6.6%          6,660,267       3,841,104              37.0%               21.5%
         Luminex Corporation                              IQT2627430                213,423            734,789           5.4%        14.7%            736,446             1,657            34.5%               34.4%
         Abaxis, Inc.                                     IQT2586525                179,781             824,250          0.6%         8.7%            824,956               706            35.6%               35.6%
         CombiMatrix Corporation                         IQT36309071                  6,367              25,342        19.0%         21.5%             25,575               233           101.9%              101.1%
         Affymetrix Inc.                                  IQT2587418                330,399             518,522        11.8%          2.1%            662,983        144,461               56.4%               46.8%
         Genomic Health, Inc.                            IQT24111615                261,595             815,172         11.2%        13.7%            815,172             -                39.3%               39.3%
         Cepheid                                          IQT2599314                401,292           3,328,663        21.2%         23.6%          3,328,663               -              42.2%               42.2%
         Nanosphere, Inc.                                 IQT38720096                10,002             169,146        97.0%         70.3%            180,961          11,815              73.8%               69.8%
         GenMark Diagnostics, Inc.                       IQT106626443                27,404             513,559        33.9%        120.3%            513,596              37              49.7%               49.7%
         Bio-Reference Laboratories, Inc.                 IQT2594421                735,368             723,947         15.5%        15.2%            776,577          52,630              40.1%               37.5%



                                                                                                                                             Upper Quartile                                                    46.8%
                                                                                                                                             Lower Quartile                                                    28.7%
                                                                                                                                             Average                                                           39.9%
                                                                                                                                             Median                                                            39.0%

                                                                                                                                             Selected Asset Volatility                                         50.0% |
       Relevered for Subject Company Capital Structure

       Theranos, Inc.                                                                           $       404,500        NA           NA        $       446,886   $      42,386              55.0%50.2%

                                                                                                                                             Selected Equity Volatility                     55.0%|

       Notes:
       [1] Source: Capital IQ.
       [2] Note: Ticker symbols beginning with IQT represent companies that have been acquired since the valuation date and necessary to access the historical data using CapitallQ.




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                                    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 121 of 156

 US v. Elizabeth Holmes                                                                                                                                                              _____________ Exhibit R.2
 Business Valuation                                                                                                                                                                  Volatility Analysis 12/31/14
 AsofDecember31, 2014                                                                                                                                                                ______ (thousands of USD)



                                                                            LTM               Market           Revenue Growth              Enterprise                             Equity             Asset
 Guideline Companies                                  Ticker              Rev. Size       Capitalization      1 Year       3 Year            Value            Debt             Volatility [1]      Volatility
   Quest Diagnostics Incorporated                      DGX            $     7,435,000     $    9,692,466         4.0%          0.2%   $     13,462,466   $ 3,770,000                    20.8%             15.6%
   Enzo Biochem, Inc.                                  ENZ                     96,637            218,928         4.8%         -1.8%            222,966            4,038                 52.1%             51.3%
   Exact Sciences Corporation                          EXAS                       1,798        2,430,718       -56.6%        -24.4%          2,434,478            3,760                 45.0%             44.9%
   Illumina, Inc.                                      ILMN                 1,861,358         26,210,360        31.0%        20.8%          27,501,396       1,291,036                  44.1%             42.1%
   Standard BioTools Inc.                               LAB                   116,456            953,006        63.6%        39.5%           1,148,461        195,455                   43.8%             37.1%
   Laboratory Corporation of America Holdings           LH                  6,011,600          9,117,550         3.5%          2.7%         12,147,350       3,029,800                  18.7%             14.3%
   Myriad Genetics, Inc.                              MYGN                    724,873          2,485,880         -1.7%       17.8%           2,485,880               -                  40.5%             40.5%
   OraSure Technologies, Inc.                         OSUR                    106,464            568,416         7.6%          9.1%            568,416               -                  50.3%             50.3%
   PerkinElmer, Inc.                                    PKI                 2,069,880          4,939,852         -4.1%         2.6%          5,986,320       1,046,468                  25.1%             21.0%
   QuidelOrtho Corporation                             QDEL                   184,158            995,160         3.9%          5.1%          1,138,244        143,084                   31.9%             28.1%
   Qiagen N.V.                                        QGEN                  1,344,777          5,425,828         3.3%          4.8%          6,599,032       1,173,204                  23.8%              19.8%
   Trinity Biotech plc                                 TRIB                   104,872            392,493        15.0%         10.4%            392,493               -                  25.5%             25.5%
   Alere Inc.                                       IQT2622336              2,577,001          3,175,128         -1.2%         2.6%          6,901,222       3,726,094                  35.8%             21.3%
   Luminex Corporation                              IQT2627430                226,983            803,551         6.4%          7.2%            803,551               -                  35.2%             35.2%
   Abaxis, Inc.                                     IQT2586525                182,777          1,280,721          1.7%         6.5%          1,281,326               605                34.5%             34.6%
   CombiMatrix Corporation                         IQT36309071                    8,042           14,271        26.3%        20.0%              14,676               405               100.5%             98.5%
   Affymetrix Inc.                                  IQT2587418                349,019            726,274          5.6%         9.3%            854,224        127,950                   50.6%             43.9%
   Genomic Health, Inc.                            IQT24111615                275,706          1,014,152          5.4%        10.2%          1,014,152               -                  36.7%             36.7%
   Cepheid                                          IQT2599314                470,141          3,815,841        17.2%         19.2%          4,094,054        278,213                   39.2%             36.6%
   Nanosphere, Inc.                                IQT38720096                 14,290             45,675        42.9%        78.0%              55,391             9,716                82.1%             73.6%
   GenMark Diagnostics, Inc.                      IQT106626443                 30,594            568,004        11.6%        82.8%             568,004               -                  46.7%             46.7%
   Bio-Reference Laboratories, Inc.                 IQT2594421                832,282            890,901        16.3%         16.8%            946,330         55,429                   39.7%             37.5%



                                                                                                                                      Upper Quartile                                                      44.7%
                                                                                                                                      Lower Quartile                                                      26.2%
                                                                                                                                      Average                                                             38.9%
                                                                                                                                      Median                                                              36.9%

                                                                                                                                      Selected Asset Volatility
 Relevered for Subject Company Capital Structure

 US v. Elizabeth Holmes                                               $               -   $      889,000        NA           NA        $       929,805   $     40,805                   52.6%              50.4%

                                                                                                                                      Selected Equity Volatility           |            53.0% |

 Notes:
 [1] Source: Capital IQ.
 [2] Note: Ticker symbols beginning with IQT represent companies that have been acquired since the valuation date and necessary to access the historical data using CapitallQ.




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                                           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 122 of 156

        US v. Elizabeth Holmes                                                                                                                                                                                  Exhibit R.3
        Business Valuation                                                                                                                                                                     Volatility Analysis 10/15/15
        As of October 15, 2015                                                                                                                                                                         (thousands of USD)



                                                                                    LTM               Market           Revenue Growth              Enterprise                              Equity                Asset
        Guideline Companies                                   Ticker              Rev. Size       Capitalization      1 Year       3 Year            Value             Debt             Volatility [1]         Volatility
          Quest Diagnostics Incorporated                       DGX           $      7,527,000     $    9,197,441         3.0%          0.7%    $    12,928,441    $ 3,731,000                    20.7%                15.3%
          Enzo Biochem, Inc.                                   ENZ                     97,599            181,945         1.7%         -1.8%            185,531            3,586                  51.2%                50.2%
          Exact Sciences Corporation                          EXAS                     26,521            713,931      1894.1%        85.6%             720,087            6,156                  57.5%                57.0%
          Illumina, Inc.                                      ILMN                  2,140,593         21,971,248        23.3%        25.3%          23,081,349        1,110,101                  37.8%                36.0%
          Standard BioTools Inc.                               LAB                    117,480            266,171        13.1%         33.2%            461,797         195,626                   53.0%                38.3%
          Laboratory Corporation of America Holdings            LH                  7,773,600         11,664,918        31.0%         11.3%         18,346,118        6,681,200                  18.3%                12.0%
          Myriad Genetics, Inc.                               MYGN                    737,800          2,711,591         -0.9%        12.4%          2,711,591                -                  40.2%                40.2%
          OraSure Technologies, Inc.                          OSUR                    116,018            267,159         8.9%          9.1%            267,159                -                  46.9%                46.9%
          PerkinElmer, Inc.                                    PKI                  2,262,633          5,470,749          1.9%         2.8%          6,499,125        1,028,376                  22.9%                19.5%
          QuidelOrtho Corporation                             QDEL                    205,670            620,241        22.0%         13.6%            766,938         146,697                   32.3%                26.4%
          Qiagen N.V.                                         QGEN                  1,292,856          5,912,561         -3.9%         1.3%          6,971,467        1,058,906                  22.3%                19.0%
          Trinity Biotech plc                                  TRIB                   101,392            271,362         -1.5%         7.5%            370,431           99,069                  27.3%                20.4%
          Alere Inc.                                       IQT2622336               2,483,662          3,975,232         -4.0%        -2.9%          7,576,757        3,601,525                  32.8%                19.9%
          Luminex Corporation                              IQT2627430                 235,365            789,484          5.1%         6.5%            789,484                -                  33.0%                33.0%
          Abaxis, Inc.                                     IQT2586525                 217,133          1,017,036        29.6%          9.2%          1,017,566                530                31.8%                31.9%
          CombiMatrix Corporation                         IQT36309071                     9,621           13,695        27.0%         23.4%             14,039                344               100.5%                98.6%
          Affymetrix Inc.                                  IQT2587418                 357,744            714,389          2.8%         9.0%            839,339         124,950                   45.1%                38.9%
          Genomic Health, Inc.                            IQT24111615                 281,451            715,559          2.2%         7.3%            715,559                -                  35.8%                35.8%
          Cepheid                                          IQT2599314                 523,099          2,388,029        15.8%         17.9%          2,673,435         285,406                   36.7%                32.9%
          Nanosphere, Inc.                                IQT38720096                  18,871             16,632        44.5%         63.3%             32,106           15,474                  81.6%                66.3%
          GenMark Diagnostics, Inc.                       IQT106626443                 36,051            353,067        34.0%         40.3%            362,861             9,794                 46.6%                45.4%
          Bio-Reference Laboratories, Inc.                 IQT2594421                 882,467                  -        16.1%         14.4%             69,849           69,849                  41.4%                20.5%



                                                                                                                                              Upper Quartile                                                          44.1%
                                                                                                                                              Lower Quartile                                                          20.4%
                                                                                                                                              Average                                                                 36.6%
                                                                                                                                              Median                                                                  34.4%

                                                                                                                                              Selected Asset Volatility                                    |           50.0% |
        Relevered for Subject Company Capital Structure

        US v. Elizabeth Holmes                                                $               -   $    1,117,500        NA           NA        $      1,158,305   $      40,805                  52.3%                50.5%

                                                                                                                                              Selected Equity Volatility            |            53.0% |

        Notes:
        [1] Source: Capital IQ.
        [2] Note: Ticker symbols beginning with IQT represent companies that have been acquired since the valuation date and necessary to access the historical data using CapitallQ.




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                                  Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 123 of 156


US v. Elizabeth Holmes                                                                                                                    Appendix Exhibit A
Valuation of Theranos, Inc.                                                                                                     Summary of Investor Values
Feb 2014 - Feb 2015                                                                                                                   (thousands of USD)


                                                                                                                       Implied Annual        Implied MVIC /
                                                                                                                       Internal Rate of       EBITDA Exit
Method                                                                            Reference              Value              Return              Multiple

  Investor Financing - Backsolve Method as of 2/7/14                          Appendix Exhibit C.2   $     1,510,000        N/A
  PFM Forecast - Income Approach with Market Exit as of 2/7/14                Appendix Exhibit E.3         1,490,000        76%                       11.60x
  PFM Model - Income Approach as of 2/7/14                                    Appendix Exhibit E.5         1,500,000        36%

  Investor Financing - Backsolve Method as of 12/31/14                        Appendix Exhibit D.2   $     2,250,000        N/A
  Mosley and RDV Forecast - Income Approach with Market Exit as of 12/31/14   Appendix Exhibit F.3         2,250,000        54%                       13.90x

  Investor Financing - Backsolve Method as of 2/13/15                                 [1]            $     2,375,000        N/A
  Murdoch Forecast - Income Approach with Market Exit as of 2/13/15           Appendix Exhibit G.3         2,370,000        82%                       12.10x




Notes:
[1] 12/31/14 Backsolve Value + $125 million additional C-2 proceeds.




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                                             Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 124 of 156


               US v. Elizabeth Holmes                                                                                                                         ________ Appendix Exhibit B.1
               Valuation of Theranos, Inc.                                                                                                                    Summary of Revenue Forecasts
               Feb 2014 - Feb 2015                                                                                                                            __________ (thousands of USD)


                                                                                   11 Mo. Ended    ____________________For the Twelve Month Period Ending December 31,______________
                                                                                     12/31/2014__________ 2015_____________ 2016_____________ 2017_____________ 2018_____________2019
               Management Forecasts Provided to PFM - Feb 2014 Investment
                      Lab Services from US Retail Pharmacies                   $         109,000    $      750,000
                      Lab Services Revenue from Physicians Offices (courier)              72,000           342,000
                      Lab Services Revenue from Hospitals (courier)                       50,000           225,000
                      OnSite Services Revenue from Hospitals                                               240,000
                      Pharmaceuticals Services                                            30,000           120,000
               Total Revenue                                                   $         261,000    $    1,677,000               N/A               N/A               N/A                N/A

               PFM Financial Model (Base Case) - Feb 2014 Investment
                      Retail Revenue                                           $         198,986    $    1,063,582   $     2,172,705    $    2,871,036   $     2,914,101   $     2,960,241
                      Physicians Office Revenue                                           32,571           222,965           346,500           388,080           429,660           469,455
                      Hospital (Courrier) Revenue                                         43,313           134,009           167,511           192,638           215,754           238,408
                      Hospital (OnSite) Revenue                                               -            122,400           360,000           432,000           504,000           576,520
                      Pharmaceutical Services Revenue                                     30,000           120,000           170,000           220,000           270,000           323,386
               Total Revenue                                                   $         304,869    $    1,662,956   $     3,216,716    $    4,103,754   $     4,333,516   $     4,568,011

               Management Forecasts Provided to Daniel Mosley - Oct 2014
                      Lab Services from US Retail Pharmacies                   $          42,000    $      470,000
                      Lab Services Revenue from Physicians Offices                        11,000           161,000
                      Lab Services Revenue from Hospitals                                 47,000           290,000
                      OnSite Services Revenue from Hospitals                                  -             11,000
                      Pharmaceuticals Services                                            40,000            62,000
               Total Revenue                                                   $         140,000    $      994,000               N/A               N/A               N/A                N/A

               Management Forecasts Provided to RDV Corporation - Oct 2014
                      Lab Services from US Retail Pharmacies                   $          42,000    $      470,000
                      Lab Services Revenue from Physicians Offices                        11,000           160,000
                      Lab Services Revenue from Hospitals                                 47,000           290,000
                      OnSite Services Revenue from Hospitals                                  -             10,000
                      Pharmaceuticals Services                                            40,000            60,000
               Total Revenue                                                   $         140,000    $      990,000               N/A               N/A               N/A                N/A

               Management Forecasts Provided to Rupert Murdoch - Feb 2015
                      Lab Services from US Retail Pharmacies                                        $      425,376   $        993,720
                      Lab Services Revenue from Physicians Offices                                         193,920            380,160
                      Lab Services Revenue from Hospitals                                                  301,500            489,600
                      OnSite Services Revenue from Hospitals                                                15,000             20,160
                      Pharmaceuticals Services                                                              58,500             93,600
               Total Revenue                                                                 N/A    $      994,296   $      1,977,240              N/A               N/A                N/A



               Management Forecasts Provided to Aranca - 9/30/13 Valuation
               Total Revenue                                                               89,702   $      112,202   $       131,702    $      143,402               N/A                N/A


               Management Forecasts Provided to Aranca -12/15/14 Valuation
               Total Revenue                                                   $             150    $      113,452   $       223,452    $      323,452    $      503,452                N/A


               Management Forecasts Provided to Aranca - 3/25/15 Valuation
               Total Revenue                                                                 N/A    $      113,452   $       223,452    $      323,452    $      503,452                N/A




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                                        Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 125 of 156


                     US v. Elizabeth Holmes                                                                                                                         __________ Appendix Exhibit B.2
                     Valuation ofTheranos, Inc.                                                                                                                     Summary of Gross Profit Forecasts
                     Feb 2014-Feb 2015                                                                                                                              _____________ (thousands of USD)



                                                                                         11 Mo. Ended                         For the Twelve Month Period Ending December 31,
                                                                                           12/31/2014        2015                 2016              2017             2018                 2019
                     Management Forecasts Provided to PFM - Feb 2014 Investment
                            Lab Services from US Retail Pharmacies                   $          55,000   $     412,000
                            Lab Services Revenue from Physicians Offices (courier)              50,000         239,000
                            Lab Services Revenue from Hospitals (courier)                       35,000         157,000
                            OnSite Services Revenue from Hospitals                                 -           168,000
                            Pharmaceuticals Services                                            25,000         102,000
                     Total Gross Profit                                              $         165,000   $   1,078,000                 N/A               N/A                 N/A                 N/A
                            Margin %                                                              63%               64%

                     PFM Financial Model (Base Case) - Feb 2014 Investment
                            Retail Revenue                                           $         100,406   $     584,261    $       1,215,266   $     1,634,576   $       1,688,236   $      1,744,569
                            Physicians Office Revenue                                           22,619         155,815              242,145           271,202             300,259            328,069
                            Hospital (Courrier) Revenue                                         30,319          93,508              116,886           134,418             150,549            166,356
                            Hospital (OnSite) Revenue                                              -            85,680              252,000           302,400             352,800            403,564
                            Pharmaceutical Services Revenue                                     25,000         102,000              144,500           187,000             229,500            274,878
                     Total Gross Profit                                              $         178.343   $   1,021,264    $       1,970,797   $     2,629,597   $       2,721,344   $      2,917,437
                            Margin %                                                              58%               61%                61%                62%                63%                 64%

                     Management Forecasts Provided to Daniel Mosley - Oct 2014
                            Lab Services from US Retail Pharmacies                   $          26,000   $     282,000
                            Lab Services Revenue from Physicians Offices                         7,000          97,000
                            Lab Services Revenue from Hospitals                                 33,000         203,000
                            OnSite Services Revenue from Hospitals                                  -            8,000
                            Pharmaceuticals Services                                            35,000          50,000
                     Total Gross Profit                                              $         101,000   $     640,000                 N/A               N/A                 N/A                 N/A
                            Margin %                                                               72%              64%

                     Management Forecasts Provided to RDV Corporation - Oct 2014
                            Lab Services from US Retail Pharmacies                   $          26,000   $     282,000
                            Lab Services Revenue from Physicians Offices                         7,000          96,000
                            Lab Services Revenue from Hospitals                                 33,000         203,000
                            OnSite Services Revenue from Hospitals                                  -            7,000
                            Pharmaceuticals Services                                            35,000          48,000
                     Total Gross Profit                                              $         101,000   $     636,000                 N/A               N/A                  N/A                N/A
                            Margin %                                                               72%              64%

                     Management Forecasts Provided to Rupert Murdoch - Feb 2015
                            Lab Services from US Retail Pharmacies                                       $     255,226    $         645,918
                            Lab Services Revenue from Physicians Offices                                       135,744              285,120
                            Lab Services Revenue from Hospitals                                                211,050              342,720
                            OnSite Services Revenue from Hospitals                                              10,500               14,112
                            Pharmaceuticals Services                                                            46,800               74,880
                     Total Gross Profit                                                            N/A   $     659,320    $       1,362,750              N/A                  N/A                N/A
                            Margin %                                                                                66%                69%


                     Management Forecasts Provided to Aranca - 9/30/13 Valuation
                     Total Gross Profit                                              $          77,478   $      95,978    $         108,151   $       118,159                 N/A                N/A
                            Margin %                                                               86%              86%                 82%              82%

                     Management Forecasts Provided to Aranca -12/15/14 Valuation
                     Total Gross Profit                                              $              97   $      73,744    $         151,947   $       219,947   $         352,416                N/A
                            Margin %                                                               65%             65%                 68%                68%                 70%

                     Management Forecasts Provided to Aranca - 3/25/15 Valuation
                     Total Gross Profit                                                            N/A   $      73,744    $         151,947   $       219,947   $         352,416                N/A
                            Margin %                                                                                65%                 68%              68%                  70%




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                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 126 of 156


US v. Elizabeth Holmes                                                                                                                            Appendix Exhibit B.3
Valuation of Theranos, Inc.                                                                                                                 Summary of EBITDA Forecasts
Feb 2014-Feb 2015                                                                                                                                    (thousands of USD)


                                                                                            For the Twelve Month Period Ending December 31,
                                                                  2014               2015                2016             2017              2018             2019
Management Forecasts Provided to PFM - Feb 2014 Investment
Total EBITDA                                                  $     (36,000)     $     408,000                N/A               N/A                N/A              N/A
       Margin %                                                        -14%                24%

PFM Financial Model (Base Case) - Feb 2014 Investment
Total EBITDA                                                  $     (22,657)     $     351,264     $     1,146,797   $    1,623,197   $     1,758,932    $   1,895,357
       Margin %                                                         -7%                21%                36%              40%               41%               41%

Management Forecasts Provided to Daniel Mosley - Oct 2014
Total EBITDA                                                  $       (1,000)    $     241,000                N/A               N/A                N/A              N/A
       Margin %                                                          -1%               24%

Management Forecasts Provided to RDV Corporation - Oct 2014
Total EBITDA                                                  $       (1,000)    $     237,000                N/A               N/A                N/A              N/A
       Margin %                                                          -1%               24%

Management Forecasts Provided to Rupert Murdoch - Feb 2015
Total EBITDA                                                              N/A    $     338,411     $      861,192               N/A                N/A              N/A
       Margin %                                                                            34%                44%



Management Forecasts Provided to Aranca ■ 9/30/13 Valuation
Total EBITDA                                                  $          8,827   $      22,566     $        31,850   $       38,793                N/A              N/A
       Margin %                                                            10%             20%                 24%             27%

Management Forecasts Provided to Aranca -12/15/14 Valuation
Total EBITDA                                                  $      (99,934)    $     (23,281)    $        51,986   $      110,970    $      228,015               N/A
       Margin %                                                     -66623%               -21%                 23%              34%              45%

Management Forecasts Provided to Aranca - 3/25/15 Valuation
Total Gross Profit                                                        N/A    $     (23,137)    $        52,183   $      111,167    $      228,212               N/A
       Margin %                                                                           -20%                 23%              34%              45%




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                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 127 of 156



          US v. Elizabeth Holmes                                                                                                   Appendix Exhibit C.1
          Valuation of Theranos, Inc.                                                                             Backsolve Method Value Summary 2/7/14
          As of February 7, 2014                                                                              (thousands of USD, except Per Share Value)


                                                                                                                                        Fair Market
                                                                                                                   Ref.                   Value
                Indicated Value - 100% Controlling, Marketable Interest Basis                             Appendix Exhibit C.3    $         1,510,461

                Indicated Value - 100% Controlling, Marketable Interest Basis (rounded)                                          | $        1,510,000 |




               |Per Share Value
                                                                                                                                       Present Value
                                                                                            Shares            Present Value              Per Share
                                                Share Classes                             Outstanding          Marketable               Marketable

                  Preferred Shares
                    Series A @ $0,150                                                       46,320,045    $        109,791,828    $              2.37
                    Series B @ $0.1846                                                      54,162,965             129,749,930                   2.40
                    Series C @ $0,564                                                       58,896,105             161,956,174                   2.75
                    Series C-1 @ $3.00                                                      25,175,001             122,398,158                   4.86
                    Series C-1 @ $15.00                                                      7,500,032             114,495,374                  15.27
                    Series C-2 @ $17.00                                                      9,669,998             164,389,966                  17.00
                  Total Preferred Shares                                                   201,724,146             802,781,429
                  Warrants on Common
                   Exercise Price @ $0,072                                                     741,665               1,616,109                   2.18
                  Common - Outstanding                                                     302,640,465             684,230,716                   2.26
                  Options on Common
                    Exercise Price @ $0,015                                                     350,000                787,519                   2.25
                    Exercise Price @ $0,030                                                   1,227,125              2,742,677                   2.24
                    Exercise Price @ $0,066                                                     552,500              1,216,223                   2.20
                    Exercise Price @ $0,072                                                   3,092,715              6,739,113                   2.18
                    Exercise Price @ $0,094                                                     312,500                670,277                   2.14
                    Exercise Price @ $0,170                                                   3,990,167              8,264,639                   2.07
                    Exercise Price @ $0,206                                                     703,195              1,411,858                   2.01
                  Total Options Outstanding                                                  10,228,202             21,832,305
                Total Outstanding                                                           515,334,478   $      1,510,460,559




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                                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 128 of 156


     US v. Elizabeth Holmes                                                                                                                                                                                                                             Appendix Exhibit C.2
     Valuation of Theranos, Inc.                                                                                                                                                                                                              Backsolve Method 2/7/14 - Step 1
     As of February 7, 2014                                                                                                                                                                                                                                             (USD)

      Break Point Calculation                                                                                 $0,016          |          $0,030           |           $0,066               $0,072                  $0,094                  $0,170                 $0,206

                                                                                                                                                                                     $0,072 Warrants /
                                         Number of       Series C, C-1, C-2   Series A, B Liq.            $0,016 Options              $0.03 Options               $0,066 Options        Options on             $0,094 Options         $0,170 Options          $0,206 Options
               Share Class                Shares          Liq. Preference       Preference                   Exercise                    Exercise                    Exercise          Common Ex.                 Exercise               Exercise                Exercise
      Preferred Share Classes
         Series A @ $0,150                46,320,045     $                    $          6,948,007    $         7,642,807         $        9,032,409          $        12,089,532    $      15,424,575     $        19,778,659    $         27,653,067    $        37,194,996
         Series B @ $0.1846               54,162,965                   -                10,000,000             10,812,444                 12,437,333                   16,012,089           19,911,822              25,003,141              34,210,845             45,368,416
         Series C @ $0,564                58,896,105            33,217,403              33,217,403             34,100,845                 35,867,728                   39,754,871           43,995,390              49,531,624              59,543,962             71,676,560
         Series C-1 @ $3.00               25,175,001            75,525,003              75,525,003             75,902,628                 76,657,878                   78,319,428           80,132,028              82,498,478              86,778,228             91,964,279
         Series C-1 @ $15.00               7,500,032           112,500,480             112,500,480            112,612,980                112,837,981                  113,332,984          113,872,986             114,577,989             115,852,994            117,398,001
         Series C-2 @ $17.00               9,669,998           164,389,966             164,389,966            164,535,016                164,825,116                  165,463,336          166,159,576             167,068,555             168,712,455            170,704,475

      Warrants on Common
        Exercise Price @ $0,072              741,665                    -                                              -                                                       -                    -                   16,317                  72,683                 99,383
      Common                             302,640,465                    -                       -               4,539,607                   9,079,214                  19,974,271           21,790,113              28,448,204              51,448,879             62,343,936
      Options on Common
        Exercise Price @   $0,015             350,000                   -                       -                      -                          5,250                    17,850               19,950                  27,650                  54,250                 66,850
        Exercise Price @   $0,030           1,227,125                   -                       -                                                                          44,177               51,539                  78,536                 171,798                215,974
        Exercise Price @   $0,066             552,500                   -                                              -                                                      -                  3,315                  15,470                  57,460                 77,350
        Exercise Price @   $0,072           3,092,715                   -                                              -                                                      -                                         68,040                 303,086                414,424
        Exercise Price @   $0,094             312,500                                           -                      -                            -                         -                     -                      -                    23,750                 35,000
        Exercise Price @   $0,170           3,990,167                                           -                      -                            -                         -                     -                       -                       -                 143,646
        Exercise Price @   $0,206             703,195                   -                       -                      -                            -                         -                     -
                                          515,334,478          385,632,852             402,580,859            410,146,328                420,742,909                  445,008,536          461,361,295             487,112,663             544,883,458            597,703,289

                                                                                                                                                                                      $0,072 Warrants /
                                                         Series C, C-1, C-2       Series A, B Liq.        $0,016 Options              $0.03 Options               $0,066 Options         Options on            $0,094 Options          $0,170 Options         $0,206 Options
                                                          Liq. Preference           Preference               Exercise                    Exercise                    Exercise           Common Ex.                Exercise                Exercise               Exercise
      Inputs
         Stock Price Now             $ 1,510,460,559     $   1,510,460,559    $      1,510,460,559    $     1,510,460,559         $     1,510,460,559         $     1,510,460,559    $    1,510,460,559    $     1,510,460,559    $      1,510,460,559    $     1,510,460,559
         Volatility                            55.0%                 55.0%                   55.0%                  55.0%                       55.0%                       55.0%                 55.0%                  55.0%                   55.0%                  55.0%
         Riskfree Rate - Annual                1.07%                 1.07%                   1.07%                  1.07%                       1.07%                       1.07%                 1.07%                  1.07%                   1.07%                  1.07%
         Exercise Price              $          0.00     $     385,632,852    $        402,580,859    $       410,146,328         $       420,742,909         $       445,008,536    $      461,361,295    $       487,112,663    $        544,883,458    $       597,703,289
         Time To Maturity - Years               4.00                  4.00                    4.00                   4.00                        4.00                        4.00                  4.00                   4.00                    4.00                   4.00

      Outputs
         d1                                    38.64                   1.83                    1.79                    1.77                       1.75                        1.70                 1.67                    1.62                    1.52                    1.43
         d2                                    37.54                  0.73                    0.69                    0.67                       0.65                        0.60                  0.57                   0.52                    0.42                    0.33
         N(d1)                                  1.000                 0.966                   0.963                   0.962                      0.960                       0.955                 0.952                  0.947                   0.935                   0.924
         N(d2)                                  1.000                 0.767                   0.755                   0.750                      0.742                       0.726                 0.715                  0.698                   0.661                   0.630
         Call Price (Vc)             $ 1,510,460,559     $   1,176,113,924    $      1,163,751,179    $      1,158,295,777        $     1,150,719,580         $     1,133,651,949    $    1,122,367,229    $     1,104,943,326    $      1,067,342,573    $      1,034,676,463

         -d1                                   -38.642               -1.830                  -1.791                 -1.774                      -1.751                      -1.700               -1.667                  -1.618                  -1.516                 -1.432
         -d2                                   -37.542               -0.730                  -0.691                 -0.674                      -0.651                      -0.600               -0.567                  -0.518                  -0.416                 -0.332
         N(-d1)                                  0.000                0.034                   0.037                  0.038                       0.040                       0.045                0.048                   0.053                   0.065                  0.076
         N(-d2)                                  0.000                0.233                   0.245                  0.250                       0.258                       0.274                0.285                   0.302                   0.339                  0.370
         Put Price (Pp)              $                   $      35,203,257    $         39,081,695    $        40,876,242         $        43,454,692         $        49,640,681     $     54,026,722     $        61,280,217    $         79,040,906    $        96,991,757

      Fair Market Value             | $ 1,510,460,559 11 $   1,176,113,924 11 $      1,163,751,179 11 $      1,158,295,777 11 $         1,150,719,580 11 $           1,133,651,949 11 $   1,122,367,229 11 $      1,104,943,326 11 $     1,067,342,573 11 $      1,034,676,463 |




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                                                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 129 of 156

                             US v. Elizabeth Holmes                                                                                                                                                                                             __________ Appendix Exhibit C.3
                             Valuation of Theranos, Inc.                                                                                                                                                                                         Backsolve Method 2/7/14 - Step 2
                             As of February 7, 2014                                                                                                                                                                                             ________________________ (USD)

                                                                                                                                                                           $0,072 Warrants /
                                                                  Series C, C-1, C-2   Series A, B Llq.        $0,016 Options        $0.03 Options     $0,066 Options         Options on           $0,094 Options    $0,170 Options      $0,206 Options           All Classes
                                                                   Llq. Preference       Preference               Exercise              Exercise          Exercise           Common Ex.               Exercise          Exercise            Exercise              Participate
                              High call option                    $   1,510,460,559    $   1,176,113,924   $     1,163,751,179   $    1,158,295,777    $   1,150,719,580   $   1,133,651,949   $     1,122,367,229   $   1,104,943,326   $   1,067,342,573    $   1,034,676,463
                              Less low call option                    1,176,113,924        1,163,751,179         1,158,295,777        1,150,719,580        1,133,651,949       1,122,367,229         1,104,943,326       1,067,342,573       1,034,676,463
                              Total Value to Allocate             $     334,346,635    $      12,362,745   $         5,455,402   $        7,576,197    $      17,067,632   $      11,284,720   $        17,423,903   $      37,600,753   $      32,666,109    $   1,034,676,463

                              Preferred Share Classes
                                  Series A @ $0,150                                            6,948,007            46,320,045           46,320,045          46,320,045          46,320,045             46,320,045         46,320,045          46,320,045            46,320,045
                                  Series 8 @ $0.1846                                          10,000,000            54,162,965           54,162,965          54,162,965          54,162,965             54,162,965         54,162,965          54,162,965            54,162,965
                                  Series C @ $0,564                     33,217,403                                  58,896,105           58,896,105          58,896,105          58,896,105             58,896,105         58,896,105          58,896,105            58,896,105
                                  Series C-1 @ $3.00                    75,525,003                                  25,175,001           25,175,001          25,175,001          25,175,001             25,175,001         25,175,001          25,175,001            25,175,001
                                  Series C-1 @ $15.00                  112,500,480                                   7,500,032            7,500,032           7,500,032           7,500,032              7,500,032          7,500,032           7,500,032             7,500,032
                                  Series C-2 @ $17.00                   164,389,966                                  9,669,998            9,669,998           9,669,998           9,669,998              9,669,998          9,669,998           9,669,998             9,669,998
                              Warrants on Common
                                 Exercise Price @ $0,072                                                                                                                                                  741,665             741.665             741,665               741.665

                              Common                                                                               302,640,465          302,640,465         302,640,465         302,640,465            302,640,465        302,640,465         302,640,465           302,640,465
                              Options on Common
                                  Exercise Price @ $0,015                                                                                   350,000             350,000             350,000               350,000             350,000             350,000               350,000
                                  Exercise Price @ $0,030                                                                                                      1,227,125           1,227,125             1,227,125           1,227,125           1,227,125             1,227,125
                                     Exercise Price @ $0,066                                                                                                                        552,500                552,500            552,500             552,500               552,500
                                     Exercise Price @ $0,072                                                                                                                                             3,092,715          3,092,715           3,092,715             3,092,715
                                     Exercise Price @ $0,094                                                                                                                                                                  312,500             312,500               312,500
                                     Exercise Price @ $0,170                                                                                                                                                                                    3,990,167              3,990,167
                                     Exercise Price @ $0,206                                                                                                                                                                                                            703,195
                                                                       385,632,852            16,948,007           504,364,611          504,714,611         505,941,736         506,494,236            510,328,616        510,641,116         514,631,283           515,334,478
                              Distribution Percentage
                              Preferred Share Classes
                                  Series A @ $0,150                            0.0%                41.0%                  9.2%                 9.2%                 9.2%                9.1%                  9.1%                9.1%                9.0%                  9.0%
                                  Series B @ $0.1846                           0.0%                59.0%                 10.7%                10.7%                10.7%               10.7%                 10.6%               10.6%               10.5%                 10.5%
                                  Series C @ $0,564                            8.6%                 0.0%                 11.7%                11.7%                11.6%               11.6%                 11.5%               11.5%               11.4%                 11.4%
                                  Series C-1 @ $3.00                          19.6%                 0.0%                  5.0%                  5.0%                5.0%                5.0%                  4.9%                4.9%                4.9%                  4.9%
                                  Series C-1 @ $15.00                         29.2%                 0.0%                  1.5%                  1.5%                1.5%                1.5%                  1.5%                1.5%                1.5%                  1.5%
                                  Series C-2 @ $17.00                         42.6%                 0.0%                  1.9%                  1.9%                1.9%                1.9%                  1.9%                1.9%                1.9%                  1.9%
                              Warrants on Common
                                 Exercise Price @ $0,072                       0.0%                 0.0%                  0.0%                 0.0%                 0.0%                0.0%                  0.1%                0.1%                0.1%                  0.1%
                              Common                                           0.0%                 0.0%                 60.0%                60.0%                59.8%               59.8%                 59.3%               59.3%               58.8%                 58.7%
                              Options on Common
                                     Exercise Price @ $0,015                   0.0%                 0.0%                  0.0%                 0.1%                 0.1%                0.1%                  0.1%                0.1%                0.1%                  0.1%
                                     Exercise Price @ $0,030                   0.0%                 0.0%                  0.0%                 0.0%                 0.2%                0.2%                  0.2%                0.2%                0.2%                  0.2%
                                     Exercise   Price @ $0,066                 0.0%                 0.0%                  0.0%                 0.0%                 0.0%                0.1%                  0.1%                0.1%                0.1%                  0.1%
                                     Exercise   Price @ $0,072                 0.0%                 0.0%                  0.0%                 0.0%                 0.0%                0.0%                  0.6%                0.6%                0.6%                  0.6%
                                     Exercise   Price @ $0,094                 0.0%                 0.0%                  0.0%                 0.0%                 0.0%                0.0%                  0.0%                0.1%                0.1%                  0.1%
                                     Exercise   Price @ $0,170                 0.0%                 0.0%                  0.0%                 0.0%                 0.0%                0.0%                  0.0%                0.0%                0.8%                  0.8%
                                     Exercise Price @ $0,206                   0.0%                 0.0%                  0.0%                 0.0%                 0.0%                0.0%                  0.0%                0.0%                0.0%                  0.1%
                                                                             100.0%               100.0%                100.0%               100.0%               100.0%              100.0%                100.0%              100.0%              100.0%                100.0%
                              Allocation of Value
                                  Preferred Share Classes
                                      Series A @ $0,150           $                    $       5,068,232   $           501,015   $          695,303    $       1,562,578   $       1,032,013   $         1,581,483   $       3,410,749   $       2,940,155    $       93,000,299
                                     Series B @ $0.1846                                        7,294,513               585,847              813,032            1,827,154           1,206,754             1,849,260           3,988,258           3,437,982           108,747,129
                                     Series C @ $0,564                   28,799,743                                    637,043              884,081            1,986,824           1,312,208             2,010,861           4,336,779           3,738,418           118,250,217
                                      Series C-1 @ $3.00                 65,480,756                                    272,302              377,898              849,263             560,900               859,538           1,853,746           1,597,978            50,545,776
                                      Series C-1 @ $15.00                97,538,777                                     81,123              112,582              253,009             167,101               256,070             552,260             476,063            15,058,388
                                      Series C-2 @ $17.00               142,527,359                                    104,594              145,155              326,211             215,448               330,158             712,045             613,801            19,415,195
                                  Warrants on Common
                                     Exercise Price @ $0,072                                                                                                                                                25,322              54,612              47,077             1,489,098
                                  Common                                                                             3,273,476             4,542,892          10,209,389           6,742,846            10,332,907          22,284,750          19,210,038           607,634,419
                                  Options on Common
                                      Exercise Price @   $0,015                                                                                5,254              11,807               7,798                11,950              25,772              22,216               702,722
                                      Exercise Price @   $0,030                                                                                                   41,396              27,340                41,897              90,359              77,891             2,463,793
                                      Exercise Price @   $0,066                                                                                                                       12,310                18,864              40,683              35,070             1,109,297
                                      Exercise Price @   $0,072                                                                                                                                            105,593             227,730             196,309             6,209,481
                                      Exercise Price @   $0,094                                                                                                                                                                 23,011              19,836               627,430
                                      Exercise Price @   $0,170                                                                                                                                                                                    253,275             8,011,364
                                      Exercise Price @   $0,206                                                                                                                                                                                                        1,411,858
                                                                  $     334,346,635    $      12,362,745   $         5,455,402   $         7,576,197   $      17,067,632   $      11,284,720   $        17,423,903   $      37,600,753   $      32,666,109    $    1,034,676,463

                                                                                                                  Per Share
                                            Share Class           Number of Shares         Total Value           Marketable
                                  Preferred Share Classes
                                      Series A @ $0,150                  46,320,045    $     109,791,828   $              2.37
                                      Series B @ $0.1846                 54,162,965          129,749,930                  2.40
                                      Series C @ $0,564                  58,896,105          161,956,174                  2.75
                                      Series C-1 @ $3.00                 25,175,001          122,398,158                  4.86
                                      Series C-1 @ $15.00                 7,500,032          114,495,374                 15.27
                              |       Series C-2 @ $17.00                 9,669,998    S     164,389,966   $             17.00
                                  Warrants on Common
                                     Exercise Price @ $0,072                741,665            1,616,109                  2.18



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                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 130 of 156



          US v. Elizabeth Holmes                                                                                                   Appendix Exhibit D.1
          Valuation of Theranos, Inc.                                                                          Backsolve Method Value Summary 12/31/14
          As of December 31, 2014                                                                             (thousands of USD, except Per Share Value)


                                                                                                                                        Fair Market
                                                                                                                   Ref.                   Value
                Indicated Value - 100% Controlling, Marketable Interest Basis                             Appendix Exhibit D.3    $         2,247,529

                Indicated Value - 100% Controlling, Marketable Interest Basis (rounded)                                          | $        2,250,000 |




               |Per Share Value
                                                                                                                                       Present Value
                                                                                            Shares            Present Value              Per Share
                                                Share Classes                             Outstanding          Marketable               Marketable

                  Preferred Shares
                    Series A @ $0,150                                                       46,320,045    $        141,823,753    $              3.06
                    Series B @ $0.1846                                                      54,134,965             166,985,536                   3.08
                    Series C @ $0,564                                                       58,896,105             201,942,073                   3.43
                    Series C-1 @ $3.00                                                      25,175,001             136,956,824                   5.44
                    Series C-1 @ $15.00                                                      7,500,032             115,114,977                  15.35
                    Series C-2 @ $17.00                                                     32,808,227             557,739,835                  17.00
                  Total Preferred Shares                                                   224,834,375           1,320,562,999
                  Warrants on Common
                   Exercise Price @ $0,072                                                     741,665               2,140,841                   2.89
                  Common - Outstanding                                                     302,965,725             897,714,632                   2.96
                  Options on Common
                    Exercise Price @ $0,015                                                     350,000              1,033,652                   2.95
                    Exercise Price @ $0,030                                                   1,170,875              3,441,670                   2.94
                    Exercise Price @ $0,066                                                     547,500              1,592,180                   2.91
                    Exercise Price @ $0,072                                                   2,579,175              7,444,876                   2.89
                    Exercise Price @ $0,094                                                     312,500                891,811                   2.85
                    Exercise Price @ $0,170                                                   3,972,457             11,056,985                   2.78
                    Exercise Price @ $0,206                                                     606,365              1,649,600                   2.72
                  Total Options Outstanding                                                   9,538,872             27,110,774
                Total Outstanding                                                           538,080,637   $      2,247,529,245




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                                         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 131 of 156


US v. Elizabeth Holmes                                                                                                                                                                                                                                   ___________ Appendix Exhibit D.2
Valuation of Theranos, Inc.                                                                                                                                                                                                                              Backsolve Method 12/31/14 - Step 1
As of December 31,2014                                                                                                                                                                                                                                   _________________________ (USD)

 Break Point Calculation                                                                         I           $0.016         11          $0,030           11           $0,066          11        $0,072          11           $0.094         11           $0.170          11           $0.206          |

                                                                                                                                                                                           $0,072 Warrants /
                                    Number of       Series C, C-1, C-2   Series A, B Liq.                $0,015 Options              $0.03 Options                $0,066 Options              Options on                 $0,094 Options              $0,170 Options               $0,206 Options
          Share Class                Shares          Liq. Preference       Preference                       Exercise                    Exercise                     Exercise                Common Ex.                     Exercise                    Exercise                     Exercise
 Preferred Share Classes
    Series A @ $0,150                46,320,045     $                    $         6,948,007         $         7,642,807         $        9,032,409           $        12,089,532          $     15,424,575          $        19,778,659         $        27,653,067          $        37,194,996
    Series B @ $0.1846               54,134,965                   -                9,994,830                  10,806,855                 12,430,904                    16,003,811                19,901,529                   24,990,216                  34,193,160                   45,344,962
    Series C @ $0,564                58,896,105            33,217,403             33,217,403                  34,100,845                 35,867,728                    39,754,871                43,995,390                   49,531,624                  59,543,962                   71,676,560
    Series C-1 @ $3.00               25,175,001            75,525,003             75,525,003                  75,902,628                 76,657,878                    78,319,428                80,132,028                   82,498,478                  86,778,228                   91,964,279
    Series C-1 @ $15.00               7,500,032           112,500,480            112,500,480                 112,612,980                112,837,981                   113,332,984               113,872,986                  114,577,989                 115,852,994                  117,398,001
    Series C-2 @ $17.00              32,808,227           557,739,859            557,739,859                 558,231,982                559,216,229                   561,381,572               563,743,765                  566,827,738                 572,405,136                  579,163,631

 Warrants on Common
   Exercise Price @ $0,072              741,665                   -                       -                                                       -                            -                         -                        16,317                      72,683                       99,383
 Common                             302,965,725                                                                4,544,486                   9,088,972                   19,995,738                21,813,532                   28,478,778                  51,504,173                   62,410,939
 Options on Common
   Exercise Price @   $0,015             350,000                   -                                                  -                          5,250                     17,850                    19,950                       27,650                      54,250                       66,850
   Exercise Price @   $0,030           1,170,875                   -                                                  -                            -                       42,152                    49,177                       74,936                     163,923                      206,074
   Exercise Price @   $0,066             547,500                   -                                                  -                                                                               3,285                       15,330                      56,940                       76,650
   Exercise Price @   $0,072           2,579,175                   -                                                                                                                                    -                         56,742                     252,759                      345,609
   Exercise Price @   $0,094             312,500                   -                                                  -                                                                                 -                            -                        23,750                       35,000
   Exercise Price @   $0,170           3,972,457                   -                                                  -                            -                                                    -                            -                           -                        143,008
   Exercise Price @   $0,206             606,365                   -                                                  -                            -                           -                        -
                                     538,080,637          778,982,745             795,925,582                803,842,584                815,137,351                   840,937,937               858,956,217                  886,874,457                 948,555,026                1,006,125,944

                                                                                                                                                                                           $0,072 Warrants /
                                                    Series C, C-1, C-2       Series A, B Liq.            $0,016 Options              $0.03 Options                $0,066 Options              Options on                 $0,094 Options              $0,170 Options               $0,206 Options
                                                     Liq. Preference           Preference                   Exercise                    Exercise                     Exercise                Common Ex.                     Exercise                    Exercise                     Exercise
 Inputs
    Stock Price Now             $ 2,247,529,245     $   2,247,529,245    $      2,247,529,245        $     2,247,529,245         $     2,247,529,245          $     2,247,529,245          $   2,247,529,245         $     2,247,529,245         $     2,247,529,245          $     2,247,529,245
    Volatility                            53.0%                 53.0%                   53.0%                      53.0%                       53.0%                        53.0%                      53.0%                       53.0%                       53.0%                        53.0%
    Riskfree Rate - Annual                1.38%                 1.38%                   1.38%                      1.38%                       1.38%                        1.38%                      1.38%                       1.38%                       1.38%                        1.38%
    Exercise Price              $          0.00     $     778,982,745    $        795,925,582        $       803,842,584         $       815,137,351          $       840,937,937          $     858,956,217         $       886,874,457         $       948,555,026          $     1,006,125,944
    Time To Maturity - Years               4.00                  4.00                    4.00                       4.00                         4.00                        4.00                       4.00                        4.00                        4.00                         4.00

 Outputs
   d1                                     40.45                   1.58                    1.56                      1.55                         1.54                          1.51                      1.49                       1.46                          1.40                        1.34
   d2                                     39.39                  0.52                    0.50                       0.49                        0.48                          0.45                      0.43                        0.40                         0.34                         0.28
   N(d1)                                   1.000                 0.943                   0.941                      0.940                       0.938                         0.934                     0.932                       0.928                        0.919                        0.910
   N(d2)                                   1.000                 0.699                   0.692                      0.689                       0.684                         0.673                     0.666                       0.655                        0.631                        0.610
   Call Price (Vc)              $ 2,247,529,245     $   1,604,322,756    $      1,593,170,677        $     1,587,998,486         $     1,580,662,164          $      1,564,089,715         $   1,552,667,500         $     1,535,211,428         $      1,497,662,066         $      1,463,834,334

    -d1                                   -40.446               -1.582                  -1.561                     -1.552                      -1.539                       -1.509                     -1.489                      -1.459                      -1.396                       -1.340
    -d2                                   -39.386               -0.522                  -0.501                     -0.492                      -0.479                       -0.449                     -0.429                      -0.399                      -0.336                       -0.280
    N(-d1)                                  0.000                0.057                   0.059                      0.060                       0.062                        0.066                      0.068                       0.072                       0.081                        0.090
    N(-d2)                                  0.000                0.301                   0.308                      0.311                       0.316                        0.327                      0.334                       0.345                       0.369                        0.390
    Put Price (Pp)              $                   $      94,089,110    $         98,973,174        $       101,294,307         $       104,648,315          $       112,495,738          $     118,127,557         $       127,095,684         $       147,926,065          $       168,588,351

 Fair Market Value             | $ 2,247,529,245 11 $   1,604,322,756 11 $      1,593,170,677 11 $          1,587,998,486 11 $         1,580,662,164 11 $            1,564,089,715 11 $        1,552,667,500 11$            1,535,211,428 11 $          1,497,662,066 11 $           1,463,834,334 |




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                                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 132 of 156

                           US v. Elizabeth Holmes                                                                                                                                                                                      ____________ Appendix Exhibit D.3
                           Valuation of Theranos, Inc.                                                                                                                                                                                  Backsolve Method 12/31/14 - Step 2
                           As of Decern ber 31, 2014                                                                                                                                                                                   __________________________ (USD)

                                                                                                                                                                       $0,072 Warrants/
                                                                Series C, C-1, C-2   Series A, B Llq.      $0,016 Options        $0.03 Options      $0,066 Options        Options on       $0,094 Options       $0,170 Options      $0,206 Options         All Classes
                                                                 Llq. Preference       Preference             Exercise              Exercise            Exercise         Common Ex.           Exercise              Exercise            Exercise           Participate
                            High call option                    $ 2,247,529,245      $   1,604,322,756   $ 1,593,170,677       $ 1,587,998,486     $ 1,580,662,164     $ 1,564,089,715     $   1,552,667,500   $   1,535,211,428   $   1,497,662,066   $   1,463,834,334
                            Less low call option                    1,604,322,756        1,593,170,677       1,587,998,486         1,580,662,164       1,564,089,715       1,552,667,500       1,535,211,428       1,497,662,066       1,463,834,334
                            Total Value to Allocate             S     643,206,489    $      11,152,079   $       5,172,191     $       7,336,322   S      16,572,449   $      11.422,215   $      17,456,072   $      37,549,362   $      33,827.732   $   1,463,834.334

                            Preferred Share Classes
                                Series A @ $0,150                                            6,948,007         46,320,045            46,320,045          46,320,045          46,320,045          46,320,045          46,320,045          46,320,045           46,320,045
                                Series 8 @ $0.1846                                           9,994,830         54,134,965            54,134,965          54,134,965          54,134,965          54,134,965          54,134,965          54,134,965           54,134,965
                                Series C @ $0,564                     33,217,403                               58,896,105            58,896,105          58,896,105          58,896,105          58,896,105          58,896,105          58,896,105           58,896,105
                                Series C-1 @ $3.00                    75,525,003                               25,175,001            25,175,001          25,175,001          25,175,001          25,175,001          25,175,001          25,175,001           25,175,001
                                Series C-1 @ $15.00                  112,500,480                                7,500,032             7,500,032           7,500,032           7,500,032           7,500,032           7,500,032           7,500,032            7,500,032
                                Series C-2 @ $17.00                  557,739,859                               32,808,227            32,808,227          32,808,227          32,808,227          32,808,227          32,808,227          32,808,227           32,808,227
                            Warrants on Common
                               Exercise Price @ $0,072                                                                                                                                              741,665             741,665             741,665              741,665

                            Common                                                                            302,965,725           302,965,725         302,965,725         302,965,725         302,965,725         302,965,725         302,965,725          302,965,725
                            Options on Common
                                Exercise Price @ $0,015                                                                                 350,000             350,000             350,000             350,000             350,000             350,000              350,000
                                Exercise Price @ $0,030                                                                                                   1,170,875           1,170,875            1,170,875          1,170,875           1,170,875            1,170,875
                                   Exercise Price @ $0,066                                                                                                                      547,500             547,500             547,500             547,500              547,500
                                   Exercise Price @ $0,072                                                                                                                                         2,579,175          2,579,175           2,579,175            2,579,175
                                   Exercise Price @ $0,094                                                                                                                                                              312,500             312,500              312,500
                                   Exercise Price @ $0,170                                                                                                                                                                                3,972,457            3,972,457
                                   Exercise Price @ $0,206                                                                                                                                                                                                       606,365
                                                                     778,982,745            16,942,837        527,800,100           528,150,100         529,320,975         529,868,475         533,189,315         533,501,815         537,474,272          538,080,637
                            Distribution Percentage
                            Preferred Share Classes
                                Series A @ $0,150                            0.0%                41.0%                8.8%                  8.8%                8.8%                8.7%                8.7%               8.7%                 8.6%                8.6%
                                Series B @ $0.1846                           0.0%                59.0%               10.3%                 10.2%               10.2%               10.2%               10.2%              10.1%                10.1%               10.1%
                                Series C @ $0,564                            4.3%                 0.0%               11.2%                 11.2%               11.1%               11.1%               11.0%              11.0%                11.0%               10.9%
                                Series C-1 @ $3.00                           9.7%                 0.0%                4.8%                  4.8%                4.8%                4.8%                4.7%                4.7%                4.7%                4.7%
                                Series C-1 @ $15.00                         14.4%                 0.0%                1.4%                  1.4%                1.4%                1.4%                1.4%                1.4%                1.4%                1.4%
                                Series C-2 @ $17.00                         71.6%                 0.0%                6.2%                  6.2%                6.2%                6.2%                6.2%                6.1%                6.1%                6.1%
                            Warrants on Common
                               Exercise Price @ $0,072                       0.0%                 0.0%                0.0%                  0.0%                0.0%                0.0%                0.1%                0.1%                0.1%                0.1%
                            Common                                           0.0%                 0.0%              57.4%                 57.4%               57.2%               57.2%                56.8%              56.8%                56.4%               56.3%
                            Options on Common
                                   Exercise Price @ $0,015                   0.0%                 0.0%                0.0%                  0.1%                0.1%                0.1%                0.1%                0.1%                0.1%                0.1%
                                   Exercise   Price @ $0,030                 0.0%                 0.0%                0.0%                  0.0%                0.2%                0.2%                0.2%                0.2%                0.2%                0.2%
                                   Exercise   Price @ $0,066                 0.0%                 0.0%                0.0%                  0.0%                0.0%                0.1%                0.1%                0.1%                0.1%                0.1%
                                   Exercise   Price @ $0,072                 0.0%                 0.0%                0.0%                  0.0%                0.0%                0.0%                0.5%                0.5%                0.5%                0.5%
                                   Exercise   Price @ $0,094                 0.0%                 0.0%                0.0%                  0.0%                0.0%                0.0%                0.0%                0.1%                0.1%                0.1%
                                   Exercise   Price @ $0,170                 0.0%                 0.0%                0.0%                  0.0%                0.0%                0.0%                0.0%                0.0%                0.7%                0.7%
                                   Exercise Price @ $0,206                   0.0%                 0.0%                0.0%                  0.0%                0.0%                0.0%                0.0%               0.0%                 0.0%                0.1%
                                                                           100.0%               100.0%              100.0%                100.0%              100 0%              100.0%              100.0%             100.0%               100.0%              100.0%
                            Allocation of Value
                            Preferred Share Classes
                                Series A @ $0,150               $                    $       4,573,303   $        453,915      $        643,413    $      1,450,229    $        998,507    $       1,516,471   $      3,260,135    $      2,915,306    $     126,012,474
                                Series B @ $0.1846                                           6,578,777            530,497               751,967           1,694,905            1,166,971           1,772,323          3,810,171           3,407,164          147,272,760
                                Series C @ $0,564                      27,427,628                                 577,154               818,102           1,843,971            1,269,606           1,928,198          4,145,274           3,706,822          160,225,317
                                Series C-1 @ $3.00                     62,361,037                                 246,703               349,696             788,201              542,690             824,204          1,771,888           1,584,472           68,487,933
                                Series C-1 @ $15.00                    92,891,709                                  73,497               104,180             234,818              161,676             245,543            527,873             472,039           20,403,641
                                Series C-2 @ $17.00                   460,526,114                                 321,505               455,726           1,027,189              707,237           1,074,108          2,309,136           2,064,895           89,253,926
                            Warrants on Common
                               Exercise Price @ $0,072                                                                                                                                                24,281             52,200              46,679            2,017,680
                                Common                                                                           2,968,921             4,208,376           9,485,519           6,530,941           9,918,787         21,323,582           19,068,156         824,210,350

                                Options on Common
                                    Exercise Price @   $0,015                                                                              4,862              10,958               7,545              11,459              24,634              22,028             952,166
                                    Exercise Price @   $0,030                                                                                                 36,659              25,240              38,333              82,409              73,693           3,185,335
                                    Exercise Price @   $0,066                                                                                                                     11,802              17,925              38,535              34,459           1,489,459
                                    Exercise Price @   $0,072                                                                                                                                         84,440             181,530             162,329           7,016,578
                                    Exercise Price @   $0,094                                                                                                                                                             21,995             19,668              850,148
                                    Exercise Price @   $0,170                                                                                                                                                                               250,020           10,806,966
                                   Exercise Price @ $0,206                                                                                                                                                                                                      1,649,600
                                                                $     643,206,489    $      11,152,079   $       5,172,191     $       7,336,322   $      16,572,449   $      11,422,215   $      17,456,072   $     37,549,362    $     33,827,732    $    1,463,834,334

                                                                                                              Per Share
                                         Share Class___________ Number of Shares         Total Value________ Marketable
                                Preferred Share Classes
                                   Series A @ $0,150                   46,320,045    $     141,823,753   $            3.06
                                   Series B @ $0.1846                  54,134,965          166,985,536                3.08
                                   Series C @ $0,564                   58,896,105          201,942,073                3.43
                                   Series C-1 @ $3.00                  25,175,001          136,956,824                5.44
                                   Series C-1 (g> $15.00                7,500,032          115,114,977               15.35
                            |      Series C-2 @ $17.00                 32,808,227    S     667,739,836   $           17.00 |
                                Warrants on Common
                                   Exercise Price @ $0,072                741,665            2,140,841                2.89




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                                 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 133 of 156


US v. Elizabeth Holmes                                                                                                                                 Appendix Exhibit E.1
Valuation of Theranos, Inc.                                                                               PFM (Base) Forecasts - Depreciation & Capital Expenditure Analysis
As of February 7, 2014                                                                                                                                   (thousands of USD)


                                                   11 Mo. Ended                                For the Twelve Month Period Ending December 31,
Forecast Depreciation                                       12/31/2014_____ 2015         ________2016______________ 2017______________ 2018______________ 2019______

Total Revenue                                  $          239,250    $       1,677,000     $              -   $                -   $                 -   $

Beginning Balance - Total Fixed Assets                    22,021               62,901               240,017             202,545               165,074               127,603
Capital Expenditures                          ___________ 47,850              201,240
     Fixed Assets                                         69,871              264,141               240,017             202,545               165,074               127,603
Capital Expenditures as a % of Revenue                   20.00%                12.00%                 0.00%               0.00%                 0.00%                 0.00%




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                                   Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 134 of 156


                  US v. Elizabeth Holmes                                    _____________________________ Appendix Exhibit E.2
                  Valuation ofTheranos, Inc.                                PFM (Base) Forecast Free Cash Flow to Invested Capital
                  As of February 7, 2014                                                                      (thousands of USD)

                                                                                                       For the Twelve Month
                                                                                                           Period Ending
                                                                                   11 Mo. Ended            December 31,
                                                                                     12/31/2014                 2015

                  Total Revenue                                                $           261,000     $           1,677,000
                  Total Cost of Revenue                                                     96,000                   599,000
                  Gross Margin                                                             165,000                 1,078,000
                  GM %                                                                       63.2%,                    64.3%,

                  Total Operating Expenses                                                  201,000                 670,000
                  Operating Expense %                                                         77.0%                   40.0%
                   EBITDA                                                                   (36,000)                408,000
                   EBITDA %                                                                  -13.8%                   24.3%
                          Partial period Adjustment                                           3,000                      -
                   Adjusted EBITDA                                                          (33,000)

                   Depreciation & Amortization                                                3,667                   21,000
                   EBIT                                                                     (36,667)                 387,000
                   EBIT%                                                                     -14.0%                    23.1%
                   Interest Expense

                   Earnings Before Taxes                                                    (36,667)                 387,000
                          Income Taxes                                   40%                                         101,670

                   Forecast After-Tax Income                                   $            (36,667)   $             285,330
                   NPAT %                                                                    -14.0%,                   17.0%

                   Cash Flow
                   Add: Depreciation & Amortization                                           3,667                   21,000
                         After-Tax Gross Cash Flow                                          (33,000)                 306,330

                         Decrease / (Increase) in Working Capital                          (111,885)                (263,760)
                   Less: Capital Expenditures                                               (47,850) _______        (201,240)

                   Free Cash Flow                                              $(192,735)              $(158,670)


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                                      Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 135 of 156


US v. Elizabeth Holmes                                                                                                                                                                           Appendix Exhibit E.3
Valuation ofTheranos, Inc.                                                                                                                                       PFM (Base) Forecast - Discounted Cash Flow Method
As of February 7, 2014                                                                                                                                                                          (thousands of USD)


          Forecast                      Base                                            Discount                                         Discounted
           Period                     Cash Flow                  Period                   Rate                 PV Factor [1]            Cash Flow [2]

      2014 - Mar to Dec           $           (192,735)            0.45                   75.5%                  0.7773             $         (149,809)
            2015                              (158,670)            1.40                   75.5%                  0.4561                        (72,362)
        Terminal Value                       4,732,800             1.90                   75.5%                  0.3443                      1,629,279

Indicated Value                                                                                                                     $        1,407,108
Add: Series C-2 proceeds not on balance sheet                                                                                                  114,390
Add: Series C-1 proceeds not on balance sheet                                                                                                    6,556
Deduct: Note Payable, Long Term                                                                                                                (40,489)
Deduct: Capital Lease, LT Portion                                                                                                               (1,897)

Total Equity Value - Non-Controlling, Marketable Basis                                                                              $        1,485,668

Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                                                    $        1,490,000


                                            LTM                 1YR Growth           1YR Forward                 EBITDA                     D&A               EBIT               Capex             Working Capital
                                          Revenue          ______ Revenue           Revenue Growth               Margin                    Margin            Margin            % Revenue            % Revenue

               Upper Quartile |              1,160,767 ||                 21.2% |                 12.7%                   20.7% |                   2.3% |         14.2% | |            6.5% |              140.0%
                      Mean                   1,086,705                    20.2%                   11.9%                    0.1% |                   1.4% |        -73.3%                5.6%                232.8%
                     Median                    237,509                    11.8%                    6.5%                   15.6%                     0.0%            4.2%                4.1%                 48.7%
               Lower Quartile                   93,829                     3.8%                    4.8%                   -4.6%                     0.0%          -19.7%                3.1%     |____       30.1% |

Theranos, Inc. (at 12/31/15)      $          1,677,000                    542.5%                     N/A                  24.3%                     1.3%              23.1%            12.0%                 18.6%


                                                                                        MVIC / LTM              MVIC / LTM
                                                                                         Revenue                 EBITDA
                                          Upper Quartile                                          5.74x                   25.83x
                                                 Mean                                             6.12x                   19.05X
                                                Median                                            2.71x                   14.57x
                                          Lower Quartile                                          1.83X                    8.65x

                                  Selected Multiple                                               4.40x                   11.60X
                                  Subject Company Base Value                        $       1,677,000      $          408,000

                                  Indicated Value at 12/31/15                               7,378,800               4,732,800


Notes:
[1]   1 / (1 + Discount Rate) A Period.
[2]   Base Cash Flow x PV Factor.




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                                     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 136 of 156


US v. Elizabeth Holmes                                                                                                                       ______________________________ Appendix Exhibit E.4
Valuation of Theranos, Inc.                                                                                                                  PFM (Model) Forecast Free Cash Flow to Invested Capital
As of February 7, 2014                                                                                                                                                          (thousands of USD)


                                                                         11 Mo. Ended                                 For the Twelve Month Period Ending December 31,
                                                                           12/31/2014            2015                  2016                 2017               2018                    2019

Revenue
       Lab Services from US Retail Pharmacies                        $           198,986     $     1,063,582      $     2,172,705     $      2,871,036     $       2,914,101     $        2,960,241
       Lab Services Revenue from Physicians Offices (courier)                     32,571             222,965              346,500              388,080               429,660                469,455
       Lab Services Revenue from Hospitals (courier)                              43,313             134,009              167,511              192,638               215,754                238,408
       OnSite Services Revenue from Hospitals                                         -              122,400              360,000              432,000               504,000                576,520
       Pharmaceuticals Services                                                   30,000             120,000              170,000              220,000               270,000                323,386
Total Revenue                                                        $           304,869     $     1,662,956      $     3,216,716     $      4,103,754     $       4,333,516     $        4,568,011
Total Cost of Revenue                                                            126,526             641,692            1,245,920            1,574,157             1,612,172              1,650,574
Gross Margin                                                                     178,343           1,021,264            1,970,797            2,529,597             2,721,344              2,917,437
GM %                                                                               58.5%               61.4%                61.3%                67.6%                 62.8%                  63.9%

Total Operating Expenses                                                         201,000            670,000               824,000              906,400               962,412              1,022,080
Operating Expense %                                                                65.9%              40.3%                 25.6%                22.7%                 22.2%                  22.4%
EBITDA                                                                            (22,657)          351,264              1,146,797           1,623,197             1,758,932              1,895,357
EBITDA %                                                                            -7.4%             21.1%                  35.7%               39.6%                 40.6%                  41.5%
       Partial period Adjustment                                                    1,888
Adjusted EBITDA                                                                   (20,769)

Depreciation & Amortization                                                         3,667               21,000             96,501              205,188               216,676                228,401
EBIT                                                                              (24,435)          330,264              1,050,295            1,418,009            1,542,256              1,666,956
EBIT %                                                                              -8.0%             19.9%                  32.7%                34.6%                35.6%                  36.5%
Interest Expense                                                                        -                   -                  -                    -                     -                       -

Earnings Before Taxes                                                           (24,435)            330,264              1,050,295            1,418,009            1,542,256              1,666,956
       Income Taxes                                             40% _______________ -                83,868                420,118              567,204              616,903                666,782

Forecast After-Tax Income                                            $            (24,435)   $          246,396   $       630,177     $        850,805     $         925,354     $        1,000,174
NPAT %                                                                              -8.0%                 14.8%             79.6%                20.7%                 21.4%                  27.9%

Cash Flow
Add: Depreciation & Amortization                                                    3,667                21,000            96,501               205,188               216,676               228,401
      After-Tax Gross Cash Flow                                                   (20,769)              267,396           726,679             1,055,993             1,142,030             1,228,574

      Decrease / (Increase) in Working Capital                                     (9,146)           (49,889)              (96,501)            (123,113)             (130,005)             (137,040)
Less: Capital Expenditures                                                        (30,800)          (134,750)             (160,836)            (205,188)             (216,676)             (228,401)

Free Cash Flow                                                        $__________ (60,715)   $           82,757   $       469,341     $        727,693     $         795,348     $            863,133




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                              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 137 of 156


             US v. Elizabeth Holmes                                                __________________________ Appendix Exhibit E.5
             Valuation of Theranos, Inc.                                           PFM (Model) Forecast - Discounted Cash Flow Method
             As of February 7, 2014                                                                                 (thousands of USD)


                    Forecast               Base                                  Discount                                Discounted
                     Period              Cash Flow            Period               Rate           PV Factor [1]         Cash Flow [2]

               2014 - Mar to Dec     $         (60,715)        0.45               35.5%              0.8728         $          (52,990)
                     2015                       82,757         1.40               35.5%              0.6544                     54,154
                     2016                      469,341         2.40               35.5%              0.4829                    226,661
                     2017                      727,693         3.40               35.5%              0.3564                    259,356
                     2018                      795,348         4.40               35.5%              0.2630                    209,202
                     2019                      863,133         5.40               35.5%              0.1941                    167,551
                 Terminal Value              2,849,710         5.40               35.5%              0.1941                    553,185

              Indicated Value                                                                                       $      1,417,121
              Add: Series C-2 proceeds not on balance sheet                                                                  114,390
              Add: Series C-1 proceeds not on balance sheet                                                                     6,556
              Deduct: Note Payable, Long Term                                                                                 (40,489)
              Deduct: Capital Lease, LT Portion                                                                     _________ (1,897)

              Total Equity Value - Non-Controlling, Marketable Basis                                                $        1,495,680

              Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                      $         1,500,000


              Notes:
              [1] 1 / (1 + Discount Rate) A Period.
              [2] Base Cash Flow x PV Factor.




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                                Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 138 of 156


US v. Elizabeth Holmes                                                                                                                 Appendix Exhibit F.1
Valuation of Theranos, Inc.                                                                Mosley-RDV Forecast - Depreciation & Capital Expenditure Analysis
As of December 31,2014                                                                                                                   (thousands of USD)


                                                                                For the Twelve Month Period Ending December 31,
Forecast Depreciation                                          2015               2016                2017              2018                    2019

Total Revenue                                              $      990,000   $                  $                    $                    $

Beginning Balance - Total Fixed Assets                             53,366            164,287             148,528              132,769               117,010
Capital Expenditures                                              118,800                 -                   -                    -                     -
     Fixed Assets                                                 172,166            164,287             148,528              132,769               117,010
Capital Expenditures as a % of Revenue                             12.00%              0.00%               0.00%                0.00%                 0.00%




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     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 139 of 156




1
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                                             Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 140 of 156


     US v. Elizabeth Holmes                                                                                                                                             ____________________________ Appendix Exhibit F.3
     Valuation of Theranos, Inc.                                                                                                                                        Mosley-RDV Forecast - Discounted Cash Flow Method
     As of December 31,2014                                                                                                                                             ______________________________ (thousands of USD)


                Forecast                       Base                                          Discount                                         Discounted
                 Period                      Cash Flow                 Period                  Rate                PV Factor [1]             Cash Flow [2]

                 2015                              189,791              0.50                   54.0%                 0.8058                         152,938
             Terminal Value                      3,294,300              1.00                   54.0%                 0.6494                       2,139,156

     Indicated Value                                                                                                                     $        2,292,094
     Add: Series C-2 proceeds                                                                                                                            -
     Deduct: Note Payable, Long Term                                                                                                                 (40,805)
     Deduct: Capital Lease, LT Portion                                                                                                                   -

     Total Equity Value - Non-Controlling, Marketable Basis                                                                              $        2,251,289

     Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                                                    $        2,250,000



                                               LTM               1YR Growth               1YR Forward                EBITDA                      D&A                EBIT              Capex            Working Capital
                                             Revenue              Revenue                Revenue Growth              Margin                     Margin             Margin           % Revenue           % Revenue

                     Upper Quartile L            1,216,653 | |                  14.1%|                 21.4%                  19.7%| |                   1.6%| |         14.9%| |             6.4%|              84.8%
                            Mean                 1,136,335                       6.2%                  18.0%                  -2.8%                      1.3%          -274.9%                5.7%              758.4%
                           Median                  251,345                       5.1%                  13.0%                  13.6%                      0.0%             5.0%                3.9%               58.0%
                     Lower Quartile                 98,696                       2.1%                   8.4%                  -4.3%                      0.0%           -12.2%                2.8% |             35.7%|

     Theranos, Inc. (at 12/31/15)        $         990,000                     607.1%                    N/A                  23.9%                      2.1%               21.8%            12.0%               18.6%


                                                                                             MVIC / LTM            MVIC / LTM
                                                                                              Revenue               EBITDA
                                             Upper Quartile                                           5.09X                19.93X
                                                    Mean                                              6.60x                19.85X
                                                   Median                                             3.20x                15.67X
                                             Lower Quartile                                           2.22X                12.10X

                                     Selected Multiple                                                4.90x                 13.90X
                                     Subject Company Base Value                          $         990,000     $          237,000

                                         Indicated Value at 12/31/15                             4,851,000               3,294,300




     Notes:
     [1] 1 / (1 + Discount Rate)A Period.
     [2] Base Cash Flow x PV Factor.




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                                 Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 141 of 156


US v. Elizabeth Holmes                                                                                                                           Appendix Exhibit G.1
Valuation of Theranos, Inc.                                                                              Murdoch Forecast - Depreciation & Capital Expenditure Analysis
As of February 13,2015                                                                                                                              (thousands of USD)


                                                   11 Mo. Ended         _________________ For the Twelve Month Period Ending December 31,_________________
Forecast Depreciation                                 12/31/15          2016               2017                2018               2019                2020

Total Revenue                                  $          911,438   $     1,977,240   $              -   $                -   $                 -   $

Beginning Balance - Total Fixed Assets                    22,021           120,683            323,277              272,866               222,454               172,043
Capital Expenditures                          __________ 109,373           237,269
     Fixed Assets                                        131,393           357,952            323,277              272,866               222,454               172,043
Capital Expenditures as a % of Revenue                    12.00%            12.00%              0.00%                0.00%                 0.00%                 0.00%




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                               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 142 of 156


               US v. Elizabeth Holmes                                                                  Appendix Exhibit G.2
               Valuation ofTheranos, Inc.                                  Murdoch Forecast Free Cash Flow to Invested Capital
               As of February 13, 2015                                                                    (thousands of USD)

                                                                                                   For the Twelve
                                                                                                    Month Period
                                                                               11 Mo. Ended       Ending December
                                                                                  12/31/15              2016

               Total Revenue                                               $           994,296    $         1,977,240
               Total Cost of Revenue                                                   334,976                614,490
               Gross Margin                                                            659,320              1,362,750
               GM %                                                                      66.3%                  68.9%

               Total Operating Expenses                                                320,909               501,558
               Operating Expense %                                                       32.3%                 25.4%
               EBITDA                                                                  338,411               861,192
               EBITDA %                                                                  34.0%                 43.6%
                       Partial period Adjustment                                       (28,201)                   -
               Adjusted EBITDA                                                         310,210

               Depreciation & Amortization                                               8,000                 19,772

               EBIT                                                                    302,210               841,420
               EBIT %                                                                    30.4%                 42.6%

               Interest Expense

               Earnings Before Taxes                                                   302,210                841,420
                      Income Taxes                                   40%                82,421                336,568

               Forecast After-Tax Income                                   $           219,789    $           504,852
               NPAT %                                                                    22.7%                  25.5%

               Cash Flow
               Add: Depreciation & Amortization                                          8,000                 19,772
                     After-Tax Gross Cash Flow                                         227,789                524,624

                     Decrease / (Increase) in Working Capital                          118,728               (183,094)
               Less: Capital Expenditures                                             (109,373)              (237,269)

               Free Cash Flow                                              $_________ 237,144     $           104,262


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                                          Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 143 of 156


      US v. Elizabeth Holmes                                                                                                                                                                         Appendix Exhibit G.3
      Valuation of Theranos, Inc.                                                                                                                                          Murdoch Forecast - Discounted Cash Flow Method
      As of February 13, 2015                                                                                                                                                                           (thousands of USD)


                  Forecast                      Base                                        Discount                                        Discounted
                   Period                     Cash Flow             Period                    Rate                  PV Factor [1]          Cash Flow [2]

              2015 - Mar to Dec           $         237,144             0.44                  82.0%                   0.7685           $          182,244
                    2016                            104,262             1.38                  82.0%                   0.4378                       45,642
               Terminal Value                     6,327,168             1.88                  82.0%                   0.3245                    2,053,136

      Indicated Value                                                                                                                  $        2,281,022
      Add: Series C-2 proceeds                                                                                                                    125,000
      Deduct: Note Payable, Long Term                                                                                                              (40,805)
      Deduct: Capital Lease, LT Portion                                                                                                                -

      Total Equity Value - Non-Controlling, Marketable Basis                                                                           $        2,365,217

      Total Equity Value - Non-Controlling, Marketable Basis (rounded)                                                                 $        2,370,000



                                                 LTM              1YR Growth             1YR Forward                  EBITDA                   D&A                EBIT                 Capex           Working Capital
                                               Revenue             Revenue              Revenue Growth                Margin                  Margin             Margin              % Revenue          % Revenue

                         Upper Quartile           1,216,653 | |                14.1%|                 21.4% |                  19.7% |                 1.6% I-         14.9% | |              6.4% |              84.8%
                                Mean              1,136,335                     6.2%                  18.0%                    -2.8% L                 1.3% |        -274.9%                  5.7%               758.4%
                               Median               251,345                     5.1%                  13.0%                    13.6%                   0.0%             5.0%                  3.9%                58.0%
                         Lower Quartile              98,696                     2.1%                   8.4%                    -4.3%                   0.0%           -12.2%                  2.8%                35.7%

      Theranos, Inc. (at 12/31/16)        $       1,977,240                    98.9%                    N/A                    43.6%                   1.0%               42.6%              12.0%                18.6%


                                                                                            MVIC / LTM              MVIC / LTM
                                                                                             Revenue ___             EBITDA
                                              Upper Quartile                                         5.09X                  19.93x
                                                     Mean                                            6.60x                  19.85X
                                                    Median                                           3.20X                  15.67X
                                              Lower Quartile                                         2.22X                  12.10x

                                          Selected Multiple                                          3.20X                   12.10X
                                          Subject Company Base Value                    $       1,977,240       $          861,192

                                          Indicated Value at 12/31/15                           6,327,168               10,420,429




      Notes:
      [1] 1 / (1 + Discount Rate) A Period.
      [2] Base Cash Flow x PV Factor.




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           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 144 of 156
                                                                                         CURRICULUM VITAE


   HM            HEMMING | MORSE                                                         SAN MATEO OFFICE
                 FORENSIC & FINANCIAL CONSULTANTS                                        177 Bovet Road, Suite 525
                                                                                         San Mateo, CA 94402
                                             Appendix Exhibit H                          T: 415.836.4000
                                                                                         F: 415.777.2062




CARL S. SABA, MBA, CVA, ASA, ABV                                                                        HEMMINC.COM



Executive Summary

Carl Saba is a Partner in the Forensic and Financial Consulting Service Group at Hemming Morse, LLP.
He is a recognized leader within the business valuation community, with over twenty three years of experience
advising companies on complex financial analysis and valuation issues for litigation, mergers and acquisitions, tax,
and financial reporting matters. His valuation expertise spans business valuation, valuation of intellectual property
and other intangible assets, and valuation of options and other derivatives.


Carl has led in excess of 800 valuation engagements over the last fifteen years across a broad range of industries
with niche expertise in the areas of Technology, Life Sciences, and Medical Device. He has assisted clients
as a valuation expert in initial public offerings, acquisitions, corporate restructure transactions, and bankruptcy
reorganizations with transaction values exceeding $1 billion. He has also assisted clients with resolving valuation
disputes with the Internal Revenue Service (IRS), and addressing valuation inquiries and reviews by the Public
Companies Oversight Board (PCAOB), and Securities and Exchange Commission (SEC).


On litigation matters, Carl has served as an expert and testified on a wide range of complex business disputes
involving economic damages. These have included shareholder dissolution actions, business interruption,
unfair competition, patent infringement, alter ego, lost wages, and fraud claims. In most cases, he has been
successful in contributing to a favorable award for clients and out of court settlement of the dispute.


Carl also has significant financial advisory experience in mergers and acquisitions due diligence and turnaround
management. He has lead due diligence efforts that have assisted his clients in negotiating key deal terms,
negotiated with creditors to recapitalize companies, and helped management teams define strategic direction.


Contributing to thought leadership within the valuation community is something Carl is passionate about. He
co-founded and currently Chairs the Executive Committee of the Fair Value Forum, a business valuation expert
group dedicated to defining best practices within the profession. He also served a term as President of the
Valuation Roundtable of San Francisco and was a board member for several years. Carl has authored
several articles on cutting edge valuation topics, and teaches and lectures on the topic frequently.


Carl has an MBA from the Marshall School of Business at the University of Southern California where he graduated
with Honors. He earned his Bachelor’s degree at U.C. Berkeley's Haas School of Business. He is a Certified Valuation
Analyst with the National Association of Certified Valuators and Analysts. He is also an Accredited Senior Appraiser
with the American Society of Appraisers, and Accredited in Business Valuation with the American Institute of Certified
Public Accountants.



                                                                                                            PAGE 1 OF 9
              Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 145 of 156
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Employment & Education

2013 - Present         Hemming Morse, LLP
                       Certified Public Accountants, Forensic and Financial Consultants
                       Partner


2004 - 2013            Burr Pilger Mayer, Inc.
                       Certified Public Accountants and Consultants
                       Shareholder, Consulting Practice Croup Leader


2003-2004              Comerica Bank, Palo Alto
                       Vice President/Team Leader


2003                   University of Southern California
                       MBA, Finance Emphasis
                       -       Graduated in top tier of class with honors
                       - Extensive graduate level coursework in finance theory, valuation, options and
                           decision analysis, statistics, and business strategy


2002                   Decision Education Foundation, Menlo Park
                       Strategy Consultant, Strategic Decisions Group (Summer Internship)


1999 - 2001            Comerica Bank, Palo Alto
                       Vice President/Corporate Banking Officer


1996-1999              Manufacturers Bank, San Jose
                       Assistant Vice President/ Corporate Banking Officer


1995                   University of California, Berkeley
                       Bachelors degree in Business Administration and Finance




                                                                                                         PAGE 2 OF 9
               Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 146 of 156
                                                                                            CURRICULUM VITAE


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Professional Credentials

■       Accredited in Business Valuation (ABV)                 ■       Certified Valuation Analyst (CVA)
    American Institute of Certified Public Accountants             National Association of Certified Valuators and
                                                                   Analysts
■       Accredited Senior Appraiser (ASA)
    American Society of Appraisers                             ■       Graduate of Leadership San Francisco
                                                                   Class of 2008

Professional Afffiliations


■       Fair Value Forum                                       ■       American Society of Appraisers
    -      Co-Founder
    -      Chair, Executive Committee, 2012-Present            ■       American Institute of Certified Public Accountants
    -      Executive Committee, 2006-Present
                                                               ■       Community Legal Services, East Palo Alto
■       Valuation Roundtable of San Francisco                      -      Executive Committee Board Member
    -      President, 2011-2012                                    -      Treasurer
    -      Board Member, 2009-2014
                                                               ■       Beta Gamma Sigma - National Business Honor
■       National Association of Certified Valuation Analysts       Society



Publications


■       “Quantifying Personal Goodwill by Analyzing Customer   ■       "Purchase Price Allocations Under ASC 805”, A Guide
    Retention”, BVR Business Valuation Update Vol. 23 No.          to Allocating Purchase Price for Business
    11, November 2017                                              Combinations, BPM Insights, July 2012


■       Co-author of the valuation section of The 409A         ■       “A Fresh Start for Your Financials After Chapter 11, Fair
    Administration Handbook, Thomson Reuters,                      Value Measurements in Reorganization", BPM
    2013 Edition                                                   Insights, March 2012


■       “Due Diligence Can Attract, Support an Acquisition",   ■       “Valuation Challenges for Early Stage Companies",
    North Bay Business Journal, April 2013                         BV Wire Issue 97-4, October 2010




                                                                                                               PACE 3 OF 9
           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 147 of 156
                                                                                     CURRICULUM VITAE

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Publications continued

■ “Valuation Challenges for Early Stage Companies",           ■ “Finding Value in Valuations”-The Importance of
  BV Wire Issue 97-4, October 2010                             Valuations for Biotech Companies, Smart Business,
                                                               2008
■ “Stock Options for Life Science Companies,
  Understanding the Risks, Realizing the Rewards",            ■ “Accounting Practices for Medical Technology", MX
  CFO.com, 2009                                                 Magazine, July/August 2007


■ “Future Equity Financing in Early Stage Company             ■ “Hot Issues in Biotech and Life Sciences", California
  Valuations", Fair Value Forum Whitepaper, 2009               CPA, March/April 2006.


Instructions and Seminars

■ “Preparing your Business for a Successful 2022”,            ■ “To Dissolve or Not to Dissolve, Overview of Section
 Associated General Contractors (AGC) California, June 2022    2000 of the California Corporations Code”, Ventura
                                                               County Bar Association, May 2017
■ “Experts In Uncharted Waters", Association of Business
 Trial Lawyers Conference , October 2021                      ■ "To Dissolve or Not to Dissolve, the Pros and Cons of
                                                               Section 2000 of the California Corporations Code”,
■ “Auditing IRC 409A and ASC 805 Valuations”, OUM & CO,        ProVisors Lawyers and Legal Professionals Affi nity
  September 2020                                               Group, April 2017


■ “Fair Value Forum Case Study- Unpacking Differences         ■ “409Aand Private Companies Valuation Update”,
 Between Diverse Valuation Opinions”, American Society         American Society of Appraisers 2016 Fair Value
 of Appraisers 2018 Fair Value Summit, November 2018           Summit, November 2016


■ “Case Studies in 409A Valuations", American Society of      ■ “Developments in the Valuation of Early Stage
 Appraisers 2017 Fair Value Summit, November 2017              Companies", AICPA Webcast, June 2016


■ “To Dissolve or Not to Dissolve, Navigating the Waters of   ■ "Business Valuation in Litigation: Overview and
 Shareholder Disputes”, Beverly Hills Bar Association,         Case Studies”, American Society of Appraisers
 June 2017                                                     Northern California Chapter, June 2016


                                                              ■ “Hot Topics in Early Stage Company Valuations",
                                                               Montgomery & Hansen LLP, April 2016


                                                                                                       PACE 4 OF 9
           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 148 of 156
                                                                                    CURRICULUM VITAE


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Instructions and Seminars continued


■ "What CPAs Should Know About Business Valuation            ■ “Mergers & Acquisitions: Better Decision Making
  for Estate and Gift Tax Matters", Crawford Pimentel,        Through Financial Modeling”, AICPA Controllers
  January 2016                                                Conference, November 2013


■ “409A Valuation Issues Update", American Society of        ■ “Auditing Fair Value Measurements under IRC 409,
  Appraisers 2015 Fair Value Summit, November 2015            ASC 718, and ASC 80S”, OUM & Co. LLP, September
                                                               2013
■ “Developments in the Valuation of Early Stage
  Companies”, AICPA Forensic and Valuation Services          ■ “Valuation Issues in Chapter 11 Reorganizations, Inns
  Conference, November 2015                                   of Court", San Jose Federal Courthouse, July 2013


■ “Stock Transactions as an Indication of Fair Value         ■ “Panelist on Valuation Issues in Bankruptcy and
  in Common Stock Valuations", American Society of            Financial Reporting”, Association of Insolvency and
 Appraisers 2014 Fair Value Summit, November 2014             Restructuring Advisors National Conference, June 2011


■ “Valuation of Winery Brand and Operations, Building        ■ “Alternative Investments, Fair Value Issues”, San
 Value in the Wine Business", The Seminar Group,              Francisco Nonprofit Roundtable, 2009
  November 2014
                                                             ■ “The Guideline Public Company Valuation Method
■ “Valuation in Dissenting Shareholder Actions, Estate and    and Minority versus Control Value Conclusion”,
 Gift Tax Matters, and Transactions”, McCormick Barstow       Valuation Roundtable of San Francisco, 2009
 LLP, September 2014
                                                             ■ “Modeling Techniques for Future Rounds of Equity
■ “Damages and Valuation for New or Unestablished             Financing in Early Stage Technology and Biotech
 Businesses", Winston & Strawn, May 2014                      Companies", Fair Value Forum, 2009


■ “The Continued Appraisal Attack”, 2013 California Tax      ■ “Acquired Intangible Assets and Impairment Testing
 Policy Conference of the California Tax Bar, November        Under FAS 141,142,144”, San Francisco State
 2013                                                         University, 2008


■ “Equity Compensation Valuation Issues - Addressing         ■ “FAS 157 and Mark-to-Market or Mark-to-Make Believe
 Situational Requirements When the Guidance is                Accounting?”, Golden Gate University, 2008
 Insufficient", American Society of Appraisers 2013 Fair
 Value Summit, November 2013


                                                                                                       PAGE 5 OF 9
           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 149 of 156
                                                                                       CURRICULUM VITAE

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 Instructions and Seminars continued

■ “Analyzing Financial Statements, and Interpreting            ■ “Audits of Investments in Private Equity Securities, Are
  Financial Ratios", Building Owners and Managers                you Ready?", San Francisco Nonprofit Roundtable,
  Association (BOMA), 2005-2007                                  2007


■ “Valuations of Early Stage Companies", Frost, and            ■ "Valuation and Accounting under FAS 123R”, Cal
  Sullivan Medical Devices Conference, 2007                      Society East Bay Business & Industry Croup, 2006


■ “Complex Capital Structures - DCF with Future Capital        ■ “Panelist on Implementation and Valuation
  Requirements and the Impact of Existing Shareholders",         Considerations Linder FAS 123R”, Cal Society Life
  Valuation Roundtable of San Francisco Annual Seminar,         Sciences Industry Croup, 2006
  2007



Testimony


Trial and Arbitration



■ Facebook, Inc. & Subsidiaries v. Commissioner of Internal    ■ Omega Electric Supply, LLC, et al. v. Estate of Todd
  Revenue (2022), United States Tax Court, San Francisco,        G. Lewis, et al. (2019) JAMS Arbitration, Case No.
  California, Docket No. 21959-16                               1100091778


■ Dr. Albert Cha v. Vivo Capital, LLC and Vivo Ventures VII,   ■ David Senescu v. The Keating Group, Inc., et al. (2019),
  LLC (2022), JAMS Arbitration, San Francisco, California,      JAMS Arbitration, Case No. 1110022437
  Case No. 1100110703
                                                               ■ San Jose, California Unlimited Prepaid, Inc. v. Air
■ Jaspindar Sandhu v. Eximius Design, LLC, et. al. (2021)       Voice Wireless, LLC (2018), JAMS Arbitration, Case No.
 JAMS Arbitration, Case No. 1100104731                          1220055749


■ Shasikant Patel v. Nitin Desai, Town Green Enterprises,      ■ Robert Kindrachukv. Norcal Urology Medical Croup,
  LLC, Windsor Hospitality Croup. LLC (2021) JAMS               Inc. (2018), ADR Services, Inc., Case No. 17-7127-HD
 Arbitration, San Francisco, California, Case No. 1100107540
                                                               ■ Domain Associates, L.L.C, et al. v. Nimesh S. Shah
■ Yuhui Chen v. Zining Wu, InnoCrit Corporation, Shanghai        (2018), Court of Chancery Delaware, Case No. 12921-VCL
 Yingren Chuang Information Technology Co., Ltd. (2020)
 JAMS Arbitration, San Jose, California, Case No. 1110024169


                                                                                                          PAGE 6 OF 9
           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 150 of 156
                                                                                       CURRICULUM VITAE

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Testimony continued

Trial and Arbitration continued

■ Michael DiSanto v. Bingham McCutchen LLP (2016),             ■ Lehman Brothers Holdings Inc., as Assignee of
  JAMS Arbitration, San Francisco County, California,            Lehman Brothers Inc. v. Christopher J. Clifford
  Case No. 1110017742                                            (2014), Financial Industry Regulatory Authority (FINRA),
                                                                 San Francisco County, California,
■ Gerald Laurence Trebesch v. Fall Line Capital LLC (2015),      Arbitration No. 10-04109
  American Arbitration Association (AAA), San Francisco
  County, California, Arbitration No. 01-14-001-0482           ■ Evan MacMillan v. Groupon, Inc. (2014, American
                                                                 Arbitration Association, San Francisco County,
■ Ellen Pao v. Kleiner Perkins Caufield & Byers (2015),          California, Case Number 74 460 0005413
  Superior Court, San Francisco County, California,
  Case Number CGC-12-520719                                    ■ Scomas Restaurant, Inc. (2009)
                                                                 San Francisco County, California
■ Roxanne E. Doherty v. Michael Doherty (2015),
  Superior Court, Calaveras County, California,
  Case Number 11CV37584

Deposition

■ Annette P. Cowan v. Allergy Asthma Clinic Burlingame,        ■ Anthony Scott Levandowski v. Uber Technologies,
  Inc. et aL (2021), Superior Court San Mateo County,            Inc. (2021), United States Bankruptcy Court, Northern
  California, Case No. 19-CIV-00235                              District of California, San Francisco Division, Case No.
                                                                 20-30242 (HLB)
■ Dr. Albert Cha v. Vivo Capital, LLC and Vivo Ventures VII,
  LLC (2021), JAMS Arbitration, San Francisco, California,     ■ Graystone Mortgage, LLC v. Network Funding, L.P.
  Case No. 1100110703                                            (2021), United States District Court, District of Utah
                                                                 Central Division, Case No. 2:19-cv-00383-JNP
■ Jaspindar Sandhu v. Eximius Design, LLC, et. al. (2021)
  JAMS Arbitration, Case No. 1100104731                        ■ John Nypl, et al. v. JP Morgan Chase & CO., et al. (2021),
                                                                 United States District Court, Southern District of New
■ Kouji Yamada v. Lateef Management, LLC (2021), JAMS            York, Case No. 15 Civ. 9300 (LGS)
  Arbitration, Case No. 1100109005
                                                               ■ Yuhui Chen v. Zining Wu, InnoGrit Corporation,
■ Jaspindar Sandhu v. Eximius Design, LLC, et al. (2021),        Shanghai Yingren Chuang Information Technology
 JAMS Arbitration, Case No. 1100104731                           Co., Ltd. (2020) JAMS Arbitration, San Jose, California,
                                                                 Case No. 1110024169


                                                                                                          PAGE 7 OF 9
           Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 151 of 156
                                                                                         CURRICULUM VITAE


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Testimony continued

Deposition continued


■ Matthew Pliskin, Trustee of ICPW Nevada Trust v. BDO          a State of California, et al. v. BP America Production
  USA, LLP (2020), American Arbritration Association (AAA)        Company, et al. (2017), Superior Court, San Francisco
  Dallas, Texas, Case No. 01-19-0000-4459                         County, California, Case No CGC-12-522063


■ Zwick Partners, LP and Aparna Rao v. Quorum Health            ■ Tamara B. Pow v. Mark Figueiredo (2017), Superior
  Corporation, et al. (2019), United States District Court        Court, Santa Clara County, California, Case Number
  Middle District of Tennessee, Case No. 3:16-cv-02475            1-15-CV-282824


■ MD Anis Uzzaman and Fenox Venture Capital Inc. v.             ■ Glen Ocal v. Kenneth S. Thom, Pier 39 Maritime
  Brandon Hill (2019), Superior Court San Mateo County,           Business Facilities, LLC dba SOMAcentral (2017),
  California, Case No. 17-CIV-02443                               Superior Court Santa Clara County, California,
                                                                  Case Number 114CV266597
■ Omega Electric Supply, LLC, et al. v. Estate of Todd C.
  Lewis, et al. (2019), JAMS Arbitration, Case No. 1100091778   ■ Stacy Guthmann v. CC-Palo Alto, Inc. D/B/A VI at
                                                                  Palo Alto; Classic Residence Management Limited
■ Donald Norman v. Patrick Strateman, et al. and                  Partnership, et al (2017), United States District Court,
  Intersango LLC (2019), Superior Court San Francisco             Northern District of California San Jose Division,
  County, California, Case Number CCC-17-556483                  Case Number 16-CV-02680-LHK


■ David Senescu v. The Keating Croup, Inc., et al. (2019),      ■ Crossfit, Inc. v. Jeff Martin, et al. (2017), United States
  JAMS Arbitration, San Jose, California, Case No.                District Court, District of Arizona, Case Number 2:14-
  1110022437                                                      cv- 02277-JJT


■ Unlimited Prepaid, Inc. v. Air Voice Wireless, LLC (2018),    ■ Joel Simkhai and Grindr Holdings Company v.
  JAMS Arbitration, Case No. 1220055749                           KL Grindr Holdings Inc., et al. (2017), American
                                                                 Arbitration Association, Los Angeles County,
■ Julia Bernstein, et al. v. Virgin America, Inc, et al.          California, Case Number 01-16-0003-7637
  (2018), United States District Court, Northern District of
  California, Case No. 15-CV-02277-JST                          ■ Clyde Berg v. Speech Morphing Systems (2016),
                                                                 Superior Court, San Francisco County, California,
■ Domain Associates, L.L.C, et al. v. Nimesh S. Shah (2017),     Case Number 2014-1-CV-264586
  Court of Chancery Delaware, Case No. 12921-VCL




                                                                                                             PAGE 8 OF 9
            Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 152 of 156
                                                                                         CURRICULUM VITAE

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Testimony continued

Deposition continued



■ California Crane School Incorporated v. National                 ■ John K. Palladino v. John Palladino Jr. (2014,
  Commission for the Certification of Crane Operators               Superior Court, San Mateo County, California,
  (2016), Superior Court, Tuolumne County, California,              Case Number CIV512247
  Case Number CV53859
                                                                   ■ Roxanne E. Doherty v. Michael Doherty (2014),
■ Dellon Chen v. Standard Fiber LLC (2015), Superior Court          Superior Court, Calaveras County, California,
  San Mateo County, California, Case Number CIV521306               Case Number 11CV37584


■ Lloyds TSB Bank, PLC v. Michael J. Kilroy (2015), Superior       ■ Evan MacMillan v. Groupon, Inc. (2013), American
  Court, Riverside County, California, Case Number INC              Arbitration Association, San Francisco County,
  1202040                                                            California, Case Number 74 460 0005413


■ Ellen Pao v. Kleiner Perkins Caufield & Byers (2015),            ■ Margery Raffanti v. Estate of Robert Raffanti (2010),
  Superior Court, San Francisco County, California,                 Superior Court, Santa Clara County, California
 Case Number CGC-12-520719
                                                                   ■ Scomas Restaurant, Inc. (2009)
■ Biotechnology Value Fund, L.P. v. Celera Corporation,             San Francisco County, California
  Credit Suisse Securities LLC (2014), United States District
  Court, Northern District of California San Francisco Division,
  Case Number CV-13-3248-DMR


■ Saul R. Flores v. Croup One Construction Inc (2014),
 Superior Court, Santa Clara County, California,
 Case Number 112CV215989




                                                                                                            PACE 9 OF 9
    Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 153 of 156


US v. Elizabeth Holmes                                                                                                  Appendix Exhibit I
List of Documents Considered


                               File Name                                                       File name
                                0578N                                                          FTR 2013
                                 0792                                                          FTR 2014
                               0792N-1                                                         FTR 2015
                                 1901                                                     Mosley Materials 2
                                1901N                                                     Mosley Materials 3
                                 3233                                                     Mosley Materials 4
                                 3283                                                     Mosley Materials 5
                                3283N                                                     Mosley Materials 6
                                 3527                                                     Mosley Materials 7
                                 3533                                                      Mosley Materials
                                 4859                                             Confidential Disclosure Agreement
                                 5085                                                Confidential Overview 2_KRM
                                 5141                                                Confidential Overview 3_KRM
                                 5172                                                Confidential Overview 4_KRM
                                 5190                                                Confidential Overview 5_KRM
                          5206 Attachment                                            Confidential Overview 6_KRM
                                 5206                                                Confidential Overview 7_KRM
                                 5209                                                Confidential Overview 8_KRM
                                5209n                                                Confidential Overview 9_KRM
                                 5797                                               Confidential Overview 10_KRM
                                 7753                                               Confidential Overview 11_KRM
                                7753 N                                               Confidential Overview _KRM
                               7753N2                                                  Murcoch Letter and Docs
                                13711                                          Summary Cap and Projected Income-KRM
                           040522(Vol 13)                                                 Theranos Summary
                Trial Exh. 2623 Email from DY to EAH                                Master Signature Page_PFM
                         Trial Exh. 5454 Email                                     Summary Cap Table_2014.02.03
                   2021.11.12 Expert Disclosures                                    Theranos Revenue Model_PFM
            2021.11.13 Supplemental Expert Disclosures                                   Trial Exh. 4077 Email
                                27084                                           Series C-l Transaction Documents_PVP
                                27085                                                 Master Signature Page_RDV
                                27086                                                  Theranos Slide Deck_RDV
                                27087                                       Trial Exh. 4859 Projected Statement of Income
                                27088                                    Amended and Restated Certificate of lnc_2010.06.30
                                27089                                    Amended and Restated Certificate of lnc_2013.03.28
                                27090                               Amended and Restated Investor Rights Agreement_2014.01.14
                                27091                               Amended and Restated Investor Rights Agreement_2014.02.07
                                27092                                Amended and Restated Series C-l Preferred Strock Purchase
                                                                                        Agreement_2010.07.01
                                27093                                         Amended and restated Voting Agreement
                                27094                                Amendment No 2 to the Series C-2 Preferred Stock Purchase
                                                                                     Agreementjuly 2014
                                27095                                Amendment No 3 to the Series C-2 Preferred Stock Purchase
                                                                                          Agreementjuly 2015
                                27096                                          C-2 Certificate of Designation_2014.02.07
                                27097                                    C-2 Preferred Stock Purchase Agreement_2017.02.03
                                27098                                    C-2 Preferred Stock Purchase Agreement_2017.02.07
                                27099                             Certificate of Amendment of Amended and Restated Certificate of
                                                                                      lncorporation_2015.03.06
                                27100                                            Certificate of Correction_2014.01.14
                                27101                             Certificate of Designation of Series C-2 Preferred Stock_2014.02.07

                                27102                              Certificate of Increase of Series C-2 Preferred Stock_2015.03.06
                                27103                                                  Investor Deck_DEC 2016
                               27104                                     Stockholder Confidentiality Agreement_2014.02.07
                               27105                                          Projected Statement on Incomejan 2015
                               27106                                         Projected Statement on Incomejan 2015-1



                                                         1 of 4
         Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 154 of 156




US v. Elizabeth Holmes                                                                                 Appendix Exhibit I
List of Documents Considered


                               File Name                                        File name
                                 27107                                SEC-USAO-EPROD-000808915
                                 27108                                SEC-USAO-EPROD-000809708
                                 27109                                5EC-USAO-EPROD-000875621
                                 27110                                SEC-U5AO-EPROD-001247904
                                 27111                                SEC-USAO-EPROD-001519025
                                 27112                            2_SEC-USAO-EPROD-001215410_native
                                 27113                             Cleveland Clinic Financials_Mar 2015
                                 27114                                SEC-USAO-EPROD-0O1028741
                                 27115                01.14.13 - Board Meeting Docs including cap tables and articles
                                 27116                                     10.08.13 board docs
                                 27117                               BOD Meeting Binder_2014.07.15
                                 27118                              BOD Meeting Minutes_2013.01.14
                                 27119                        BOD Meeting Minutes_compiliation 2013-2014
                                27120                            BOD Meeting Minutes_Jan and Apr 2015
                                27121                                 BOD Presentation_2014.07.15
                                27122                                  Financials for BOD_Jan 2015
                                27123                               Amended and Restated...Jun 2010
                                27124                             Amended and Restated...March 2013
                           Balwani-USAO                                     Articles_Jan 2014
                                FIG 703                          Certificate of Amendment...March 2015
                                FIG 704                                   Certificate_Dec 2014
                                FIG 914                                   Certificate_Mar 2015
                                FIG 915                                  Cap Summary_Feb 2014
                                FIG 920                              5EC2-USAO-EPROD-000509036
                                FIG 921                              SEC2-USAO-EPROD-000550002
                               FIG 1137                               SEC-USAO-EPROD-001038026
                               FIG 1139                               SEC-USAO-EPROD-001064861
                               FIG 1140                               SEC-USAO-EPROD-001240711
                               FIG 1141                               SEC-USAO-EPROD-002733592
                               FIG 1143                               SEC-USAO-EPROD-002788863
                          FIG 1143 (excel)                            SEC-USAO-EPROD-002788979
                               FIG 1285                               SEC-USAO-EPROD-003873663
                               FIG 1287                               SEC-U5AO-EPROD-005037217
                               FIG 1288                               5EC-USAO-EPROD-005071687
                               FIG 1290                                      THER-2393504
                               FIG 1291                                        TS-0939601
                               FIG 1307                                        6379-6382
                               FIG 1331                                        6392-6393
                               FIG 1372                                        6394-6395
                               FIG 1461                                           6396
                               FIG 1463                                           6401
                               FIG 1476                                        6404-6406
                               FIG 1478                                           6408
                               FIG 1479                                        6413-6414
                               FIG 1484                                        6416-6417
                               FIG 1488                                        6418-6419
                               FIG 1720                                        6420-6422
                               FIG 1722                                        6425-6429
                               FIG 1723                                           6435
                               FIG 1725                                  111621TT(vol 33)public
                               FIG 1731                                   Trial Exh. 0504 Email
                               FIG 1781                                   Trial Exh. 1633 email
                               FIG 1783                                   Trial Exh. 3231 email
                               FIG 1845                                          page 17
                               FIG 1849                                          page 19
                               FIG 1855                                          page 21
                               FIG 1860                                          page 64



                                             2 of 4
     Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 155 of 156


US v. Elizabeth Holmes                                                                                   Appendix Exhibit I
List of Documents Considered


                               File Name                                         File name
                                FIG 2070                                          page 66
                                FIG 2072                                          page 67
                                FIG 2083                                          page 69
                                FIG 2290                                          page 95
                                FIG 2292                                   Trial Exh. 4077 email
                                FIG 2298                                   Trial Exh. 4182 email
                                FIG 2301                                   Trial Exh. 4533 email
                                FIG 2309                               Copy of Trial Exh. 5127 Native
                               FIG 2310                                    Trial Exh. 5127 email
                               FIG 2379                                    Trial Exh. 5421 email
                               FIG 2394                    2021.10.22 TT(Vol 23) - Shane Weber & Bryan Tolbert
                               FIG 2246                      2021.10.26 TT(Vol 24)PUBLIC - Lisa Peterson
                               FIG 2447         2021.11.02 TT(Vol 26) - Lisa Peterson & Dr. Connie Cullen & Dan Mosley


                               FIG 2448                             2021.11.03 TT(Vol 27) - Dan Mosley
                               FIG 2449                   2021.11.04 TT(Vol 28) - Chris Lucas & Dr. Lynette Sawyer
                               FIG 2450                  2021.11.10 TT(Vol 31) - Dr. Kingshuk Das & Alan Eisenman
                               FIG 2451                           2021.11.15 TT(Vol 32) - Alan Eisenman
                               FIG 2452             2021.11.16 TT(Vol 33)PUBLIC - Danise Yam (recall) & Brian Grossman

                               FIG 2453                  2021.11.17 TT(Vol 34) - Brian Grossman & Erin Tompkins
                               FIG 2468                  2022.04.26 (Vol 22) - Dr. Adam Rosendorff & Lisa Peterson
                               FIG 6419                   2022.04.27 (Vol 23) - Lisa Peterson & Dr. Sunil Dhawan
                               FIG 6420                  2022.04.29 (Vol 24) - Patrick Mendenhall & Bryan Tolbert
                               FIG 6538                    2022.05.10 (Vol 27) - Sarah Bennett & Daniel Mosley
                               FIG 6539             2022.05.11 (Vol 28) - Daniel Mosley & Alan Eisenman & Dr. Lynette
                                                                                  Sawyer
                               FIG 6543             2022.05.13 (Vol 29) - Dr. Lynette Sawyer & Chris Lucas & Dr. Audra
                                                                        Zachman & Brittany Gould
                               FIG 6544              2022.05.20 (Vol 32) - Brian Grossman & Defense Witness Dr. Tracy
                                                                                 Wooten
                               FIG 6548                                 SEC-TX-000002116Jmage
                               FIG 6706                  2021.09.08 TT(Vol 4) - Opening Statements & Danise Yam
                               FIG 6707                     2021.09.14 TT(Vol 6) - Danise Yam & Erika Cheung
                               FIG 6735                              2022.04.05 (Vol 13) - Danise Yam
                               FIG 6736                                    07753 Attachment 1
                               FIG 6801                                    07753 Attachment 2
                               FIG 7680                              07753 D. Yam Email 11.03.2016
                               FIG 7685                              lnterview_of_CASS_GRANDONE
                               FIG 7690                                    Trial Exh. 7098 Email
                               FIG 7752                            SEC3-USA-EPROD-000010390Jmage
                               FIG 7774                            SEC3-USA-EPROD-000016979_image
                               FIG 8151                                  SEC-EMAIL-2441Jmage
                               FIG 8152                               SEC2-USAO-EPROD-001071042
                               FIG 8168                               SEC2-USAO-EPROD-001071047
                               FIG 8227                               SEC2-USAO-EPROD-001071050
                               FIG 8384                               SEC2-USAO-EPROD-001071051
                               FIG 8385                               SEC2-USAO-EPROD-005034793
                               FIG 8394                               SEC2-USAO-EPROD-005034794
                               FIG 8396                               SEC2-USAO-EPROD-005034795
                               FIG 8409                               SEC2-USAO-EPROD-005034796
                               FIG 8413                               SEC2-USAO-EPROD-005034797
                               FIG 8426                                        TS-0272877
                               FIG 8413                                     THPFM000306874
                               FIG 8426                                    THPGM0004648099
                               FIG 8431                                        TS-0338670
                               FIG 8443                                       TS-00338703



                                           3 of 4
        Case 5:18-cr-00258-EJD Document 1655-2 Filed 11/19/22 Page 156 of 156



US v. Elizabeth Holmes                                                                                                                 Appendix Exhibit I
List of Documents Considered


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                       2008 Financial Statements                                                        MQI_TShultz_2018.01.10
                                FTR 2010                                                                SHULTZ_TYLER-02-10-21
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